Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 1 of 205
   CONFIDENTIAL                                               June 21, 2018



                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF FLORIDA

                                                Case No.: 16-20897-CR-SEITZ

   UNITED STATES OF AMERICA

                       v.

   PRINCESS CRUISE LINES, LTD.,

                     Defendant.
   ________________________________/

                  FIRST ANNUAL REPORT OF THE COURT APPOINTED MONITOR (2017-2018)

                                            TABLE OF CONTENTS
   I.    Executive Summary .............................................................................................................. 1
         A. CAM Findings: Progress .................................................................................................... 3
         B. CAM Findings: Unresolved Barriers and Opportunities for Improvement ....................... 4
   II.   Introduction and Background ............................................................................................. 5
         A. Overview of CAM Annual Report ..................................................................................... 5
         B. History of Vessel Pollution Cases ...................................................................................... 6
         C. History of Current Case ..................................................................................................... 8
             1.     Criminal Conduct ....................................................................................................... 8
             2.     Guilty Plea, Conviction, and Judgment ................................................................... 10
             3.     Court Oversight........................................................................................................ 11
         D. Regulatory Regime .......................................................................................................... 12
   III. Company Capabilities to Meet ECP Objectives: Progress ............................................. 13
         A. No Repeat of the Underlying Offenses ............................................................................ 13
         B. Substantial Implementation of Enumerated ECP Year One Requirements ..................... 13
         C. Qualified and Dedicated Compliance Personnel ............................................................. 14
         D. Employee Cooperation and Awareness of Environmental Obligations........................... 16
         E. Initiatives Beyond the Enumerated ECP Requirements................................................... 19
         F. CSMART Training Center ............................................................................................... 21
         G. Review and Improvements to Internal Investigation Process .......................................... 23
         H. Culture Survey ................................................................................................................. 24




                                                                       i
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 2 of 205
   CONFIDENTIAL                                               June 21, 2018



   IV. Company Capabilities to Meet ECP Objectives: Unresolved Barriers and
       Opportunities for Improvement ........................................................................................ 25
         A. Challenges of the Complex Corporate Structure ............................................................. 25
              1.     Lack of Centralized Policies, Practices, and Procedures ......................................... 26
              2.     Lack of Clarity as to Responsibility, Accountability, and Authority for
                     Environmental Compliance ..................................................................................... 27
         B. Blame Culture and Lack of Learning Culture .................................................................. 30
         C. Ineffective Internal Investigations.................................................................................... 33
              1.     Background .............................................................................................................. 33
              2.     Observations ............................................................................................................ 35
              3.     Investigation Illustrations ........................................................................................ 36
         D. Environmental and ECP Violations ................................................................................. 40
              1.     Environmental Incidents .......................................................................................... 40
              2.     Failure to Provide CCM with ECP-Required Authority.......................................... 42
   V.    Environmental Incidents .................................................................................................... 42
         A. Incident Reporting Mechanisms ...................................................................................... 42
         B. Data Analysis of Incident Reports ................................................................................... 43
              1.     Context and Significance ......................................................................................... 43
              2.     Recurrent Incident Categories ................................................................................. 44
              3.     Recurrent Incident Examples ................................................................................... 46
         C. Data Analysis ................................................................................................................... 55
   VI. Evaluation of the TPA ........................................................................................................ 58
         A. Engagement with the TPA ............................................................................................... 58
         B. TPA Audit Process .......................................................................................................... 59
         C. TPA Audit Reports........................................................................................................... 60
         D. TPA Receptiveness to CAM Feedback ............................................................................ 61
   VII. Evaluation of Internal Audit Function ............................................................................. 61
         A. Overview of Internal Audit Process ................................................................................. 61
         B. CAM Assessment of Internal Audits and Audit Reports ................................................. 63
              1.     Shipboard Audits ..................................................................................................... 63
              2.     Audit Reports ........................................................................................................... 64
              3.     Employee Interviews ............................................................................................... 65




                                                                        ii
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 3 of 205
   CONFIDENTIAL                                               June 21, 2018



         C. TPA Assessment of Internal Audit Function ................................................................... 67
         D. Overall CAM Observations ............................................................................................. 67
   VIII. Areas of Focus for Year Two ............................................................................................ 68
         A. Culture Survey ................................................................................................................. 68
         B. Investigations ................................................................................................................... 69
         C. Training ............................................................................................................................ 69
         D. Resources for Operations and Compliance ...................................................................... 70
         E. Shoreside Support for Vessels ......................................................................................... 71
         F. Personnel .......................................................................................................................... 72
             1.      Environmental Officers............................................................................................ 72
             2.      Engineers ................................................................................................................. 73
             3.      Ratings ..................................................................................................................... 73
         G. Company Vessel Visit Programs ..................................................................................... 73


   Appendix A: CAM’s Methodology and Activities
   Appendix B: Notable Company Initiatives Beyond Enumerated ECP Requirements
   Appendix C: Organizational Charts
   Appendix D: Status of ECP Year One Requirements
   Appendix E: ECP Year One Incidents Tracked by the CAM


   Attachment 1: Superseding First Annual Work Plan and Budget of the Court Appointed Monitor




                                                                         iii
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 4 of 205
   CONFIDENTIAL                                               June 21, 2018



   I.     EXECUTIVE SUMMARY

          The defendant in this case is Princess Cruise Lines (“Princess”). Princess is a wholly-

   owned indirect subsidiary of Carnival Corporation & plc (“Carnival Corp.”), “the world’s largest

   leisure travel company.” http://www.carnivalcorp.com/phoenix.zhtml?c=200767&p=irol-

   prlanding. Carnival Corp. currently is structured to include four groups or operating lines that

   each operate one or more brands: (1) Holland America Group, which manages the Princess,

   Holland America Line, Seabourn, and P&O Australia brands; (2) Carnival Cruise Line, which

   manages the Carnival Cruise Line brand; (3) Carnival UK, which manages the Cunard and P&O

   Cruises UK brands; and (4) Carnival Maritime Group, which manages the Costa Cruises

   (“Costa”) and AIDA Cruises (“AIDA”) brands. Carnival Corp. also maintains an office in

   Miami, Florida that, among other functions, “monitors and supervises environmental, safety,

   security, and regulatory requirements for Princess and other Carnival brands.” Joint Factual

   Statement, Dkt. No. 2-1 (“Joint Factual Statement”) at 1.

          On December 20, 2016, Princess pleaded guilty to seven felony counts arising out of

   vessel pollution and efforts to conceal that pollution carried out on the Caribbean Princess from

   2005-2013: one count of conspiracy; four counts of failure to maintain accurate records; and two

   counts of obstruction of justice. According to the Joint Factual Statement, four other ships in the

   Princess fleet are known to have engaged in similar practices. This was not the first violation by

   a Carnival Corp. entity. Notably, in 2002, Carnival Corp. pleaded guilty to six felony counts

   after falsifying records to conceal vessel pollution on six ships, and an Environmental

   Compliance Plan (“ECP”) was imposed as a condition of probation (“2002 ECP”). The 2002

   ECP began applying to all Princess ships in 2003, following a merger of Carnival Corporation




                                                    1
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 5 of 205
   CONFIDENTIAL                                               June 21, 2018



   and P&O Princess Cruises. At the time the illegal activity on the Caribbean Princess began in

   2005, the ship was still subject to the 2002 ECP.

          On April 19, 2017, this Court sentenced Princess to pay a $40 million criminal penalty

   and to serve a five-year term of probation. Among the Special Conditions of Supervision,

   Princess and Carnival Corp. must fund, implement, and abide by an ECP for five years. The

   terms of the ECP apply to all of the Company’s ships authorized to operate in United States

   waters (seventy-five ships as of the end of ECP Year One) and to all shoreside employees and

   shipboard crews involved with the operation and technical management of those ships.

          The Company also must retain an outside independent third party auditor (“TPA”) and

   fund a court appointed monitor (“CAM”) to report to the Court and the Office of Probation. The

   ECP provides that “[d]uring the entire probationary period, a CAM shall monitor [the

   Company’s] compliance with this ECP.” ECP § VI.A.

          During ECP Year One,1 the CAM Team visited more than twenty vessels and shoreside

   offices, conducted hundreds of interviews, and reviewed thousands of documents. See Appendix

   A. Based on its review, the CAM made the following findings regarding the Company’s

   capabilities to meet ECP objectives and attain continuous improvement:2




   1
     ECP Year One is April 19, 2017 through April 18, 2018. ECP Year Two is April 19, 2018
   through April 18, 2019.
   2
    The CAM provided the Company and the United States Department of Justice (“DOJ”) a copy
   of this CAM Annual Report in advance of its submission and received comments from both
   parties. The CAM took these comments into account; however, the comments did not alter the
   substance of the Report. The Company also has indicated that it may provide additional
   comments to the Court in a separate filing.



                                                   2
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 6 of 205
   CONFIDENTIAL                                               June 21, 2018



          A.      CAM Findings: Progress

          The CAM’s findings related to the Company’s progress regarding ECP objectives are:

          (1)     No Repeat of the Underlying Offenses. The CAM is not aware of any
                  Covered Vessels3 having repeated the conduct for which the sentence was
                  imposed. Specifically, there were no known instances during ECP Year
                  One of intentional bypass of pollution prevention equipment to discharge
                  oily waste water coupled with falsification of records and conspiracy to
                  conceal such illegal acts.4

          (2)     Substantial Implementation of Enumerated ECP Year One
                  Requirements. The Company appears to have substantially implemented
                  the many ECP Year One requirements, such as installation of seals and
                  locks, delivery of training, and development of a sampling program, which
                  required the efforts of hundreds of employees, on ship and on shore.

          (3)     Qualified and Dedicated Compliance Personnel. The ECP requires the
                  Company to appoint a Corporate Compliance Manager (“CCM”), and
                  Operating Line Compliance Managers (“OLCMs”). The Company
                  selected a CCM and OLCMs with significant maritime experience and
                  clear dedication to their work.

          (4)     Employee Cooperation and Awareness of Environmental Obligations.
                  Employees, both on ship and on shore, were nearly universally
                  cooperative and forthcoming in their interactions with the CAM Team and
                  the TPA and evidenced broad comprehension of their environmental
                  obligations. Indeed, the CAM learned about significant employee
                  concerns related to compliance during ECP Year One only because




   3
     Covered Vessels are those vessels that are subject to the ECP—i.e., all oceangoing vessels that
   are owned, operated, and/or manned by Carnival Corp. and any of its operating lines and that
   carry a Certificate of Financial Responsibility (“COFR”), except those vessels that have been
   bareboat chartered to an unaffiliated third party. ECP §§ I.A, I.D, and XI. A COFR is a
   certificate which demonstrates that a responsible party has the ability to meet its statutory
   liability limits. It is required by the Oil Pollution Act of 1990 for a ship to enter United States
   ports. Dkt. No. 58-1 (“Joint Glossary of Terms”) at 3. The list of Covered Vessels has changed
   throughout ECP Year One. As of April 18, 2018, there were seventy-five Covered Vessels:
   twenty-six for Carnival Cruise Line; seventeen for Princess; fourteen for Holland America Line;
   four for Seabourn; four for AIDA; four for P&O Cruises UK; three for Costa; and three for
   Cunard. See April 2018 USPO Supervision Report, Attachment 4.
   4
     However, as discussed below under Unresolved Barrier Finding #4 (“ECP Violations”), other
   types of prohibited discharges and record falsifications have occurred.



                                                    3
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 7 of 205
   CONFIDENTIAL                                               June 21, 2018



                 employees were willing to share that information in confidence with the
                 CAM Team.5

          (5)    Initiatives Beyond the Enumerated ECP Requirements. The Company
                 has implemented a variety of initiatives related to environmental
                 compliance that go beyond the enumerated requirements of the ECP.

          (6)    CSMART Training Center. The Company has used its existing
                 sophisticated training resource, the Center for Simulator Maritime
                 Training (“CSMART”) in Almere, The Netherlands, to implement some
                 of the training required by the ECP.

          (7)    Review and Improvements to Internal Investigation Process. The
                 Company engaged a third party, DNV GL, to assess the Company’s
                 investigation process, identify areas and options for improvement, and
                 identify the stakeholders at Carnival Corp. responsible for performing
                 incident investigations and implementing action plans. The Company has
                 stated it will retain DNV GL to help implement those recommendations.

          (8)    Culture Survey. The Company agreed to the CAM’s request to conduct
                 an environmental compliance culture survey. The goal is for the survey to
                 set a benchmark for the Company’s current culture and identify areas
                 where change and improvement may be needed.

          B.     CAM Findings: Unresolved Barriers and Opportunities for Improvement

          The CAM’s findings of unresolved barriers and opportunities for improvement are:

          (1)    Challenges of the Complex Corporate Structure. Personnel at almost
                 every level of the Company state that the complex corporate structure and
                 lack of centralization impede efforts towards continuous improvement.
                 They point to a need for greater clarity as to responsibility, accountability,
                 and authority for environmental compliance. The Company also has not
                 given the CCM the ECP-required “authority to ensure full implementation
                 of [the] ECP.” ECP § III.A.2.

          (2)    Blame Culture and Lack of Learning Culture. The Company appears
                 to have a blame culture, with a focus on identifying errors and disciplining
                 individuals rather than also evaluating systemic issues that may need to be
                 addressed. This blame culture was exhibited in the response to the crimes
                 that occurred on the Caribbean Princess, as well as in the response to
                 incidents that have been reported since then.

   5
    The CAM relies throughout this Report on information gathered from Company employees.
   Citations to interviews with Company employees do not identify the employee(s) interviewed,
   and will be referred to as “Employee Interview Notes.”



                                                   4
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 8 of 205
   CONFIDENTIAL                                               June 21, 2018




          (3)     Ineffective Internal Investigations. The Company’s internal
                  investigations are critically flawed. There is no consistent, reliable means
                  to investigate incidents or near misses and identify root causes that can
                  lead to meaningful corrective actions.6

          (4)     Environmental and ECP Violations. During ECP Year One, the
                  Company violated environmental laws and the ECP. See infra, § V and
                  Appendix E. In addition, as discussed above under Unresolved Barrier
                  Finding #1 (“Challenges of the Complex Corporate Structure”), the
                  Company has not given the CCM the “authority to ensure full
                  implementation of [the] ECP” required by ECP Section III.A.2.

           The CAM appreciates the opportunity to serve the Court in this matter.

   Additionally, the CAM could not have performed his work during ECP Year One without

   the extensive support and cooperation of the Company’s employees, both on ship and on

   shore. The CAM recognizes the significant efforts undertaken by Company employees to

   implement the ECP. Some of those efforts fell short, but the CAM views the corporate

   governance and culture issues described above as the more significant barriers to creating

   a sustainable compliance culture.

   II.    INTRODUCTION AND BACKGROUND

          A.      Overview of CAM Annual Report

          The Court tasked the CAM to serve as its “eyes and ears” within the Company and to

   provide the “big picture” of the Company’s compliance efforts. Status Conf. Tr. at 16 (Oct. 18,

   2017); Status Conf. Tr. at 45 (Dec. 4, 2017). The TPA’s report provides a more granular review

   of vessel and shoreside audit findings as to ECP requirements.




   6
     As noted above under Progress Finding #7 (“Review and Improvements to Internal
   Investigation Process”), the Company has engaged a third party to assess the Company’s
   investigation process and identify areas and options for improvement.



                                                    5
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 9 of 205
   CONFIDENTIAL                                               June 21, 2018



          This first CAM Annual Report begins with background regarding past vessel

   prosecutions and the regulatory regime in which the Company operates. The Report then

   describes in greater detail the CAM’s findings identified in the Executive Summary, both as to

   the Company’s progress toward meeting ECP objectives and as to unresolved barriers and

   opportunities for improvement. These observations provide context for a discussion of

   environmental incidents identified by the CAM, the TPA, and the Company.

          The ECP also requires the CAM to assess both the TPA and the Company’s internal audit

   function. Accordingly, this Report evaluates the performance and independence of the TPA and

   provides observations on the Company’s internal audit process, which is housed in Carnival

   Corp.’s Risk Advisory and Assurance Services (“RAAS”) department. Finally, the Report

   identifies areas of focus for ECP Year Two.

          B.      History of Vessel Pollution Cases

          Since the 1990s, DOJ has had a “program of prosecuting shipping companies and crew

   for the intentional discharges of pollutants from ocean‐going vessels.” DOJ, ENRD

   Accomplishments Report Fiscal Year 2016 at 72, available at

   https://www.justice.gov/enrd/page/file/925411/download (“ENRD 2016 Accomplishments

   Report”). Working through the United States Attorneys’ Offices and the Environmental Crimes

   Section of the Environment and Natural Resources Division (“ENRD”), the Vessel Pollution

   Initiative has prosecuted individuals and corporations involved in the knowing pollution of the

   ocean by ships and the knowing falsification of ship records in order to conceal such acts. See

   DOJ, Vessel Pollution Enforcement (Apr. 13, 2015), https://www.justice.gov/enrd/vessel-

   pollution-enforcement (“DOJ Vessel Pollution Enforcement”). These prosecutions have

   involved violations of the International Convention for the Prevention of Pollution from Ships




                                                   6
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 10 of 205
    CONFIDENTIAL                                               June 21, 2018



    (“MARPOL”),7 an international environmental treaty, and associated criminal offenses, such as

    obstruction of justice, 18 U.S.C. § 1505, false statements, id. § 1001, and conspiracy, id. § 371.

           Nearly every segment of the commercial maritime industry—including cruise ships,

    container ships, oil and chemical tankers, and cargo ships—has faced prosecution. In some

    cases, the same defendant has been convicted more than once. See DOJ Vessel Pollution

    Enforcement. As of 2016, criminal penalties totaled over $360 million. ENRD 2016

    Accomplishments Report at 72 (this amount does not include the $40 million penalty paid in

    2017 by Princess). Sentences often have included detailed and complex environmental

    compliance programs as a condition of probation. These programs have required, among other

    things, equipment modifications to deter and detect future discharges, outside independent

    audits, and court appointed monitors.

           Past vessel pollution cases against major cruise lines have involved facts similar to those

    in the present case—intentional discharges of oily waste water and falsification of ship records in

    violation of MARPOL and Title 18 of the United States Code over an extended period of time.

    Indeed, other Carnival Corp. entities have pleaded guilty to felony charges for similar conduct.

    In 1998, a Holland America Line company pleaded guilty to felony charges after illegally

    discharging oily waste water and failing to properly record such discharges on the S.S.

    Rotterdam. U.S. v. HAL Beheer BV, No. 3:98-cr-00108 (D. Alaska). In that case, the defendant

    paid $2 million in criminal penalties and agreed to a five-year compliance program to be

    implemented on all Holland America Line ships. In 2002, Carnival Corp. pleaded guilty to six

    felony charges after falsifying records to conceal oily waste discharges on six ships. U.S. v.



    7
      MARPOL is implemented in the United States by the Act to Prevent Pollution from Ships
    (“APPS”), 33 U.S.C. §§ 1901-12.



                                                     7
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 11 of 205
    CONFIDENTIAL                                               June 21, 2018



    Carnival Corp., No. 1:02-cr-20350 (S.D. Fla.). Carnival Corp. paid $18 million in criminal fines

    and community service payments and agreed to a five-year, court-supervised ECP for its entire

    fleet (including Princess ships following a 2003 merger8).9 Examples of similar cruise line

    prosecutions include: U.S. v. Royal Caribbean Cruises, No. 1:99-CR-00509 (S.D. Fla.); U.S. v.

    Royal Caribbean Cruises, No. 1:02-CR-20350 (S.D. Fla.); and U.S. v. Norwegian Cruise Lines,

    No. 1:02-CR-20631 (S.D. Fla.). See Dkt. No. 26 at 9-10.

            Princess also had at least two other prior environmental convictions: the first, in 1993,

    for knowingly discharging plastic bags of garbage in the ocean off the Florida Keys, U.S. v.

    Princess Cruises, Inc., No. 93-6058 (S.D. Fla.); and the second, in 2007, for failing to operate

    safely in the vicinity of humpback whales in waters near Alaska. U.S. v. Princess Cruise Lines,

    Inc., No. 3:07-cr-00005 (D. Alaska).

           It is against this backdrop of numerous prior cases, and the prior court-imposed

    compliance programs, that the crimes giving rise to the current prosecution occurred.

           C.      History of Current Case

                   1.      Criminal Conduct

           For approximately eight years, from 2005 until 2013, the Caribbean Princess illegally

    discharged oily bilge water10 into the ocean through various methods that bypassed or otherwise



    8
      The 2002 ECP initially applied to Carnival Cruise Line, Holland America Line, and Cunard. In
    2003, following a merger of Carnival Corporation and P&O Princess Cruises, see infra, § IV.A,
    the Company agreed to also apply the existing 2002 ECP to Princess.
    9
     In a related prosecution in 2004, the former Holland America Line Vice President for Operating
    Line Compliance pleaded guilty to delivering false reports that indicated that Holland America
    Line was complying with the audit program required by the 2002 ECP when, in fact, no such
    program existed.
    10
      Bilges are the lowest portion of a ship inside the ship hull where liquids, including oil,
    accumulate. Joint Glossary of Terms at 1.



                                                     8
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 12 of 205
    CONFIDENTIAL                                               June 21, 2018



    defeated pollution prevention equipment, including diluting oily bilge water with sea water when

    using the Oily Water Separator.11 See Joint Factual Statement at 3. During this time, the ship’s

    engineers falsified the ship’s Oil Record Book12 to conceal these acts. These crimes were not

    detected during audits and inspections over the years by various parties, including Company

    auditors, third party auditors, and government agents. Nor did any of the employees involved

    come forward, until August 2013, when a recently hired junior engineer walked off the ship in

    Southampton and informed the United Kingdom’s Maritime and Coast Guard Agency of illegal

    discharges having been made. Joint Factual Statement at 2.

           When it was learned that the illegal conduct had been reported, evidence was tampered

    with or destroyed, and crew members were instructed by senior ship engineers to lie. See id. at

    2, 6-7. As a result, witnesses gave false statements during the subsequent United States

    government investigation. See id.

           Despite these efforts at obstruction, the federal investigation confirmed the illegal activity

    on the Caribbean Princess, and also determined that the activity was not an anomaly. Id. at 11.

    “Four other ‘Grand Class’ vessels in the Princess fleet are known to have engaged in similar

    practices to the Caribbean Princess [including] with regard to the dilution of oily bilge water

    with sea water during the use of the oily water separator . . . Those ships were the Golden



    11
      An Oily Water Separator is a piece of pollution prevention equipment used to separate oil and
    water mixtures into their separate components. The equipment is designed to produce effluent
    with oil content not exceeding 15 parts per million, as required by MARPOL Annex I. Id. at 12.
    An integral part of an Oily Water Separator is an Oil Content Meter, a device that measures and
    records the oil content in a moving stream of water to determine if it meets regulatory standards
    prior to discharge. Id. at 8-9.
    12
       An Oil Record Book is a log in which all of a ship’s overboard discharges of oily waste water,
    among other items, must be recorded. It is required by MARPOL, Annex I, reg. 17 and 36, as
    well as United States Coast Guard regulations at 33 C.F.R. § 151.25. Joint Glossary of Terms at
    9.



                                                     9
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 13 of 205
    CONFIDENTIAL                                               June 21, 2018



    Princess, Coral Princess, Grand Princess, and Star Princess.” Id. As on the Caribbean

    Princess, these illegal discharges were concealed, went unrecorded in the ships’ respective Oil

    Record Books, and no employees are known to have made efforts to stop or report the issues.

    “Numerous crewmembers were aware of this longstanding practice and the failure to record the

    discharges in the Oil Record Book, both of which took place over a period of many years.” Id.

           As described above, the activity on the Caribbean Princess also was not the Company’s

    first violation. The illegal conduct on the Caribbean Princess began while the ship was still

    subject to the 2002 ECP imposed as a condition of Carnival Corp.’s probation after pleading

    guilty to similar environmental crimes.13

                   2.     Guilty Plea, Conviction, and Judgment

           On December 20, 2016, Princess pleaded guilty to seven felonies arising out of the vessel

    pollution and efforts to conceal that pollution by the Caribbean Princess: one count of

    conspiracy in violation of 18 U.S.C. § 371; four counts of failure to maintain accurate Oil Record

    Books in violation of APPS, 33 U.S.C. § 1908(a); and two counts of obstruction of justice in

    violation of 18 U.S.C. § 1505. See Judgment, Dkt. No. 30 (“Judgment”) at 1.

           On April 19, 2017, this Court sentenced Princess to pay a $40 million criminal penalty

    and to serve a five-year term of probation. The following day, the Court issued a written



    13
       Company personnel who were present throughout these time periods have stated that corporate
    leadership on environmental compliance waned following the early termination of the 2002 ECP
    in August of 2006. As one employee put it, the Company “took their foot off the gas.” See
    Employee Interview Notes. An analysis of the Caribbean Princess incident prepared by the
    Company’s Chief Maritime Officer, Vice Admiral William R. Burke (Ret.), also notes that:
    “Following completion of the previous ECP, the environmental officers were not trained as well
    and were given additional responsibilities so that they no longer had the knowledge, the focus or
    the shipboard status to do the jobs we hoped they would. Finally, shore management lost focus
    on environmental issues.” See Bilge water discharge violation root cause assessment (undated)
    (provided to the CAM Team by the Company) (“Chief Maritime Officer Root Cause Analysis”).



                                                   10
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 14 of 205
    CONFIDENTIAL                                               June 21, 2018



    Judgement, including Special Conditions of Supervision. Id. As one such Condition, the

    Company must fund, implement, and abide by an ECP for five years. Id. The Company also

    must retain an outside independent TPA14 and fund a CAM15 to perform the duties set forth in

    the Conditions of Supervision and the ECP, and to report to the Court and Office of Probation.

    Id.

                   3.     Court Oversight

                         i.   Quarterly Status Conferences and Status Reports

           As part of its oversight of the Company’s compliance with the ECP and other conditions

    of probation, the Court has ordered the Company and the Government (collectively, the

    “Parties”), as well as the Probation Office, the CAM, and the TPA, to report to the Court on a

    quarterly basis. Dkt. No. 54. The Court also ordered the Parties to file Joint Status Reports prior

    to each quarterly Status Conference. Id. Status Conferences have been held on October 18,

    2017, December 4, 2017, and April 3, 2018.

                        ii.   CAM Reports

           At the April 3, 2018 hearing, the Parties, the CAM, and the Court agreed that the CAM

    would prepare CAM Quarterly Reports for the Court, in addition to the CAM Annual Reports.

    On April 26, 2018, the Court issued an order setting a schedule for CAM Quarterly and Annual

    Reports and subsequent Status Conferences. Dkt. No. 66. The CAM’s first Quarterly Report is

    due on September 18, 2018.




    14
      The TPA is ABSG Consulting, Inc. (“ABSG”), an advisory and technical services provider for
    the marine and other sectors.
    15
      The CAM is Steven P. Solow, a partner at Katten Muchin Rosenman LLP (“Katten”). The
    CAM retained Katten and the marine consulting firm Martin & Ottaway as advisors to the CAM
    (collectively, the “CAM Team”).



                                                    11
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 15 of 205
    CONFIDENTIAL                                               June 21, 2018



            D.      Regulatory Regime

            Cruise ship companies operate within a comprehensive regulatory regime that reflects the

    fact that a cruise ship is akin to a floating city. Like cities of comparable size, cruise ships

    generate a number of regulated waste streams, including garbage, sewage, wastewater, food

    waste, waste oil, and air emissions. Unlike cities, however, cruise ships face unique challenges

    when it comes to environmental compliance because they spend most of their time at sea.

            As Carnival describes in its 2017 10-K: “Our ships are regulated by numerous

    international, national, state and local laws, regulations, treaties and other legal requirements that

    govern health, environmental, safety and security matters in relation to our guests, crew and

    ships. These requirements change regularly, sometimes on a daily basis, depending on the

    itineraries of our ships and the ports and countries visited.” Carnival 2017 10-K at 22. Carnival

    goes on to state that:

            The primary regulatory bodies that establish maritime laws and requirements applicable
            to our ships include:

            The International Maritime Organization (“IMO”): All of our ships, and the maritime
            industry as a whole, are subject to the maritime safety, security and environmental
            regulations established by the IMO, a specialized agency of the United Nations. The
            IMO’s principal sets of requirements are mandated through its International Convention
            for the Safety of Life at Sea (“SOLAS”) and [MARPOL].

            Flag States: Our ships are registered, or flagged, in The Bahamas, Bermuda, Italy, Malta,
            the Netherlands, Panama and the UK, which are also referred to as Flag States. Our ships
            are regulated by these Flag States through international conventions that govern health,
            environmental, safety and security matters in relation to our guests, crew and ships.
            Representatives of each Flag State conduct periodic inspections, surveys and audits to
            verify compliance with these requirements.

            Ship classification societies: Class certification is one of the necessary documents
            required for our cruise ships to be flagged in a specific country, obtain liability insurance
            and legally operate as passenger cruise ships. Our ships are subject to periodic class
            surveys, including dry-docking inspections, by ship classification societies to verify that
            our ships have been maintained in accordance with the rules of the classification societies
            and that recommended repairs have been satisfactorily completed . . .




                                                      12
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 16 of 205
    CONFIDENTIAL                                               June 21, 2018




           National, regional, state and local authorities: We are subject to the decrees,
           directives, regulations and requirements of the European Union (“EU”), the U.S., U.S.
           states and more than 400 other international ports that our ships visit every year.

           Port regulatory authorities (Port State Control): Our ships are also subject to
           inspection by the port regulatory authorities, which are also referred to as Port State
           Control, in the various countries that they visit. Such inspections include verification of
           compliance with the maritime safety, security, environmental, customs, immigration,
           health and labor requirements applicable to each port, as well as with regional, national
           and international requirements. Many countries have joined together to form regional port
           regulatory authorities.

    Id.

    III.   COMPANY CAPABILITIES TO MEET ECP OBJECTIVES: PROGRESS

           A.      No Repeat of the Underlying Offenses

           The CAM is not aware of any evidence of a recurrence on any of the Company’s Covered

    Vessels during ECP Year One of the same criminal conduct that occurred on the Caribbean

    Princess. Based on the CAM’s own vessel visits and interviews, a review of the TPA audits, and

    an assessment of corporate incident tracking, there has been no observed evidence of intentional

    bypass of pollution prevention equipment to discharge oily waste water coupled with intentional

    falsification of records and conspiracy to conceal such illegal acts.

           However, there have been violations of environmental laws and the ECP, including four

    known instances of record falsification and numerous instances of prohibited discharges. See

    infra, §§ IV.D and V, and Appendix E.

           B.      Substantial Implementation of Enumerated ECP Year One Requirements

           The ECP required the Company to implement policies, procedures, training, and changes

    to equipment. The Company expended considerable efforts to meet the ECP Year One

    requirements, and has substantially complied with them, as set forth in detail in Appendix D. As

    a further example of the Company’s efforts, the Company took steps designed to ensure that




                                                     13
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 17 of 205
    CONFIDENTIAL                                               June 21, 2018



    Carnival Cruise Line’s new Carnival Horizon ship, delivered on March 28, 2018, is ECP

    compliant. These efforts included: performing a vulnerability assessment;16 ordering ECP

    critical spare parts; providing ECP training to all 1,400 Carnival Horizon team members before

    the ship’s delivery date; verifying that Health, Environmental, Safety, & Security (“HESS”)

    systems and procedures were in place; and holding an environmental compliance visit several

    weeks prior to delivery to oversee ECP implementation and set up training. The Company

    reports that, despite challenges, these tasks were completed.

           C.      Qualified and Dedicated Compliance Personnel

           The individuals selected for the CCM and OLCM positions have significant maritime

    experience and display a commitment to environmental compliance. Each of the OLCMs retains

    an existing corporate position within the operating line in addition to the ECP-required OLCM

    position.

           Chris Donald, Carnival Corp.’s CCM and Vice President of Corporate Environmental

    Compliance, began his career as a marine engineer in 1997, serving at sea for approximately ten

    years, including for ExxonMobil, Windstar Cruises, and Holland America Line. Mr. Donald

    moved shoreside in 2007 to Carnival Corp., where he was involved in policy development and

    the Company’s internal audit and investigations program, which later became RAAS. See Status

    Conf. Tr. at 11 (Apr. 19, 2017). He was appointed as the CCM in or around October 2016.


    16
       For purposes of this case, a vulnerability assessment is a “methodology to identify the
    pipework connections required to be controlled to prevent unauthorized use, in accordance with
    [this] ECP.” Environmental Compliance Notice #09-2017-A1 at 2; see also ECP § IX.B.1
    (requiring the Company to implement an Environmental Control System “to help prevent
    unauthorized usage or connections within the engine room and machinery spaces,” and which
    requires “crew members to use numbered seals, locks, or welds (on flanges) to prevent the
    unauthorized connection to, and discharge through, piping systems that are or may be connected
    to the oily bilge system or overboard discharge connections”). For photographs of ECP
    Environmental Control System seals and locks, see Section V.B.3.ix.



                                                    14
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 18 of 205
    CONFIDENTIAL                                               June 21, 2018



           Alessandro Bertorello, Carnival Maritime Group’s OLCM and Director of Environment,

    began his career in 1999 as a Project Manager of the Marine Pollution Prevention Service for the

    Italian Ministry of the Environment. Mr. Bertorello then worked at Costa Crociere from 2001-

    2015, including as an inventory officer, Environmental Officer, environmental superintendent,

    and environmental management director. He joined Carnival Maritime Group in August 2015

    and became Carnival Maritime Group’s Director of Environment in January 2017.

           Peter Hutchison, Carnival UK’s OLCM and Vice President of Governance, began his

    career as a deck cadet at Carnival Corp. in 1996, where he remained for around fourteen years

    holding various positions within several brands, ultimately attaining the rank of Chief Officer. In

    2010, he joined Holland America Line and Seabourn as the Manager of the Maritime

    Investigations Program. In 2011, he returned to Carnival Corp., first as the Manager of Maritime

    Audit Services and then as the Director of RAAS. Mr. Hutchison left Carnival Corp. in 2013

    and spent approximately one year as Marine Manager at a London-based law firm specializing in

    marine shipping and trade, and approximately three years as Head of Quality, Health, Safety, and

    Environmental & Marine Operations at a maritime crewing company. Mr. Hutchison joined

    Carnival UK as its Vice President of Governance in June 2017.

           Paul McClelland, Holland America Group’s OLCM and Vice President of Environmental

    Compliance, began his career in 1986 with the United Kingdom’s Royal Fleet Auxiliary. In

    1989, he joined the cruise industry, working as a Merchant Naval Officer at P&O Cruises and

    Princess Cruises from 1989-1996. McClelland then worked in various positions at Lloyd’s

    Register, a classification society, for approximately twenty years. He joined Holland America

    Group in February 2017.




                                                    15
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 19 of 205
    CONFIDENTIAL                                               June 21, 2018



           Domenico Rognoni, Carnival Cruise Line’s OLCM and Vice President and Chief

    Compliance Officer, began his career in 1976 as a Junior Officer for Costa Cruises. He then

    served in the Italian Navy from 1978-1980 before joining Carnival Cruise Lines in 1980. Since

    then, Mr. Rognoni has held various positions both ship and shoreside within Carnival Cruise

    Lines, including as Captain and as Vice President of Compliance, Environmental and

    Occupational Safety. In May 2018, Rognoni became Carnival Cruise Line’s Vice President and

    Chief Compliance Officer.

           Each of these individuals has demonstrated themselves to be knowledgeable, forthright,

    and committed to the goal of achieving a sustainable environmental compliance program. As

    discussed in Section IV.A.2, however, the CCM has not been given the ECP-required “authority

    to ensure full implementation of [the] ECP.” ECP § III.A.2. In addition, questions remain as to

    whether the CCM and OLCMs have sufficient resources to fulfill their respective mandates

    under the ECP.

           D.      Employee Cooperation and Awareness of Environmental Obligations

           The Company has over 120,000 employees worldwide, and more than 11 million guests

    sail on its ships to more than 700 ports each year. See

    http://www.carnivalcorp.com/phoenix.zhtml?c=200767&p=irol-prlanding. On any given day,

    Carnival’s over 100 ships transport more than 300,000 guests and crew around the world. Id.

    The ships’ crews do a remarkable number of things successfully, starting with their highest

    obligation of transporting thousands of people safely from one place to another. Anyone who

    has been aboard a well-functioning cruise ship cannot help but be amazed at what happens each

    day. On a ship of roughly 4,000 guests and over 1,000 crew members, there will be some 25,000

    meals prepared each day, along with commensurate tasks of cleaning, making up rooms,




                                                    16
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 20 of 205
    CONFIDENTIAL                                               June 21, 2018



    providing laundry service, managing garbage and sewage, and various other tasks. See

    Employee Interview Notes. The ship will experience all of the myriad needs of a small, floating

    city, while at the same time providing all the entertainment and other services of a shore-based

    resort.

              Visiting these vessels and the shoreside offices that support them is a critical part of the

    CAM Team’s work. The CAM’s ability to fulfill his broad mandate to monitor the Company’s

    compliance with the ECP, see ECP § VI.A, depends on the Company’s cooperation in

    facilitating the CAM Team’s access to the Company’s facilities, vessels, personnel, and records.

    Although the Company initially attempted to limit the number and scope of the CAM Team’s

    visits, once the Court clarified its expectations, vessel and shoreside visits have proceeded

    smoothly. On balance, the Company has provided a high level of cooperation during ECP Year

    One. The crew and officers of the more than forty vessels visited by either the CAM Team or

    the TPA (or both) were open, cooperative, and forthcoming. They described their environmental

    obligations clearly, and offered frank assessments of what they considered to be aids, challenges,

    or barriers to their ability to perform their compliance tasks. The CAM Team has not

    encountered significant obstacles during interactions with personnel on either ships or shore.

              The CAM Team’s vessel and shoreside visits are not audits. The CAM Team’s role is to

    assess broader issues related to ECP compliance and the support for a broader culture of

    corporate compliance and continuous improvement. To make these assessments, the CAM Team

    reviews engineering, training, organizational, and procedural requirements. In addition, the

    CAM Team seeks to gauge support for, and barriers to, compliance and to evaluate the

    sufficiency of audits by the TPA and the Company’s RAAS group. The CCM, his colleagues,

    and numerous other corporate personnel have facilitated these visits with usually one week or




                                                        17
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 21 of 205
    CONFIDENTIAL                                               June 21, 2018



    less of notice. In some instances, the CAM Team has arrived to a ship to find that the entire

    crew had no apparent notice of the CAM Team’s impending visit. In other instances, the Captain

    has been made aware of an impending CAM Team visit only a day or two before the CAM

    Team’s arrival.

           Once onboard, the vessels’ officers and other crew have been cooperative and helpful.

    On each visit during ECP Year One, CAM Team members have spoken with a wide range of

    crew members, including members of the ship’s leadership team, environmental officers,

    engineers, and ratings.17 The CAM Team has been provided with space for private interviews.

    Vessel crew have facilitated access to ship documentation and machinery spaces, including the

    engine room.

           Meetings with shipboard employees—from the Captain, Chief Engineer,18 and Head of

    Hotel to the engine room ratings and cabin stewards—demonstrated employee awareness of the

    ECP and the ship’s environmental obligations.19 See Employee Interview Notes. The

    Environmental Officers were knowledgeable and expressed their personal commitment to

    environmental compliance. Based on a review of the Environmental Officers’ records, it appears

    that Environmental Officers fulfilled their requirements to train crew, conducted ECP-required




    17
      Ratings are members of a ship’s crew other than the Captain or an officer. International
    Convention on Standards of Training, Certification and Watchkeeping for Seafarers, 1978, as
    amended (“STCW Convention”), Annex, Ch. 1, Reg. I/1.13. Engine room ratings include
    wipers, motormen, plumbers, and fitters.
    18
       The Chief Engineer is “the senior engineer officer responsible for the mechanical propulsion
    and the operation and maintenance of the mechanical and electrical installations of the ship.” Id.
    at Reg. I/1.8.
    19
      The CAM notes, however, that in some instances language barriers limited the extent to which
    certain crew members were able to engage in a substantive discussion with the CAM Team
    regarding the ECP. This issue arose primarily with ratings.



                                                    18
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 22 of 205
    CONFIDENTIAL                                               June 21, 2018



    visits to the engine room, and endeavored to become a compliance resource to ship personnel

    regarding environmental requirements.

           In both formal interviews and informal discussions, crew members were willing, and

    often eager, to engage with CAM Team members about ECP implementation. In particular,

    Environmental Officers and Chief Engineers have been frank regarding the challenges they face,

    including the scope of Environmental Officer duties, the Environmental Control System

    seal/lock program, see ECP IX.B, crew training requirements, and the level of support to the

    ships from shoreside management. This candor is essential to identifying what is working to

    support and encourage environmental compliance, as well as what may not be successful or

    effective.

           Similarly, during shoreside visits, numerous individuals, beyond the CCM and OLCMs,

    have exhibited a strong commitment to creating a sustainable culture of environmental

    compliance. These individuals have suggested areas of inquiry, responded promptly to requests

    for information, and have been candid about positive and negative experiences with respect to

    the Company’s approach to environmental compliance and culture. During shoreside visits, the

    CCM and the OLCMs also have worked to facilitate such conversations and appear to have

    promoted a constructive attitude towards the CAM.

           E.      Initiatives Beyond the Enumerated ECP Requirements

           As noted above, the ECP contains enumerated requirements, and the Company has

    substantially complied with those requirements. See supra, § III.B. In addition, the Company

    has instituted a number of additional initiatives and adapted some pre-existing programs to

    further the goals of the ECP and environmental compliance.




                                                   19
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 23 of 205
    CONFIDENTIAL                                               June 21, 2018



           While the ECP applies only to Covered Vessels, the Company “voluntarily extended the

    ECP requirements to all of [its] ships across the entire Carnival Corporation fleet.” April 2018

    USPO Supervision Report, Attachment 3. The Company hired a third party auditor, Bureau

    Veritas, to perform ECP-based audits on those vessels not covered by the ECP. Id.

           The Company also implemented the Operation Oceans Alive program. Launched in

    January 2018, the Company describes Operation Oceans Alive as “a call to action for all ECP

    Covered Personnel20 . . . designed to create a higher level of environmental awareness via

    various communication methods.” April 2018 USPO Supervision Report, Attachment 3. This

    initiative includes a “Top 5” program through which the Company “identified 5 key areas of

    environmental concern/risk and ha[s] commenced an initiative to reduce the number of issues

    and further alleviate those risks.” Id. The initiative also features an “Environmental Excellence

    Awards” program that seeks to “acknowledge the strong commitment our ships have toward

    achieving their environmental objectives and targets as well as continuous improvement and

    doing the right thing.” Id.

           In addition, as described in its Monthly Supervision Reports to the Office of Probation,

    the Company has pursued a variety of initiatives it believes will move the Company towards the

    goal of a sustainable environmental compliance culture. The initiatives are varied in approach

    and scope, and reflect efforts to standardize the approach of the operating lines to areas such as

    communication, engineering, training, environmental policies and procedures, and incident

    investigations. See, e.g., id. (describing actions taken by the Company “to notify employees,




    20
      Covered Personnel are those Company employees who are subject to the ECP—i.e., “all
    shore-side employees and shipboard crews involved with the operation and technical
    management of the Covered Vessels.” ECP §§ I.B. and I.D.



                                                    20
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 24 of 205
    CONFIDENTIAL                                               June 21, 2018



    stockholders, victims or the public regarding the organization’s conviction and action it is taking

    to prevent reoccurrence”).

           For a fuller description of voluntary measures that the Company has taken or is taking

    related to environmental compliance, see Appendix B.

           F.      CSMART Training Center

           The Company has made a significant investment into training and mentoring its ship

    officers through a state-of-the-art training center in The Netherlands called CSMART or The

    Arison Maritime Center. Initially opened in 2009 as a P&O Cruises and Princess Cruises

    training center for bridge21 officers, CSMART has since expanded into a 110,000 square foot

    facility that is reported to be capable of annually training over 6,500 bridge and engineering

    officers from across the Company’s ten brands. See

    http://www.carnivalcorp.com/phoenix.zhtml?c=200767&p=irol-newsArticle&ID=2185532.

    Among other things, CSMART uses simulators to provide training on navigational and technical

    scenarios. The simulation facilities and other interactive equipment and machinery appear to be

    without peers. The following photographs of a CSMART Engine Control Room simulator and a

    Bridge simulator (alongside an actual Engine Control Room and Bridge), indicate how closely

    the simulators copy the reality of ship operations.

                           [See photographs on following page.]




    21
      The bridge of a ship is the room or platform from which the ship is commanded and where
    navigational equipment is housed. See https://www.marineinsight.com/marine-navigation/10-
    types-of-decks-every-seafarer-should-know/.



                                                     21
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 25 of 205
    CONFIDENTIAL                                               June 21, 2018




    CSMART Engine Control Room (left) and Carnival Inspiration Engine Control Room (right).




    CSMART Bridge (left) and AIDAvita Bridge (right).

           The Company has made use of CSMART in connection with ECP-required

    environmental training. As of April 2018, the Company has conducted twenty-eight

    Environmental Officer training courses for 230 Environmental Officers at CSMART. See April

    2018 USPO Supervision Report, Attachment 3. These courses are taught by two full-time

    Environmental Officer course instructors and an operating line instructor. Id. In October 2017,

    the Company began providing environmental training to all engineers and deck officers attending

    CSMART for technical and nautical training. Id. This training program, called “Compliance to

    Commitment,” is described by the Company as an effort to further communicate corporate




                                                        22
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 26 of 205
    CONFIDENTIAL                                               June 21, 2018



    commitment to environmental compliance and stewardship and detail the events that occurred

    onboard the Caribbean Princess.” Id.

           In addition, the Company has demonstrated a desire to improve the content and efficacy

    of its environmental training. It has created new training videos, redesigned its Environmental

    Officer training program, and engaged an instructional design consultant to review the CSMART

    Environmental Officer training program. See id. For additional discussion of CSMART and the

    Company’s training-related initiatives, see Appendix B.

           G.      Review and Improvements to Internal Investigation Process

           As discussed in Section IV.C, there are significant concerns regarding the weakness of

    the Company’s internal incident investigation process. Recognizing this problem, the Company

    recently engaged DNV GL, a classification society with maritime advisory services, to review its

    investigation process, policies, and structures and to provide recommendations for improvement.

    In May 2018, DNV GL issued a report with detailed findings and recommendations. See DNV

    GL, Towards improving Carnival’s incident investigation process, Report No. 2018-0209, Rev.

    Final (May 8, 2018), PCL_ECP00052001-52050. DNV GL’s recommendations include

    developing: a more clearly defined and consistent incident investigation process with clear lines

    of authority across the brands, improved training on investigations, consistent investigation and

    reporting methodology, and methods for tracking and trending this information across the fleets

    to identify and manage key areas of risk. Id. at PCL_ECP00052035-39. Acting on these

    recommendations is necessary if the Company wishes to understand and address the causes of

    incidents, including those that already have been reported to the Court.




                                                    23
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 27 of 205
    CONFIDENTIAL                                               June 21, 2018



           The CAM understands that the Company’s Chief Audit Officer is leading the effort to

    implement many of DNV GL’s recommendations. See Employee Interview Notes. The CAM

    will track the Company’s progress in this area during ECP Year Two. See infra, § VIII.B.

           H.      Culture Survey

           The Court recognized, at the outset of this matter, the importance of a strong

    organizational culture to achieving sustainable compliance beyond the term of probation.22 For

    this reason, the Court has emphasized its interest in evaluating progress and growth in the

    Company’s compliance culture over the term of probation. See e.g., Sentencing Hr’g Tr. at 13

    (Apr. 19, 2017) (“[I]t concerns me that the culture really needs to be changed . . . if [a culture of

    compliance] is not ingrained in the people that you hire and in the people that you train and in

    the leadership, this [probation] is not going to accomplish anything and we'll be back here

    again.”). The Court challenged the Company to demonstrate its leadership:

           The proof is in the pudding, and I truly believe in inspiring people to rise to their
           highest level. . . . That requires great leadership, so that your troops, so to speak,
           know that the person at the top cares for them, gives them the tools that they need
           to perform the job, gives them the training that they need to be the best to grow,
           encourages the crew to spot problems and bring them to the attention, be
           proactive. That's the kind of attitude that is critical. . . . [T]hat seems to be at the
           base of what one needs to make this the success that I want it to be and the
           success that I’m sure that Carnival would like it to be.

    Id. at 15-16. Counsel for Carnival responded: “Yes, Your Honor. Understood.” Id. at 16.

    The Company’s representative, the then-General Counsel for Holland America Group,

    also reinforced the Company’s position:

           [W]e don't want to be back before you, in particular in this matter or ever again, and
           we’re committed to working with the court-appointed monitor and the third-party auditor

    22
      At the December 2016 plea hearing, the Court stated that “what concerns me is that there
    obviously was a culture, at least on this ship, if not on other Princess ships, that promoted
    dishonesty and the willingness to help each other out in getting around doing the right thing.”
    Plea Hr’g Tr. at 32 (Dec. 20, 2016).



                                                      24
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 28 of 205
    CONFIDENTIAL                                               June 21, 2018



            over the next five years to continue to enhance our compliance program even more, and
            our focus is a culture of compliance. You know, the rules are easy to tick them off. But
            we are looking for a culture of compliance and that is what our focus is going to be over
            the next five years.

    Id. at 36.

            In addition to these statements to the Court, the Company agreed not only to support the

    CAM’s request to conduct a survey to assess the corporate environmental compliance culture,

    but also requested that the CAM’s survey be administered to additional shipboard crewmembers

    and key shoreside personnel worldwide. See infra, § VIII.A.

    IV.     COMPANY CAPABILITIES TO MEET ECP OBJECTIVES: UNRESOLVED BARRIERS AND
            OPPORTUNITIES FOR IMPROVEMENT

            A.     Challenges of the Complex Corporate Structure

            Carnival Corp. is a large multi-national corporation formed through a series of mergers

    and acquisitions. It has become the largest cruise company in the world. See Information, Dkt.

    No. 1 and http://www.carnivalcorp.com/phoenix.zhtml?c=200767&p=irol-corporatetimeline.

    “Over the years, Carnival has acquired representation in virtually every market segment of the

    cruise industry, including premium operator Holland America Line in 1989. . .; luxury brand

    Seabourn in 1992; Genoa, Italy-based contemporary brand Costa Cruises, Europe’s number one

    cruise operator, in 1997; and venerable premium/luxury operator Cunard Line in 1998. . . .”

    http://www.carnivalcorp.com/phoenix.zhtml?c=200767&p=irol-history. In 2003, a

    “combination of Carnival Corporation and P&O Princess Cruises – comprised of Princess

    Cruises, P&O Cruises, AIDA, P&O Cruises Australia, and tour operator Princess Tours – [was]

    completed, creating the first global cruise company.”

    http://www.carnivalcorp.com/phoenix.zhtml?c=200767&p=irol-corporatetimeline.

             The Company’s four operating lines—Holland America Group, Carnival Cruise Line,

    Carnival UK, and Carnival Maritime Group—operate with a high degree of independence. As a



                                                    25
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 29 of 205
    CONFIDENTIAL                                               June 21, 2018



    result, Carnival Corp. is closer to an association of companies rather than a coordinated and

    integrated corporation. See Employee Interview Notes. Carnival Corp. states on its website that

    its “rise to the world’s largest cruise operator can be attributed to its ability to manage brand

    autonomy, with each major cruise line maintaining separate sales, marketing and reservation

    offices, as well as through the industry’s most aggressive shipbuilding program.”

    http://www.carnivalcorp.com/phoenix.zhtml?c=200767&p=irol-history. Similarly, the

    Documents of Compliance required by the International Safety Management (“ISM”) Code for

    companies operating ships are held by the relevant subsidiary brand or group, and not by

    Carnival Corp. See Employee Interview Notes.

                   1.      Lack of Centralized Policies, Practices, and Procedures

           In his annual report to the HESS Committee of the Company’s Board of Directors, the

    CCM recognized that one of the “larger, organizational challenges” the Company needs to

    address is that the “current organizational and operational structure does not readily support a

    highly centralized approach to operations management.” PCL_ECP00046433 at 3. Although the

    Company has made some efforts to standardize the policy-making function through Carnival

    Corp.’s Maritime Policy and Analysis group, the operating lines also set policy and develop

    operational systems for their respective organizations, resulting in inconsistencies across the

    Company. Individuals at nearly every level of the Company have indicated that this lack of

    centralization and uniformity impedes efforts to share information and to foster continuous

    improvement. See Employee Interview Notes.23



    23
       As set forth further in Appendix B, the Company is working to unify HESS procedures across
    all operating lines and brands into a new “Global HESS” system. However, the Company asserts
    that variation in Flag State requirements, shipboard equipment, and staffing make it impossible
    to standardize all policies and procedures. See Employee Interview Notes.



                                                     26
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 30 of 205
    CONFIDENTIAL                                               June 21, 2018



           For example, operating lines take inconsistent approaches to incident and near miss

    reporting. There appears to be a wide range in the nature and quality of reporting forms,

    reporting standards (i.e., rules about what types of incidents to report), and tracking systems.

    Holland America Group has developed its own internal applications and spreadsheets for

    tracking and reporting incidents and near misses that are not used by other operating lines. See

    PCL_ECP00046433 at 12, 22-23; see also Employee Interview Notes. Similarly, Holland

    America Group has developed its own tools for tracking investigations, ECP audit findings, and

    ECP training. See PCL_ECP00046433 at 11-12, 15, 37-38; see also Employee Interview Notes.

    Based on CAM Team observations during the TPA audit of Holland America Group shoreside

    facilities, many of these tools reside on the computers of individual employees, rather than on

    shared dashboards within the Company’s shared Global HESS system. See Employee Interview

    Notes. The lack of centralized applications within Carnival Corp. means there is no way to

    “control and document workflow and insure consistency to reports.” See PCL_ECP00046433 at

    37.

           Employees also have observed that the Company’s largely decentralized management

    and compliance operations mean that best practices are not consistently shared across operating

    lines and brands. In one small example, a crew member learned of an improved practice related

    to waste offloading at another operating line only through a chance conversation. He expressed

    frustration that this information had not been shared and said that he felt shoreside, in general,

    did not share information readily. See Employee Interview Notes.

                   2.      Lack of Clarity as to Responsibility, Accountability, and Authority for
                           Environmental Compliance

           Effective compliance requires, among other things, that the individuals with

    responsibility for compliance be “given adequate resources [and] appropriate authority.” See




                                                     27
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 31 of 205
    CONFIDENTIAL                                               June 21, 2018



    U.S. Sentencing Guidelines, § 8B2.1(b)(2)(C). This is a commitment that the Company has yet

    to meet. Moreover, the Company’s organizational charts, see Appendix C, do not make clear, as

    the Court has asked, “where the buck stops” for compliance responsibility and authority. Status

    Conf. Tr. at 42 (Apr. 3, 2018).

           Consistent with the U.S. Sentencing Guidelines language noted above, the ECP requires

    the Company to both (1) assign the CCM “overall responsibility for implementation of this

    ECP,” ECP § III.A.1; and (2) give the CCM “the authority to ensure full implementation of this

    ECP.” ECP § III.A.2 (emphasis added). While the CCM appears to have responsibility for

    implementing the ECP, it is acknowledged by many in senior management that he does not have

    the authority to implement the ECP, as required by ECP Section III.A.2.

           The CCM is not in control of environmental compliance. He does not have authority

    over environmental capital or operating budgets, does not have authority to fully direct the

    operating lines’ compliance activities, and does not have authority over the Company’s

    development and dissemination of environmental policies and procedures. See Employee

    Interview Notes. During ECP Year One, the CCM had a staff of three: a paralegal, a manager,

    and a senior manager—all of whom are capable and hard-working. Aside from these

    individuals, the CCM can neither order anyone in the operating lines to do anything, nor prohibit

    anyone from doing anything ordered by operating line management. The following chart shows

    the Carnival Corp. environmental compliance organization structure:

                                  [See chart on following page.]




                                                    28
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 32 of 205
    CONFIDENTIAL                                               June 21, 2018




    Carnival Corp. Environmental Compliance Organizational Chart (as of February 9, 2018).
    PCL_ECP00040761.

           The OLCMs report to the CCM via a dotted line because they have additional job titles,

    functions, and lines of report within their respective organizations. OLCM performance reviews

    currently are prepared by their group or brand supervisors and not by the CCM. See Employee

    Interview Notes.24

           Other critical environmental compliance functions are not controlled by the CCM. For

    example, Carnival Corp.’s Maritime Policy & Analysis Department, which is overseen by the

    Chief Maritime Officer, develops HESS policies, standards, and procedures. See Employee

    Interview Notes and Carnival Corp. Form 14A (proxy statement filed Mar. 2, 2018). The

    Maritime Quality Assurance Department monitors the implementation of HESS policies. See


    24
      However, the Company has informed the CAM that the CCM will have a role in the OLCM
    performance review process in the future. See id.



                                                      29
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 33 of 205
    CONFIDENTIAL                                               June 21, 2018



    Employee Interview Notes. The Company has an Environmental Compliance Advisor, who does

    not formally report to the CCM, but instead formally reports to the Chief Maritime Officer. The

    Company also has a Vice President of Ethics and Compliance who is tasked with overseeing the

    Open Reporting System hotline, see ECP §§ I.D and III.D, and reports to the General Counsel.

    The CCM does not have authority over any of these functions as they relate to environmental

    compliance.

           B.      Blame Culture and Lack of Learning Culture

           A pivotal event in 2012 revealed the need for the Company to enhance its efforts

    regarding the safe operation of its ships. More than 30 lives were lost when the Costa Concordia

    sailed too close to shore and partially sank. This incident galvanized efforts within the Company

    and in the broader cruise industry to drive systemic change, including changing shipboard

    culture.25 Many in the Company view the Caribbean Princess prosecution as an analogous

    opportunity to change culture with regards to environmental compliance.

           At present—based on conversations at all levels of the Company, as well as assessments

    by the TPA and the Company’s own consultants—the Company has signs of a blame culture as

    opposed to a learning culture.26 That is, a culture where failures are attributed to individual error



    25
       Speaking about the Costa Concordia tragedy, Bud Darr, Senior Vice President of Cruise Lines
    International Association (“CLIA”), said: “I believe it was a galvanising event that led to the
    entire industry coming together. It was a catalyst that helped bring us all together under CLIA . .
    . Whether we’re talking about safety, the environment, or anything else, the footprint of the
    organisation is now so much bigger and the unity of the industry is now so much broader.”
    https://fairplay.ihs.com/safety-regulation/article/4280616/five-years-after-costa-concordia-
    assessing-the-safety-legacy.
    26
      For purposes of this Report, a “blame culture” is defined as the tendency within an
    organization to look for a person or persons that can be held responsible or blamed for an
    adverse event; as opposed to “just culture” in which an organization, while appropriately holding
    individuals accountable, also holds itself accountable for how systems or approaches it designs
    and implements contribute to unwanted behaviors and adverse events.



                                                     30
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 34 of 205
    CONFIDENTIAL                                               June 21, 2018



    or misconduct without fully considering the possible role of systemic issues or causes. This is

    true with respect to the crimes that occurred on the Caribbean Princess, as well as with respect

    to incidents that have been reported since then.

           After the Caribbean Princess incident, the Company expressed views blaming employees

    rather than taking broad corporate responsibility for the violations the Company admitted to in

    the plea agreement. See, e.g., Statement from Princess Cruises (Dec. 1, 2016), available at

    https://www.princess.com/news/notices_and_advisories/cbresponse/?utm_source=princess.com/r

    esponse&utm_medium=mixed (“We are extremely disappointed about the inexcusable actions of

    our employees who violated our policies and environmental law when they bypassed our bilge

    water treatment system and discharged untreated bilge water into the ocean.”) (emphasis

    added).27 This blame culture approach also was evident at the sentencing hearing in this case.

    Carnival’s counsel stated, “I worry about a broad brush painted by the very unfortunate and

    terrible actions of the engineers that were described in the joint statements of facts.” Sentencing

    Hr’g Tr. at 33 (Apr. 19, 2017) (emphasis added). Following the sentencing hearing, during

    CAM discussions with corporate management, a high level Carnival Corp. executive ascribed the

    crimes on the Caribbean Princess to a “few bad apples.”28


    27
       In contrast, following the discovery by regulators that Volkswagen had installed defeat devices
    in its diesel cars to evade emissions standards, the then-CEO stated at a media reception: “We
    are – I am – truly sorry for that and I would like to apologize once again for what went wrong at
    Volkswagen . . . [O]ur most important task in 2016 is to win back trust . . . It’s not only our cars
    we have to fix. We have to repair our credibility, too.” Volkswagen boss apologises to America
    for cheating diesel emissions tests (Jan. 11, 2016),
    https://www.theguardian.com/business/2016/jan/11/volkswagen-boss-apologises-to-america-for-
    cheating-diesel-emissions-tests (emphasis added).
    28
      This tendency for companies to reflexively blame unwanted behavior on “bad apples” is
    discussed by Matthew Syed in Black Box Thinking: Why Most People Never Learn From Their
    Mistakes, But Some Do: “[T]he truth is that companies blame all the time. It is not just because
    managers instinctively jump to the blame response. There is also a more insidious reason:
    managers often feel that it is expedient to blame. After all, if a major company disaster can be



                                                       31
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 35 of 205
    CONFIDENTIAL                                               June 21, 2018



           Likewise, following the discovery in June 2017 that the Environmental Officer onboard

    the Diamond Princess falsified ECP training records, see infra §§ IV.D.1.i and V.B.3.ii, the

    cruise line sent a message to the fleet. The email stated that an Environmental Officer “had

    breached key tenets of our Code of Conduct,” the “EO’s actions were unacceptable,” and the

    “Environmental Officer involved is no longer employed by our organization.” Email to Princess

    Fleet (June 23, 2017). The communication did not describe the incident, did not identify what

    rules were violated, and did not provide context for the “breach,” leaving some employees to

    wonder what level of “breach” warrants dismissal. The e-mail, like the shipboard investigation

    preceding it, placed sole blame on the individual and lacked any discussion of other possible

    causes or lessons learned.

           A blame culture detracts from the development of a learning culture. It encourages

    employees to hide mistakes rather than report them, and the Company cannot learn from

    mistakes if it is not made aware of them in the first place.29 Blame culture also makes it

    acceptable, and in fact routine, for a company to accept that the root cause is (individual) human

    error and not one or more broader, more systemic issues. As a result, a company cannot

    understand—much less hold itself accountable for—how its systems or approaches may cause or

    contribute to an incident.30


    conveniently pinned on a few ‘bad apples,’ it may play better in PR terms. ‘It wasn’t us; it was
    them!’” Id. at 225.
    29
      As noted by Syed, “if [employees] think they are going to be blamed for honest mistakes, why
    would they be open about them? If they do not trust their managers to take the trouble to see
    what really happened, why would they report what is going wrong, and how can the system
    adapt?” Syed, supra note 28, at 225.
    30
       For example, in the Joint Status Report filed before the December 4, 2017 Status Conference,
    which included a discussion of more than thirty reported incidents and findings, the Company
    stated that “[t]here is no indication that these issues are symptomatic of broader issues.” Dkt.
    No. 52 at 31. In that same report, the Government observed that the Company failed to
    recognize the systemic or recurring nature of many of the incidents. E.g., id. at 4 (“Carnival’s



                                                    32
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 36 of 205
    CONFIDENTIAL                                               June 21, 2018



           C.      Ineffective Internal Investigations

                   1.      Background

           The Company’s internal investigations are critically flawed. It was only in 2013 that the

    Company centralized its investigation process and housed it in the RAAS department of Carnival

    Corp. See Employee Interview Notes. This group, however, does not conduct or oversee all

    incident investigations in the fleet. See HMP-1302, Event Investigation (Level 1 and 2).

    Instead, the Company’s relevant policies set forth four tiers of incidents based on the severity of

    the consequences of the incident, and the severity level determines the group charged with

    leading the investigation. See id; HMP-1303, Event Investigation (Level 3 and 4).

    Investigations of Tier 1 and 2 environmental incidents (consisting of, among other things,

    unintended discharges of less than specified quantities of pollutants and any amount of non-

    compliant fuel burned in an Emission Control Area31) are to be led by operating line

    management. See HMP-1302-A1. Investigations of Tier 3 environmental incidents (consisting

    of, among other things, unintended releases above specified quantities of pollutants or an

    intentional deviation from Company policy regarding discharge control) are to be led by the

    operating line “with RAAS providing independent assurance.” See id. Investigations of Tier 4


    response treats this as an isolated issue. The government is aware of other instances where
    [similar violations occurred].”); id. at 12 (“The United States understands that at least five
    vessels have not implemented [the same] requirement which suggests a larger problem. A key
    component of prudent management and goal of the ECP is to identify trends and root causes
    rather than address each issue in isolation.”); id. at 14 (Carnival “fails to recognize that the
    problem is larger than simply missing samples.”); id. at 18 (“The government views the issues
    presented as extremely significant and is concerned that the violations and underlying causes are
    systemic and ongoing.”).
    31
       Emission Control Areas are designated areas where stringent standards for the sulphur content
    of fuel and nitrogen oxide emissions from engines apply to ships at all times. See EPA,
    Frequently Asked Questions about the Emission Control Area Application Process (Jan. 2009) at
    1-2, available at
    https://nepis.epa.gov/Exe/ZyPDF.cgi/P1002UMP.PDF?Dockey=P1002UMP.PDF.



                                                    33
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 37 of 205
    CONFIDENTIAL                                               June 21, 2018



    environmental incidents, which are “[v]iolations of MARPOL or Environmental procedures, at

    the same levels listed in Severity level 3, which are believed or alleged to be a result of

    misconduct,” are to be led by RAAS. See id.32

           Although the policies specify the group charged with leading the investigation, they do

    not specify the person or group charged with conducting the investigation. See HMP-1302-A1.

    Tier 1 incident investigations commonly are conducted by personnel on the ships. See Employee

    Interview Notes; see also HMP-1302 (“Investigations of Severity Level 1 and 2 . . . may be led

    by a ship officer or shore manager as per Company instructions,” and listing it as the Captain’s

    responsibility to “[c]onduct investigation of incidents occurring onboard.”). Tier 2 investigations

    commonly are conducted by ship superintendents. Id. Tier 3 investigations are led by the

    operating lines, but “there is a mixture of approaches with some having dedicated investigators,

    some using ad-hoc resources, some contracting external parties to lead investigations and some

    contracting RAAS to conduct level [Tier] 3 investigations.” DNV GL Investigations Report at

    PCL ECP00052014. Tier 4 investigations generally are conducted by RAAS investigators.

    Employee Interview Notes; DNV GL Investigations Report at PCL ECP00052014. In some

    instances, however, the Company or operating line will go outside this structure to retain outside

    counsel (with or without asserting a claim of privilege), as has been done in some instances

    during ECP Year One. See Employee Interview Notes.

           The Company’s procedures governing incident investigations—HMP-1302 and HMP-

    1303—give very little guidance as to how to conduct investigations. For example, although the



    32
       These tiers, focused on the size of discharges and the intent of those presumably to blame
    (e.g., whether the discharge was “unintended” or the result of “misconduct”), illuminate how the
    structure of the Company’s approach is skewed towards blame for individuals and not on
    possible systemic issues.



                                                     34
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 38 of 205
    CONFIDENTIAL                                               June 21, 2018



    procedures provide that investigation reports should include a “root cause analysis,” they do not

    define the term “root cause analysis,” nor do they provide a procedure for conducting a root

    cause analysis. See HMP-1302 and HMP-1303. Similarly, the procedures provide that “[t]he

    scene of any event . . . will be secured to ensure its integrity,” but do not provide a procedure for

    doing so. Id. Anecdotally, on one ship, the Captain noted that he had been taking part in an

    internal investigation, yet he had no training as to how he should preserve evidence.

                   2.      Observations

           A comprehensive and well-established investigation process serves multiple roles. It is a

    crucial means to identify the most efficient and effective ways to learn from mistakes and

    misconduct, thereby reducing risk and enhancing compliance. In addition, a solid investigation

    process supports both a just culture and a sustainable compliance culture. An investigation

    process viewed by employees as principled and successful in determining true root causes leads

    employees to have faith that investigations will lead to just outcomes, thereby encouraging

    reporting and expanding corporate understanding of how to deploy compliance resources.

           During its audit of the Carnival Corp. offices, the TPA found that investigators were not

    consistently updating RAAS on the status of Level 3 investigations, as required by the

    Company’s investigation policies. See ABSG, Carnival Corporation & PLC Environmental

    Compliance Audit Report (Aug. 25, 2017) at 4, 7. In at least one instance, “the information

    learned from the ongoing investigation, including the notification of procedure change, ha[d] not

    been circulated to all the Operating Lines as required by the HESS‐MS Procedure.” Id. at 4.

    The TPA also observed that there were delays in investigations when operating lines relied upon

    their own employees as investigators. See id. at 7.




                                                     35
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 39 of 205
    CONFIDENTIAL                                               June 21, 2018



            The Company appears to understand that its investigation process requires significant

    improvement. See supra § III.G. In response, the Company has engaged DNV GL to review its

    investigation process, policies, and structures and to provide recommendations for improvement.

    Going forward, the CAM’s areas of focus will include how the Company proposes to implement

    DNV GL recommendations—i.e., raise the quality of investigations, improve communication

    and implementation of lessons learned, adopt a proactive approach, and support a learning

    culture. See infra, § VIII.B.

                   3.      Investigation Illustrations

            The following examples of faulty investigations reflect lost opportunities for learning.

                         i.    Caribbean Princess Incident

            In the case of the criminal conduct on the Caribbean Princess, while there may have been

    a privileged investigation conducted by counsel, the only analysis the CAM has been provided is

    by Chief Maritime Officer Burke. See Chief Maritime Officer Root Cause Analysis. This two-

    page assessment does not identify the sources of information relied upon and does not indicate

    what, if any, causal analysis method was employed.

            Chief Maritime Officer Burke makes the following conclusions:

            If I had to assign a single root cause, it would be excessive frugality which
            permeated to the lowest levels of our shipboard teams and led to their actions,
            caused us to reduce our emphasis on [Environmental Officers], and dismantled
            the environmental oversight in our shore management which resulted in not even
            ensuring compliance. Unless we change this frugality and establish a stronger
            environmental culture where compliance is not the goal but the minimum
            standard, we could begin this cycle again at the end of the ECP.

    Id.33




    33
      Indeed, in conversations throughout the Company, including among the rank and file of the
    engine room, there remains concern that the Company’s current level of support for expending



                                                     36
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 40 of 205
    CONFIDENTIAL                                               June 21, 2018



           Chief Maritime Officer Burke’s root cause analysis was not done as part of the

    Company’s investigation process and does not seem to have been undertaken in

    coordination with any RAAS internal investigation. His report was provided to the

    Carnival Corp. CEO as well as to the brand Presidents and Executive Vice Presidents.

    See Employee Interview Notes. A summary of key findings from the root cause analysis

    also were incorporated into the training materials for the CSMART “Compliance to

    Commitment” training program for engine and deck officers, discussed in Section III.F

    and Appendix B. See id.; see also PCL_ECP00052913 at PCL_ECP00052916.34 Despite

    these efforts, lower-level employees have expressed frustration due to their uncertainty as

    to what happened on the Caribbean Princess and how to ensure it does not happen again.

                         ii.      AIDAvita White Box Tampering Incident

           In December 2017, an alert Environmental Officer on the AIDAvita learned that a Second

    Engineer35 had tampered with the ship’s pollution prevention equipment by trying to adjust the

    flow switch on the White Box36 using two metal rods. See PCL_ECP00046678. Recognizing

    the seriousness of an engineer’s attempt to tamper with pollution prevention equipment (even


    resources on environmental compliance is temporary and will expire with the probationary
    period. See Employee Interview Notes.
    34
      The CAM Team will review these training program materials in connection with its efforts to
    focus on training during ECP Year Two. See infra, § VIII.C.
    35
      A Second Engineer is “the engineer officer next in rank to the chief engineer officer and upon
    whom the responsibility for the mechanical propulsion and the operation and maintenance of the
    mechanical and electrical installations of the ship will fall in the event of the incapacity of the
    chief engineer officer.” STCW Convention, Annex, Ch.1, Reg. I/1.9.
    36
      The White Box, also known as a Bilge Control Discharge Box (“BCDB”), is a locked metal
    cage. The White Box contains an Oil Content Meter, which is in addition to the Oil Content
    Meter on the Oily Water Separator. The White Box is the final check on the oil content of bilge
    water before such water can be discharged overboard. In addition to oil content, the White Box
    records data such as: discharge volume, valve positions, flow through the Oil Content Meter,
    overboard flow, door position, vessel position, and time. See Joint Glossary of Terms at 1-2.



                                                    37
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 41 of 205
    CONFIDENTIAL                                               June 21, 2018



    though it was apparent that no pollution event had occurred), the vessel immediately reported the

    incident.

           In accordance with the investigation policy for incidents involving “intentional deviation

    from company release/discharge control procedures” and “which are believed or alleged to be a

    result of misconduct,” HMP-1302-A1, RAAS planned to send a team to conduct an

    investigation. Indeed, a RAAS team was nearby and was ready to go. However,

    “[s]ubsequently, as per the Environmental Compliance Advisor and General Counsel Carnival

    Corporation, RAAS was requested to not get involved in the investigation (despite having

    communicated that [RAAS] had two available investigators in Europe at the time).” RAAS

    Investigation Memo No. 11 /2018: AIDAvita -Alleged Tampering with the Bilge Control

    Discharge Box (BCDB) at PCL ECP00046675. The Company instead retained a former solicitor

    as a consultant, who had maritime experience and who lived near the ship’s current port of call.

    Although RAAS “routinely communicates and provides comments and support on brand lead

    investigations,” RAAS had no communications with the consultant until it received the report in

    final form, nearly 100 days later, on March 28, 2018. Id.

           Shortly after receiving a report of the tampering, on December 13, 2017, the TPA and

    CAM joined the vessel. They did so to observe the conduct of the investigation and because it

    was possible that the Second Engineer might not be available for an interview at a later time.

    While on the ship with the TPA and the CAM, the Company’s consultant said that he had not

    been asked to write a report and did not have a plan for further interviews other than those he

    already had concluded. The consultant ultimately produced a report on March 7, 2018. See

    AIDAvita Report on Incident on 10th December 2017 involving [Name Withheld],

    PCL_ECP00046677- 46691. The report focuses both on the incident and, to a significant degree,




                                                    38
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 42 of 205
    CONFIDENTIAL                                               June 21, 2018



    on the consultant’s efforts to observe the CAM. Id. Although the report employs no structured

    root cause analysis, it concludes: “The Second Engineer was simply trying to perform his duties

    albeit in a highly unorthodox and incorrect manner. It also was clear that there was never a risk

    of an illegal discharge taking place. As to the reasons for [the Second Engineer] behaving in this

    way, based on the various discussions with him, the view of the undersigned is that it arose

    partly from a level of arrogance on his part regarding his engineering abilities and partly due to a

    lack of job specific training.” Id. at PCL ECP00046685-46686.

           Once the report was completed, RAAS was asked to “review the proposed actions and

    also review them with Costa group [the relevant operating line] to see whether [it] agree[s] with

    them.” RAAS Investigation Memo at PCL_ECP00046675. RAAS responded:

           [I]n order to provide substantive comments, we would have to have had some
           proximity to the investigation of which in this case we have had none. What we
           can say about the report is that it does not take into account, mention or fully
           review our robust HESS-MS requirements relating to environmental
           responsibilities, training, oversight, drug and alcohol testing, recruitment or
           disciplinary process areas that are all key in this case to assist with the
           determination of corrective and preventive measures . . .

           Consideration should be given for action plans relating to the reiteration of current
           HESS-MS procedures relating to accountability and responsibility for ensuring
           that environmental training is not only carried out but is also effective to ensure
           that equipment operators are fully versed on their responsibilities, company
           expectations and record keeping requirements. On shore the Human Resources
           function should initiate an internal review of the case of the [Second Engineer]
           involved in this event and determine any improvement opportunities to internal
           processes related to promotion.

    Id. at PCL_ECP00046676.

           In addition to the shortcomings of the consultant’s report and recommendations identified

    by RAAS, it is notable that in a matter closely connected to the issues of concern in this case

    (tampering with pollution prevention equipment), the Company’s own investigation procedures

    were not followed. Moreover, the hiring of a lone consultant, even one who was experienced




                                                     39
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 43 of 205
    CONFIDENTIAL                                               June 21, 2018



    and competent, with no express direction to produce a comprehensive report calls into question

    Company management’s commitment to and development of a learning culture.

            D.      Environmental and ECP Violations

                    1.      Environmental Incidents

            The purpose of the ECP is “to ensure that the Covered Vessels fully comply with all

    applicable marine environmental protection requirements established under applicable

    international, flag state, port state, coastal state law, and United States laws . . . and [] the

    additional requirements and policies established by this ECP itself . . . [and] also to ensure that

    environmental compliance Best Practices (as defined herein)37 are used by the Covered Vessels

    and related shore-side operations.” ECP § I.C.

            During ECP Year One, there were violations of environmental laws and the ECP,

    including: (i) four instances of record falsification; (ii) over fifty-five reports of prohibited

    discharges or emissions attributable to voyage planning;38 and (iii) numerous other incidents,

    such as incidents related to the maintenance and operation of pollution prevention equipment,

    ECP training, and ECP seal and lock requirements. While these incidents are concerning, the

    Company’s deeper and more pressing barriers to compliance relate to its larger corporate

    governance and culture issues. See supra, §§ IV.A-C.

                           i.   Falsification of Records

            The Company reported four instances of record falsification on Covered Vessels during

    ECP Year One. Two of these instances relate to the falsification of ECP-required training


    37
      Best Practices are “those policies and procedures that, based on experience and research,
    consistently and reliably prevent an Audit Finding [during an audit required under this ECP].”
    ECP § I.D.
    38
      There were additional prohibited discharges and emissions attributable to other factors, such as
    equipment malfunctions. See infra, § V and Appendix E.



                                                       40
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 44 of 205
    CONFIDENTIAL                                               June 21, 2018



    records, and two relate to the falsification of maintenance and operational records of pollution

    prevention equipment. These incidents are discussed in Section V.B.3.ii and Appendix E.

                         ii.   Voyage Planning

           During ECP Year One, Covered Vessels made numerous prohibited discharges and

    emissions that appear to be attributable to a failure to develop and follow effective voyage plans.

    See ECP Corporate Compliance Manager Annual Report (2017-2018) at PCL_ECP00046434-

    35; see also Carnival Corporation & plc HESS Weekly Flash Reports. Before any voyage, a ship

    must prepare a voyage plan that identifies, among other things, where certain discharges or

    emissions are allowed or prohibited based on a ship’s location and the applicable restrictions

    (such as the special requirements that apply in United States marine sanctuary waters and in

    Emission Control Areas). The ship’s route must take into account “the marine environmental

    protection measures that apply, and avoid[], as far as possible, actions and activities which could

    cause damage to the environment.” Joint Glossary of Terms at 10. Environmental incidents

    resulting from voyage planning may reflect broader, more systemic issues about how the

    Company focuses its time, attention, and resources on the voyage planning process.

           As discussed in Section V.B.3.xi, the CAM Team identified over fifty-five reports of

    incidents attributable to voyage planning. For example, during June 2017, multiple Carnival

    Cruise Line vessels discharged sewage and/or food waste in Bahamian Archipelagic waters in

    violation of Company requirements and/or MARPOL. According to the Company, the cause of

    these events “appears to be associated with the interpretation of [the relevant Company]

    procedure.” See infra, § V.B.3.xi. Additional examples are discussed id. and Appendix E.

                        iii.   Other Incidents

           As described in Section V and Appendix E, there were numerous additional incidents

    during ECP Year One that violated environmental laws and/or the ECP.



                                                    41
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 45 of 205
    CONFIDENTIAL                                               June 21, 2018



                   2.     Failure to Provide CCM with ECP-Required Authority

           The ECP requires the Company to give the CCM “the authority to ensure full

    implementation of this ECP.” ECP § III.A.2. As discussed in Section IV.A.2, most senior

    executives to be asked about this issue acknowledged that the CCM does not have this authority.

    V.     ENVIRONMENTAL INCIDENTS

           A.      Incident Reporting Mechanisms

           The ECP sets out four primary ways for reporting incidents to the CAM and/or to the

    Interested Parties:

           (1) TPA Audit Findings. Each year, the TPA audits all Princess Covered Vessels and a
               sub-set of other Covered Vessels, as well as shore-based Company offices. In these
               audits, the TPA findings fall into three categories (from most to least serious): Major
               Non-Conformities, Non-Conformities, and Observations.

                   a. A “Major Non-Conformity” is “an observed situation where objective
                      evidence indicates a violation of a Marine Environmental Protection
                      Requirement [collectively, MARPOL, APPS, the Clean Water Act, and the
                      Oil Pollution Act of 1990] or policies established by this ECP that consists of
                      or contributes to the discharge or potential discharge of oil, or oily wastes, or
                      other prohibited wastes into the water. It may also include the discovery of
                      pollution prevention equipment determined to be incapable in terms of
                      processing and monitoring capabilities or inadequate with respect to the
                      quantities of wastes such equipment is required to process.” ECP § I.D. An
                      example of a Major Non-Conformity is a discharge of oily waste water in
                      violation of MARPOL or an inoperable Oily Water Separator.

                   b. A “Non-Conformity” is “an observed situation where objective evidence
                      indicates a violation of [a Marine Environmental Protection Requirement] or a
                      policy or procedure established by this ECP, regardless of whether it is
                      immediately repaired or remedied. All audit line items which are not
                      completely compliant with the requirements of this ECP are Non-
                      Conformities.” Id. An example of a Non-Conformity is a finding that an
                      incident investigation did not follow the requirements of the relevant
                      Company procedures.

                   c. An “Observation” is “a statement of fact made during an audit and
                      substantiated by objective evidence that could lead to a Non-Conformity if not
                      addressed. If pollution prevention equipment requires a repair of any kind to
                      be operational for a proper test by any auditor, it will be defined as an
                      Observation.” Id. An example of an Observation is a finding that the garbage



                                                    42
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 46 of 205
    CONFIDENTIAL                                               June 21, 2018



                        room on a vessel is cluttered and overloaded with waste and recycling,
                        creating a poor work environment that could lead to errors or injuries.

           (2) Company Notices of Violation (Probation Notices). Within three days of any
               breach of the ECP, the Company must notify the Probation Officer, the CAM, and the
               TPA of the breach, including a description of the nature, date, and time of the breach.
               Judgment; Special Condition of Supervision 13.

           (3) Company Notices of Environmental Open Reports (Hotline Reports). The
               Company must disclose to the CAM any Hotline Report “containing a credible
               allegation of a violation by Covered Personnel of any Marine Environmental
               Protection Requirement or requirement of this ECP,” including any documents or
               files that are part of the report. ECP § III.D.6. The CAM must disclose any such
               reports and materials to the Interested Parties. Id.

           (4) CAM Interested Parties Notifications. The CAM must report to the Interested
               Parties information it receives “regarding a Major Non-Conformity, or a failure of
               [the Company] to consider and act upon, as appropriate, an Audit Finding or
               recommendation of the TPA.” ECP § VI.F.

           In addition to these ECP-mandated reporting mechanisms, the Company uses informal

    means, such as emails and phone calls, to notify the CAM of incidents. The Company often has

    provided prompt informal notice of matters that are the subject of formal notification processes.

    The Company also provides the CAM Team and TPA with its weekly internal Flash Reports,

    which are prepared for use by the Company and contain summaries of HESS incidents that occur

    both on vessels and on shore.

           B.      Data Analysis of Incident Reports

                   1.      Context and Significance

           The use of data as a compliance tool is a standard practice in many industries. In order to

    do so, companies often use “Key Performance Indicators” (“KPIs”) to identify compliance trends

    or to detect misconduct. It does not appear that the Company has developed a set of KPIs for

    environmental compliance. See Employee Interview Notes.




                                                    43
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 47 of 205
    CONFIDENTIAL                                               June 21, 2018



           As for the data provided to the CAM, the CAM Team has tracked the type and frequency

    of incidents reported during ECP Year One through formal and informal reporting mechanisms,

    including TPA audit findings, Notices of Violation, Hotline Reports, and Flash Reports.39 The

    CAM Team tracks both (i) general trends based on total reported incidents; and (ii) incident-

    specific trends based on categories of recurrent incidents that the CAM Team has identified, such

    as training, voyage planning, or recordkeeping issues, as described more fully below.

           The data provided, even when trended, do not paint a full picture of the direction of the

    Company’s compliance efforts. A vessel or operating line reporting a higher number of

    incidents may be more vigilant about reporting than other vessels or operating lines. Nor are all

    incidents equally significant or concerning. Without more sophisticated internal investigations

    and near-miss analyses, the data alone cannot address the challenge of identifying the causes of

    significant or recurring issues. Hypothetically, a series of leaks may be a sign that purchasing

    has obtained defective seals for a hydraulic system, that maintenance schedules are not optimal,

    that training is not optimal, or that employees are overworked. Thus, the data provided are only

    the start of the process of identifying issues and potential obstacles to compliance.

                   2.      Recurrent Incident Categories

           The CAM Team developed the following general categories of recurrent incidents.

    Incidents may fall under more than one category:




    39
      The CAM’s incident tracking covers (i) the operating line and vessel; (ii) details of the
    incident (e.g., facts, date, and location); (iii) notification method (e.g., Flash Report); (iv)
    Company personnel involved; (v) the Company’s immediate response and corrective actions, to
    the extent provided; (vi) investigation efforts, follow-up information, and related findings; (vii)
    CAM Team assessments, including whether the incident falls into one of the recurrent incident
    categories identified by the CAM; and (viii) any Interested Party notification and follow-up
    information.



                                                     44
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 48 of 205
    CONFIDENTIAL                                               June 21, 2018



     Category                Description
     Exhaust Gas             Incidents related to the EGCSs on vessels, including, for example, (i)
     Cleaning Systems        EGCS washwater discharges;41 (ii) EGCS equipment malfunctions; and
     (“EGCSs”)40             (iii) failures to use the EGCS in protected Emission Control Areas.
     Falsification of        Incidents related to falsified records, entries, and other representations
     Records                 by Company personnel. This includes falsified entries in training
                             records, Oil Record Books, or any other log or record required under
                             the ECP, Company policy, MARPOL, or other international, national,
                             or local law or regulation. These incidents also are tracked
                             Recordkeeping incidents. Incidents relating to the Oil Record Book
                             also are tracked as Oil Record Book incidents.
     Lifeboat and            Incidents related to discharges from lifeboats, tenders, liferafts, rescue
     Tender42 Systems        boats, and associated equipment. This includes discharges of oil, as
                             well as discharges of items that may qualify as “garbage” under
                             MARPOL Annex V (e.g., glass panes, doors, plastic containers, canvas
                             covers).
     Oil Content Meters      Incidents related to failures or other malfunctions of Oil Content
                             Meters associated with Oily Water Separators or White Boxes.
     Oil Record Books        Incidents related to inaccurate or incomplete recordkeeping of the Oil
                             Record Book. This includes missing or inaccurate entries or
                             signatures, whether due to human error, intentional falsification, or
                             other reasons. These incidents also are tracked as Recordkeeping
                             incidents. Incidents relating to record falsification also are tracked as
                             Falsification of Records incidents.
     Oily Water              Incidents related to failures or other malfunctions of an Oily Water
     Separators and          Separator or a White Box, or their component parts.
     White Boxes
     Recordkeeping           Incidents related to inaccurate or incomplete recordkeeping or
                             document maintenance, including in an Oil Record Book, Garbage
                             Record Book,43 or any other log or record required under the ECP,
                             Company policy, MARPOL, or other international, national, or local
                             law or regulation. Incidents relating to record falsification also are



    40
       An EGCS is a cleaning system (often referred to as a scrubber) that removes sulphur oxides
    from a vessel’s engine and boiler exhaust gases. See EPA, Exhaust Gas Scrubber Washwater
    Effluent (Nov. 2011), available at
    https://www3.epa.gov/npdes/pubs/vgp_exhaust_gas_scrubber.pdf.
    41
      EGCS washwater is waste water generated by an EGCS that can contain various contaminants,
    including combustion by-products, fuel, and lubricants. See id. at 3.
    42
       A tender is a ship used to transport people or supplies to and from shore or another ship. See
    http://www.memidex.com/tender+ship-boat.
    43
      A Garbage Record Book is a log where a ship records the discharge, disposal, or incineration
    of garbage. It is required under MARPOL Annex V. Joint Glossary of Terms at 6.



                                                    45
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 49 of 205
    CONFIDENTIAL                                               June 21, 2018



                              tracked as Falsification of Records incidents. Incidents relating to the
                              Oil Record Book also are tracked as Oil Record Book incidents.
     Refrigerants             Incidents related to refrigerant gas leaks, including recordkeeping
                              issues.
     Seals and Locks          Incidents related to ECP Environmental Control System seal and lock
                              requirements. This includes missing or damaged seals as well as
                              recordkeeping issues (e.g., the Critical Valves, Fittings, and Tank
                              Hatches List and Seal Log required under ECP Section IX.B).
     Training                 Incidents related to inadequate or missed training. This includes
                              (i) failures to perform required ECP trainings; (ii) recordkeeping
                              issues, including falsification of training records (also tracked under
                              Falsification of Records category); and (iii) incidents which appear to
                              be attributable to inadequate training, including incidents where
                              additional training is implemented as a part of the Company’s
                              corrective action or other response.
     Voyage Planning          Incidents related to prohibited discharges or emissions that appear to be
                              attributable to voyage planning (e.g., inaccurate boundary maps or
                              miscommunication between deck and engine room).

           For the reasons noted above, these categories are not used to reach conclusions regarding

    compliance success or weakness, but simply to identify whether particular brands or vessels are

    facing repeat or recurring problems with these issues.

                    3.    Recurrent Incident Examples

                         i.    EGCS

           The CAM Team identified over thirty reported incidents on Covered Vessels related to

    EGCSs during ECP Year One. Many of these incidents relate to unexpected EGCS shutdowns

    resulting in violations of air emission requirements. For example, the Carnival Ecstasy

    experienced multiple ECGS shutdowns in May, July, and October 2017 due to equipment

    malfunctions. See Carnival Corporation & plc HESS Weekly Flash Reports (June 23, 2017, July

    27, 2017, and Oct. 18, 2017). As a result, the ship impermissibly burned heavy fuel oil in

    Emission Control Areas without an EGCS online. See id.

           Other EGCS incidents involve the discharge of EGCS washwater. For example, in

    October 2017, the Ruby Princess discharged EGCS washwater into United States marine




                                                     46
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 50 of 205
    CONFIDENTIAL                                               June 21, 2018



    sanctuary waters in violation of both federal marine sanctuary regulations and Company

    requirements. See Carnival Corporation & plc HESS Weekly Flash Report (Oct. 11, 2017).

    Similarly, in November 2017, the Queen Mary 2 discharged EGCS washwater while alongside in

    Hamburg, Germany in violation of Company requirements. See Carnival Corporation & plc

    HESS Weekly Flash Report (Dec. 6, 2017).

                        ii.   Falsification of Records

           The Company reported four instances of record falsification on Covered Vessels during

    ECP Year One. Two of these instances relate to the falsification of ECP-required training

    records, and two relate to the falsification of maintenance and operational records of pollution

    prevention equipment.

           ECP Training Records. In June 2017, the Environmental Officer on the Diamond

    Princess was found to have falsely recorded that (i) the Captain and Staff Captain had completed

    ECP-required training when they had not; (ii) eight crew members had completed ECP-required

    training before arriving on the vessel when they had not; and (iii) 172 crew members had

    completed training on dates that differed from their actual training dates. The Company

    terminated the Environmental Officer’s employment. See CAM Incident Reference #04-2017.

           Similarly, approximately one month later on July 22, 2017, the Costa Luminosa reported

    that an Environmental Officer had falsified certain training records. That Environmental Officer

    also was dismissed. See CAM Incident Reference #06-2017. The Company reports that,

    following this incident, it instructed all operating lines to review the onboard environmental

    training records for accuracy, correct any deficiencies by a date certain, and immediately report

    any inaccuracies to the Company. Since the Costa Luminosa incident, the Company has not




                                                    47
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 51 of 205
    CONFIDENTIAL                                               June 21, 2018



    reported any other instances of an Environmental Officer intentionally creating inaccurate

    training records.

           Maintenance and Operational Records. On July 6, 2017, the Sun Princess reported

    that a valve and a bypass solenoid (an electromagnetic coil that controls a valve) were missing

    from the vessel’s Oily Water Separator. The Company’s investigation revealed that a watch-

    keeping engineer had removed the parts and made a false entry into Holland America Group’s

    planned maintenance system. The same engineer then replaced the valve with a new one and

    restored the Oily Water Separator to normal operation. See Corporation & plc HESS Weekly

    Flash Report (July 6, 2017).

           A few months later, in October 2017, a corporate investigation onboard the Carnival

    Valor revealed that the Oil Content Meter was falsely recorded in the Oil Record Book as having

    been cleaned. The engineering team, however, had not cleaned the equipment because it had not

    been used since the previous cleaning operation. See Corporation & plc HESS Weekly Flash

    Report (Nov. 8, 2017).

                        iii.   Lifeboat and Tender Systems

           The CAM Team identified over forty-five reported incidents on Covered Vessels related

    to the maintenance and operation of lifeboat and tender systems during ECP Year One, including

    numerous incidents where oil leaked or spilled from lifeboats or tenders due to corroded fuel

    tanks, incomplete engine combustion, mechanical failures, or other causes. For example, on

    August 18, 2017, approximately one liter of hydraulic oil spilled overboard from one of the

    Coral Princess’s lifeboats due to a failed gasket. See Carnival Corporation & plc HESS Weekly

    Flash Report (Aug. 24, 2017).




                                                   48
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 52 of 205
    CONFIDENTIAL                                               June 21, 2018



           There also were numerous incidents involving solid objects going overboard, such as

    glass panels, doors, liferaft shells, canvas covers, and other objects. For example, on December

    25, 2017, a canvas hook cover from one of the Emerald Princess’s lifeboats fell overboard and

    could not be retrieved. “The cover had not been properly secured and was blown overboard by

    strong winds.” See Carnival Corporation & plc HESS Weekly Flash Report (Jan. 10, 2018).

                        iv.   Oil Content Meters

           The CAM Team identified over forty reported incidents on Covered Vessels related to

    the Oil Content Meters of Oily Water Separators and/or White Boxes. In many of these

    incidents, the Oil Content Meter failed or produced inaccurate readings due to equipment

    malfunctions, the accumulation of dirt/oil, or other unspecified or unidentified causes. These

    issues often required the Oily Water Separator or White Box to be taken out of service so that the

    Oil Content Meter could be serviced, cleaned, or removed and replaced. For example, on April

    1, 2018, an Oily Water Separator on the Diamond Princess was taken out of service because a

    “defective” Oil Content Meter was giving inaccurate oil content readings. See Carnival

    Corporation & plc HESS Weekly Flash Report (Apr. 4, 2018). Similarly, on January 1, 2018, a

    White Box on the Queen Mary 2 was taken out of service due to a failed Oil Content Meter

    component. See Carnival Corporation & plc HESS Weekly Flash Report (Apr. 4, 2018).

                        v.    Oil Record Books

           The CAM Team identified over forty-five reported incidents on Covered Vessels related

    to inaccurate or incomplete Oil Record Books. Examples are discussed in Sections V.B.3.ii and

    V.B.3.vii.




                                                   49
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 53 of 205
    CONFIDENTIAL                                               June 21, 2018



                          vi.   Oily Water Separators and White Boxes

              The CAM Team identified over seventy reported incidents on Covered Vessels related to

    failures or other malfunctions of Oily Water Separators and White Boxes or their component

    parts, such as Oil Content Meters,44 valves, coolers, flow meters/switches, pumps, or alarms.

    These issues often resulted in the Oily Water Separator or White Box being taken out of service,

    sometimes for extended periods of time. See Carnival Corporation & plc HESS Weekly Flash

    Reports. While an Oily Water Separator or White Box is out of service, the ship may be unable,

    or have reduced capacity, to process oily waste water. See id.

              For example, from August 8-13, 2017, an Oily Water Separator on the Carnival

    Imagination was taken out of service due to a “malfunctioning unit.” See Carnival Corporation

    & plc HESS Weekly Flash Reports (Aug. 17, 2017). During this six-day period, the ship was

    unable to process oily waste water. Id. On December 27, 2017, both of the Oily Water

    Separators on the Carnival Victory were taken out of service due to issues with their respective

    Oil Content Meters (one a cracked glass cell and the other a blocked water sample line). The

    ship did not have any spare Oil Content Meters onboard at the time. A third-party

    manufacturer’s technician visited the ship the following day to complete repairs. See Carnival

    Corporation & plc HESS Weekly Flash Reports (Jan. 3, 2018).

                         vii.   Recordkeeping

              The CAM Team identified over eighty reported incidents on Covered Vessels related to

    recordkeeping, including the four falsification incidents discussed above in Sections IV.D.1.i and

    in V.B.3.ii. Many recordkeeping incidents involve missing entries and/or signatures in the Oil

    Record Book or other required ship records. For example, the Company reported that the Oil


    44
         Such incidents also are tracked under the Oil Content Meter category.



                                                     50
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 54 of 205
    CONFIDENTIAL                                               June 21, 2018



    Record Book on the Carnival Pride was missing entries for the flushing/cleaning of the Oil

    Content Meter between April 19 and July 28, 2017 because the responsible engineer “was not

    completely familiar” with the relevant Company policy. See Carnival Corporation & plc HESS

    Weekly Flash Report (Aug. 17, 2017). Similarly, on November 27, 2017, the Carnival Freedom

    reported that the Garbage Record Book was missing the Captain’s signature on a single page due

    to “an oversight by crew.” See Carnival Corporation & plc HESS Weekly Flash Report (Dec. 6,

    2017).

             Other incidents have involved entire record books going missing altogether. For

    example, on September 28, 2017, the Carnival Breeze reported that six Oil Record Books were

    missing in violation of MARPOL and Company procedures. “A subsequent search was

    unsuccessful and it is believed that the [Oil Record Books] may have been removed during a past

    audit/inspection but not returned.” Carnival Corporation & plc HESS Weekly Flash Report (Oct.

    11, 2017). Similarly, on September 29, 2017, the Carnival Miracle reported that two Garbage

    Record Books were missing in violation of MARPOL and Company procedures. “A search was

    unsuccessful and it was concluded that the [Garbage Record Books] may have been filed with

    other Bridge documents that had subsequently been disposed of following their retention

    period.” Carnival Corporation & plc HESS Weekly Flash Report (Oct. 11, 2017).

             Additionally, during a CAM Team ride-along with the TPA on its audit of the Caribbean

    Princess in February 2018, an entire page of the ship’s hazardous waste log (covering a span of

    10 days) was missing. See ABSG, Princess Cruise Line Environmental Compliance Audit

    Report: Caribbean Princess 06 February – 11 February 2018 (Feb. 26, 2018) (Non-Conformity-

    03). The Company has not provided an explanation for the missing page. See Employee

    Interview Notes.




                                                    51
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 55 of 205
    CONFIDENTIAL                                               June 21, 2018



                       viii.   Refrigerants

           The CAM Team identified over seventy reported incidents on Covered Vessels related to

    refrigerant gas leaks from refrigeration, air conditioning, and other systems on ships. These

    incidents include leaks of ozone-depleting substances45 and non-ozone-depleting substances.

    Causes of the leaks include corroded or cracked pipes, faulty valves, and general age-related

    deterioration. See Carnival Corporation & plc HESS Weekly Flash Reports. For example, on

    July 13, 2017, an air conditioning system on the Carnival Splendor leaked 267 kilograms of non-

    ozone-depleting refrigerant gas due to a “failure of a discharge valve.” See Carnival Corporation

    & plc HESS Weekly Flash Report (Aug. 24, 2017). On August 15, 2017, an air conditioning

    compressor on the Carnival Fantasy leaked fifty-seven kilograms of an ozone-depleting

    substance due to a “failed shaft seal,” in violation of MARPOL. See Carnival Corporation & plc

    HESS Weekly Flash Report (Mar. 14, 2017).

                         ix.   Seals and Locks

           The CAM Team identified over seventy-five reported incidents on Covered Vessels related

    to ECP Environmental Control System seal and lock requirements. See ECP § IX.B. The

    following photographs show examples of locks (left) and a seal (right):

                           [See photographs on following page.]




    45
       Ozone-depleting substances are “those substances which deplete the ozone layer and are
    widely used in refrigerators, air conditioners, fire extinguishers, in dry cleaning, as solvents for
    cleaning, electronic equipment and as agricultural fumigants,” including chlorofluorocarbons
    (commonly called “CFCs”). See http://www.environment.gov.au/protection/ozone/ozone-
    depleting-substances. Ozone-depleting substances are regulated under MARPOL. See
    https://www.marineinsight.com/environment/what-are-ozone-depleting-substances-on-ships/.



                                                     52
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 56 of 205
    CONFIDENTIAL                                               June 21, 2018




           ECP Environmental Control System locks (left) and a seal (right).

           Most of the reported incidents involve missing or damaged seals. Often, the Company

    was unable to identify the cause of the missing or damaged seals, attributing the incidents to

    accidents or carelessness and stating in a conclusory manner that “no unauthorized access had

    taken place.” See, e.g., Carnival Corporation & plc HESS Weekly Flash Reports (Aug. 30, 2017

    and Sept. 6, 2017). For example, on August 26, 2017, a seal on an Oily Water Separator on the

    Carnival Magic was found missing. “[I]t was concluded that the seal may have been broken and

    lost during cleaning work carried out in the area. There was no apparent damage or tampering

    with the [relevant component of the Oily Water Separator] itself.” Carnival Corporation & plc

    HESS Weekly Flash Reports (Aug. 30, 2017). Similarly, on February 9, 2018, two seals in a

    sewage room on the Carnival Triumph were found missing. “No signs of tampering were

    found. The seals are believed to have been damaged during maintenance work.” Carnival

    Corporation & plc HESS Weekly Flash Reports (Feb. 14, 2018).

                         x.    Training

           The CAM Team identified ninety reported incidents on Covered Vessels related to

    training, including failure to perform ECP-required training and falsification of ECP training




                                                       53
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 57 of 205
    CONFIDENTIAL                                               June 21, 2018



    records. See, e.g., supra, § V.B.3.ii. This category also includes incidents where inadequate

    training appears to have contributed to an incident. These incidents arise in a wide range of

    contexts. For example, on December 17, 2017, a bucket of oil-based paint spilled overboard

    from the Carnival Vista, in violation of MARPOL. See Carnival Corporation & plc HESS

    Weekly Flash Reports (Dec. 27, 2017). The Company found that painting procedures and best

    management practices “were not followed by the crew.” Id. On January 5, 2018, approximately

    two cubic meters of grey water46 overflowed from a tank into the bilges on the Royal Princess

    because an engineer “did not recognize the high-level alarm for the tank.” Carnival Corporation

    & plc HESS Weekly Flash Reports (Jan. 5, 2018).

                        xi.   Voyage Planning

           The CAM Team identified over fifty-five reports of incidents on Covered Vessels related

    to voyage planning. These incidents involve prohibited discharges or emissions that appear to be

    attributable to misunderstandings or miscommunications about the ship’s location or relevant

    environmental requirements. For example, between June 4-16, 2017, the Carnival Elation

    discharged approximately 1,270 cubic meters of treated sewage and 22 cubic meters of food

    waste in Bahamian Archipelagic waters in violation of MARPOL and Company requirements.

    See Carnival Corporation & plc HESS Weekly Flash Reports (July 13, 2017). Likewise, on June

    15, 2017, the Carnival Conquest, Carnival Liberty, Carnival Magic, and Carnival Vista made

    prohibited discharges of sewage and food waste in Bahamian Archipelagic waters. According to

    the Company, the cause of these events “appears to be associated with the interpretation of [the




    46
      Grey water includes drainage from dishwater, shower, laundry, bath, wash bin basins, and the
    production of food. It does not include drainage from toilets, urinals, hospitals, animal spaces,
    and cargo spaces. Joint Glossary of Terms at 6.



                                                    54
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 58 of 205
    CONFIDENTIAL                                               June 21, 2018



    relevant Company] procedure.” See CAM Incident References #005_2017-EL.5, #005_2017-

    EL.4, #005_2017-EL.3, and #005_2017-EL.2.

             Similarly, in November 27, 2017, the Carnival Vista discharged cleaning chemicals into

    Bahamian Archipelagic waters in violation of Company requirements “due to a misinterpretation

    of territorial waters.” Carnival Corporation & plc HESS Weekly Flash Reports (Dec. 6, 2017).

    On July 27, 2017, the Carnival Imagination discharged oily bilge water in Californian waters in

    violation of Company requirements because the responsible engineer “did not ask for a

    confirmation from the Bridge to commence the discharge.” Carnival Corporation & plc HESS

    Weekly Flash Reports (Aug. 3, 2017).

             C.     Data Analysis

             For incidents reported during ECP Year One, the CAM Team tracked and analyzed 779

    Flash Report incidents, eighteen Notices of Violation, five Hotline Reports, and nine TPA Major

    Non-Conformity findings.47 Table 1 shows these incidents by brand:

     Table 1: Incident Report Counts
                                                                                       TPA Major
                                       Flash Report        Notices of   Hotline
     Brand                                                                             Non-
                                       Incidents           Violation    Reports
                                                                                       Conformities
     AIDA                              22                  3            0              0
     Carnival Cruise Line              344                 1            3              1
     Costa                             37                  2            0              0
     Cunard                            56                  0            0              1
     Holland America Line              122                 5            0              2
     P&O Cruises UK                    89                  1            0              0
     Princess                          96                  5            2              5
     Seabourn                          13                  1            0              0
     Total                             779                 18           5              9


    47
      These totals reflect only a subset of the total numbers of incidents reported to the CAM Team
    during ECP Year One—specifically, those incidents that relate to environmental issues on
    Covered Vessels (including vessels that were on the Covered Vessels list during ECP Year One
    and later removed) and that the CAM Team, in its discretion, is tracking. The data in Tables 1-7
    do not include incidents on Non-Covered Vessels.



                                                      55
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 59 of 205
    CONFIDENTIAL                                               June 21, 2018



             The number of incidents, whatever their significance may be, also are a function of the

    relative sizes of the respective fleets. For example, there are twenty-five vessels in Carnival

    Cruise Line covered by this data, and only three vessels from Cunard. Table 2 shows weighted

    ratios to reflect rates of Flash Report incidents relative to the size of each fleet of vessels.

     Table 2: Weighted Index of Flash Report Incidents by Operating Line

                                                                                     Incident Index
                        Incident        Covered        %           % Covered
     Brand                                                                           (% Incidents / % Covered
                        Count           Vessels48      Incidents   Vessels
                                                                                     Vessels)
     AIDA               22              4              2.82%       5.26%             0.54
     Carnival Cruise
                        344
     Line                               25             44.16%      32.89%            1.34
     Costa              37              3              4.75%       3.95%             1.20
     Cunard             56              3              7.19%       3.95%             1.82
     Holland America
                        122
     Line                               14             15.66%      18.42%            0.85
     P&O Cruises UK     89              5              11.42%      6.58%             1.74
     Princess           96              18             12.32%      23.68%            0.52
     Seabourn           13              4              1.67%       5.26%             0.32
     Total              779             76             100.00%     100.00%

             Table 3 provides an overview of the recurrent incidents that occurred during ECP Year

    One. Training and Recordkeeping are the most prevalent issues across all brands. Tables 4 and

    5 provide a breakdown of the brands that have experienced Training and Recordkeeping

    incidents, with Carnival Cruise Line experiencing the highest counts.


                              [See tables on following page.]




    48
       As noted supra note 47, the Covered Vessels column includes vessels that were on the
    Covered Vessels list during ECP Year One (including vessels that later were removed), with one
    exception: it does not include the Carnival Horizon because it joined the Carnival Cruise Line
    fleet very near the end of ECP Year One (on March 28, 2018) and had no reported incidents
    during ECP Year One.



                                                       56
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 60 of 205
    CONFIDENTIAL                                               June 21, 2018



     Table 3: Overall Incident                Table 4: Training Incident      Table 5: Recordkeeping
     Count                                    Count                           Incident Count

     Incident Category     Count              Brand                Count      Brand               Count
     Falsification of
                           4                  AIDA                 4          AIDA                6
     Records
                                              Carnival Cruise                 Carnival Cruise
     EGCS                  34                                      39                             66
                                              Line                            Line
     Oil Content Meters    41                 Costa                8          Costa               5
     Lifeboat and
                           48                 Cunard               7          Cunard              1
     Tender Systems
                                              Holland America                 Holland America
     Oil Record Books      49                                      9                              2
                                              Line                            Line
     Voyage Planning       58                 P&O Cruises UK       3          P&O Cruises UK      1
     Oily Water
     Separators/White      71                 Princess             14         Total               81
     Boxes
     Refrigerants          72                 Seabourn             1
     Seals or Locks        77                 Total                85
     Recordkeeping         82
     Training              90
     Total49               626

               Finally, Tables 6 and 7 provide an overview of the vessels, irrespective of brand, with the

    highest and lowest counts of incidents throughout ECP Year One. The underlying reasons for

    these numbers are not known, and, as noted above, could merely reflect different rates of

    reporting.50 Thus, while the data are presented in the interest of transparency, they should serve

    only as a prompt for further analyses.


                                [See tables on following page.]




    49
      Not all reported incidents will have a recurrent incident category, and some incidents may
    have more than one recurrent incident category. Therefore, the total will not equal the total of
    reported incidents.
    50
      Differences in the number of seal or lock incidents also may be a function of the differences in
    the number of seals or locks installed on the different ships. For example, the CAM Team
    understands that some ships installed under 150 seals, and more than 1,500. See Employee
    Interview Notes.



                                                          57
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 61 of 205
    CONFIDENTIAL                                               June 21, 2018



             Table 6: Covered Vessels with Highest         Table 7: Covered Vessels with
             Incident Count                                Lowest Incident Count
             Vessel              Incident Count            Vessel              Incident Count
             Queen Mary 2        23                        Pacific Princess    2
             Costa Atlantica     21                        Sapphire Princess   2
             Carnival Dream      20                        Regal Princess      2
             Carnival Ecstasy    20                        Noordam             2
             Carnival Fantasy    20                        Sojourn             2
             Carnival Freedom    20                        Odyssey             2
             Carnival Magic      17                        AIDAmar             2
             Carnival Liberty    17                        Crown Princess      1
             Carnival Pride      16                        Star Princess       1
             Zuiderdam           15                        Encore              1
             Carnival Glory      15                        Carnival Ecstasy    1
             Carnival Miracle    15                        Aurora              1
             Carnival Valor      15                        Carnival Elation    1
                                                           Grand Princess      1



    VI.    EVALUATION OF THE TPA

           A.      Engagement with the TPA

           One aspect of the CAM’s work under the ECP is to oversee the TPA. See ECP §§

    VI.F.1-3. The goal of this oversight is to confirm that the TPA acts with independence and

    performs adequate ECP-required audits. Id. The CAM Team has undertaken a number of efforts

    to oversee the work of the TPA.

           As an initial matter, since the start of the monitorship, the CAM Team has reviewed the

    selection of TPA auditors. For each auditor the TPA proposed to use, the TPA sent the proposed

    auditor’s resume to the CAM Team for review. If it was determined that the auditor appeared to

    be qualified and did not face any known conflicts of interest, then the CAM would approve the

    auditor to serve on the TPA team.

           The CAM Team is in regular contact with the TPA. The CAM Team has in-person

    meetings and weekly calls with the TPA to coordinate efforts and to address issues as they arise.




                                                     58
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 62 of 205
    CONFIDENTIAL                                               June 21, 2018



    The CAM Team and the TPA also share information from their respective activities. In addition,

    the CAM Team worked with the Company to access Company databases, and then set up a

    knowledge management platform that the TPA can access.

           The CAM Team also conducts oversight of the TPA’s work. This includes

    accompanying the TPA on shoreside and vessel audits, as well as visiting vessels that the TPA

    previously audited. These visits help inform the CAM’s assessment of the independence and

    rigor of the TPA audits and auditors. The CAM Team also reviews all of the TPA audit reports

    and tracks these findings to look for any issues related to the TPA’s methods or analysis, or with

    individual auditors.

           B.      TPA Audit Process

           During ECP Year One, the CAM Team has not identified any significant shortcomings

    with the TPA’s audit process. Based on the CAM Team’s direct observations during vessel and

    shoreside visits, follow-up visits after TPA audits, and discussions with Company personnel, the

    TPA teams are highly qualified, well-organized, methodical, and thoughtful. TPA auditors

    confer with a cross-section of the officers and crew, from the Captain to ratings. Auditors

    explore the Company’s processes, do not merely check boxes, and take the time needed for each

    inquiry. The TPA auditors show respect for crew members’ schedules and the operational

    demands of the ship.

           The TPA has an extensive checklist to guide the performance of the audit. The TPA’s

    checklist and report format reflect the elements of the ECP that the TPA is tasked with auditing.

    These include all twenty-six elements of ECP Section VIII.B, as well as elements from ECP

    Sections IX and X.




                                                    59
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 63 of 205
    CONFIDENTIAL                                               June 21, 2018



            The TPA teams have demonstrated the technical ability and maritime experience to

    identify a wide range of issues during their vessel and shoreside audits. The TPA has

    documented findings of varying degrees of severity (ranging from Observations to Major Non-

    Conformities). The CAM Team has seen no indications that the TPA is dissuaded from its

    independent judgment regarding these findings, even when the findings are met with

    disagreement.

            For example, during one CAM Team ride-along with the TPA, the TPA identified as a

    finding that sampling procedures were not consistent with ECP requirements. Company

    representatives questioned the basis of this finding, noting that the vessel was cooperating with a

    necessary retrofitted modification of the sample location. TPA auditors acknowledged the

    response and again explained the basis for the finding. The finding ultimately was included in

    the audit report.

            One concern the CAM Team has raised with the TPA relates to the difficult role of an

    auditor. Occasionally, the TPA representatives slide into the role of consultants rather than

    auditors, providing advice rather than observing. The CAM Team raised this issue to the TPA,

    and the TPA concurred on the importance of acting as an auditor only and instructed its auditors

    accordingly.

            C.      TPA Audit Reports

            The TPA’s finalized reports track their checklist and templates. The reports are clear,

    cover the necessary areas, and document the TPA’s findings.




                                                    60
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 64 of 205
    CONFIDENTIAL                                               June 21, 2018



           D.      TPA Receptiveness to CAM Feedback

           As noted above, CAM Team feedback to the TPA has been via in-person meetings and

    teleconferences, weekly and as needed. TPA representatives have been receptive to the CAM

    Team’s feedback.

    VII.   EVALUATION OF INTERNAL AUDIT FUNCTION

           A.      Overview of Internal Audit Process

           The Company’s internal audits are conducted by RAAS.51 RAAS is an independent

    department that reports directly to Carnival Corp.’s Board of Directors. ABSG, Carnival

    Corporation & PLC Environmental Compliance Audit Report: Carnival Corporate Office 14-18

    August 2017 at 7 (Aug. 25, 2017). These audits occur annually for each vessel and operating

    line shoreside facility and assess compliance with applicable codes (e.g., the ISM Code),

    regulations, and internal policies. See HMP-1301 Internal Audits (Dec. 13, 2016). In 2013, the

    internal audit function was restructured to establish teams of auditors at each operating line that

    report to RAAS. ABSG, Carnival Corporation & PLC Environmental Compliance Audit Report:

    Carnival Corporate Office 14-18 August 2017 at 8 (Aug. 25, 2017).

           During the course of an audit, RAAS auditors generate findings that carry an associated

    category and severity (e.g., environmental medium non-conformance). After the audit is

    complete, RAAS generates a score for each finding based on its severity and risk. See HMP-

    1301-A3 Finding Risk Matrix (May 7, 2015). These scores are deducted from 1000 (the starting

    vessel score) to generate the overall audit grade. For example, in 2017, the Ruby Princess

    received an audit grade of 756 for zero Major Non-Conformities, one High Non-Conformity,



    51
       The RAAS audit function is distinct from its investigation function, discussed above in Section
    III.G and in Section IV.C.



                                                     61
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 65 of 205
    CONFIDENTIAL                                               June 21, 2018



    five Medium Non-Conformities, seventeen Low Non-Conformities, and three Observations.

    RAAS Final Maritime Presentation & Audit Report Cover Sheet, Ruby Princess (Mar. 11-18,

    2017). In the spectrum of audit grades from excellent (950-1000) to below average (below 250),

    756 is classified as above average. See HMP-1301-A3 Finding Risk Matrix (May 7, 2015).

            In general, each RAAS audit team consists of three auditors. The audit team typically

    remains onboard a vessel for seven days. The duration of a shoreside audit visit varies based on

    the facility site. Draft audit schedules are sent to the ship or office at least fifteen days prior to

    an audit. The audit beings with a RAAS team introduction to the Captain (or, if on shore, to the

    CEO or other senior manager), followed by an opening meeting to discuss the scope, methods,

    and objectives of the audit. The audit then proceeds with interviews of various crew members,

    document review, and physical inspection of the deck, engine, and hotel spaces and equipment.

    A closing meeting is held at the completion of the audit during which all findings are discussed.

    Shipboard personnel are given ten days to review the report and/or discuss it with shoreside

    management. If shipboard personnel do not agree with a RAAS audit finding, they are to tell the

    lead auditor during the closing meeting the reasons why they disagree. If they cannot agree, then

    the shipboard personnel can involve the relevant operating line’s Audit Review Committee.

            Similarly, if either the Designated Person Ashore52 or Audit Review Committee does not

    concur with any findings in the audit report, then the head of RAAS or the Vice President of

    RAAS will be advised, and these findings will be sent to the Chief Maritime Officer for

    clarification or interpretation.


    52
      A Designated Person Ashore is a shoreside-based person designated by a Company under the
    ISM Code to provide a link between shoreside and shipboard personnel. The Designated Person
    Ashore’s duties should include monitoring the safety and pollution prevention aspects of the
    operation of each vessel and ensuring that adequate resources and shore-based support are
    supplied. Joint Glossary of Terms at 4-5.



                                                       62
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 66 of 205
    CONFIDENTIAL                                               June 21, 2018



            Within three weeks of completing any shipboard audit, the chair of the Audit Review

    Committee holds a post-audit committee meeting where the Audit Review Committee members

    present and agree on final action plans and implementation dates. The agreed action plans

    should be based upon a root cause analysis, and all action plans are to include an implementation

    date.

            Although not part of the Audit Review Committee, the head of RAAS is invited to attend

    all post-audit meetings, as is the lead RAAS auditor for the audit and the shipboard senior

    management of the ship under audit.

            B.     CAM Assessment of Internal Audits and Audit Reports

            The ECP requires the CAM to “conduct a review of [the Company’s] internal

    environmental audits with respect to Covered Vessels and Covered Personnel . . . The CAM’s

    review shall assess the ability of [the Company’s] internal audit process to accomplish the

    objectives of this ECP, including any inadequacies with respect to [the Company’s] performance,

    whether personnel-based or related to any of its Covered Vessels, systems, equipment, or

    components.” ECP § VI.F.4.

                   1.     Shipboard Audits

            During ECP Year One, the CAM Team conducted two ride-alongs of RAAS vessel

    audits: the Carnival Pride in December 2017 and the Carnival Victory in February 2018. The

    majority of the visit was spent with the auditor responsible for the environmental component of

    the audit. The RAAS auditors were knowledgeable about the HESS system, conducted

    themselves professionally, and had the technical expertise required for the audit. It appeared that

    the auditors were provided with full access to relevant aspects of the vessel and given complete

    cooperation from the crews.




                                                    63
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 67 of 205
    CONFIDENTIAL                                               June 21, 2018



                   2.     Audit Reports

           The CAM Team reviewed the environmental component of RAAS audit reports for 2017

    and 2018 (to date) for seventy-three Covered Vessels and four shoreside office locations. The

    RAAS audit reports cover a wide variety of environmental issues, including policies and

    procedures, training, recordkeeping, and the physical condition of the vessels. There were

    several common findings, regardless of operating line or brand, including findings related to Oil

    Record Book entries, Environmental Officer training, and critical spare parts.

           Below is a more detailed summary of repeat findings:

       Vessels

       •   Oil Record Book incorrect or missed entries – ENV-1201
       •   Vulnerability Assessments needing additions – ENV-1204
       •   Bilge arrangement drawings posted – unapproved – DER-2002
       •   MARPOL samples not sealed – TEC-1402
       •   Portable pump either not logged out or not controlled – ENV-1203/1204
       •   Critical spares not standardized or below minimum levels – ENV-1201
       •   Minimum quantity of spare within the planned maintenance system can be modified by
           shipboard personnel – ENV-1201
       •   One scrubber not on ship’s operational manual – ENV-1202
       •   No audible and visual alarms on bridge for Oil Record Book overboard valve – DER-
           2002
       •   Secondary containment for chemicals not provided – OHS-1102
       •   No instruction on how Environmental Officer is to check for proficiency of training or
           means, procedure for other training – ENV-1008
       •   Environmental Officer’s role and responsibility is for monitoring only – ENV-1008
       •   Oil-to-sea interface log improper filled out – ECR-1.1
       •   Environmental aspects/impacts of Ship Energy Efficiency Management Plan (“SEEMP”)
           not up to date, completed with targets – ENV-1404
       •   Shipboard Oil Pollution Emergency Plan – amendments to the plan & inventory – EMR-
           1801
       •   Reefer equipment instruction manuals/calibration not found – ENV-1402



                                                   64
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 68 of 205
    CONFIDENTIAL                                               June 21, 2018



       •   Fuel bunker checklists (bunker delivery note) logs not completed in full – TEC-1402
       •   Gas bottle monthly inspection and ten-year hydro not carried out – ENV-1402
       •   No fuel test kits; tests not carried out, test kits cannot meet bunkering instruction – TEC-
           1402
       •   Fuel change over guidance not ship/class specific – TEC-1404
       •   Wash water analysis results for EGCS not provided by shoreside – ENV-1102
       •   Boiler blow down valve, no verification as to when and where operated – ENV-1001

       Shoreside

       •   Company incident investigation process doesn’t meet ISM (SOLAS Ch. 9) and internal
           Company procedures – HMP 1302 and 1303
       •   Management Corrective Action plan does not meet ISM (SOLAS Ch. 9) and internal
           Company procedures – HMP 1301
       •   Environmental Officers & EGCS officers have not had EGCS training at CSMART –
           TRG-2101/2104
       •   ECP Monitoring System – several spare (critical) spare parts not maintained as minimum
           stock – ENV-1014-2.1.2
       •   No shoreside waste vendor assessments - ENV-1004-4.1
       •   Annual review of SEEMP was not conducted – ENV-1404-4.3

                   3.      Employee Interviews

           During CAM Team vessel visits, the CAM Team asked crew members, including

    Captains, Environmental Officers, Chief Engineers, and others, for their perspectives on the

    Company’s internal audit process. Similarly, during shoreside office visits, the CAM Team

    solicited interviewees’ opinions on the auditing process. The responses have been mixed.

    Positively, many interviewees indicated that the internal audit process has improved over the past

    few years and that “having another set of eyes” is helpful. See Employee Interview Notes.

    Criticisms, though, were more common and generally can be categorized as addressing (i)

    auditor competency; (ii) the substance of audit findings; and (iii) the impact of audit findings on

    compensation and bonuses. See id.




                                                    65
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 69 of 205
    CONFIDENTIAL                                               June 21, 2018



           Relatedly, as noted above in Section VII.A, there is an extensive internal process before a

    RAAS audit is finalized. Concerns have been raised that this process leads to a focus on

    obtaining a good audit score rather than addressing the learning opportunities raised by the

    substantive findings identified during the audit.

                          i.   Auditor Competency

           Multiple crew members across several brands indicated that the value of an internal audit

    largely depends on the experience and knowledge of the auditors. See id. One Safety Officer

    observed that the audit can vary depending on the “personality” of the auditor, while a Chief

    Engineer suggested that the process could be improved by hiring former Captains and Chief

    Engineers as auditors, indicating that auditors with more relevant engineering and environmental

    experience would improve the overall auditing process. See id.

                         ii.   Substance of Audit Findings

           Crew members criticized the substance of audit findings, which sometimes are perceived

    as unfair or “nit-picky.” See id. At one extreme, a shoreside interviewee described the system as

    “absolute crap,” while a Captain observed that the auditors issue findings for unimportant details.

    See id. In one instance, a shoreside interviewee reported that a ship was issued a finding for not

    following incinerator ash sampling procedures even though the vessel’s incinerator was not

    functional (and, therefore, no ash was available to sample). Similarly, a Captain referred to an

    audit finding issued for not having markings for a helicopter landing pad, although such a pad is

    not required on passenger ships. The finding later was retracted. See id. A broader criticism is

    that RAAS audit findings do not address the root causes of issues. Id.




                                                        66
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 70 of 205
    CONFIDENTIAL                                               June 21, 2018



                           iii.   Impact of Audit Findings on Compensation and Bonuses

           Multiple shoreside interviewees raised concerns with how audit findings and grades can

    impact compensation and bonuses. See id. It appears that this is a matter of discussion and

    review, at least at some operating lines. Id. This discussion reflects a legitimate concern, for

    example, that vessels would try to “game” or “win” internal audits by masking or superficially

    addressing issues in advance of an audit. The CAM will examine this issue further in the future.

    See infra, § VIII.D.

           C.      TPA Assessment of Internal Audit Function

           The TPA assesses the internal audit process during audits of the Company’s shoreside

    offices. See ECP § VIII. The TPA has made favorable assessments of the Company’s RAAS

    auditing function. For example, the TPA noted in the Holland America Group shoreside office

    report that “procedures for RAAS Auditing are well defined, and the process is mature and

    consistent across all brands and groups and yield overall excellent audits that result in

    meaningful [corrective actions and preventative actions].” ABSG, Holland America Group

    Environmental Compliance Audit Report, Holland America Group Offices Seattle/Santa Clarita

    15-24 January 2018 at 21 (Feb. 23, 2018).

           D.      Overall CAM Observations

           Overall, the CAM Team has observed that the RAAS audit function has experienced and

    hardworking auditors who follow a comprehensive review process. Further work is required to

    better understand how the RAAS group supports a sustainable compliance culture, including:

    whether RAAS requires additional auditors to focus on environmental compliance; whether

    auditors require additional opportunities for training; and how attitudes towards the audits might

    impact the development of a strong compliance culture.




                                                     67
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 71 of 205
    CONFIDENTIAL                                               June 21, 2018



    VIII. AREAS OF FOCUS FOR YEAR TWO

           Much of ECP Year One was spent in an effort to understand the Company’s complex

    operations and organization. These efforts—which included CAM Team visits to shoreside

    facilities, visits to at least one of the vessels for each of the eight Covered Vessel cruise brands,

    and oversight of the TPA and RAAS auditors—required more time and resources of both the

    CAM Team and the Company than was anticipated. Some significant areas that will receive

    attention and review going forward are described below.

           A.      Culture Survey

           The CAM, with the support of the Company, is retaining a consultant to conduct an

    environmental compliance culture assessment. This survey, conducted during ECP Year Two, is

    designed to provide a baseline of the current corporate compliance culture. A follow-up survey

    is to be conducted before the completion of the five year probationary period.

           Following a Request for Proposal and referral review process that evaluated multiple

    culture consultant candidates, the CAM has selected Propel AS (“Propel”), based in Oslo,

    Norway, to help the CAM survey the Company’s compliance culture. Propel was chosen based

    on its approach to survey design and its maritime expertise.

           The survey instrument will be developed by Propel, with input from the Company—

    though the CAM has final control. It is planned that the survey will be administered to shipboard

    and shoreside employees. The survey population will be determined by the CAM in consultation

    with the Company.53 Propel also will conduct focus groups and one-on-one interviews to clarify

    and further explore observed survey trends and responses.


    53
      The CAM notes that a relevant population of approximately 45,000 was identified; however,
    the Company asked to expand the population scope to include employees who are not Covered
    Personnel and who may not have work duties directly related to environmental compliance.



                                                      68
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 72 of 205
    CONFIDENTIAL                                               June 21, 2018



           B.       Investigations

           All parties recognize that internal investigations are a particular area of challenge for the

    Company. See supra, §§ III.G and IV.C. The CAM will evaluate the Company’s actions in

    response to the recommendations of DNV GL in the coming year.

           C.       Training

           During the April 2017 Sentencing Hearing, the Court emphasized the importance of

    training, noting that “training needs to be for everyone and it needs to be on an annual basis and

    it needs to be training similar to that in the military where it becomes instinctive that there is a

    call and a response; it is so ingrained in the individuals, each member of the crew is committed

    to the environment.” Sentencing Hr’g Tr. at 13 (Apr. 19, 2017). The ECP has numerous training

    requirements, and the Company invested significant resources in this training. Going forward,

    the CAM will continue to examine the environmental and ECP-related training for all personnel.

           In June 2017, the CAM visited the Company’s CSMART training facility in Almere, The

    Netherlands. The Company’s ECP-required Environmental Officer training was just beginning.

    The Company reports that it is employing a third party to review and revise the substance of its

    Environmental Officer and other trainings. The Company also reports that it is integrating

    environmental requirements and related issues into the existing training for its deck and technical

    officers. See Appendix B.

           In October 2017, the TPA conducted an audit of the CSMART Environmental Officer

    training course. The TPA found that the course met ECP obligations, but made the following

    observations:

           •    The course did not have written objectives for the students during the introduction of
                the course.
           •    The course did not have written objectives for the simulator exercise or a brief prior
                to entering the engine room simulator.



                                                      69
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 73 of 205
    CONFIDENTIAL                                               June 21, 2018



           •    The group in the simulator (full class) appeared to be too large for the exercise.
           •    Similar naming exercise that is done with OWS’ systems [should] be done on the
                white box.
           •    Pre‐requisite requirements for the course was not met by a majority of students.
                Reasons were varied; “couldn’t open files”, “a lot of information to look at”, “no
                internet access”.
           •    No written procedures [were] developed for course review and revision that meets the
                Company’ standards.
           •    No written audit/evaluation [were] developed for the EO training manager’s ECP’s
                ship visits.

    ABSG, Carnival Corporation & PLC Environmental Compliance Audit Report, CSMART

    Environmental Officer Course 25-30 September 2017 at 4 (Oct. 9, 2017). The TPA also found

    several factors that adversely impacted the effectiveness of the course, including variation in the

    level of student maritime and engineering experience, variation in the applicable shipboard

    procedures between the operating lines, and variation between pollution prevention equipment

    used in the course and that in operation on certain vessels. Id. at 5. The CAM will track how

    and the extent to which Company has addressed these factors.

           In addition, the CAM plans to examine the training of ratings, which primarily is

    conducted by third-party manning agencies.54

           D.      Resources for Operations and Compliance

           The CAM Team has not yet determined how budget-development and financial goals

    have, or have not, impacted compliance efforts. Personnel report tension between maximizing

    revenues and support for ship operations. See Employee Interview Notes. Personnel also report

    that they continue to face the “excessive frugality” identified by Chief Maritime Officer Burke in



    54
       Manning agencies are “companies that act as an employment agency for seafarers. Seafarers
    use them to find employment at sea and shipping companies use them to source crew.”
    http://sea-jobs.net/encyclopediaen/163.



                                                     70
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 74 of 205
    CONFIDENTIAL                                               June 21, 2018



    his analysis of the Caribbean Princess incident. In contrast to these statements, senior

    management can point to the funding of initiatives beyond the enumerated requirements of the

    ECP, and they assert that no reasonable requests related to environmental compliance are being

    denied. See id. During ECP Year Two, the CAM will seek to better understand how the

    Company addresses long-term plans for compliance within the context of strategic plans for

    achieving financial objectives.

           In addition, the CAM will seek to better understand the bonus structure across the

    operating lines. The Company’s bonus structure has changed over the years and varies by

    operating line. Notably, a respondent to the Fleet engineering survey reported “that bonuses

    incent people to not follow procedures (bonuses linked to reduction of discharges of sludge and

    bilge, reduction of spare parts expense, faster port visits).” DuPont Sustainable Solutions,

    Environmental Compliance Survey Final Results (Feb. 2018) at PCL ECP00042053.

           E.      Shoreside Support for Vessels

           The CAM intends to further examine shoreside support for vessels. Shoreside operations

    play a critical role in vessel compliance obligations. Shoreside personnel establish and manage:

    HESS policies and procedures; training programs; budgets for vessel operation, maintenance,

    and repairs; internal audits; and incident investigations. They also develop, implement, and train

    employees on information technology systems and applications, such as training tracking,

    incident reporting, and financial systems. Shoreside environmental responsibilities include

    supporting ships with the management of waste, garbage, ballast water, oily bilge water, and

    critical environmental equipment, including critical spare parts for pollution prevention

    equipment.




                                                    71
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 75 of 205
    CONFIDENTIAL                                               June 21, 2018



           Ships depend on support from shoreside to provide human resources as well as supplies.

    If parts do not arrive on time, the ship is in a no-win position where it must either “make do” or

    risk losing revenue and disappointing customers due to a departure delay. Unlike an airline

    company that can, at times, provide a replacement for a plane with a problem, or call up a

    standby pilot, cruise ships are not quickly repositioned, and qualified mariners may be across the

    globe from where they are needed.

            The CAM Team has received mixed responses from vessel personnel concerning

    shoreside support. Complaints focus on maintenance delays, budgetary constraints, and the lack

    of centralized information technology systems for tasks such as tracking training or incident

    reporting. Others complain about a tidal wave of communication from shore, including

    uncoordinated and unprioritized email inquiries. See Employee Interview Notes. On the other

    hand, the CAM Team has heard from shoreside personnel that they are committed to supporting

    the vessels. See id. The CAM will seek to explore these issues in ECP Year Two.

           F.      Personnel

           The CAM will review several areas related to personnel going forward. These include

    the Environmental Officer position, staffing of engineers, and hiring and training of ratings.

                   1.      Environmental Officers

           The Environmental Officer plays a key role in the implementation and verification of

    ECP requirements. In ECP Year One, the Company reports that it lost a total of 20 out of

    approximately 200 Environmental Officers across all operating lines. The Company cited

    several factors for these mostly unwanted departures, including salary, dissatisfaction with

    changes in job duties, and inability to pass the newly required Environmental Officer training

    course. However, the Company reports that this attrition rate appears to have decreased in the




                                                    72
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 76 of 205
    CONFIDENTIAL                                               June 21, 2018



    second half of ECP Year One. The Company recognizes that the ability to retain a sufficient

    number of competent Environmental Officers is a challenge for several reasons, including the

    lack of a clear path of upward mobility from the Environmental Officer position and frustrations

    on the part of some Environmental Officers regarding workload.

                   2.     Engineers

           Some personnel have raised concerns about the availability of a sufficient number of

    engineers qualified for the roles needed on the ships. Following the events on the AIDAvita, the

    Company’s consultant observed that a lack of availability of senior engineers was not an isolated

    incident on the AIDAvita. Investigation Memo No. 11/2018 AIDAvita – Alleged Tampering

    with the Bilge Control Discharge Box (BCDB) at PCL_ECP00046689.

                   3.     Ratings

           Ratings perform important duties related to environmental compliance such as tank

    soundings, maintenance operations, and repairs. The CAM will seek to understand more about

    the recruitment and training of these employees.

           G.      Company Vessel Visit Programs

           During ECP Year One, two vessel visit programs came to light. The first program was

    one where individuals or teams were deployed to inspect and correct ECP issues onboard vessels

    approximately a week prior to a scheduled TPA audit. See Employee Interview Notes. This

    program was not disclosed to the CAM or the TPA, and, as far as is known, the teams left no

    reports or documentation as to their observations and corrective actions, if any. During the

    December 2017 Status Conference, the Company’s pre-audit review of its vessels was described

    as “one or two people who have gone to try to get the ship in a position where they prepared or




                                                   73
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 77 of 205
    CONFIDENTIAL                                               June 21, 2018



    are ready for the audit.” Status Conf. Tr. at 69 (Dec. 4, 2017). The Company committed to the

    Court that “to the extent that we’ve done that, we will do it no more.” Id. at 23-24.

           At the April 3, 2018, Status Conference, another vessel visit program was revealed to the

    Court. The government has issued document requests to understand the nature of both the first

    and second vessel visit programs. The CAM has informed the Court that it will review these

    programs and report back to the Court and the Interested Parties.



                                                         Respectfully Submitted,




                                                         STEVEN P. SOLOW
                                                         Court Appointed Monitor

                                                         June 21, 2018




                                                    74
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 78 of 205
    CONFIDENTIAL                          APPENDIX A                              June 21, 2018




                        APPENDIX A: CAM’S METHODOLOGY AND ACTIVITIES

    The CAM and the Company entered into a Monitor Agreement that provides:

           “By no later than the 1st of August of each year of the monitorship, and commencing on
           August l, 2017, the Monitor shall provide the Company with a comprehensive, written
           annual work plan that reflects the work expected to be undertaken by the Monitor Team
           in the forthcoming year. This work plan will include, among other things, the expected
           maximum total number of Monitor Team visits to Covered Vessels and shore side
           facilities (including attendance at Third Party Auditor audits of Covered Vessels and
           shoreside facilities, as well as Covered-Vessel and shoreside facility visits the Monitor
           Team may conduct separately from the Third Party Auditor), and the estimated fees and
           expenses for that work.”

           During the first year of the monitorship, on August 1, 2017, the CAM submitted a “First

    Annual Work Plan and Budget of the Court Appointed Monitor.” The Company objected both to

    the scope and to the cost of the CAM’s planned work. The CAM and the Company subsequently

    entered into negotiations that resulted in the presentation, on October 20, 2017, of a

    “Superseding First Annual Work Plan and Budget of the Court Appointed Monitor.” This

    Superseding Work Plan is attached and describes the CAM’s methodology and activities during

    ECP Year One. The CAM will prepare a work plan that reflects the CAM’s planned work for

    ECP Year Two on or before August 1, 2018.




                                                Page 1 of 1
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 79 of 205
    CONFIDENTIAL                         APPENDIX B                            June 21, 2018


           APPENDIX B: COMPANY INITIATIVES BEYOND ENUMERATED ECP REQUIREMENTS

      I.   Policy

           In 2013, the Company began a process to unify and standardize policies and procedures

    across its brands through the implementation of a computer-based, corporate-wide HESS

    Management System, known as Global HESS. See e.g., INT-1001 Introduction to Global HESS

    (Jan. 6, 2017); Global HESS Project Status Update (June 6, 2017), PCL_ECP00025134-155.

    Deployment of the system began in May 2017, and was made available to each of the brand

    fleets by September 2017. Id. at PCL_ECP00025137. As part of this effort, and following

    sentencing in this matter, the Company focused significant resources, estimated at 1,764 hours or

    220 full-time employee days, to review and revise the Global HESS policies to incorporate the

    requirements of the ECP. See Letter from John Haeflinger, Vice President, Maritime Policy &

    Analysis, Carnival Corporation & plc to Steven Solow, CAM (June 5, 2017),

    PCL_ECP00020299. The Company also continues to implement the Fleet Captain and Fleet

    Chief Engineer program, which allows Captains and Chief Engineers to step away from their

    normal duties for a period of two years and serve as compliance mentors across the fleets with

    respect to Global HESS implementation.

     II.   Training

           The Company has made several improvements to its training programs both in

    accordance with the ECP, and outside of the enumerated ECP requirements. In July 2016, the

    Company opened a $90 million state-of-the-art training center in Almere, The Netherlands to

    provide deck and engine room officers with simulated instruction on bridge and deck resource

    management, which is focused on safe marine operation, communication, and decision-making.

    See Carnival Corporation’s Arison Maritime Center and CSMART Academy (Jan. 2017),




                                              Page 1 of 6
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 80 of 205
    CONFIDENTIAL                           APPENDIX B                            June 21, 2018


    PCL_ECP00040937; see also CSMART, https://www.csmartalmere.com/. CSMART is the

    home to the ECP-required technical training course for Environmental Officers, which allows the

    Environmental Officers to observe full-size, operational Oily Water Separators and Oil Content

    Meters. See CSMART, Environmental Officer Training, PCL_ECP00040945. The facility also

    provides environmental training to all engineers and deck officers attending the facility. See

    March 2018 USPO Supervision Report, Attachment 3; Module 1, Workshop Introduction,

    Compliance 2 Commitment (C2C) Workshop, PCL_ECP00040941. This training is designed to

    refresh personnel knowledge of regulatory requirements, Company policies, and particular job

    duties for key compliance tasks. Id.

           Additionally, the Company has made several technological improvements to its overall

    training management and dissemination. This includes the launch of a new corporate-wide

    electronic learning management system called the Global Learning and Development

    Information System (“GLADIS”). See March 2018 USPO Supervision Report, Attachment 3.

    GLADIS currently allows for the completion and tracking of basic environmental training for

    shoreside employees and pre-learning training for Environmental Officers, and eventually will be

    used for all HESS trainings. Id.

           To facilitate remote access to training, the Company is finalizing the development of an

    application for smart phones and tablets, called “CrewTube,” which be launched in two phases

    during 2018. See ECP Corporate Compliance Manager Annual Report (2017-2018) at

    PCL_ECP00046501-502. Phase 1 of the CrewTube launch will provide HESS information and

    some HESS training to crewmembers before they embark on a vessel. Id. Phase 2 of the

    CrewTube launch will allow personnel to receive HESS notifications and report potential

    compliance issues. Id.




                                               Page 2 of 6
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 81 of 205
    CONFIDENTIAL                         APPENDIX B                               June 21, 2018


    III.   Communication

           The Company has sought to improve its corporate messaging related to compliance over

    the course of ECP Year One. The Company’s Chief Maritime Officer launched a monthly

    newsletter to communicate incidents, initiatives, and lessons learned through implementation of

    the ECP. See March 2018 USPO Supervision Report, Attachment 3; see also January 2018 ECP

    Newsletter, PCL_ECP00041008. The Company also has begun sharing cross-brand incidents

    and near misses reported in the weekly Flash Reports across the brand fleets. See ECP Corporate

    Compliance Manager Annual Report (2017-2018), PCL_ECP00046501. The Company is rolling

    out signage near pollution prevention equipment designed to remind engineering officers of

    environmental regulatory requirements. See February 2018 USPO Supervision Report,

    Attachment 4.

           The Company has launched the Operation Oceans Alive campaign, which it describes as

    an effort to “promote in each employee a higher consciousness of environmental stewardship by

    instilling a sense of personal commitment to the environment.” ECP Corporate Compliance

    Manager Annual Report (2017-2018) at PCL_ECP00046436-437, 497, 567. The campaign

    includes several other initiatives including its “Top 5” compliance priorities, and environmental

    and HESS performance awards. Id.

           The “Top 5” initiative is an effort to identify high-risk areas of environmental

    compliance, which then are communicated as compliance priorities to shipboard personnel. Id.

    at PCL ECP00046437, 572. The current list is:

           1. No non-compliant discharges at sea and in port;
           2. No unauthorized modifications to pollution prevention equipment;
           3. Properly identify and control all vulnerable valves and fittings;
           4. No use of non-compliant fuel; and



                                               Page 3 of 6
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 82 of 205
    CONFIDENTIAL                           APPENDIX B                               June 21, 2018


           5. Minimize bilge water accumulation.

    February 2018 ECP Newsletter, PCL_ECP00052353 at PCL_ECP00052353.

           The Company has launched an Environmental Excellence Awards program, which

    honors shipboard team members on the vessel with best compliance record in each operating

    line, as well as a HESS Employee of the Month Program, which honors employees for their

    commitment to HESS compliance. See ECP Corporate Compliance Manager Annual Report

    (2017-2018) at PCL_ECP00046497.

    IV.    Technology

           Before and after the start of the ECP, the Company launched Fleet Operations Centers to

    track its ships and serve as a single point of contact for ships in the fleet for operational and

    safety support. These centers, which are located in Miami, Florida, Hamburg, Germany, and

    Seattle, Washington, can track a ship’s location in real-time and track the operational status of

    onboard equipment. The centers are staffed 24 hours a day, seven days a week. The employees

    of the Fleet Operations Centers have the ability to mobilize an emergency response should an

    incident occur.

           The Company also is looking to new technology to improve vessel voyage plans. Such

    voyage plans identify where certain discharges or emissions are allowed or prohibited, based on

    a ship’s location and the applicable restrictions. As noted in the CCM’s Annual Report to the

    HESS Committee, over the first year of the ECP, the Company has made multiple discharges of

    treated sewage, grey water, food waste, and ballast water in prohibited locations. See ECP

    Corporate Compliance Manager Annual Report (2017-2018) at PCL_ECP00046434. One cause

    of these discharges appears to be a failure to develop and follow effective voyage plans. Id. The

    Company is evaluating software programs designed to improve voyage planning, including an




                                                 Page 4 of 6
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 83 of 205
    CONFIDENTIAL                         APPENDIX B                             June 21, 2018


    electronic discharge matrix that would provide coordinates of areas with discharge limits and the

    related restrictions. Id. at PCL_ECP00046434, 502.

           Finally, the Company is considering moving to a single planned maintenance system for

    use across the fleet and is developing a new software program to assist with environmental

    checklists and reporting items. See April 2018 USPO Supervision Report, Attachment 3.

     V.    Equipment

           The Company is upgrading its fleets’ Oily Water Separators and White Boxes so that

    they are Marine Environmental Protection Committee (“MEPC”) 107(49) compliant devices, a

    newer and more efficient technology authorized under MARPOL. See April 2018 USPO

    Supervision Report, Attachment 3; ECP Corporate Compliance Manager Annual Report (2017-

    2018), PCL ECP00046437-438. The Company is completing the installation of CCTVs in the

    engine room to record operation of the oily water separation equipment. Id. These equipment

    upgrades and installations are scheduled to be complete by January 31, 2019. Id. The Company

    also is testing and seeking approval under Flag State requirements for a new, advanced onboard

    wastewater treatment system. Id.

    VI.    Incident Investigation and Reporting

           The Company hired DNV-GL to review the Company’s investigation process, policies,

    and structures, and to provide recommendations for improvement. See ECP Corporate

    Compliance Manager Annual Report (2017-2018), PCL_ECP00046434. In early May 2018,

    DNV GL provided a report on their review and findings. See DNV GL, Towards improving

    Carnival’s incident investigation process, Report No. 2018-0209, Rev. Final (May 8, 2018),

    PCL_ECP00052001-52050. For additional detail, see Section III.G and Section IV.C. The

    Company also is working to develop a corporate-wide incident and near miss reporting system,




                                               Page 5 of 6
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 84 of 205
    CONFIDENTIAL                       APPENDIX B                           June 21, 2018


    called SEAevent, which is scheduled for implementation by the end of 2019. See April 2018

    USPO Supervision Report, Attachment 3.




                                             Page 6 of 6
              Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 85 of 205

CONFIDENTIAL                                                 APPENDIX C                                                June 21, 2018


                                                 APPENDIX C: ORGANIZATIONAL CHARTS




Holland America Group Corporate Structure. The above chart was prepared by the CAM Team based on interviews with Company employees. The colored
dotted lines represent the CAM’s understanding of reporting lines.




                                                                 Page 1 of 2
             Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 86 of 205

CONFIDENTIAL                                                APPENDIX C                                               June 21, 2018




Carnival Corp. Chief Maritime Officer Corporate Structure (as of April 1, 2018). The above chart was provided to the CAM Team by the Company.
PCL_ECP00046950.




                                                                Page 2 of 2
                             Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 87 of 205
CONFIDENTIAL                                                                                                                                                        June 21, 2018

                                                           APPENDIX D: STATUS OF ECP YEAR ONE REQUIREMENTS

                                                                                                               ECP      Completion
                                             ECP Requirement                                                                                         Verification
                                                                                                              Section     Status
    30-Day Requirements
    CCM is responsible for developing and implementing a tracking mechanism to ensure that                    III.A.7    Complete    • CCM Annual Report, Attachment E
    CARNIVAL takes corrective action on Audit Findings made by the TPA and makes timely reports to                                     (Quarterly Issue Tracker – TPA Final Audit
    Interested Parties within the timeframes provided in the ECP. This tracking system shall be                                        Findings)
    established no later than thirty (30) days after sentencing. The OLCMs shall be responsible for                                  • OLCM Quarterly Reports
    ensuring actual corrective action is taken on Audit Findings made by the TPA related to their
    respective Operating Lines.
    Within thirty (30) days of sentencing, the CCM and OLCMs shall ensure that notification is given to       IX.C.3     Complete    • ECP Videos
    all Covered Vessels regarding the prohibition against using unauthorized stub pipes, cross                                       • Environmental Compliance Notices
    connections, or piping on engine room waste systems.
    Within thirty (30) days of sentencing, the CCM and OLCMs shall ensure that notification is provided       IX.D.1     Complete    • Environmental Compliance Notices
    to all Covered Vessels regarding the prohibition against the non-emergency usage of cross                                        • Company policies and procedures 1
    connections from engine room bilge mains to the suction piping of larger pumps, which may be
    referred to as the “fire and general service pump” or “fire, bilge and ballast” pump. The notification
    shall state that such usage is similar to bypassing the OWS equipment and is strictly prohibited. Cross
    connections to eductor systems or any other system capable of pumping out bilge and wastes will also
    be referenced, with the exception of Classification Society and/or Flag Administration-approved food
    waste eductor systems. Any method to discharge overboard via the soot collection tank and soot
    educator must be disabled and locked out.

    60-Day Requirements
    Within sixty (60) days of sentencing, CARNIVAL will submit to the Government a list of three (3)           VI.A      Complete    • Government selected Steve Solow as the
    qualified candidates for the CAM position, from which the Government will select a candidate to                                    CAM
    serve. In the event that none of the candidates are found acceptable, or if the work of the CAM is
    unsatisfactory at any time, the Government may request that CARNIVAL supply additional
    candidates
    Within sixty (60) days of sentencing, CARNIVAL shall submit to the Government a list of three (3)         VII.A      Complete    • Government selected ABSG as the TPA
    qualified candidates for the TPA position, from which the Government will select a candidate to
    serve.




1   ENV-1204: Environmental Control System


                                                                                         Page 1 of 9
                             Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 88 of 205
CONFIDENTIAL                                                                                                                                                       June 21, 2018

                                                            APPENDIX D: STATUS OF ECP YEAR ONE REQUIREMENTS

                                                                                                             ECP       Completion
                                             ECP Requirement                                                                                        Verification
                                                                                                            Section      Status
     90-Day Requirements
    Within three (3) months after sentencing, the OLCMs shall be responsible for developing a ship-level    III.A.9     Complete    • Company Policies and Procedures 2
    annual budget process to ensure that each Covered Vessel is provided adequate funding for shore-side                            • CCM Annual Report, Attachment D (OLCM
    disposal of wastes, including solids, bilge water, oily wastes, and sludge; the minimization and                                  Annual Budget Certifications)
    management of waste streams; the maintenance, technical upgrade, or replacement, as appropriate, of
    environmental equipment; and funding necessary to meet the other requirements of this ECP. Such                                 • ECP CCM Quarterly Reports
    budgets shall include a methodology to estimate quantities to be sent ashore and/or processed by the
    Covered Vessels, based on historical data and expected itinerary or equipment changes.
    Within three (3) months of sentencing, the OLCMs will create a system to tally and track on a           III.A.9     Complete    • Company Policies and Procedures 3
    quarterly basis the tons of waste solid and liquid sent ashore for each Covered Vessel. The OLCM                                • CCM Annual Report, Quarterly Machine
    will record quarterly waste volumes by tracking daily quantities offloaded from Covered Vessels.                                  Space Waste Volumes and Tank Capacities
                                                                                                                                    • ECP CCM Quarterly Reports
    Within three (3) months of the date of sentencing, the CCM shall be responsible for establishing a      III.A.13    Complete    • ECP Training Videos
    CARNIVAL policy and message that is communicated to all shipboard Covered Personnel that they                                   • Environmental Compliance Notices
    shall not follow illegal orders that violate international law, the laws of the United States, or
    CARNIVAL policy, and that any such orders involving this ECP, the EMS, or other Marine                                          • Environmental Compliance Policy 4
    Environmental Protection Requirements can and shall be reported immediately to the respective
    OLCM, CCM, Master, or Environmental Officer, or through the Open Reporting System.
    Within three (3) months of sentencing, the OLCMs shall be responsible for ensuring the development      III.A.16    Complete    • CCM Annual Report, Quarterly Machine
    and maintenance of a system to track and report each Covered Vessel’s machinery space waste                                       Space Waste Volumes and Tank Capacities
    quantities and capacities. The CCM shall provide the Interested Parties with this data on a quarterly                           • ECP CCM Quarterly Reports
    basis.
    CARNIVAL shall, within three (3) months of sentencing, develop an EO Competency Framework               IV.A.3      Complete    • Company Policies and Procedures 5
    that will detail the relevant knowledge and skills (including technical proficiency) required of EOs.                           • Documents Produced to CAM
    In addition to the training for EOs prescribed in ECP Attachment 3 and elsewhere in the ECP,            IV.A.4      Complete    • Company Training Requirements 6
    CARNIVAL shall, within three (3) months of sentencing, adopt and implement a training and                                       • CCM Annual Report

2   ENV-1009: Operating Line Compliance Manager
3   ENV-1003: Environmental Performance Monitoring
4   POL-1010: Environmental Compliance Plan (adoption of the ECP as a company policy)
5   ENV-1008: Environmental Officer Role and Responsibilities; TRG-2306: Environmental Officer Training Course at CSMART
6   TRG-2306: Environmental Officer Training Course at CSMART


                                                                                         Page 2 of 9
                             Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 89 of 205
CONFIDENTIAL                                                                                                                                                                       June 21, 2018

                                                            APPENDIX D: STATUS OF ECP YEAR ONE REQUIREMENTS

                                                                                                                  ECP        Completion
                                              ECP Requirement                                                                                                   Verification
                                                                                                                 Section       Status
    assessment program designed to ensure EOs meet the requirements of the EO Competency                                                      • Documents Produced to CAM
    Framework.
    Within three (3) months of sentencing, CARNIVAL shall hire an EO training manager, who shall                 IV.A.5       Complete        • CCM Annual Report
    have an Engine Officer license, will have prior experience having sailed and served at the level of 2nd                                   • Documents Produced to CAM
    Engineer or higher, and has demonstrated knowledge of and experience with the Marine
    Environmental Protection Requirements.
    Within three (3) months of the date of sentencing, CARNIVAL will adopt and implement a training             Attachm       Complete        • Company Training Requirements 7
    program to educate the Covered Personnel on the environmental impact of operations and to be aware           ent 3                        • ECP CCM Quarterly Report 8
    of the policies and procedures that form the basis of this ECP and the EMS, and which otherwise
    meets the specific requirements of this section.                                                                                          • Notices of Violation

    Unless otherwise stated, all of the Engineering Requirements set forth below shall be implemented on          IX.A      Substantially     • ECP CCM Quarterly Report 10
    Covered Vessels as soon as is reasonably practicable, but in any event not later than three (3) months                   Complete 9       • TPA Audits
    from the date of sentencing.
    CARNIVAL shall implement an Environmental Control System (“ECS”) to help prevent                             IX.B.1     Substantially     • Company Policies and Procedures 12
    unauthorized usage or connections within the engine room and machinery spaces. Under the ECS,                            Complete 11      • TPA Audits
    CARNIVAL shall require crew members to use numbered seals, locks, or welds (on flanges) to
    prevent the unauthorized connection to, and discharge through, piping systems that are or may be
    connected to the oily bilge system or overboard discharge connections.
    Seals used as part of the ECS seals shall be non-reusable and uniquely numbered. An ECS Seal Log             IX.B.2     Substantially     • Company Policies and Procedures 14
    shall be maintained by the Chief Engineer that records each time a seal is affixed or removed, including                 Complete 13      • Notices of Violation


7TRG-2302: Environmental Awareness Induction; TRG-2303: Environmental Technical Awareness Induction; TRG-2304: ECP Awareness Video for All Crew; TRG-2305: ECP Awareness Video for
Technical Crew
8   CCM Q3 2017 Report (“Per Attachment 3 of the ECP, the updated environmental training course was reported as completed by all applicable personnel by October 19, 2017.”)
9The Company reported that all Engineering Requirements (see footnote 10, infra) were completed by July 19, 2017, but the CAM identified some discrepancies between the ECP requirements and the
Company’s implementation as noted in footnotes.
10   CCM Q2 2017 Quarterly Report (HAG, CCL, CMG, and CUK have “fully implemented all ECP engineering requirements by 19 July 2017.”)
11   TPA audits identified Section IX.B.1 non-conformities on the P&O Aurora (Oct. 2017), Crown Princess (Nov. 2017), Royal Princess (Dec. 2017), and Star Princess (Jan. 2018).
12   ENV-1204: Environmental Control System
13Notice of Violation #10-2017 reports that a Section IX.B.2 violation was identified on August 15, 2017, on the AIDALuna; Notice of Violation #16-2018 reports that a Section IX.B.2, IX.B.3, and
IX.B.4 violation was identified on March 14, 2018, on the Carnival Conquest.
14   ENV-1204-A1: Critical Valves, Fittings, Tank Hatches Lists, Lock Log, and Seal Log


                                                                                           Page 3 of 9
                               Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 90 of 205
CONFIDENTIAL                                                                                                                                                                            June 21, 2018

                                                                 APPENDIX D: STATUS OF ECP YEAR ONE REQUIREMENTS

                                                                                                                          ECP         Completion
                                                 ECP Requirement                                                                                                         Verification
                                                                                                                         Section        Status
 the date, time, seal number removed, seal number affixed, personnel involved, and reason for any seal
 removal/replacement. The keys used to open locks utilized as a part of the ECS shall be controlled.
 To prevent unauthorized manipulation of waste management systems within the engine room and                              IX.C.1        Complete         • Company Policies and Procedures 15
 machinery spaces, vessels shall maintain Classification Society-approved drawings that reflect all
 approved modifications made to waste management systems.
 Vessels shall implement corporate approval procedures for any modifications made to waste                                IX.C.2        Complete         • Company Policies and Procedures 16
 management tanks or their systems. Those procedures shall require prior Operating Line approval for                                                     • OLCM Quarterly Reports
 all non-emergency modifications and shall require prompt approval or removal of modifications after
 an emergency. Any emergency modification must be reported to the TPA and CAM promptly after
 work is performed.
 To prevent unauthorized usage of bilge water tanks or oily waste tanks, CARNIVAL shall require                           IX.C.6      Complete 17        • Company Policies and Procedures 18
 that ECS seals or locks be placed on tank hatches, valves, or flanges that could allow for an external                                                  • TPA Audits
 connection to the system. The ECS Seal Log or Lock Log shall track any time a processed bilge
 water tank is opened.
 The deck plates above or near the locations of these cross connections or other interconnected                           IX.D.2      Substantially      • Company Policies and Procedures 20
 systems and the valve bodies and associated hand wheels shall be painted international orange. A                                      Complete 19       • TPA Audits
 brightly colored sign with three inch letters shall be permanently fixed nearby, stating – “Bilge
 System Piping Crossover – Emergency Use Only.” To prevent unauthorized usage of those valves,
 CARNIVAL shall require that ECS seals be placed on such valves.
 The ECS Seal Log shall track any time a crossover to the bilge main is opened. If a valve is remotely                    IX.D.3        Complete         • Company Policies and Procedures 21
 operated from the engine control room, the associated push button or switch must be unable to be used
 without breaking an environmental seal. Except that where a seal cannot be affixed to either the valve
 or associated push button or switch, the EO must review the valve position history to determine if the
 valve has been opened, and if it has, make a record in the ECS Seal Log.


15   ENV-1011: Chief Engineer Environmental Responsibilities
16   Id.
17   The log requires tracking of “all critical valves and tank hatches that are controlled by locks,” but does not specifically reference bilge water tanks.
18   ENV-1204-A1: Critical Valves, Fittings, Tank Hatches Lists, Lock Log, and Seal Log
19DER-2002 indicates that valve bodies, hand wheels, and nearby deck plates can be painted international orange or bright green. Additionally, a TPA audit identified a Section IX.D.2 non-conformity
on the P&O Arcadia (Jan. 2018).
20   DER-2002: Oily Bilge System Operation Monitoring Equipment; ENV-1204: Environmental Control System
21   ENV-1204-A1: Critical Valves, Fittings, Tank Hatches List, Lock Log, and Seal Log


                                                                                                  Page 4 of 9
                              Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 91 of 205
CONFIDENTIAL                                                                                                                                                                        June 21, 2018

                                                              APPENDIX D: STATUS OF ECP YEAR ONE REQUIREMENTS

                                                                                                                     ECP        Completion
                                               ECP Requirement                                                                                                       Verification
                                                                                                                    Section       Status
 All other bilge suction valves not connected to the bilge main, and independent emergency suctions                  IX.E       Substantially    • Company Policies and Procedures 23
 to the vessel’s engine room bilges like those which may be connected to sea water circulating pumps,                            Complete 22
 shall be painted international orange on all vessels and labeled in a manner similar to “Emergency
 Bilge Suction – Emergency Use Only.” The valve wheels will also have a numbered and logged ECS
 seal capable of breakaway during emergencies, testing, and maintenance.
 To prevent unauthorized connections within the engine room and machinery spaces of vessels,                        IX.F.1     Substantially     • Company Policies and Procedures 25
 every blank flange connected to overboard piping, on systems such as salt water service, main                                  Complete 24      • TPA Audits
 engine raw water cooling, or other systems, shall be permanently secured, removed, or fitted with
 numbered ECS seals through the flange bolts that will break when such bolts are removed to
 prevent unauthorized connections and discharges. The ECS seals used shall be numbered and
 records kept in the ECS Seal Log. Alternative sealing methods, such as numbered foil-coated
 sticker seals for flanges, may also be used.
 The blank flange securing the bilge and sludge transfer system shore connection discharge valve at                 IX.F.2       Complete        • Company Policies and Procedures 26
 the discharge stations shall also require controls as part of the ECS.
 The samples will be collected by an engineer designated by the Chief Engineer and be taken in the                  IX.G.2      Substantially    • Company Policies and Procedures 28
 presence of the EO. Sample points shall be identified by the Chief Engineer. The sample procedure                               Complete 27     • TPA Audits
 shall include the use of tamper-evident containers and uniquely numbered seals. With respect to tank
 samples, no attempt should be made to collect a clean sample only.
 In consultation with the TPA, CARNIVAL shall contract with a company providing sampling and                        IX.G.3       Complete        • Company Policies and Procedures 29
 analysis services.                                                                                                                              • Correspondence between CAM and
                                                                                                                                                   Company




22   DER-2002 indicates that bilge suction valves and independent emergency suctions to the ship’s engine room bilges can be painted international orange or bright green.
23   DER-2002: Oily Bilge System Operation Monitoring Equipment
24   A TPA audit identified a Section IX.F.1 non-conformity on the P&O Arcadia (Jan. 2018).
25   ENV-1204: Environmental Control System
26   Id.
27A TPA audit identified a Section IX.G.2 non-conformity on the Sapphire Princess. Additionally, TPA audits identified Section IX.G non-conformities on the Carnival Inspiration (Oct. 2017),
Diamond Princess (Aug. 2017), Grand Princess (Sept. 2017), and Queen Mary 2 (Oct. 2017).
28   POL-1010-A2: ECP TPA Sampling Protocol
29   Id.


                                                                                             Page 5 of 9
                             Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 92 of 205
CONFIDENTIAL                                                                                                                                                                June 21, 2018

                                                             APPENDIX D: STATUS OF ECP YEAR ONE REQUIREMENTS

                                                                                                                  ECP        Completion
                                              ECP Requirement                                                                                                Verification
                                                                                                                 Section       Status
 CARNIVAL shall work cooperatively with OWS manufacturers to verify the equipment’s capability                    IX.G.5       Ongoing
 to process fluids that may enter the bilges. CARNIVAL will work with the manufacturer in this
 verification process and to develop ways to improve the performance of existing equipment, or it may
 explore other separation technologies capable of handling the fluids.
 The sample line from the OWS discharge connection to the sample/flush line control valve will be                 IX.H.1     Substantially   • Company Policies and Procedures 31
 painted a bright color to distinguish it from other tubing and piping in the area. The line must be                          Complete 30    • TPA Audits
 routed so it is clearly visible to the extent possible for its entire length. No additional connections or
 tees of any kind may be added to the line.
 The sample line connecting to the OWS discharge pipe shall be fitted with a manual valve or petcock,             IX.H.2     Substantially   • Company Policies and Procedures 33
 or tamper proof automatic valve. The tube end fittings and the valve handle must be fitted with a                            Complete 32    • TPA Audits
 numbered seal that will break if the valve is closed, removed, or if the tubing connection nuts are
 loosened. The end nearest the sample/flush line control valve and any tubing in between the control
 valve and the OCM will be similarly protected to prevent any disassembly of the sensing system.
 OCM sample water outlet piping or tubing will not include any operational valves that are not sealed.
 CARNIVAL shall employ the OCM manufacturer or contracted distributor to perform annual testing                   IX.H.3      Complete       • Company Policies and Procedures 34
 that ensures the OCM requires a sample flow for normal operation and control. Any OCM that allows
 the OWS to function normally without sample flow is prohibited unless all valves from the OWS
 discharge to the sample/flush line control valve are removed. CARNIVAL shall ensure that every
 vessel’s OWS is configured and capable of being fully operationally tested in port with the overboard
 valve closed.
 Every vessel shall perform monthly operational tests of the OWS and OCM in the presence of the                   IX.H.4     Substantially   • Company Policies and Procedures 36
 Chief Engineer, the EO, and one other engineer. The test shall be logged in the vessel’s Oil Record                          Complete 35    • TPA Audits
 Book (Part I) and co-signed by the EO and all present. The Chief Engineer shall send a report to the
 cognizant OLCM.



30   TPA audits identified Section IX.H.1 non-conformities on the Carnival Sunshine (Sept. 2017) and Diamond Princess (Sept. 2017).
31   DER-2002: Oily Bilge System Operational and Monitoring Equipment
32   TPA audits identified Section IX.H.2 non-conformities on the P&O Arcadia (Jan. 2018).
33   ENV-1204: Environmental Control System
34   ENV-1201: Oily Bilge Water Management; ENV-1014: Shore Management Environmental Responsibilities
35   TPA audits identified Section IX.H.4 non-conformities on the Diamond Princess (Aug. 2017) and Carnival Inspiration (Oct. 2017).
36   ENV-1201: Oily Bilge Water Management


                                                                                             Page 6 of 9
                              Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 93 of 205
CONFIDENTIAL                                                                                                                                                                     June 21, 2018

                                                               APPENDIX D: STATUS OF ECP YEAR ONE REQUIREMENTS

                                                                                                                       ECP        Completion
                                                ECP Requirement                                                                                                   Verification
                                                                                                                      Section       Status
 Every vessel shall conduct an annual operational test of the OWS system under actual operational                     IX.H.5      Complete or     • Company Policies and Procedures 38
 conditions. This test shall include one (1) full hour of continuous processing of the contents of the                            Substantially
 Bilge Holding Tank without dilution, and without dilution of the sample line leading to the OCM                                   Complete 37
 conducted by the Chief Engineer in the presence of a CARNIVAL shore-side representative, Chief
 Engineer, the EO, and any other engine room personnel assigned responsibility for the operation
 and/or maintenance of the OWS. If an actual discharge is not feasible due to the location of the vessel
 or the levels of the Bilge Holding Tanks, then the discharges shall be through a recirculation line, in
 accordance with the procedures approved by the vessel’s Classification Society and provided further
 that soundings of the Bilge Holding Tanks shall be made before and after the test and shall be made a
 part of the test record and providing that any alarms shall be recorded and made part of the test
 record. All of the above shall be recorded in the Oil Record Book (Part I). In the event that the
 assessment determines the OWS is not operating as designed, then an immediate report shall be made
 to the cognizant OLCM, the Interested Parties, the TPA, and the CAM, with a copy of the engine
 room alarm printout to be retained and appended to the Oil Record Book page documenting the test.
 Every vessel shall clean the OWS source tanks and remove any accumulated oil at least once every                     IX.H.6       Complete       • Company Policies and Procedures 39
 six (6) months. Such cleaning shall be logged in the PMS.
 Anytime an OCM is subject to maintenance, including flushing, cleaning, or calibration, such actions                 IX.H.7       Complete       • Company Policies and Procedures 40
 shall be logged in the ORB.
 A log shall be maintained of any instance where a pneumatic or portable pump is used on board. The                    IX.I.2      Complete       • Company Policies and Procedures 41
 log shall include a description of the fluid pumped, its source, and the tank or location where the fluid
 was transferred. The log shall include the date and time the pump was used and shall identify the
 person(s) who checked out the pump and operated it.




37   Depending on the vessels’ schedules for annual testing, there may be vessels that did not conduct an annual test by April 19, 2018.
38   ENV-1201: Oily Bilge Water Management
39   Id.
40   Id.; ENV-1201-A3: Codes to be Used for Oil Record Book (ORB) Entries
41   ENV-1203: Use of Portable Pumps; ENV-1203-A2: Portable Pump Log


                                                                                               Page 7 of 9
                             Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 94 of 205
CONFIDENTIAL                                                                                                                                                                         June 21, 2018

                                                             APPENDIX D: STATUS OF ECP YEAR ONE REQUIREMENTS

                                                                                                                   ECP        Completion
                                               ECP Requirement                                                                                                    Verification
                                                                                                                  Section       Status
 Entries made into the Oil Record Book (Part I) shall be made and signed by the officer or officers in              IX.J      Substantially    • Company Policies and Procedures 43
 charge of the operation, and each completed page shall be reviewed and signed by the EO, Chief                                Complete 42     • Notices of Violation
 Engineer, and Master. At the beginning of each contract, engineers responsible for Oil Record Book
 entries will acknowledge by signature their obligation to make true and accurate entries in the Oil
 Record Book for the next U.S. port of call.
 CARNIVAL shall provide each vessel with a standard format tank sounding log that includes, for                     IX.K        Complete       • Company Policies and Procedures 44
 each sludge and bilge tank associated with bilge water and/or oil residues (sludge), the tank
 name/designation, tank capacity, sounded quantity and time and method of sounding. Soundings from
 each tank shall be taken at least daily. The individual taking the tank sounding shall make entries in
 the tank sounding log and initial each entry.
 CARNIVAL shall have a standard system for monitoring fuel oil and lube oil management, including                  IX.L.1        More
 the operation of the fuel oil and lube oil purifiers. CARNIVAL shall ensure that hour meters are                             Information
 installed on the related motor controllers if not currently available.                                                        Required 45
 Any extraordinary operations (such as frequent draining of fuel oil service and settling tanks, draining          IX.L.2       Complete       • Company Policies and Procedures 46
 engine lube oil sump tanks of excessive water, or other problems such as waxing, compatibility,
 stratification or contamination) shall be recorded in the Oil Record Book (Part I). Explanations shall
 be provided in the Oil Record Book for the abnormal volumes of unburned oil residues (sludge), oils,
 oily wastes, and anomalies in filter cleaning or replacement.
 All oil leaks exceeding manufacturer or historical volumes, including any fuel and/or lubricating oil             IX.L.3       Complete       • Company Policies and Procedures 47
 leaks resulting from mechanical failure shall be reported to CARNIVAL’s MP&A department per
 CARNIVAL incident reporting policy.
 CARNIVAL shall have a standard system for monitoring equipment having oil-to-sea interfaces that                 IX.M.1        Complete       • Company Policies and Procedures 48
 relies on mechanical tension, hydrostatic pressure on the seal, and the surface tension between water
 and oil to minimize oil releases to the sea. Such interfaces may include stern tube bearings,
 stabilizers, controllable pitch propeller systems, maneuvering thrusters, propulsion pods, and similar

42   Notice of Violation #08-2017 reports that two instances of Section IX.J violations occurred between April 19, 2017, and August 18, 2017, on the AIDALuna and Costa Deliziosa.
43   ENV-1201: Oily Bilge Water Management; ENV-1201-A2: Oil Record Book (ORB) Statement Signature Recognition Sheet
44   ENV-1201: Oily Bilge Water Management; ENV-1201-A1: Daily Sounding Log
45   A TPA audit identified a Section IX.L non-conformity on the Carnival Inspiration (Oct. 2017).
46   ENV-1201-A3: Codes to be Used for Oil Record Book (ORB) Entries
47   ENV-1011: Chief Engineer Environmental Responsibilities
48   ENV-1202: Oil-to-Sea Interfaces


                                                                                            Page 8 of 9
                           Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 95 of 205
CONFIDENTIAL                                                                                                                                                                    June 21, 2018

                                                           APPENDIX D: STATUS OF ECP YEAR ONE REQUIREMENTS

                                                                                                                 ECP        Completion
                                            ECP Requirement                                                                                                     Verification
                                                                                                                Section       Status
 equipment whereby the leakage of a sealing component may cause a loss of operating medium into
 the waters surrounding the vessel. Any replenishment of oil into the head tanks, operating systems
 reservoirs, or other receivers associated with this equipment shall be logged, regardless of the
 quantity involved. Ingress of water or drainage of water into or from these systems must also be
 logged, as far as practicable.
 An explanation of the loss of oil or the need to replenish the oil in this equipment shall be provided in      IX.M.2       Complete        • Company Policies and Procedures 49
 the log, along with the date, time, and signature. Any losses of oil from this equipment that exceed
 manufacturer specifications or historically logged data must also be logged and promptly reported to
 the OLCM.
     6-Month Requirements
 Within six (6) months of the date of sentencing, CARNIVAL shall issue a survey to all shipboard                IX.N.1       Complete        • Documents Produced to CAM, including
 engineering officers and all Environmental Officers on its vessels for information on how to improve                                          Survey Instrument and Results
 MARPOL compliance, to include what new equipment, maintenance, parts, and procedures would be                                               • ECP CCM Reports
 beneficial. An assessment requesting the frank opinions of the vessels’ engineers as to their ability to
 adequately maintain the vessels’ systems, equipment, and components will be included. The survey
 will emphasize non-retaliation for open and honest opinions and reports of current non-compliant
 circumstances.
     1-Year Requirements
 OLCMs shall be responsible for annually certifying in writing to the CCM to the adequacy of                    III.A.10     Complete        • Company Policies and Procedures 50
 Covered Vessel operating budgets, including costs related to the operation, maintenance, and repair                                         • CCM Annual Report
 of pollution prevention equipment, use of shore-side reception facilities, labor costs relating to
 maintenance of machinery spaces, and other related costs necessary to meet the objectives of this                                           • CCM Annual Report, Attachment D (OLCM
 ECP.                                                                                                                                          Annual Budget Certifications)

 CCM shall submit the OLCM certifications [on operating budget adequacy] to the HESS Committee
 of the BOD of Carnival as part of the CCM’s annual report to the Committee, which will in turn be
 provided to the Interested Parties.




49Id. (Note that, unlike the ECP, ENV-1202 qualifies the loss: “Any external losses of oil from this equipment that exceed manufacturer specifications or historically logged data must be promptly
reported to the OLCM.”)
50   ENV-1009: Operating Line Compliance Manager (OLCM)


                                                                                         Page 9 of 9
                                   Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 96 of 205
CONFIDENTIAL                                         Appendix E: ECP Year One Incidents Tracked by the CAM                                                                                                       June 21, 2018

 Reference No.   Date of Event      Brand/Vessel                                                               Event Description                                                               CAM Incident Category
                                                         Between September 2015 and October 2016, vessel discharges in contravention of NOAA's marine sanctuary regulations were
                                                         identified on 4 PCL ships and 1 HAL ship. Discharges were within the expanded boundaries of the Greater Farallones National         EGCS
   03-2017.1        9/1/15       HAL - Various Vessels
                                                         Marine Sanctuary. Discharges were food waste, processed permeate, untreated grey water, membrane bioreactor sludge (not oil),       Voyage Planning
                                                         advanced wastewater treatment system permeate, exhaust gas cleaning system ("EGCS") wash water, and treated sewage.

                                                         On December 2, 2016, while making preparations for the Grand Princess' voyage, the EO and the Voyage Planning Officer held a
                                                         voyage planning meeting. During this meeting it was discovered that an "Environmental Limit Marker" on the planned track,
                                                         similar to ones used for the 4 NM and 12 NM limits, was within the boundaries of the Cordell Bank National Marine Sanctuary.
                                                         There were no "Environmental Limit Markers" around the boundaries of the expanded Cordell Bank and Greater Farallones
   03-2017.2        9/18/16       PCL Grand Princess                                                                                                                                    Not Applicable
                                                         Marine Sanctuaries. This discovery led to an investigation into whether the "Environmental Limit Marker" had been used during
                                                         the 2016 summer season when the ship was sailing between San Francisco and Alaska. The initial internal investigation,
                                                         conducted by the EO, confirmed that the ship had been discharging various waste streams as detailed in Annex 1 between May 11,
                                                         2016, and September 18, 2016, within the expanded boundaries of the Greater Farallones National Marine Sanctuary.

                                                         1,620 kg of refrigerant gas leaked from the ship's refrigeration systems in November 2016. Due to the lack of communication and     Oil Record Book
  013_2017-FA       11/7/16        Carnival Fantasy      awareness of record keeping, entries were not made in the refrigerant or oil record books. The missing entries have been added to   Recordkeeping
                                                         the Refrigeration Record Book, incident reports have been completed, and the Oil Record Book was updated.                           Refrigerants
                                                         Shore side was informed that on November 29, 2017, Maritime New Zealand filed criminal charges against PCL for two alleged
                                                         violations of New Zealand’s Maritime Transport Act 1994 in connection with a fatal accident on board the Emerald Princess while
                                                         docked in Port Chalmers, New Zealand on or about February 9, 2017. A high-pressure nitrogen cylinder burst while being re-
  CAM-00313         2/9/17       PCL Emerald Princess    pressurized, which resulted in the death of an Emerald Princess crew member standing nearby. The Transport Accident              Not Applicable
                                                         Investigation Commission (TAIC) in New Zealand investigated the incident and issued an interim report on May 10, 2017,
                                                         concluding that the burst nitrogen cylinder had suffered significant corrosion at the point of failure. A metallurgist’s initial
                                                         assessment also concluded that the failure had occurred as a result of overload caused by corrosion thinning.
                                                         On April 9, 2017, two Italian Coast Guard Petty Officers boarded the vessel for routine collection of MARPOL marine gas
    01-2017         4/9/17          Costa Deliziosa      samples. The MARPOL samples of marine gas oil bunkered in Port Everglades on March 18, 2017, could not be found onboard,            Not Applicable
                                                         despite their recordation in the corresponding Bunker Delivery Note. This violated MARPOL Annex VI, Regulation 18.3.8.1

                                                         The ORB was not signed by an EO from April 19, 2017, to May 5, 2017, and from June 27, 2017, through August 18, 2017. Both
                                                         the Captain and the Chief Engineer continued to sign each page during this period. There was an EO handover during this period,
                                                         which may have been a contributing factor. The departing EO explained that he forgot to sign the completed ORB pages the
                                                         referenced time periods. The boarding EO expected further clarification of the significance of her signature, so she did not sign the
                                                                                                                                                                                               Recordkeeping
   08-2017.1        4/19/17           AIDAluna           completed ORB pages from July 11, 2017 to August 18, 2017. The AIDA Environmental Manager was onboard at the time the
                                                                                                                                                                                               Oil Record Book
                                                         issue was discovered. He discussed it with the current EO, who then signed all completed ORB pages from July 11, 2017, to
                                                         August 18, 2017. The prior EO visited the ship on August 19, 2017, to sign the completed ORB pages and did so for those from
                                                         June 27, 2017, to July 11, 2017, but forgot to sign the pages from April 19, 2017 to May 5, 2017. Shore side management was
                                                         informed and arranged for the ORB pages from April 19, 2017, to May 5, 2017, to be signed.
                                                         The ORB had a missing entry for maintenance of the OCM performed on April 24, 2017. An 'I' entry was made in the ORB
                                                                                                                                                                                      Oil Record Book
  CAM-00071         4/24/17        Carnival Triumph      indicating the missing maintenance operation and the Captain, Chief Engineer, OLCM, and Director of Environmental Operations
                                                                                                                                                                                      Recordkeeping
                                                         were informed.



                                                                                               Page 1 of 94
                                  Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 97 of 205
CONFIDENTIAL                                        Appendix E: ECP Year One Incidents Tracked by the CAM                                                                                                          June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                                 Event Description                                                                   CAM Incident Category
                                                        During a review of the ORB, it was identified that a BCDB OCM cleaning operation was recorded in the PMS system but not in
  CAM-00106         4/25/17        Carnival Ecstasy                                                                                                                                              Recordkeeping
                                                        the ORB. The OLCM and shore side management were notified.
                                                        During a review of the ORB, it was identified that a BCDB OCM cleaning operation was recorded in the PMS system but not in               Oil Record Book
  CAM-00107         4/25/17        Carnival Ecstasy
                                                        the ORB. The OLCM and shore side management were notified.                                                                               Recordkeeping
                                                        Ship discharged Ballast water early May while alongside in Hawaii without use of the installed Ballast Water Treatment System.
  CAM-00015         5/1/17        PCL Sea Princess      The request to do so was made by the Staff Captain. Ballast water was initially treated on the way into the ship through the Hyde        Voyage Planning
                                                        Guardian BWT system, but also needed to be treated on the way out, which it was not.
                                                        The EO sent an email to the HR department, with a copy to technical operations, providing notification that the Chief Engineer
                                                        discovered that the solenoid valve on one of the OWS had been replaced with piping. The Chief Engineer noticed the missing
                                                        solenoid valve sitting next to the OWS, and he replaced the piping with the valve. Based on AMOS maintenance records, the
                                                        Chief Engineer believes that he identified the Engineer that implemented the piping. AMOS records indicate that the solenoid
                                                        valve was due to be cleaned on routine basis (monthly), and the most recent AMOS record for such maintenance indicated that the
  ECP 17-07-02      5/1/17        PCL Sun Princess                                                                                                                                               OWS/Whitebox
                                                        cleaning had recently been performed/completed by the engineer in question. The engineer, however, went on leave two days prior
                                                        to the Chief Engineer’s discovery of the piping. The HAG Safety Env. and Regulatory Services (SERS) group – Paul McClelland
                                                        (the OLCM) and Kelly Clark (Senior VP) – received word of the issue via the technical operations group. SERS directed Jeanne
                                                        Grasso (Blank Rome) to fly to Australia and board the ship on June 29, conduct an investigation into the issue, and disembark on
                                                        July 1.
                                                        The Carnival Ecstasy was alongside port of Charleston operating on Heavy Fuel Oil for a number of hours without use of the
  CAM-00016         5/8/17         Carnival Ecstasy     EGCS. It appears the EGCS tripped out earlier in the day. It is unclear if the system failed to alarm upon trip or if the watch-keeper   EGCS
                                                        failed to respond.
                                                        156 kg of refrigerant gas leaked from a line connected to a provision system due to deteriorating materials and ship vibration. The
  CAM-00003         5/9/17          Carnival Glory                                                                                                                                               Refrigerants
                                                        line was repaired and system was put back in place.
                                                        102 kg of refrigerant gas leaked from an air conditioning compressor due to a cracked gasket. The gasket was replaced and the
  CAM-00004         5/9/17       Carnival Inspiration                                                                                                                                            Refrigerants
                                                        system was put back in service.
                                                        A sample pump on the EGCS stopped working but the system did not alarm or indicate a fault on the control panel. The pump was
  CAM-00005         5/9/17           P&O Azura                                                                                                                                                   EGCS
                                                        reset and no further issues have been reported.
                                                        On May 15 and 16, 2017, PCL self-reported two separate test results of samples taken from the Star Princess on May 9, 2017,
                                                        which indicated that the vessel's Biological Oxygen Demand ("BOD") levels exceeded the daily maximum allowed. PCL had the
                                                        vessel's Membrane Bioreactors (the "MBR") inspected and discovered that blown gaskets created air leaks that caused the devices
  CAM-00424         5/9/17        PCL Star Princess     to become insufficiently aerated. To rectify the problem, PCL cleaned and sanitized the tanks, serviced the system, increased            Not Applicable
                                                        aeration in the buffer tank, added an additional 0.5 liters of Heeburn Bio ET to each jet, and revised the MBRs' desludging
                                                        frequencies. On July 13, 2017, PCL received a Notice in response to these self-reported violations, plus three additional violations
                                                        regarding daily and monthly BOD exceedances.
                                                        While underway, approximately 15 liters of MGO leaked overboard from a lifeboat due to a corroded fuel tank. The drain was
  CAM-00006         5/10/17        Carnival Elation                                                                                                                                              Lifeboat/Tender
                                                        plugged and the excess MGO was contained. The incident was also recorded as a Potentially Significant LSA Failure.
                                                        While alongside in Ketchikan, Alaska, a grey sheen was observed in the water on the starboard side of the area of the EGCS
  CAM-00007         5/10/17         HAL Eurodam                                                                                                                                                  EGCS
                                                        overboard discharge. A blocked filter was found to be the cause of the contamination.
  CAM-00011         5/13/17      Cunard Queen Mary 2    A pressure transducer on the forward OWS failed. The sensor was replaced and the OWS returned to service.                                OWS/Whitebox

  CAM-00010         5/13/17        HAL Westerdam        The BCDB (whitebox) data recorder has an intermittent fault resulting in lapses of data recording. An investigation is ongoing.          Not Applicable
                                                        The BCDB (whitebox) was taken out of service due to a data recorder failure. An urgent external service was arranged to
  CAM-00009         5/15/17        Costa Luminosa                                                                                                                                                Not Applicable
                                                        determine the root cause of the failure and the necessary corrective actions.


                                                                                              Page 2 of 94
                                       Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 98 of 205
CONFIDENTIAL                                             Appendix E: ECP Year One Incidents Tracked by the CAM                                                                                                       June 21, 2018

  Reference No.      Date of Event      Brand/Vessel                                                               Event Description                                                                  CAM Incident Category
   CAM-00012            5/15/17         HAL Veendam          2 pH sensors on the EGCS systems failed their calibration tests resulting in higher consumption of MGO.                               EGCS
                                                             156 kg of refrigerant gas leaked from an air conditioning system due to a faulty compressor. The system was repaired and put back
   CAM-00031            5/20/17       Carnival Inspiration                                                                                                                                         Refrigerants
                                                             in service.
                                                             On May 22, 2017, Holland America Line and Princess Cruises entered into Settlement Agreements with the State of Alaska for
     02-2017            5/22/17         HAL Shore Side                                                                                                                                             Not Applicable
                                                             alleged violations of the State’s visible emissions standards. The alleged violations spanned the period 2009 to 2014.
                                                             A MBR sample taken that same day from the Ruby Princess, which indicated an ammonia discharge that exceeded the daily
                                                             maximum. The vessel's onboard sampling results were within allowable parameters, so PCL concluded that the MBRs were not
                                                             properly processing effluents prior to discharge, which caused ammonia levels to be too high in the overboard samples measured
2017-R0637-40-0001      5/22/17       PCL Ruby Princess                                                                                                                                            Not Applicable
                                                             by the ADEC. Following discovery of this issue, PCL cleaned the MBR tanks onboard the Ruby Princess and revised the vessel's
                                                             desludging frequency requirement based on the vessel's itinerary. PCL received a Notice in response to this self-reported violation
                                                             on July 13, 2017.
                                                             While checking the Bahamas Annex VI record book for fuel oil and ozone-depleting substances, the EO noted that the Chief
   CAM-00020            5/26/17       Carnival Fascination                                                                                                                                         Recordkeeping
                                                             Engineer's signature was missing for six entries between March 31, 2017, and May 26, 2017.
                                                             The EO could not locate the original copies of bunker delivery notes for fuel oil (HFO and MGO) bunkered between August 2014
                                                             and January 2015 as required by MARPOL Annex VI. Scanned copies of the missing delivery notes are available in the InfoShip
   CAM-00062            6/1/17          Carnival Valor                                                                                                                                             Recordkeeping
                                                             system. Flag administration was informed. As a preventive action, all current bunker delivery notes are now being secured in a
                                                             controlled location.
                                                             EGCS SO2/CO2 compliance data was found to be missing from April 22, 2017, through May 1, 2017 due to a computer
   CAM-00081            6/1/17         Carnival Fantasy      malfunction. A technician successfully attempted to retrieve the data but was able to reset the computer to restore normal            EGCS
                                                             operations.
                                                             The ship discharged food waste and treated black water within 12 NM of Bahamas Archipelagic Baselines on four occasions due
   CAM-00021            6/2/17         Carnival Ecstasy                                                                                                                                            Voyage Planning
                                                             to misinterpretation of company policy. Recorded as a water discharge and solid waste discharge.
                                                             The ship discharged food waste and treated black water within 12 NM of Bahamas Archipelagic Baselines on four occasions due
   CAM-00022            6/3/17         Carnival Conquest                                                                                                                                           Voyage Planning
                                                             to misinterpretation of company policy. Recorded as a water discharge and solid waste discharge.
                                                             Meeting with all Deck and Engine Officer was done and EN000011 discussed with all involved and all Officers understand that
                                                             discharge of black water and food waste inside Bahamas Archipelagic waters is not permitted. First Officer was aware of
  005_2017-EL.1         6/4/17          Carnival Elation     requirement but, by mistake, believed that the vessel used BW#14 for grey water and BW#15 for black water and gave an order for       Voyage Planning
                                                             flushing of BW#14 once outbound 12 mls from nearest shore. On change of watch at 00:10, OOW, who take over the watch,
                                                             realized the issue and immediately stopped flushing.
                                                             Approximately 1,270 cubic meters of treated black water and 22 cubic meters of comminuted food waste
   005_2017-EL          6/4/17          Carnival Elation     were discharged inside Bahamian waters in violation of MARPOL and company procedures between June 4, 2017, and June 16,               Voyage Planning
                                                             2017. Discharge was also recorded as a "Other Discharge: Solid Waste."
                                                             Diamond Princess sailed for more than 7 days (11th – ETA 23rd June) without an EO onboard due to employment termination and
                                                             challenges finding a replacement on short notice. On June 8th, 2017, the Captain of the Diamond Princess informed HAG OLCM
                                                             of a shipboard investigation relating to the performance of the EO. Training required by ECN4 (watch the CEO ECP video) was
                                                             not conducted per company instruction by the EO, and the resulting attendance records may also have been improperly recorded.
                                                                                                                                                                                                   Training
     04-2017            6/8/17       PCL Diamond Princess    EO’s employment was terminated as a result and disembarked June 11, 2017 on Jeju Island, South Korea. Normally the first resort
                                                                                                                                                                                                   Falsification
                                                             is to reach out to the EO scheduled to relieve the disembarking EO to fill the gap however, the current EO had already extended
                                                             his time on board because the relieving EO had resigned shortly before he was scheduled to join the Diamond Princess. Thus the
                                                             first choice for relieving the EO was not available. 11 potential EO replacements were contacted, none of whom were available to
                                                             embark the ship on short notice.



                                                                                                   Page 3 of 94
                                         Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 99 of 205
CONFIDENTIAL                                               Appendix E: ECP Year One Incidents Tracked by the CAM                                                                                                       June 21, 2018

  Reference No.        Date of Event      Brand/Vessel                                                                Event Description                                                                 CAM Incident Category
                                                               During ship construction (2009), a drain line from a galley dishwasher was inadvertently connected to an overboard scupper and
    CAM-00017             6/8/17       HAL Nieuw Amsterdam     not to the ship's grey water collection system. This was discovered mid-June 2017 by the ship’s crew. Piping has now been             Not Applicable
                                                               corrected.
                                                               Anonymous caller raised issue regarding Richard Miller, VP CCL. Caller states that he/she has been with the Company for over 17
  CVL-17-06-0029
                                                               years as a shipboard employee and that he/she is concerned with Mr. Miller's knowledge of MARPOL, environmental regulations,
Env Open Report #01-      6/9/17          CCL Shore Side                                                                                                                                             Training
                                                               Corporate procedures, and environmental leadership and stewardship. Caller also stated that this is a concern to other shipboard
       2017
                                                               and shore side team members.
                                                               156g of refrigerant gas leaked form an air conditioning system due to the failure of the shaft seal compressor. The system was
    CAM-00023             6/12/17         Carnival Ecstasy                                                                                                                                           Refrigerants
                                                               taken out of service.
                                                               104 kg of refrigerant gas leaked from a refrigeration system due to a cracked expansion valve fitting. The fitting was replaced and
    CAM-00024             6/12/17         Carnival Ecstasy                                                                                                                                           Refrigerants
                                                               the system put back in service.
                                                               Approximately 467 cubic meters of treated black water/sewage and 6.2 cubic meters of comminuted food waste was discharged
   024_2017-FD            6/13/17        Carnival Freedom      inside Bahamian Archipelagic Baseline between June 13, 2017, and June 15, 2017, due to misinterpretation of Bahamas baselines         Voyage Planning
                                                               listed in ENV 1001.
                                                               Comminuted food waste and treated black water from several CCL ships was improperly discharged inside the 12 mile base line of
  005_2017-EL.5           6/15/17        Carnival Conquest     the Bahamas. The cause of these events is not yet clear, although it appears to be associated with the interpretation of procedure    Voyage Planning
                                                               ENV1001 (Worldwide Environmental Standards).
                                                               Comminuted food waste and treated black water from several CCL ships was improperly discharged inside the 12 mile base line of
  005_2017-EL.4           6/15/17         Carnival Liberty     the Bahamas. The cause of these events is not yet clear, although it appears to be associated with the interpretation of procedure    Voyage Planning
                                                               ENV1001 (Worldwide Environmental Standards).
                                                               Comminuted food waste and treated black water from several CCL ships was improperly discharged inside the 12 mile base line of
  005_2017-EL.3           6/15/17         Carnival Magic       the Bahamas. The cause of these events is not yet clear, although it appears to be associated with the interpretation of procedure    Voyage Planning
                                                               ENV1001 (Worldwide Environmental Standards).
                                                               Comminuted food waste and treated black water from several CCL ships was improperly discharged inside the 12 mile base line of
  005_2017-EL.2           6/15/17          Carnival Vista      the Bahamas. The cause of these events is not yet clear, although it appears to be associated with the interpretation of procedure    Voyage Planning
                                                               ENV1001 (Worldwide Environmental Standards).
                                                               On July 13, 2017, Seabourn self-reported in connection with the Seabourn Sojourn's June 2017 Discharge Monitoring Report that
                                                               the vessel's BOD levels exceeded the monthly average allowed, and a sample on June 16, 2017, exceeded the daily maximum. To
    CAM-00425             6/16/17        Seabourn Sojourn                                                                                                                                    Not Applicable
                                                               remedy the exceedance, the Company engaged Wartsila, the manufacturer of the Seabourn Sojourn 's sewage treatment system, to
                                                               conduct a service visit. Seabourn received a Notice in response to this self-reported violation on August 16, 2017.

    CAM-00014             6/17/17        Costa - CSMART        Costa EO failed CSMART proficiency assessment                                                                                         Training
                                                               350 kg of refrigerant gas leaked from a refrigeration system due to an evaporator failure and loose expansion valves. The
    CAM-00025             6/20/17         Carnival Magic                                                                                                                                             Refrigerants
                                                               evaporator was repaired, the valves were tightened and the system was put back in service.
                                                               1 kg of refrigerant gas leaked from a refrigeration system due to a corroded service valve. The valve was replaced and the system
    CAM-00026             6/21/17       Carnival Imagination                                                                                                                                         Refrigerants
                                                               put back in service.
                                                                                                                                                                                                     Oil Record Book
    CAM-00018             6/23/17          P&O Arcadia         A page was found missing in the ORB onboard Arcadia. CUK stated it was a blank page.
                                                                                                                                                                                                     Recordkeeping
                                                               167 kg of refrigerant gas leaked from an air conditioning system due to Conquest loose evaporator inlet flange. The flange was
    CAM-00027             6/23/17        Carnival Conquest                                                                                                                                           Refrigerants
                                                               tightened and the system was put back in service.
                                                               104 kg of refrigerant gas leaked from a provision system due to a failed welded joint. The joint was repaired and the system was
   CAM-00028              6/23/17         Carnival Dream                                                                                                                                             Refrigerants
                                                               put back in service.


                                                                                                     Page 4 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 100 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                     June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                                 Event Description                                                               CAM Incident Category
                                                        161 kg of refrigerant gas leaked from a provision system due to a failed pipe connection. The pipe was replaced and the system put
  CAM-00029         6/23/17       Carnival Freedom                                                                                                                                           Refrigerants
                                                        back in service.
                                                        The ship used HFO for 16 hours while transiting the Icelandic Environmental Protection Zone where Sulphur max is 1.5%, due to        EGCS
  CAM-00043         6/24/17          P&O Azura
                                                        a misinterpretation of regulations. Once noted, the EGCS was put online to bring the ship into compliance.                           Voyage Planning
                                                        During routine maintenance, the calibration certificate of the BCDB oil content monitor (OCM) was noted to have expired. The
  CAM-00030         6/25/17         P&O Ventura                                                                                                                                              OCM
                                                        OCM was checked and found to be within calibration limits. A new certificate was issued.
                                                        A bypass solenoid and valve were reported missing from the Centrifugal Oily Water Separator (COWS). Investigations found a
                                                                                                                                                                                             OWS/Whitebox
  CAM-00032         6/25/17       PCL Sun Princess      watch keeping engineer had removed the parts and made a false entry on maintenance into AMOS. The missing parts were
                                                                                                                                                                                             Falsification
                                                        replaced and the COWS system was put back in service. There was no overboard bilge water discharge.
                                                        201 kg of refrigerant gas leaked from a refrigeration system due to a faulty gasket. The gasket was replaced and the system put
  CAM-00033         6/26/17        Carnival Liberty                                                                                                                                          Refrigerants
                                                        back in service.
                                                        The EO onboard the Costa Deliziosa prior to June 27, 2017, believed the requirement to sign the ORB began on July 19, 2017,
                                                        based on the ship’s interpretation of the relevant ECP section and corresponding HESS procedure. When the relief EO arrived on       Recordkeeping
   08-2017.2        6/27/17        Costa Deliziosa
                                                        June 27, 2017, he began signing the ORB, as required. The prior EO was advised of the error and returned to the Costa Deliziosa      Oil Record Book
                                                        to sign the ORB pages completed from the date of sentencing through June 27, 2017.
                                                        260 kg of refrigerant gas leaked from a refrigeration system due to a faulty pipe. The pipe was repaired and the system was put
  CAM-00034         6/28/17        Carnival Dream                                                                                                                                            Refrigerants
                                                        back in service.
  CAM-00035         6/28/17      Carnival Imagination   1.4 kg of refrigerant gas leaked from a provision system due to a faulty valve. The valve was replaced and put back in service.      Refrigerants
                                                        On June 29, 2017, Captain advised HAG shore side of an apparent maintenance mistake on the ship’s Bilge Control Discharge
                                                        Box (white box). The Captain advised that, during recent maintenance on the ship’s white box, an air pressure regulator/filter was
                                                        replaced. The replacement was not made in-kind. As a result, the three-way valve in the white box was not operating correctly. The   OWS/Whitebox
  004_2017-VE       6/29/17        HAL Veendam
                                                        ship tested the calibration of the upstream OCM on the Serep OWS, which was within tolerance for legal discharges. A 4th             OCM
                                                        Engineer noticed the problem and reported up the shipboard chain of command, which was then reported ashore via normal
                                                        reporting channels.
                                                        264 kg of refrigerant gas leaked from an air conditioning system due to a faulty pipe. The pipe was repaired and the system was
  CAM-00036         6/30/17       Carnival Conquest                                                                                                                                          Refrigerants
                                                        put back in service.
                                                        During the EGCS Wash Water Filtration System (WWFS) testing, soot was observed into the water. The system was stopped and
  006_2017-LI       6/30/17        Carnival Liberty     the WWFS was inspected. It was discovered that one of the eight filtration bags had ruptured causing the soot to be discharged       EGCS
                                                        overboard.
  CAM-00037         6/30/17       Carnival Sunshine     208 kg of refrigerant gas leaked from a provision room due to a faulty fitting. The fitting was repaired and put back in service.    Refrigerants
                                                        During tendering operations in Bar Harbour, USA, a small amount of oil was detected by the bridge near the exhaust of one
  CAM-00038         6/30/17        HAL Maasdam          tender. Further investigation revealed that there was no leak. The discoloring in the water was caused by incomplete combustion      Lifeboat/Tender
                                                        from the tender engine.
                                                        During dirty bilge water transfer ashore, the officer in charge of the operation Grease / Soot / Chemical (UK) noted the tanker
                                                        overflowing and immediately stopped the transfer pump using the emergency stop button. The operator was not in the tanker
  CAM-00039         6/30/17        P&O Britannia                                                                                                                                             Not Applicable
                                                        during the incident. Approximately 20 liters overflowed during the transfer with some entering the water. The port agent was
                                                        contacted and attended the scene with the local authorities. A full investigation was conducted.




                                                                                               Page 5 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 101 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                        June 21, 2018

 Reference No.   Date of Event      Brand/Vessel                                                                Event Description                                                                   CAM Incident Category
                                                         Majestic Princess made her maiden call to Taiwan on June 30, 2017. On July 5, shore side management was notified of news
                                                         accounts that appeared to indicate that balloons were released from the ship that could land in the marine environment. After
  001_2017-MJ       6/30/17      PCL Majestic Princess   investigation, it was confirmed that the balloons were released shore side and not from the ship. The balloons were arranged by the Not Applicable
                                                         local PR agency representing PCL. The balloons are reportedly “biodegradable latex” that disintegrates in 2-4 weeks. The release
                                                         of the balloons required approval of local authorities. We have asked to see proof of the approval.
  CAM-00040         7/1/17          Carnival Glory       208 kg leaked from a refrigeration system due to a cracked pipe. The line was repaired and put back in service.                         Refrigerants
                                                         During an overboard discharge performed through newly installed oil coalescent filtering equipment, the BCDB stopped the
                                                         overboard discharge due to the OCM showing 18 ppm of oil. The pressure on the delivery side of the OWS was also higher than
                                                         expected. A test was performed by filling the reading cell with drinking water; however, the oil content still showed 18 ppm of oil.
                                                                                                                                                                                              OCM
  007_2017-AT       7/1/17          Costa Atlantica      Since previous days, it was also noted that the pressure of the delivery side of the oily water separation circuit of both OWS
                                                                                                                                                                                              OWS/Whitebox
                                                         [coalescent and centrifugal] was higher than expected, causing abnormal noisy working conditions for the pump and consequent
                                                         line's vibrations. On 18th July, a third-party vendor identified the root cause in a malfunction of the OMD of the BCDB connected
                                                         to the Westfalia OWS. Therefore, the issue was finally considered as solved.
                                                         On July 2, 2017, while alongside in Vancouver, Canada, and during the pre-departure motorman checks on board the Golden
                                                         Princess, it was discovered that the level of the starboard stabilizer header tank was below the level of the sight glass of the
                                                         lowered header tank on deck 3. Further investigation revealed no sign of an internal leak.
                                                         The stabilizer housing box venting arrangement was removed and sea water was allowed to enter the vessel and then drained. The
                                                         quantity of fluid removed was approximately 200 liters of sea water and approximately 5 liters of oil. At no time was an oil sheen
                                                         observed around the vessel during the evolution. The stabilizer was not in use for a long time.
  008_2017-NP       7/2/17       PCL Golden Princess                                                                                                                                             Not Applicable
                                                         A diver team and Class Representative (Lloyd’s Register) attended in San Diego, CA on July 8, 2017, and completed an external
                                                         inspection of the starboard side stabilizer. At around 15:00 hrs, the divers reported that there was a dripping of the oil in the
                                                         starboard side stabilizer housing box. They confirmed that the oil was being contained in the box and not leaving the box into the
                                                         harbor. The stabilizer housing box venting arrangement was removed and sea water was allow to enter the vessel, the quantity was
                                                         approximately 200 liters and approximately 2-3 liters of which was oil (oil type: “Mobile SHC aware 68). An oil sheen was not
                                                         observed around the ship. The Master informed the office and then he reported to the USCG (report number 1183497). A “G”
                                                         entry in the ORB was made. The quantity of oil discharged into the sea (if any) is unknown.
                                                         On July 2, 2017, while Grand Princess was departing Glacier Bay, AK, it was reported that the Oasis port side Jacuzzi was empty.
                                                         The equipment was switched off and the valves were visually checked. No alarms were activated during the event. Approximately
  009_2017-AP       7/2/17        PCL Grand Princess     7.5m3 of water was discharged with bromine content of 4.3ppm and pH 7.4SU.                                                              Not Applicable
                                                         Further investigation revealed that cause of the accidental discharge was due to a failure of the valve automatic timer which is used
                                                         for pool cleaning purposes.
                                                         267 kg of refrigerant gas leaked from an air conditioning system due to a faulty flange. The flange was repaired and the system was
  CAM-00044         7/3/17         Carnival Splendor                                                                                                                                             Refrigerants
                                                         put back in service.
                                                         During a routine inspection, the EO found several broken seals on the sewage treatment plant. An investigation revealed that 12
  010_2017-FA       7/3/17         Carnival Fantasy      seals were broken during monthly routine maintenance but the seals were not replaced. Nine seals were found and replaced;               Seals or Locks
                                                         however three, seals could not be found.
                                                         Approximately eight cubic meters of treated black water was discharged from a ballast water tank inside the Bahamian
  CAM-00041         7/4/17         Carnival Elation      archipelagic baseline. The incident was caused due to a misunderstanding by the officer on watch who mistakenly                         Voyage Planning
                                                         thought that the tank contained grey water and not treated black water.



                                                                                               Page 6 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 102 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                  June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                               Event Description                                                                 CAM Incident Category
                                                       312 kg of refrigerant gas leaked from an air conditioning system due to a faulty pipe. The pipe was repaired and the system was
  CAM-00045         7/4/17         Carnival Ecstasy                                                                                                                                        Refrigerants
                                                       put back in service.
                                                       260 kg of refrigerant gas leaked from various provision systems due to general age-related deterioration. The systems were refilled
  CAM-00046         7/5/17        Carnival Splendor                                                                                                                                        Refrigerants
                                                       and was put back in service.
                                                       On July 6, 2017, the United States Coast Guard issued an inspection report detailing a deficiency relating to MARPOL 1973/78
                                                       Annex 1, Regulation 14.7. The ship’s crew were unable to demonstrate the proper operation of the alarm arrangement on the OCM
                                                                                                                                                                                          OCM
  CAM-00042         7/6/17         Carnival Elation    (TD170) fitted to the OWS that is used to indicate when the oil content exceeds 15 parts per million. Additionally, the inspection
                                                                                                                                                                                          Training
                                                       report requires that the ships IOPPC "Form A" be amended to reflect a maximum throughput of 2.0m3/hour in the event that we
                                                       can’t demonstrate that the crew are trained and able to show the proper operation of the alarm during the next US port of call.
                                                       The bowl on the forward OWS failed. The equipment was stopped and isolated. The root cause of the failure is under
 011_2017-QM        7/6/17       Cunard Queen Mary 2                                                                                                                                    OWS/Whitebox
                                                       investigation.
                                                       Two ships in the Holland America Line fleet, Koningsdam and Noordam, were requested to temporarily assign EO duties to a
                                                       second engineer (non-watch standing) with the onboard EO. Both Engineers were planned to attend the EO training when they
                                                       disembarked. The temporary assignment was made on each ship on July 2, 2017, to cover an unplanned gap in EO coverage until a
   05-2017.2        7/7/17        HAL Koningsdam                                                                                                                                        Training
                                                       replacement could be sent onboard. This was approved shore side without reference to the applicable requirements of the ECP or
                                                       the internal procedure, ENV-1008. The ships were directed on July 7, 2017, to reassign the EO duties to the Staff Captain, Chief
                                                       Engineer, or another senior non-watch standing officer, as required pursuant to the ECP.
                                                       EO Issues: While conducting our end of month ECP implementation & compliance verification checks, we became aware of the
                                                       below issue.

                                                       Per Section IV.A.1 of the ECP, all Vessels must have an EO onboard at all times. In the event of a gap, the EO duties must be
                                                       assigned to the Staff Captain, Chief Engineer or another senior non-watch standing officer. Among the qualifications for an EO is
                                                       the training required in Section IV.A.4.b, which requirement is fulfilled through the training we provide at our maritime training
                                                       facility located in the Netherlands (CSMART). EO’s appointed after the implementation of this training (22 May 2017) must
                                                       complete the training prior to assigning their duties.

                                                       Two ships in the Holland America Line fleet, Koningsdam and Noordam, were requested to temporarily assign EO duties to a
   05-2017.1        7/7/17          HAL Noordam        second engineer (non-watch standing) with the onboard EO. Both Engineers were planned to attend the EO training when they              Training
                                                       disembark. The temporary assignment was made on each ship on July 2, 2017 to cover an unplanned gap in EO coverage until a
                                                       replacement could be sent onboard. This was approved shore-side without reference to the applicable requirements of the ECP or
                                                       the internal procedure, ENV-1008.

                                                       The ships were directed on July 7, 2017 to reassign the EO duties to the Staff Captain, Chief Engineer or another senior non-watch
                                                       standing officer, as required pursuant to the ECP. Efforts are ongoing to send EO’s as soon as possible to those ships, although it
                                                       is likely replacements will not be onboard until after July 9, meaning that the ships will not have met the seven-day requirement to
                                                       replace the EO.

                                                       We will let you know when these issues have been resolved.




                                                                                             Page 7 of 94
                                       Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 103 of
CONFIDENTIAL                                            Appendix E: ECP Year One 205
                                                                                 Incidents Tracked by the CAM                                                                                                      June 21, 2018

 Reference No.     Date of Event      Brand/Vessel                                                                 Event Description                                                                CAM Incident Category
                                                            On July 7, 2017, the Island Princess's smoke emissions exceeded the 20% opacity limit imposed by the applicable Alaska Air
                                                            Quality Control Regulations while the vessel was moored in Ketchikan. Princess Cruise Lines actively cooperated and conferred
17-R0720-40-0001      7/7/17        PCL Island Princess     with the ADEC during the weeks following this incident and concluded that the exceedance was caused by the vessel's burning      Not Applicable
                                                            marine oil gas while the EGCS was not properly running. There were no upsets with the combustion sources. Princess Cruise
                                                            Lines received a Notice related to this occurrence on December 1, 2017.
                                                            While alongside in Palermo, Italy, an unknown quantity of chlorinated recreational pool water was discharged due to a faulty
  012_2017-OR         7/8/17            P&O Oriana                                                                                                                                           Not Applicable
                                                            pump valve.
                                                            Two ships in the Holland America Line fleet, Koningsdam and Noordam, were requested to temporarily assign EO duties to a
                                                            second engineer (non-watch standing) with the onboard EO. Both Engineers were planned to attend the EO training when they
                                                            disembarked. The temporary assignment was made on each ship on July 2, 2017, to cover an unplanned gap in EO coverage until a
  002_2017-TP         7/8/17         PCL Star Princess                                                                                                                                       Not Applicable
                                                            replacement could be sent onboard. This was approved shore side without reference to the applicable requirements of the ECP or
                                                            the internal procedure, ENV-1008. The ships were directed on July 7, 2017, to reassign the EO duties to the Staff Captain, Chief
                                                            Engineer, or another senior non-watch standing officer, as required pursuant to the ECP.
  CAM-00048           7/9/17          Carnival Dream        260 kg [sic] leaked from a provision system due to a cracked pipe. The pipe was repaired and was put back in service.                Refrigerants
                                                            During tendering in South Queensferry, Scotland, a tender engine in operation had a defective fuel pump resulting in a minor oil
  CAM-00049           7/9/17       PCL Caribbean Princess                                                                                                                                        Lifeboat/Tender
                                                            sheen on the water. The engine was stopped, the tender was recovered, and the fault was repaired.
                                                            A hydraulic oil leak was found on the forward davit arm of a lifeboat. The lifeboat has been taken out of service pending the
  CAM-00050           7/10/17         HAL Zuiderdam                                                                                                                                              Lifeboat/Tender
                                                            investigation and repair.
                                                            413 kg of refrigerant gas leaked from a refrigeration system due to a crack in the main line. The pipe was repaired and the system
  CAM-00051           7/10/17          Carnival Magic                                                                                                                                            Refrigerants
                                                            put back in service.
                                                            307 kg of refrigerant gas leaked from an air conditioning system due to a corroded pipe. The pipe was repaired and the system put
  CAM-00052           7/11/17         Carnival Fantasy                                                                                                                                           Refrigerants
                                                            back in service.
                                                            While underway, after exiting US Vessel General Permit waters but within the North America ECA area, the ship burned HFO for
  CAM-00053           7/13/17         Carnival Paradise                                                                                                                                          Voyage Planning
                                                            approx. 40 minutes until the changeover to MGO was completed.
                                                            While anchored at Half Moon Cay (within the Bahamas Archipelagic Baseline), a plastic bin containing a plastic bag and non-
                                                            comminuted food waste fell into the sea due to it being not properly secured to a pallet. Incident occurred when one local tender
  025_2017-PR         7/13/17          Carnival Pride       was transferring back to ship the food waste generated on the island. Half Moon Cay does not have a waste facility and hence all     Not Applicable
                                                            food waste that is generated on the island by the ships guest are brought back on board to be disposed of by the ship. The plastic
                                                            bin, waste bag, and some food waste was recovered but approximately 15 pounds of food waste could not be recovered.
                                                            260 kg of non-ODS refrigerant gas leaked from an air conditioning system due to a failure of a discharge valve. The valve was
  CAM-00082           7/13/17        Carnival Splendor                                                                                                                                           Refrigerants
                                                            replaced and the system put back in service.
                                                            While alongside in Southampton, UK, discharging sludge, the hose connected to the tanker failed causing approx. 20 liters of oil
  003_2017-AD         7/14/17           P&O Adonia          sludge to spill onto the ship and into the harbor. Absorbent booms, pads, and other materials were used to clean up the oil and      Not Applicable
                                                            prevent the oil from spreading. The Port Authority was notified and the waste vendor assisted with the cleanup.
                                                            A COWS was out of service due to the feed pump stator being damaged. The second COWS was functional but the ship had
                                                            reduced bilge treatment capacity. The COWS feed pump consists of two parts: a chrome-vanadium rotor and a rubber stator. The
  023_2017-OR         7/14/17           P&O Oriana                                                                                                                                                  OWS/Whitebox
                                                            rubber stator is designed to be the sacrificial element of the pump and wears at a faster rate to the rotor. The stator was worn as per
                                                            expectation by manufacturer. This item has already been identified as a critical spare part as defined by the ECP.




                                                                                                  Page 8 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 104 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                     June 21, 2018

 Reference No.   Date of Event      Brand/Vessel                                                                Event Description                                                               CAM Incident Category
                                                          Treated black water was potentially discharged inside Bahamas baseline due to accidentally opening the overboard discharge
                                                          valve. The valve was closed within 10 minutes. Compliance verification was done with the fleet in June 2017 regarding the proper
  019_2017-SL       7/15/17        Carnival Splendor                                                                                                                                         Voyage Planning
                                                          understanding of the Bahamian baseline and associated discharge restrictions. This incident was caused by a separate human error
                                                          and not a fundamental misunderstanding of the baseline restrictions.
                                                          260 kg of refrigerant gas leaked from a refrigeration system due to ship vibrations. The system was repaired and put back in
  CAM-00054         7/16/17          Carnival Valor                                                                                                                                          Refrigerants
                                                          service.
                                                          During the review of the bilge system, a discrepancy was found between the actual and the approved design layout of the system.
  020_2017-FS       7/17/17       Carnival Fascination                                                                                                                                       Not Applicable
                                                          An actual design layout drawing will be completed.
                                                          A missing seal was found on the vacuum line of the sewage treatment plant. An investigation revealed the seal was accidently
  CAM-00055         7/17/17          Carnival Glory                                                                                                                                          Seals or Locks
                                                          broken but not noticed by engine personnel. The seal was replaced and the system put back in service.
  CAM-00056         7/17/17        PCL Star Princess      While underway, recreational water was discharged overboard due to electrical failure.                                             Not Applicable
                                                          During maintenance checks, it was noted that the ship was missing original hardcopy fuel bunker delivery notes between July
  014_2017-VI       7/18/17         Carnival Victory      2014 and January 2017. Ship has electronic copies of the bunker notes contained in InfoShip. Search on board to find missing       Recordkeeping
                                                          folder has not recovered the original documents.
                                                          While alongside in Skagway, Alaska, a full blackout occurred during an emergency shutdown system test. Incorrect procedural
  028_2017-NA       7/18/17      HAL Nieuw Amsterdam                                                                                                                                         Not Applicable
                                                          instructions were found in the job description of AMOS. Power was recovered quickly.
  CAM-00019         7/19/17      PCL - Various Vessels    2 PCL ships that likely won’t meet the July 19, 2017, deadline to have accurate and class approved drawings onboard.               Not Applicable

                                                          The ship sailed in an air emission control area for 45 minutes running an engine on HFO due to the EGCS being accidentally
                                                          stopped. Three DGs running during the approach and arrival into Charlottetown. Two DGs were running on MGO (DG1 and
                                                          DG3) and one generator was running on HFO (DG5) with EGCS in operation. Although not required, in order to keep the system
                                                          running and flushing, the EGCS on DG 3 was also running. Shortly before ‘red manning’ status for arrival, the scrubber of DG 3
                                                                                                                                                                                         EGCS
 021_2017-MA        7/19/17          HAL Maasdam          was shut down to enable cleaning of the sea chest. Due to an internal communication error, the scrubber of DG5 (on HFO) was
                                                                                                                                                                                         Voyage Planning
                                                          accidentally shut down as well. Between 07:44 and 08:26, DG 5 was running on HFO without the scrubber in operation. DG1 and
                                                          DG3 were in operation on MGO at all times. As soon as it was identified that the EGCS for DG5 had been shut down (DG5 still
                                                          on HFO) the ship changed over from DG5 to DG4. DG4 was already operating on MGO. As soon as the DG4 was on the board,
                                                          DG5 was stopped. That all happened while maneuvering on arrival in Charlottetown.
                                                          The ship sailed in an air emission control area for nearly two hours with an engine running on HFO. The EGCS had automatically
                                                          shut down due to water in the sensor. The Engineer On Watch acknowledged the alarm, but did not realize the significance of the
                                                          issue and did not investigate. Subsequently, email was received from MST2 Marcus Thompson, USCG Sector Charleston
                                                          Prevention, asking for relevant info about the issue, so he was replied back with all detailed info about the same. Thereafter, on  EGCS
  016_2017-EC       7/21/17         Carnival Ecstasy
                                                          July 22, 2017, around 12:30 pm, USCG MST1 Dan Mitchell, boarded the vessel and enquired about the same. The Master, Chief, Voyage Planning
                                                          and EO provided the same information. Mr Mitchell gave a Port state control inspection report Form A and Form B, indicating the
                                                          following: Action taken: 16 (a,c). The report requests an audit from Recognized Organization ( Lloyd’s ) for this issue with given
                                                          time frame of 14 days from today.
                                                          While the ship was at anchor in South Queensferry, Scotland, a tender was lowered into the water for testing following
                                                          maintenance performed by a Service Technician. When the engine was started an area of discoloration approximately 2-3 square
  037_2017-CB       7/21/17      PCL Caribbean Princess   feet in size appeared. The tender was immediately recovered and local authorities were notified. The cause of the incident was      Lifeboat/Tender
                                                          found to be a mechanical failure of the diesel-cooler caused by wear and tear. The diesel cooler was replaced and the engine tested
                                                          with satisfactory results. All other tenders were checked for similar issues.



                                                                                               Page 9 of 94
                                  Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 105 of
CONFIDENTIAL                                       Appendix E: ECP Year One 205
                                                                            Incidents Tracked by the CAM                                                                                                     June 21, 2018

 Reference No.   Date of Event   Brand/Vessel                                                              Event Description                                                                 CAM Incident Category
                                                    On July 22, 2017, the OLCM for Costa Group (Costa Crociere and AIDA Cruises), Alessandro Bertorello, was informed by his
                                                    Environmental Compliance Manager, Alessandro Pugliaro, that there may be an issue with recent training records on the Costa
                                                    Luminosa. When Alessandro Pugliaro embarked the Costa Luminosa on July 22, 2017, for a one week visit he was informed by
                                                                                                                                                                                           Training
                                                    the disembarking EO (EO), Giulia Facelli, and her replacement, Stefano Incao, that records of a training session that allegedly
    06-2017         7/22/17      Costa Luminosa                                                                                                                                            Recordkeeping
                                                    took place on June 6, 2017 may have been falsified. The training in question was allegedly held by the EO onboard at the time,
                                                                                                                                                                                           Falsification
                                                    Marcio Goncalves. The training session records showed several pages of signatures confirming attendance. Since notification of
                                                    this issue, multiple interviews have been conducted with those onboard, who have confirmed that they never took part in the
                                                    alleged training and that the signatures are not theirs.
                                                    On July 22, 2017, it was brought to the attention of the shore side environmental operations team via email from the EO that the
  018_2017-SP
                                                    Carnival Spirit had not been recording the periodic maintenance of the OCMs in the ORB since April 19, 2017. Periodic                  Oil Record Book
  021_2017-SP       7/22/17       Carnival Spirit
                                                    maintenance of the OCMs is recorded and visible in PMS, but not in the ORB.                                                            Recordkeeping
    07-2017
                                                    All PMS Entries are available in infoship
                                                    The critical control units of the OCMs and waste water treatment plants are displaying error messages and need repair or
                                                    replacement. There are currently no spare units on the ship. During routine, reoccurring maintenance, the spare PLC was inspected
  027_2017-VE       7/22/17      HAL Veendam                                                                                                                                               OCM
                                                    and found to be malfunctioning (60 monthly, AMOS job #TESTPLC001). The PLC currently installed is operational and
                                                    functioning correctly.
                                                    While underway, the flow pressure rate of the OWS was low due to the outlet piping being too small in diameter.
                                                    The Chief Engineer of AIDAvita reported that the newly installed Westfalia oil filtering equipment worked at a lower flow rate
 015_2017-VITA      7/23/17         AIDAvita        (2m³/h) than the one the system should work at (5m³/h) when discharging overboard.                                                     OWS/Whitebox
                                                    Flow rate in recirculation mode was not affected; therefore, the issue was attributed to the overboard piping diameter. No pollution
                                                    or MARPOL violation involved
                                                    Carnival Vista while returning to Miami sailing through Bahamas Channel accidently discharged Comminuted Food Waste and
                                                    Treated Black Water (AWPS) inside Bahamas Base Line. Approximate quantity of the Food Waste discharge was 4.0 m3 and
                                                    Black Water from AWPS was 100 M3. Crew was aware of baseline issue, properly planned and briefed multiple times; human
                                                    error by watch officer in authorizing discharge.
  017_2017-VS       7/23/17       Carnival Vista                                                                                                                                           Voyage Planning
                                                    When the Officer on Watch realized the mistake, he immediately stopped all discharge operations and self-reported. Compliance
                                                    verification was done with the fleet in June regarding the proper understanding of the Bahamian baseline and associated discharge
                                                    restrictions. This incident was caused by a separate human error and not a fundamental misunderstanding of the baseline
                                                    restrictions.
                                                    During a review of the ORB, it was noted that entries for periodic maintenance were not recorded. A meeting was held to discuss
                                                    and clarify the requirements with the Engineer Officers. Entries for performed maintenance to bilge equipment were not recorded        Oil Record Book
  032_2017-MI       7/23/17      Carnival Miracle
                                                    in ORB as per company procedures and ECP requirements. PMS was performed and recorded in InfoShip; however, additional                 Recordkeeping
                                                    entries in the ORB as required by the ECP were not made.
                                                    Hydraulic oil drops fell from a lifeboat while the ship was in the Port of Miami due to a gasket failure in the hydraulic station.
  029_2017-VI       7/24/17      Carnival Victory   Upon noticing the leak, the hydraulic pump was immediately stopped. The pump was repaired and the pollution team cleaned up            Lifeboat/Tender
                                                    the oil.
                                                    The EO could not locate the original copies of bunker delivery notes for fuel oil (HFO and MGO) bunkered between January 2015
                                                    and June 2015 as required by MARPOL Annex VI. Scanned copies of the missing delivery notes are available in the InfoShip
  CAM-00063         7/24/17      Carnival Dream                                                                                                                                            Recordkeeping
                                                    system. Flag administration was informed. As a preventive action, all current bunker delivery notes are now being secured in a
                                                    controlled location.
                                                    While underway in North Sea ECA, the ship burned HFO for 3 hours and 30 minutes without an EGCS online as the EGCS did                 EGCS
  CAM-00059         7/26/17      HAL Zuiderdam
                                                    not start automatically when the associated DG was started.                                                                            Voyage Planning



                                                                                         Page 10 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 106 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                      June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                               Event Description                                                                 CAM Incident Category
                                                        While underway in North Americas ECA, the EGCS shut down and the ship burned HFO for 7 minutes. The Engineer On Watch                 EGCS
  CAM-00060         7/26/17       PCL Ruby Princess
                                                        responded to the alarm and promptly restarted the EGCS.                                                                               Voyage Planning
                                                        Approximately 0.004 m3 (4 liters) of pre-treated oily bilge water from clean bilge tank (LO5) was discharged overboard while
                                                        inbound 12NM but outside 4NM. EOOW did not ask for a confirmation from the Bridge to commence the discharge. This was not
  030_2017-IM       7/27/17      Carnival Imagination   a MARPOL violation, but did violate corporate procedure.                                                                              Voyage Planning
                                                        This was a mistake of the EOOW and possibly miscommunication with 3rd EOOW. As soon as the Second Engineer realized the
                                                        mistake, he immediately stopped the operation and informed the CE and EO.
                                                        The ORB was found to be missing entries for flushing/cleaning of the OCM between April 19, 2017, and July 28, 2017. The
                                                        responsible engineer was completing all necessary weekly maintenance on the OCM and was updating the planned maintenance
                                                                                                                                                                                              Oil Record Book
  CAM-00072         7/28/17         Carnival Pride      system but he did not make entries in the ORB because he was not completely familiar with the updated corporate policy. An 'I'
                                                                                                                                                                                              Recordkeeping
                                                        entry was made in the ORB indicating the missing maintenance operations and a copy of the incident report was attached to the
                                                        front page of each affected ORB.
                                                        While underway in North Americas ECA, the EGCS shut down and the ship burned HFO for 1 hour and 45 minutes. The EO on                 EGCS
  CAM-00061         7/29/17         HAL Zaandam
                                                        watch acknowledged the alarm, but did not realize the significance of the issue and did not investigate.                              Voyage Planning
                                                        During a check of the ORB, the EO discovered that the ship had not been following the revised HESS ENV-1201 and ENV-1204
                                                        procedures by not accurately maintaining the Critical Bilge Valves and Fitting Lock Log and not recording periodic maintenance
                                                                                                                                                                                              Oil Record Book
  CAM-00064         7/29/17        Carnival Miracle     of the OCM. The Captain conducted an investigation, which revealed that a third engineer who had prepared the log entries had
                                                                                                                                                                                              Recordkeeping
                                                        performed the cleaning of the OCM without retrieving the key from the Chief Engineer to open the valve. Additionally, the
                                                        EOOW had not been making an entry in the ORB for week maintenance of the OCM.
                                                        The forward OWS shut down due to abnormal vibration. The OWS was isolated while a faulty pump was replaced with a spare
  CAM-00073         7/29/17      Cunard Queen Mary 2    unit held on board. The system was fully tested before placing back in service. There was no impact on operations as the ship         OWS/Whitebox
                                                        remained below 50% of total bilge holding capacity at all times.
                                                        The EGCS was operated inside the North American ECA with a non-compliant SO2/CO2 ratio for approx. 1 hour beyond the
                                                        maximum permissible company troubleshooting period of 6 hours, resulting in a violation of MARPOL Annex VI. The engine was
                                                        shut down when troubleshooting efforts during the previous watch were unsuccessful, but the oncoming watch restarted the engine
                                                                                                                                                                                              EGCS
  CAM-00065         7/30/17         Carnival Glory      and exceeded the troubleshooting period. The cause of exceeding the maximum troubleshooting period was inadequate watch
                                                                                                                                                                                              Voyage Planning
                                                        handover between the EOOWs. The watch keeper's handover checklist did not include notes regarding the EGCS troubleshooting.
                                                        The Chief Engineer reviewed the incident with all EOOWs and the Captain shared the incident with all OOWs stressing the
                                                        importance of effective communication during handover.
  021_2017-SP                                           During a review of the ORB, it was noted that entries for periodic maintenance were not recorded. A meeting was held to discuss       Oil Record Book
                    7/31/17         Carnival Spirit
  032_2017-MI                                           and clarify the requirements with the Engineer Officers.                                                                              Recordkeeping
                                                        While underway, it was noted that the BCDB recorder had not properly recorded data for a period of approximately five minutes.
                                                        The issue was identified by the EO during the periodic BCDB record check, when he found out that a 5 minute period of data was
                                                        missing. The oil filtering equipment was not in operation and, therefore, no overboard discharge occurred during that period.
                                                        While the issue was being investigated by on board personnel, a second identical event occurred when 5 minutes of data were lost
  031_2017-AT       7/31/17        Costa Atlantica                                                                                                                                            Not Applicable
                                                        on August 13 while trying to download data from the White Box Data Recorder via the USB pen drive. In particular, it was noted
                                                        that when the USB key is inserted in the Data Recorder, the software starts an automatic reboot, causing the loss of data until the
                                                        reboot is complete. Also during this second event, the oil filtering equipment was not in operation and therefore no overboard
                                                        discharge occurred during that period.
                                                        Several emergency bilge suction valves are failing. The ship is planning repair on all valves using parts scheduled to arrive by
  040_2017-SU       7/31/17       PCL Sun Princess                                                                                                                                            Not Applicable
                                                        September 34, 2017.




                                                                                             Page 11 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 107 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                       June 21, 2018

 Reference No.   Date of Event      Brand/Vessel                                                               Event Description                                                                 CAM Incident Category
                                                        The 'Critical Valves, Fittings, and Tank Hatches List and Seal Log' required as per ENV-1204 Annex 2 was found to be not fully
                                                                                                                                                                                               Seals or Locks
  CAM-00088         7/31/17           AIDAluna          implemented. Overboard system vulnerable points where seals had been used as an interim solution prior to being replaced by a
                                                                                                                                                                                               Recordkeeping
                                                        welded permanent solution were not logged.
                                                        While in the North American ECA and Alaskan State waters, the EGCS shut down for nine minutes with no associated audible
                                                        alarm. Upon noticing the visual alert, the EOOW restarted the system. However, the EGCS sensor tripped again resulting in HFO
                                                        being used for a further 11 minutes without the EGCS in operation. The system trips were found to be due to dilution line low
  034_2017-EP       8/1/17       PCL Emerald Princess                                                                                                                                          EGCS
                                                        pressure caused by a partially blocked sea chest. The sea chest was cleaned and issues have been resolved. A software patch to
                                                        correct the audible alarm issue has been tested and is expected to be installed on all EGCS ships by the end of August. This was
                                                        not a non-compliance event based on USCG CSNCOE Field Notice 01-2017.
                                                        While underway, the ship discharged approximately 270 cubic meters of ballast water. The discharge occurred due to a
                                                        miscommunication between the bridge watch officer and the engineering watch officer. The National Ballast Information                  Voyage Planning
  039_2017-OS       8/1/17         HAL Oosterdam
                                                        Clearinghouse was notified. The company received a warning in lieu of a penalty from the U.S. Coast Guard. An investigation is         Training
                                                        underway and additional training and maintenance actions have been undertaken.
                                                        A focused investigation found that the ORB on 20 total ships in the Carnival fleet were missing entries between April 2017 and
                                                        July 2017 for flushing/cleaning of the OCM as required by the procedure ENV 1201 and the ECP. The focused review was
                                                        conducted after the initial ship reported missing this compliance issue and a fleet-wide review was ordered. All ships were directed
                                                        to submit incident reports and make proper administrative corrections if similar errors were found. These reports are a result of
                                                                                                                                                                                               Oil Record Book
  ENV 1201.16       8/1/17         Carnival Breeze      that direction. The cause of the omissions is related to a lack of awareness/oversight of the ENV 1201 procedural requirements. On
                                                                                                                                                                                               Recordkeeping
                                                        all ships, the Captain, Chief Engineer, and EO have reviewed the planned/unplanned maintenance records in order to verify which
                                                        ORB entries were missing and held a meeting with the engine officers to reinforce the procedure. 'I' entries were made in the
                                                        ORBs to indicate which maintenance operations were not recorded and a copy of the incident report was attached to the front page
                                                        of each ORB involved.
                                                        A focused investigation found that the ORB on 20 total ships in the Carnival fleet were missing entries between April 2017 and
                                                        July 2017 for flushing/cleaning of the OCM as required by the procedure ENV 1201 and the ECP. The focused review was
                                                        conducted after the initial ship reported missing this compliance issue and a fleet-wide review was ordered. All ships were directed
                                                        to submit incident reports and make proper administrative corrections if similar errors were found. These reports are a result of
                                                                                                                                                                                               Oil Record Book
  ENV 1201.15       8/1/17        Carnival Conquest     that direction. The cause of the omissions is related to a lack of awareness/oversight of the ENV 1201 procedural requirements. On
                                                                                                                                                                                               Recordkeeping
                                                        all ships, the Captain, Chief Engineer, and EO have reviewed the planned/unplanned maintenance records in order to verify which
                                                        ORB entries were missing and held a meeting with the engine officers to reinforce the procedure. 'I' entries were made in the
                                                        ORBs to indicate which maintenance operations were not recorded and a copy of the incident report was attached to the front page
                                                        of each ORB involved.
                                                        A focused investigation found that the ORB on 20 total ships in the Carnival fleet were missing entries between April 2017 and
                                                        July 2017 for flushing/cleaning of the OCM as required by the procedure ENV 1201 and the ECP. The focused review was
                                                        conducted after the initial ship reported missing this compliance issue and a fleet-wide review was ordered. All ships were directed
                                                        to submit incident reports and make proper administrative corrections if similar errors were found. These reports are a result of
                                                                                                                                                                                               Oil Record Book
  ENV 1201.14       8/1/17         Carnival Dream       that direction. The cause of the omissions is related to a lack of awareness/oversight of the ENV 1201 procedural requirements. On
                                                                                                                                                                                               Recordkeeping
                                                        all ships, the Captain, Chief Engineer, and EO have reviewed the planned/unplanned maintenance records in order to verify which
                                                        ORB entries were missing and held a meeting with the engine officers to reinforce the procedure. 'I' entries were made in the
                                                        ORBs to indicate which maintenance operations were not recorded and a copy of the incident report was attached to the front page
                                                        of each ORB involved.




                                                                                             Page 12 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 108 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                       June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                                Event Description                                                                 CAM Incident Category
                                                        A focused investigation found that the ORB on 20 total ships in the Carnival fleet were missing entries between April 2017 and
                                                        July 2017 for flushing/cleaning of the OCM as required by the procedure ENV 1201 and the ECP. The focused review was
                                                        conducted after the initial ship reported missing this compliance issue and a fleet-wide review was ordered. All ships were directed
                                                        to submit incident reports and make proper administrative corrections if similar errors were found. These reports are a result of
                                                                                                                                                                                               Oil Record Book
  ENV 1201.13       8/1/17         Carnival Elation     that direction. The cause of the omissions is related to a lack of awareness/oversight of the ENV 1201 procedural requirements. On
                                                                                                                                                                                               Recordkeeping
                                                        all ships, the Captain, Chief Engineer, and EO have reviewed the planned/unplanned maintenance records in order to verify which
                                                        ORB entries were missing and held a meeting with the engine officers to reinforce the procedure. 'I' entries were made in the
                                                        ORBs to indicate which maintenance operations were not recorded and a copy of the incident report was attached to the front page
                                                        of each ORB involved.
                                                        A focused investigation found that the ORB on 20 total ships in the Carnival fleet were missing entries between April 2017 and
                                                        July 2017 for flushing/cleaning of the OCM as required by the procedure ENV 1201 and the ECP. The focused review was
                                                        conducted after the initial ship reported missing this compliance issue and a fleet-wide review was ordered. All ships were directed
                                                        to submit incident reports and make proper administrative corrections if similar errors were found. These reports are a result of
                                                                                                                                                                                               Oil Record Book
  ENV 1201.12       8/1/17       Carnival Fascination   that direction. The cause of the omissions is related to a lack of awareness/oversight of the ENV 1201 procedural requirements. On
                                                                                                                                                                                               Recordkeeping
                                                        all ships, the Captain, Chief Engineer, and EO have reviewed the planned/unplanned maintenance records in order to verify which
                                                        ORB entries were missing and held a meeting with the engine officers to reinforce the procedure. 'I' entries were made in the
                                                        ORBs to indicate which maintenance operations were not recorded and a copy of the incident report was attached to the front page
                                                        of each ORB involved.
                                                        A focused investigation found that the ORB on 20 total ships in the Carnival fleet were missing entries between April 2017 and
                                                        July 2017 for flushing/cleaning of the OCM as required by the procedure ENV 1201 and the ECP. The focused review was
                                                        conducted after the initial ship reported missing this compliance issue and a fleet-wide review was ordered. All ships were directed
                                                        to submit incident reports and make proper administrative corrections if similar errors were found. These reports are a result of
                                                                                                                                                                                               Oil Record Book
  ENV 1201.11       8/1/17        Carnival Freedom      that direction. The cause of the omissions is related to a lack of awareness/oversight of the ENV 1201 procedural requirements. On
                                                                                                                                                                                               Recordkeeping
                                                        all ships, the Captain, Chief Engineer, and EO have reviewed the planned/unplanned maintenance records in order to verify which
                                                        ORB entries were missing and held a meeting with the engine officers to reinforce the procedure. 'I' entries were made in the
                                                        ORBs to indicate which maintenance operations were not recorded and a copy of the incident report was attached to the front page
                                                        of each ORB involved.
                                                        A focused investigation found that the ORB on 20 total ships in the Carnival fleet were missing entries between April 2017 and
                                                        July 2017 for flushing/cleaning of the OCM as required by the procedure ENV 1201 and the ECP. The focused review was
                                                        conducted after the initial ship reported missing this compliance issue and a fleet-wide review was ordered. All ships were directed
                                                        to submit incident reports and make proper administrative corrections if similar errors were found. These reports are a result of
                                                                                                                                                                                               Oil Record Book
  ENV 1201.10       8/1/17         Carnival Glory       that direction. The cause of the omissions is related to a lack of awareness/oversight of the ENV 1201 procedural requirements. On
                                                                                                                                                                                               Recordkeeping
                                                        all ships, the Captain, Chief Engineer, and EO have reviewed the planned/unplanned maintenance records in order to verify which
                                                        ORB entries were missing and held a meeting with the engine officers to reinforce the procedure. 'I' entries were made in the
                                                        ORBs to indicate which maintenance operations were not recorded and a copy of the incident report was attached to the front page
                                                        of each ORB involved.




                                                                                             Page 13 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 109 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                       June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                                Event Description                                                                 CAM Incident Category
                                                        A focused investigation found that the ORB on 20 total ships in the Carnival fleet were missing entries between April 2017 and
                                                        July 2017 for flushing/cleaning of the OCM as required by the procedure ENV 1201 and the ECP. The focused review was
                                                        conducted after the initial ship reported missing this compliance issue and a fleet-wide review was ordered. All ships were directed
                                                        to submit incident reports and make proper administrative corrections if similar errors were found. These reports are a result of
                                                                                                                                                                                               Oil Record Book
  ENV 1201.9        8/1/17       Carnival Imagination   that direction. The cause of the omissions is related to a lack of awareness/oversight of the ENV 1201 procedural requirements. On
                                                                                                                                                                                               Recordkeeping
                                                        all ships, the Captain, Chief Engineer, and EO have reviewed the planned/unplanned maintenance records in order to verify which
                                                        ORB entries were missing and held a meeting with the engine officers to reinforce the procedure. 'I' entries were made in the
                                                        ORBs to indicate which maintenance operations were not recorded and a copy of the incident report was attached to the front page
                                                        of each ORB involved.
                                                        A focused investigation found that the ORB on 20 total ships in the Carnival fleet were missing entries between April 2017 and
                                                        July 2017 for flushing/cleaning of the OCM as required by the procedure ENV 1201 and the ECP. The focused review was
                                                        conducted after the initial ship reported missing this compliance issue and a fleet-wide review was ordered. All ships were directed
                                                        to submit incident reports and make proper administrative corrections if similar errors were found. These reports are a result of
                                                                                                                                                                                               Oil Record Book
  ENV 1201.8        8/1/17         Carnival Legend      that direction. The cause of the omissions is related to a lack of awareness/oversight of the ENV 1201 procedural requirements. On
                                                                                                                                                                                               Recordkeeping
                                                        all ships, the Captain, Chief Engineer, and EO have reviewed the planned/unplanned maintenance records in order to verify which
                                                        ORB entries were missing and held a meeting with the engine officers to reinforce the procedure. 'I' entries were made in the
                                                        ORBs to indicate which maintenance operations were not recorded and a copy of the incident report was attached to the front page
                                                        of each ORB involved.
                                                        A focused investigation found that the ORB on 20 total ships in the Carnival fleet were missing entries between April 2017 and
                                                        July 2017 for flushing/cleaning of the OCM as required by the procedure ENV 1201 and the ECP. The focused review was
                                                        conducted after the initial ship reported missing this compliance issue and a fleet-wide review was ordered. All ships were directed
                                                        to submit incident reports and make proper administrative corrections if similar errors were found. These reports are a result of
                                                                                                                                                                                               Oil Record Book
  ENV 1201.7        8/1/17         Carnival Liberty     that direction. The cause of the omissions is related to a lack of awareness/oversight of the ENV 1201 procedural requirements. On
                                                                                                                                                                                               Recordkeeping
                                                        all ships, the Captain, Chief Engineer, and EO have reviewed the planned/unplanned maintenance records in order to verify which
                                                        ORB entries were missing and held a meeting with the engine officers to reinforce the procedure. 'I' entries were made in the
                                                        ORBs to indicate which maintenance operations were not recorded and a copy of the incident report was attached to the front page
                                                        of each ORB involved.
                                                        A focused investigation found that the ORB on 20 total ships in the Carnival fleet were missing entries between April 2017 and
                                                        July 2017 for flushing/cleaning of the OCM as required by the procedure ENV 1201 and the ECP. The focused review was
                                                        conducted after the initial ship reported missing this compliance issue and a fleet-wide review was ordered. All ships were directed
                                                        to submit incident reports and make proper administrative corrections if similar errors were found. These reports are a result of
                                                                                                                                                                                               Oil Record Book
  ENV 1201.6        8/1/17         Carnival Magic       that direction. The cause of the omissions is related to a lack of awareness/oversight of the ENV 1201 procedural requirements. On
                                                                                                                                                                                               Recordkeeping
                                                        all ships, the Captain, Chief Engineer, and EO have reviewed the planned/unplanned maintenance records in order to verify which
                                                        ORB entries were missing and held a meeting with the engine officers to reinforce the procedure. 'I' entries were made in the
                                                        ORBs to indicate which maintenance operations were not recorded and a copy of the incident report was attached to the front page
                                                        of each ORB involved.




                                                                                             Page 14 of 94
                                   Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 110 of
CONFIDENTIAL                                        Appendix E: ECP Year One 205
                                                                             Incidents Tracked by the CAM                                                                                                      June 21, 2018

 Reference No.   Date of Event    Brand/Vessel                                                               Event Description                                                                 CAM Incident Category
                                                      A focused investigation found that the ORB on 20 total ships in the Carnival fleet were missing entries between April 2017 and
                                                      July 2017 for flushing/cleaning of the OCM as required by the procedure ENV 1201 and the ECP. The focused review was
                                                      conducted after the initial ship reported missing this compliance issue and a fleet-wide review was ordered. All ships were directed
                                                      to submit incident reports and make proper administrative corrections if similar errors were found. These reports are a result of
                                                                                                                                                                                             Oil Record Book
  ENV 1201.5        8/1/17       Carnival Paradise    that direction. The cause of the omissions is related to a lack of awareness/oversight of the ENV 1201 procedural requirements. On
                                                                                                                                                                                             Recordkeeping
                                                      all ships, the Captain, Chief Engineer, and EO have reviewed the planned/unplanned maintenance records in order to verify which
                                                      ORB entries were missing and held a meeting with the engine officers to reinforce the procedure. 'I' entries were made in the
                                                      ORBs to indicate which maintenance operations were not recorded and a copy of the incident report was attached to the front page
                                                      of each ORB involved.
                                                      A focused investigation found that the ORB on 20 total ships in the Carnival fleet were missing entries between April 2017 and
                                                      July 2017 for flushing/cleaning of the OCM as required by the procedure ENV 1201 and the ECP. The focused review was
                                                      conducted after the initial ship reported missing this compliance issue and a fleet-wide review was ordered. All ships were directed
                                                      to submit incident reports and make proper administrative corrections if similar errors were found. These reports are a result of
                                                                                                                                                                                             Oil Record Book
  ENV 1201.4        8/1/17       Carnival Sensation   that direction. The cause of the omissions is related to a lack of awareness/oversight of the ENV 1201 procedural requirements. On
                                                                                                                                                                                             Recordkeeping
                                                      all ships, the Captain, Chief Engineer, and EO have reviewed the planned/unplanned maintenance records in order to verify which
                                                      ORB entries were missing and held a meeting with the engine officers to reinforce the procedure. 'I' entries were made in the
                                                      ORBs to indicate which maintenance operations were not recorded and a copy of the incident report was attached to the front page
                                                      of each ORB involved.
                                                      A focused investigation found that the ORB on 20 total ships in the Carnival fleet were missing entries between April 2017 and
                                                      July 2017 for flushing/cleaning of the OCM as required by the procedure ENV 1201 and the ECP. The focused review was
                                                      conducted after the initial ship reported missing this compliance issue and a fleet-wide review was ordered. All ships were directed
                                                      to submit incident reports and make proper administrative corrections if similar errors were found. These reports are a result of
                                                                                                                                                                                             Oil Record Book
  ENV 1201.3        8/1/17       Carnival Splendor    that direction. The cause of the omissions is related to a lack of awareness/oversight of the ENV 1201 procedural requirements. On
                                                                                                                                                                                             Recordkeeping
                                                      all ships, the Captain, Chief Engineer, and EO have reviewed the planned/unplanned maintenance records in order to verify which
                                                      ORB entries were missing and held a meeting with the engine officers to reinforce the procedure. 'I' entries were made in the
                                                      ORBs to indicate which maintenance operations were not recorded and a copy of the incident report was attached to the front page
                                                      of each ORB involved.
                                                      A focused investigation found that the ORB on 20 total ships in the Carnival fleet were missing entries between April 2017 and
                                                      July 2017 for flushing/cleaning of the OCM as required by the procedure ENV 1201 and the ECP. The focused review was
                                                      conducted after the initial ship reported missing this compliance issue and a fleet-wide review was ordered. All ships were directed
                                                      to submit incident reports and make proper administrative corrections if similar errors were found. These reports are a result of
                                                                                                                                                                                             Oil Record Book
  ENV 1201.2        8/1/17       Carnival Sunshine    that direction. The cause of the omissions is related to a lack of awareness/oversight of the ENV 1201 procedural requirements. On
                                                                                                                                                                                             Recordkeeping
                                                      all ships, the Captain, Chief Engineer, and EO have reviewed the planned/unplanned maintenance records in order to verify which
                                                      ORB entries were missing and held a meeting with the engine officers to reinforce the procedure. 'I' entries were made in the
                                                      ORBs to indicate which maintenance operations were not recorded and a copy of the incident report was attached to the front page
                                                      of each ORB involved.




                                                                                           Page 15 of 94
                                   Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 111 of
CONFIDENTIAL                                        Appendix E: ECP Year One 205
                                                                             Incidents Tracked by the CAM                                                                                                     June 21, 2018

 Reference No.   Date of Event    Brand/Vessel                                                              Event Description                                                                  CAM Incident Category
                                                     A focused investigation found that the ORB on 20 total ships in the Carnival fleet were missing entries between April 2017 and
                                                     July 2017 for flushing/cleaning of the OCM as required by the procedure ENV 1201 and the ECP. The focused review was
                                                     conducted after the initial ship reported missing this compliance issue and a fleet-wide review was ordered. All ships were directed
                                                     to submit incident reports and make proper administrative corrections if similar errors were found. These reports are a result of
                                                                                                                                                                                            Oil Record Book
  ENV 1201.1        8/1/17         Carnival Valor    that direction. The cause of the omissions is related to a lack of awareness/oversight of the ENV 1201 procedural requirements. On
                                                                                                                                                                                            Recordkeeping
                                                     all ships, the Captain, Chief Engineer, and EO have reviewed the planned/unplanned maintenance records in order to verify which
                                                     ORB entries were missing and held a meeting with the engine officers to reinforce the procedure. 'I' entries were made in the
                                                     ORBs to indicate which maintenance operations were not recorded and a copy of the incident report was attached to the front page
                                                     of each ORB involved.
                                                     Topping up of the refrigerant gas in standalone refrigerators was not reported as leaks in the Refrigeration and Ozone Depleting
                                                     Substances (ODS) record book for the last four years. A total of 135kf of R404a gas were used to top up standalone refrigerators       Recordkeeping
  CAM-00066         8/2/17        Carnival Legend
                                                     during this period. This was noted by the EO during a review of the Refrigeration and ODS record book when he noted that three         Refrigerants
                                                     empty cylinders were offloaded to shore and no corresponding leads had been reported.
                                                     The centrifugal OWS on board is out of service due to a faulty mother board. The remaining static OWS is fully functionally and
  CAM-00067         8/3/17       PCL Ruby Princess   the ship is not experiencing any constraints processing bilge water. A new mother board is expected to arrive onboard during this      OWS/Whitebox
                                                     week’s turnaround. An entry has been made in the ORB and the OCLM has been notified.
                                                     267 kg of non-ODS refrigerant gas leaked from an air conditioning system due to a failure of a shaft seal. The seal was replaced
  CAM-00083         8/4/17       Carnival Splendor                                                                                                                                          Refrigerants
                                                     and the system put back in service.
                                                     255 kg of refrigerant gas leaked form an air conditioning system due to a corroded shaft seal. The seal was replaced and the system
  CAM-00068         8/5/17        Carnival Fantasy                                                                                                                                          Refrigerants
                                                     put back in service.
                                                     While underway approximately 60 nautical miles outside the Bermuda Baseline, approximately 20 liters of hydraulic oil went
                                                     overboard due to a broken lifeboat launching station manometer in violation of MARPOL Annex I. Upon noticing the spill, crew
  033_2017-DE       8/5/17       Carnival Sunshine                                                                                                                                          Lifeboat/Tender
                                                     members blocked the drains with rags, the valve on the hydraulic oil line to manometers was closed, and the broken manometer
                                                     was replaced. The system is now back in service. The incident was reported to the DPA and local authorities via the Port Agent.
                                                     While underway more than 12 nautical miles from the Alaskan coast and in the North American ECA, the EGCS shut down due to
  CAM-00070         8/6/17       PCL Ruby Princess   a failure of the high pressure pump switch. This resulted in one DG to run on HFO for 12 minutes and another for 20 minutes EGCS
                                                     before both EGCS tower systems were re-started. The ADEC has been informed.
                                                     Approx. 798 kg of refrigerant gas was used to refill/top up various small capacity standalone refrigerators during routine
                                                     maintenance between the years 2011 and 2017. However, the refills were not reported in the Refrigeration and Ozone Depleting           Recordkeeping
  CAM-00074         8/6/17        Carnival Fantasy
                                                     Substances (ODS) record book. This was noted by the EO during a review of the Refrigeration and ODS record book when he                Refrigerants
                                                     noticed that one cylinder of non-ODS refrigerant gas was off loaded but no leak was recorded in the respective log.
                                                     During a routine check of critical valves in the garbage room, two ECP seals on the food waste vacuum system were found to be
                                                     missing. The seals were not recovered and prevented the Chief Engineer maintaining the inventory of broken seals. After a
  CAM-00100         8/7/17       Carnival Freedom    detailed investigation, including questioning all concerned environmental team members under the supervision of the Chief              Seals or Locks
                                                     Engineer, it was concluded that the seals may have been damaged during the garbage transportation work in the area. It was
                                                     confirmed that no unauthorized access had taken place, new seals were installed and the seal log was updated.




                                                                                          Page 16 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 112 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                   June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                              Event Description                                                              CAM Incident Category
                                                        The Westphalia OWS was placed out of service due to a malfunctioning unit. With the Sanitec OWS also out of service, the ship
                                                        was unable to process bilge water. The ship confirmed sufficient bilge holding capacity and was advised of no restrictions of
  CAM-00075         8/8/17       Carnival Imagination   offloading bilge water ashore. Flag Administration and the USCG were informed. On August 13, 2017, the ship received a            OWS/Whitebox
                                                        replacement control unit and the Westfalia OWS was assembled, tested, and is back in service. An entry was made in the ORB. A
                                                        technician is scheduled to repair the Sanitec OWS on August 30, 2017.
                                                        312 kg of non-ODS refrigerant gas leaked from a refrigeration system due to leaks caused by corroded pipes and ship vibration.
  CAM-00076         8/8/17         Carnival Valor                                                                                                                                         Refrigerants
                                                        Four pipes were repaired and the system was put back in service.
                                                        During a routine check of critical valves in the engine room, an ECP seal on the jet food waste vacuum system were found to be
                                                        missing. The seals were not recovered and prevented the Chief Engineer maintaining the inventory of broken seals. After a
                                                        detailed investigation, including questioning all concerned environmental team members under the supervision of the Chief
  054_2017-FD       8/8/17        Carnival Freedom      Engineer, it was concluded that the seals may have been damaged by a plumber during routine maintenance on the system. It was Seals or Locks
                                                        confirmed that no unauthorized access had taken place, a new seal was installed and the seal log was updated. A corporate
                                                        initiative is in progress to evaluate new stronger seal designs to prevent inadvertent breakage during the routine operations and
                                                        maintenance.
                                                        The Grand Princess arrived in Ketchikan, Alaska today with a dead humpback whale on the bow. The Grand is the vessel that was
  035_2017-AP       8/9/17       PCL Grand Princess     implicated in the NOAA violations (i.e., the discharges into the NOAA marine sanctuary off the west coast that were reported to
                                                        NOAA earlier this year). In addition, Carnival corporation brand ships have experienced prior whale strikes in this area.
                                                        While conducting maintenance on the starboard propeller in Vancouver, Canada, a small oil leak of two or three drops was
  036_2017-VO       8/9/17         HAL Volendam         observed that created a light oil sheen in the water. Divers isolated the oil leak and the sheen disappeared shortly after. The
                                                        Vancouver Harbormaster, Transport Canada, and the Canadian Coast Guard were notified.
                                                        While alongside in Bergen, Norway, a diesel generator was tested for approximately 4 minutes while using HFO in violation of
  CAM-00077         8/9/17         P&O Britannia        MARPOL Annix VI. Engineers have been re-briefed regarding fuel sulfur requirements and the Chief Engineer has been given           Voyage Planning
                                                        clear instruction on compliance with reference to planned and unplanned events.
                                                        During sludge offload operations in Dubrovnik, Croatia, it was realized that there was a leak in a pipe connection provided by the
  CAM-00079         8/11/17        Costa Luminosa       external vendor. Approximately 10 liters of sludge oil spilled on the pier and into the water. Absorbent brooms and cloths were
                                                        used to collect the sludge. The Port Authority was notified via the Port Agent.
                                                        Five minutes of data was lost while downloading data from the BCDB recorder. The system restarted during the download
  CAM-00080         8/13/17        Costa Atlantica      resulting in the loss of data. The Ship Superintendent is in contact with the manufacturer to avoid reoccurrence by installing a
                                                        direct connection between the BCDB and the ship’s server.
                                                        During a changeover of a provision compressor, it was discovered that the unit being placed in service did not contain any
  CAM-00084         8/15/17      PCL Grand Princess     refrigerant gas. The compressor system has a capacity of 260 kg of non-ODS refrigerant. A leak test identified the source of the   Refrigerants
                                                        leak and a repair is being undertaken.
                                                        While alongside in Alesund, Norway, and testing the EDG breakers, the EGCS sea water and dilution pumps tripped. This resulted
                                                        in a DG running on HFO for 21 minutes without a running EGCS in the port area. A standby DG was started on MGO to take the
  CAM-00089         8/15/17          P&O Azura                                                                                                                                             EGCS
                                                        load. The EGCS was brought back online within 30 minutes. The response to the event was as per the EGCS Compliance Plan and
                                                        did not constitute a MARPOL Annex VI violation. Local authorities were not notified.




                                                                                            Page 17 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 113 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                     June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                                Event Description                                                                CAM Incident Category
                                                        A Fleet Chief Engineer visiting the AIDAluna from August 15-19, 2017, raised questions concerning whether the vulnerability
                                                        assessment implementation onboard was completed correctly. We requested a review of the matter by our internal investigators.
                                                        The review concluded that the vulnerability assessment requirements had been implemented across the ship. However, the review
    10-2017         8/15/17          AIDAluna           also concluded that the ECS Log had not been implemented onboard per Section IX.B.2 of the ECP. Following this discovery, the Recordkeeping
                                                        ship’s Chief Engineer implemented and began maintaining an ECS Log. Also, the ship’s Master instructed the Chief Engineer on
                                                        the importance of ECP compliance and required that a working group be assembled, including an engineer appointed to focus
                                                        exclusively on ECP compliance, and that the EO provide a daily report regarding the working group.

                                                        During an inspection of a refrigeration system it was noticed that the relief valve was open, probably due to ship vibration. A total
  CAM-00085         8/16/17       Carnival Freedom                                                                                                                                            Refrigerants
                                                        of 315 kg of non-ODS refrigerant gas had leaked. The valve was replaced, the system was refilled, and put back in service.
                                                        The mechanical seals of the sewage transfer pumps were changed but started leaking within three days of operation. It is unknown
  041_2017-EU       8/16/17        HAL Eurodam          why the seals failed and the manufacturer is assisting with the investigation. New seals have been ordered, which may resolve the
                                                        issue if the old seals were degraded and/or from a bad batch.
                                                        While the ship was underway, a hydraulic oil spill from a lifeboat was reported to the bridge. Most of the oil was contained on the
                                                        promenade deck and cleaned up by the spill response team; however, an estimated quantity of one liter spilled overboard. Upon
  CAM-00087         8/18/17      PCL Coral Princess                                                                                                                                         Lifeboat/Tender
                                                        investigation, the cause of the spill was found to be a failed isolation valve gasket. All other lifeboats were checked for similar
                                                        issues. The incident was reported to the Victoria Coast Guard and an entry was made in the ORB.
                                                        During crew drills while in Akureyri, Iceland, the rescue boat experienced engine issues and an oil sheen, approximately three
                                                        meters long, was noted on the water. When the boat was recovered, a second oil sheen was visible on the water directly beneath
  043_2017-OR       8/18/17         P&O Oriana                                                                                                                                               Lifeboat/Tender
                                                        the boat. No oil was found within the boat. An investigation identified that, due to the cold ambient conditions, more throttle than
                                                        usual had been used on the rescue boat and the sheens were likely caused by unburnt fuel carrying over into the exhaust.
                                                        During a routine check of the critical valves in the engine room, the EO noticed an ECP seal on the open valve on the discharge
                                                        line of the engine room cooling system was missing. The seal was not recovered and prevented the Chief Engineer from
                                                        maintaining the inventory of broken seals. After a detailed investigation, including questioning all concerned engine team under
  CAM-00091         8/19/17      Carnival Fascination                                                                                                                                       Seals or Locks
                                                        supervision of the Chief Engineer, it was concluded that the seal may have been damaged and broken during the maintenance work
                                                        carried out on a system cooler. It was confirmed that no unauthorized access had taken place, a new seal was installed and the seal
                                                        log was updated.
                                                        During routine daily cleaning of grey water filter, it was noted that 2 adhesive seals on the filter were missing from point ID 466.
                                                        The 2 missing seals were installed the previous day. It is presumed that the seals were fitted to a wet surface and subsequently fell
  CAM-00092         8/19/17        Costa Luminosa       off (area was being cleaned at the time). It was confirmed that no pollution had occurred during the period in which the seals were Seals or Locks
                                                        missing as removal of the filter cover with the overboard in an open position would flood the engine room. The investigation also
                                                        highlighted that the affected grey water filter may be controlled by the use of portable pumps and that seals are not required.
                                                        During a routine Chief Engineer handover, an unused ECP seal was found to be missing. As a preventive action, all new and used
  CAM-00101         8/19/17       Carnival Freedom                                                                                                                                       Seals or Locks
                                                        seals are now secured in the Chief Engineer’s office.
                                                        During an inspection, a non-ODS refrigerant leak was noted coming from a provision system. The leak was located in the upper
  CAM-00093         8/20/17        Carnival Magic       part of a pipe and appeared to have been caused by ship vibration. The pipe was repaired, the system was refilled with 515 kg of Refrigerants
                                                        R407c refrigerant gas, and the system was put back in service.
                                                        During an inspection, a non-ODS refrigerant leak was noted coming from an air conditioning system. The leak was located in a
  CAM-00094         8/21/17         Carnival Pride                                                                                                                                       Refrigerants
                                                        condenser. The system was repaired, refilled with 570 kg of R134a refrigerant gas, and put back in service.



                                                                                             Page 18 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 114 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                        June 21, 2018

 Reference No.   Date of Event      Brand/Vessel                                                                Event Description                                                                  CAM Incident Category
                                                         During maintenance work on a tender platform while alongside in Sikta, Alaska, approximately one liter of hydraulic oil spilled
                                                         into the sea when the platform was opened. The oil originated from a leaking hydraulic connection on the forward ram of the
  CAM-00095         8/23/17         HAL Eurodam                                                                                                                                                  Lifeboat/Tender
                                                         platform, which could not be seen prior to opening the platform. The spilled oil could not be recovered or contained but the oil
                                                         leaking from the hydraulic hose connection of the ram was contained and cleaned up.
                                                         While alongside in Liverpool, UK, a hydraulic fluid leak was observed dripping from a tender platform into the river. It is
  CAM-00096         8/24/17         HAL Rotterdam        estimated that approximately five milliliters of biodegradable hydraulic fluid entered the water. An investigation found that the Lifeboat/Tender
                                                         cause was a leaking valve connection. This was in violation of MARPOL Annex I and the Liverpool Port Authority were notified.
                                                         During an inspection it was identified that the Bunker Delivery Notes (BDN) for 2014 were missing in violation of MARPOL
                                                         requirements to maintain records for three years. Copies of the missing BDNs are available in Infoship. All BDNs for the 2015,
  CAM-00102         8/24/17        Carnival Fantasy                                                                                                                                             Recordkeeping
                                                         2016 and 2017 to date are archived in a secure cabinet in the Chief Engineer's Office. An entry was made in the ORB by the Chief
                                                         Engineer and notification of Flag Administration is in progress.
                                                         While underway in the North Sea ECA, the gas analyzer for the EGCS was placed in standby mode during routine maintenance.
                                                         On completion of the maintenance, the gas analyzer did not return to full operation as designed due to a software issue, which
  052_2017-ZU       8/24/17         HAL Zuiderdam        caused it to 'freeze' and not operate correctly. There was no alarm or indication that the gas analyzer was still in standby mode. The EGCS
                                                         EGCS was subsequently in operation for over seven hours without the correct gas monitoring in violation of Company procedure
                                                         ENV-1102 and MARPOL MEPC 259 (68).
                                                         One of 2 plastic seals securing the flange on the bilge discharge shore connection was found to be missing and could not be
                                                         located. After an investigation, it was concluded that the seal may have been broken and lost during painting work carried out in
  CAM-00097         8/25/17         Costa Deliziosa                                                                                                                                             Seals or Locks
                                                         the area. It was confirmed that no unauthorized access and discharge took place as the bunker station shell door was closed and
                                                         disabled from the bridge. A new seal was installed and the seal log was updated.
                                                         The ship bunkered fuel in Trieste, Italy, on August 19, 2017. The Bunker Delivery Note (BDN) indicated the fuel had a Sulphur
                                                         content of 1%. On August 23, 2017, the ship received the results of the independent fuel sample analysis that showed the Sulphur
  044_2017-QV       8/25/17      Cunard Queen Victoria   content was actually 1.6%. The ship had used the fuel in regulated areas of Greek waters requiring fuel with a Sulphur content of
                                                         less of 1.5%. Authorities were not notified as the legally recognized Sulphur content value is the one on the BDN. The remaining
                                                         fuel will be used where allowed.
                                                         The ECP seal on an OWS flowmeter viewing screen was found to be missing and could not be located. After a detailed
  CAM-00098         8/26/17         Carnival Magic       investigation, it was concluded that the seal may have been broken and lost during cleaning work carried out in the area. There was Seals or Locks
                                                         no apparent damage or tampering with the flowmeter itself. A new seal was installed and the seal log was updated.
                                                         The EO onboard the Seabourn Odyssey had to disembark due to compassionate leave to tend to his wife. During his absence, the
                                                         Senior First Officer was appointed to take over his role and an exception request was issued to shore side and approved. The EO
    09-2017         8/26/17          HAL Odyssey         returned to the ship on September 5, 2017. Per Section IV.A.1 of the ECP, if a vessel must operate without an EO on board, a
                                                         qualified replacement must join within seven calendar days. Although best efforts were made, the seven day requirement could not
                                                         be met.
                                                         The ship's incinerator is out of operation due to requiring replacement parts to be fitted. Waste is being stored in the garbage room
                                                         and the marshaling area as there is no available space in the cold room to store any waste. The ship only has nine cubic meters of
  CAM-00099         8/27/17        HAL Amsterdam         cold storage space and no designed storage space outside of the garbage room. Solid waste offloads are being conducted but the
                                                         garbage builds up rapidly when the incinerator is not functioning. The current estimated time to repair and recommission the
                                                         incinerator is unknown.




                                                                                               Page 19 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 115 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                       June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                                Event Description                                                                 CAM Incident Category
                                                        During an internal grey water transfer operation while alongside in the Port of Miami, deck personnel reported an overboard
  053_2017-SE       8/28/17      Carnival Sensation     discharge from an air vent. A tank level sensor had malfunctioned allowing the tank to fill and resulted in the overflow through the
                                                        vent. An estimated 1.5 cubic meters of grey water were discharged into the sea.
                                                        A non-critical solenoid of an OWS three-way valve developed an electrical short. The failure affected the control unit for the
                                                        associated OCM. A spare OCM control unit was on board and confirmed to be operational. A purchase order was raised for two             OCM
  CAM-00103         8/28/17       HAL Prinsendam
                                                        replacement non-critical solenoids. The replacement parts are scheduled to be delivered on September 7, 2017. The bilge water          OWS/Whitebox
                                                        processing system remains fully functional.
                                                        While underway in Icelandic waters, the ship discharged 80 cubic meters of untreated sewage outside 12 nautical miles above the
                                                        maximum permitted discharge rate of 32 cubic meters per hour in violation of MARPOL Annex IV. The untreated sewage had
  051_2017-ZU       8/28/17       HAL Zuiderdam         been stored in a dual-use tank and the discharge pumps exceeded the maximum permitted flow rate. The rate of discharge can be          Voyage Planning
                                                        monitored in the automation system to ensure it is within compliant parameters but the operator had not been trained prior to the
                                                        incident.
                                                        While alongside in Katakolon, Greece, it was noted that the control panel of the centrifugal OWS was in failure. Following
                                                        consultation with a Classification Society surveyor, the equipment was placed out of service. The required spare part, which is not
  046_2017-LU       8/29/17       Costa Luminosa        on the critical spares list, has been ordered from the manufacturer. The expected delivery date is September 9, 2017, including        OWS/Whitebox
                                                        technical support for installation. The ship is equipped with a static OWS which is fully operational and therefore remains in
                                                        compliance with statutory requirements.
                                                        During departure from Sydney, Canada, the ship was unable to start any EGCS systems due to a communication failure between
                                                        the EGCS software and the engine automation system. The vessel departed with one DG running on HFO and 2 running on MGO.
                                                        Following departure, the ship flushed the fuel system of the engine running the HFO to enable the changeover to MGO.
  CAM-00104         8/29/17        HAL Maasdam                                                                                                                                          EGCS
                                                        Authorities were not notified as the ship was within the permitted 6 hour troubleshooting period. An entry was made in the EGCS
                                                        log. The cause of the failure was identified as a software communications problem between the software programs for the EGCS
                                                        and the engine automation. The failure has been remotely rectified and the EGCS system is fully operational.
                                                        During a routine inspection of the machinery spaces, the EO noted several metal drums in the sewage room. One drum was fitted
                                                        with a device, later identified as a pneumatic vacuum, and a hose. There were no other personnel present in the area at that time.
                                                        An investigation found that the Chief Motorman had been using the vacuum pump to transfer bilge water from the bilge wells into
                                                        the drums. The contents of the drums were later transferred into a sludge tank and appropriate entries made in the ORB. The
  CAM-00113         8/29/17      Carnival Inspiration
                                                        vacuum pump was not controlled as per ENV-1203 and the Chief Engineer was not aware of its use. The pump had been ordered
                                                        prior to implementation of the procedure. When the device was received on board in June 2017, the procedure had been fully
                                                        implemented, but it was not recognized that the device should be controlled. The pump was of a different style and shape from
                                                        other controlled pumps on board and apparently not recognized by watch standers.
                                                        During a routine inventory check, the MARPOL samples of the MGO bunkered in New York on October 8, 2016, were noted as
 055_2017-LUNA      8/30/17          AIDAluna           missing in violation of MARPOL regulation. Investigations are ongoing regarding the root causes of the unavailability of the
                                                        requested samples but no reason for the loss has been identified.
                                                        The weekly entry for the quantity of oil residue in the sludge tanks was found to be missing for the week commencing August 27,
                                                        2017, in violation of MARPOL regulation. The omission was due to a lack of attention regarding the ORB completion process.         Oil Record Book
  CAM-00114         8/30/17        Carnival Valor
                                                        The Director of Environmental Operations was informed. While entries were not recorded in the ORB, a copy of the incident          Recordkeeping
                                                        report was stapled to the respective ORB to document the missing entries.




                                                                                             Page 20 of 94
                                        Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 116 of
CONFIDENTIAL                                             Appendix E: ECP Year One 205
                                                                                  Incidents Tracked by the CAM                                                                                                        June 21, 2018

  Reference No.      Date of Event     Brand/Vessel                                                                Event Description                                                                  CAM Incident Category
                                                           The Eurodam's August 2017 Discharge Monitoring Report indicated that an August 30, 2017, sample of the vessel's mixed grey
                                                           and black water exceeded the daily maximum level of fecal coliform. The Company believes that this exceedance was an
                                                           aberration without a specific root cause because an inspection confirmed that all of the vessel's ultraviolet bulbs were in working
2017-R0805-40-0001      8/30/17        HAL Eurodam
                                                           order and the Eurodam 's next sample taken just a few days later on September 4, 2017, met all specifications and confirmed that
                                                           no additional remedial measures were necessary. The Holland American Line received a Notice concerning this testing sample on
                                                           November 7, 2017.
                                                           While underway in Alaskan waters with three DGs running on HFO and the EGGS systems in operation, the gas analyzer alarm
                                                                                                                                                                                                    EGCS
                                                           for one DG activated indicating that the system was exceeding the regulatory limits for S02/C02 (Sulphur Dioxide/Carbon
   050_2017-CO          8/31/17      PCL Coral Princess                                                                                                                                             Training
                                                           Dioxide) ratio. The EOOW acknowledged the alarm but did not take any further actions and the issue was not addressed until the
                                                                                                                                                                                                    Voyage Planning
                                                           change of watch. The emissions and discharges exceeded compliance thresholds for six hours and 39 minutes.
                                                           The static OWS has been taken out of service due to its three way valve remaining open when the oil content is above 15ppm. The
                                                           valve is new and had been fitted recently due to repeated failures of the previous unit. It was confirmed that no overboard              OWS/Whitebox
   CAM-00108            9/1/17         P&O Britannia
                                                           discharge greater than 15 ppm had occurred. The OWS will remain out of service while the manufacturer assists with an analysis           OCM
                                                           of the system and resolution of the issue. The ship's ability to manage bilge water is not currently impacted.
                                                           During a monthly check, it was noticed that two MARPOL bunker samples from September 1, 2017, were missing in violation of
   CAM-00140            9/1/17        Carnival Freedom     MARPOL Annex VI. An investigation did not identify a cause for the missing samples and it is believed the supplier omitted the
                                                           two missing items from a batch of samples. The incident is being reported to all relevant authorities.
                                                           The OCM for an OWS developed a cooler water leak resulting in the potential to dilute sample water with cooling water. The
                                                           cause of the leak is not yet confirmed but is likely to be related to internal clogging of the cooler. The OWS remains operational as    OCM
  062_2017-WE           9/3/17         HAL Westerdam
                                                           the temperature is low enough to operate without the cooler. A replacement cooler is scheduled to be delivered to the ship by            OWS/Whitebox
                                                           September 20, 2017. Options to fit similar OCMs with improved coolers are being investigated.
                                                           During off-loading operations in Southampton, UK, a bulk bag of crushed glass toppled from a pallet as it was being lifted from a
   061_2017-AC          9/3/17          P&O Arcadia        baggage platform. The majority of the glass remained inside the bag on the platform but approximately 5 kg spilled from the
                                                           platform into the water.
                                                           While underway in Canadian waters, the emission monitoring system failed. Consequently, a system communication fault caused
                                                           the EGCS to stop. The ship changed over to MGO before reaching the six hour permissible troubleshooting time limit and
  056_2017-MA           9/6/17         HAL Maasdam                                                                                                                                                  EGCS
                                                           therefore remained compliant with Company procedure. An investigation found the EGCS Engineer had inadvertently reset the
                                                           control system back to factory settings. Measures to prevent a system reset were in place but not followed.
                                                           During oily sludge discharge ashore in Akureyri, Iceland, the shore side-provided hose began leaking. The discharge was
                                                           immediately stopped and the EO was informed. All spilled sludge was contained within the ship. After disconnecting the hose, the
   059_2017-KP          9/6/17       PCL Crown Princess    shore operator inverted the hose and some oily sludge residue spilled onto the dock and into the water. Oil absorbent pads were
                                                           provided by the ship to the shore operator. It was estimated that approximately 1.5 liters of oily sludge spilled on the dock with
                                                           approximately 0.3 liters entering the water.
                                                           The ship experienced a large loss of lubricating oil from a stabilizer head tank. 80 liters of sea water was drained from the tank and
   CAM-00110            9/6/17       PCL Golden Princess   it was concluded that the missing quantity of oil was lost at sea with the sea water ingress replacing it. The system was taken out of
                                                           service and drained pending repair at the next dry-dock scheduled in April 2018.




                                                                                                 Page 21 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 117 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                       June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                                Event Description                                                                 CAM Incident Category
                                                        While alongside in Whittier, Alaska, the Senior First Engineer informed the Chief Engineer of a large quantity of water coming
                                                        out of a diesel generator's (DG) turbocharger. The DG was isolated. A valve had been closed on the EGCS as a safety precaution
                                                        to allow cleaning of the sea water filter for the EGCS. The overboard valve is connected to the general service water pump, which
                                                        also supplies the static mixer for the EGCS. With the valve closed, sea water filled the exhaust duct and overflowed into the engine
                                                        casing. Approximately 120 tons of seawater entered the bilges prior to being transferred into the double-bottom and bilge settling
  CAM-00134         9/6/17       PCL Island Princess                                                                                                                                           EGCS
                                                        tanks. The new volumes for those tanks were entered into the stability computer with the free surface effect being accounted for in
                                                        the revised stability calculations. The updated volumes/calculations were submitted to the FOC/Company as required prior to
                                                        departure. The bilge water was untreatable due to the soot content and approximately 60 tons of bilge water was offloaded via
                                                        trucks at the next two port calls. Island Princess is the only ship with this overboard valve arrangement and is due to be modified
                                                        during the drydock scheduled for November 2017.
                                                        During reviews of ORB, several ships identified pages missing the signature of the EO, ranging from 1 to 13 pages. The OLCM
                                                        and shore side management were notified and the Chief Engineer conducted a meeting with the EO and the Captain. A copy of the          Oil Record Book
 CAM-00111.7        9/7/17        Carnival Ecstasy
                                                        incident report was added to the ORB and an 'I' entry made to address the issue. Administrative checks with the EO will reinforce      Recordkeeping
                                                        that they correctly fulfill their responsibilities.
                                                        During reviews of ORB, several ships identified pages missing the signature of the EO, ranging from 1 to 13 pages. The OLCM
                                                        and shore side management were notified and the Chief Engineer conducted a meeting with the EO and the Captain. A copy of the          Oil Record Book
 CAM-00111.6        9/7/17        Carnival Freedom
                                                        incident report was added to the ORB and an 'I' entry made to address the issue. Administrative checks with the EO will reinforce      Recordkeeping
                                                        that they correctly fulfill their responsibilities.
                                                        During reviews of ORB, several ships identified pages missing the signature of the EO, ranging from 1 to 13 pages. The OLCM
                                                        and shore side management were notified and the Chief Engineer conducted a meeting with the EO and the Captain. A copy of the          Oil Record Book
 CAM-00111.5        9/7/17         Carnival Glory
                                                        incident report was added to the ORB and an 'I' entry made to address the issue. Administrative checks with the EO will reinforce      Recordkeeping
                                                        that they correctly fulfill their responsibilities.
                                                        During reviews of ORB, several ships identified pages missing the signature of the EO, ranging from 1 to 13 pages. The OLCM
                                                        and shore side management were notified and the Chief Engineer conducted a meeting with the EO and the Captain. A copy of the          Oil Record Book
  CAM-00112         9/7/17       Carnival Inspiration
                                                        incident report was added to the ORB and an 'I' entry made to address the issue. Administrative checks with the EO will reinforce      Recordkeeping
                                                        that they correctly fulfill their responsibilities.
                                                        During reviews of ORB, several ships identified pages missing the signature of the EO, ranging from 1 to 13 pages. The OLCM
                                                        and shore side management were notified and the Chief Engineer conducted a meeting with the EO and the Captain. A copy of the          Oil Record Book
 CAM-00111.4        9/7/17        Carnival Legend
                                                        incident report was added to the ORB and an 'I' entry made to address the issue. Administrative checks with the EO will reinforce      Recordkeeping
                                                        that they correctly fulfill their responsibilities.
                                                        During reviews of ORB, several ships identified pages missing the signature of the EO, ranging from 1 to 13 pages. The OLCM
                                                        and shore side management were notified and the Chief Engineer conducted a meeting with the EO and the Captain. A copy of the          Oil Record Book
 CAM-00111.3        9/7/17        Carnival Paradise
                                                        incident report was added to the ORB and an 'I' entry made to address the issue. Administrative checks with the EO will reinforce      Recordkeeping
                                                        that they correctly fulfill their responsibilities.
                                                        During reviews of ORB, several ships identified pages missing the signature of the EO, ranging from 1 to 13 pages. The OLCM
                                                        and shore side management were notified and the Chief Engineer conducted a meeting with the EO and the Captain. A copy of the          Oil Record Book
 CAM-00111.2        9/7/17       Carnival Sensation
                                                        incident report was added to the ORB and an 'I' entry made to address the issue. Administrative checks with the EO will reinforce      Recordkeeping
                                                        that they correctly fulfill their responsibilities.




                                                                                             Page 22 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 118 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                       June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                                Event Description                                                                  CAM Incident Category
                                                        While docked in Isla Roatan, Honduras, an oil leak was reported to be coming from a lifeboat. A high pressure hydraulic pipe was
                                                        found to have failed, spilling oil down the ship's hull. Operation of the affected davit system was halted, which immediately
                                                        stopped the leak. Approximately 0.5 liters of oil was estimated to have been spilled with a small proportion of this volume entering
  058_2017-SL       9/7/17        Carnival Splendor                                                                                                                                            Lifeboat/Tender
                                                        the water. No oil sheen was observed. The Port Authority was notified via the Port Agent and permission was granted to repair the
                                                        failed pipe prior to departure. The pipe was welded and successfully tested. The davit system and lifeboat were put back in service.
                                                        A 'G' entry was made in the oil record book.
                                                        During reviews of ORB, several ships identified pages missing the signature of the EO, ranging from 1 to 13 pages. The OLCM
                                                        and shore side management were notified and the Chief Engineer conducted a meeting with the EO and the Captain. A copy of the          Oil Record Book
 CAM-00111.1        9/7/17        Carnival Triumph
                                                        incident report was added to the ORB and an 'I' entry made to address the issue. Administrative checks with the EO will reinforce      Recordkeeping
                                                        that they correctly fulfill their responsibilities.
                                                        During reviews of ORB, several ships identified pages missing the signature of the EO, ranging from 1 to 13 pages. The OLCM
                                                        and shore side management were notified and the Chief Engineer conducted a meeting with the EO and the Captain. A copy of the
  057_2017-KP       9/7/17       PCL Crown Princess
                                                        incident report was added to the ORB and an 'I' entry made to address the issue. Administrative checks with the EO will reinforce
                                                        that they correctly fulfill their responsibilities.
                                                        During routine checks of a provision system, a leak of non-ODS R407c refrigerant gas was detected coming from a crack in a pipe
  CAM-00123         9/9/17         Carnival Liberty                                                                                                                                            Refrigerants
                                                        line. The pipe was welded and 304 kg of refrigerant gas were added.
                                                        The ship experienced issues with the recently installed forward OWS unit where the OCM reported an error. Attempts to clean the
                                                        OCM were unsuccessful and it appeared that the self cleaning function was faulty. The manufacturer’s commissioning engineer            OCM
  CAM-00115         9/10/17      Cunard Queen Mary 2
                                                        was requested to undertake a follow-up visit during which he resolved the issue and provided additional training to the ship’s         Training
                                                        team. The OWS is now fully functional.
                                                        While fitting new ECP seals to a grey water tank, it was noted that two old seals were missing. An investigation found the Deck
                                                        Department had removed the seals prior to transferring grey water to an alternate holding tank in order to inspect a sounding pipe.
                                                        Due to a lack of awareness, the bosun had failed to deliver the seals to the EOOW in the ECR. While the grey water transfer was
  CAM-00116         9/11/17        Carnival Dream
                                                        authorized by the Chief Engineer, the ECR watch was busy with other tasks and also forgot to ask the bosun to deliver the seals.
                                                        The broken seals were then likely to have been removed during cleaning. It was confirmed that no unauthorized access to the
                                                        system had taken place.
                                                        While undertaking a routine operation, the Staff Chief Engineer noted that a chemical and associated injection tubing on a static
                                                        OWS had been removed during a prior maintenance task and not reinstated. The initial review concluded no illegal discharge
  CAM-00124         9/11/17      Carnival Fascination                                                                                                                                          OWS/Whitebox
                                                        occurred. The system has been returned to its approved arrangement. A manufacturers service visit verified the entire system was
                                                        fully restored to specification.
                                                        Approximately four liters of treated oily bilge water was discharged within 12nm of land due to an error by the engineer on watch.
                                                        The engineer on watch failed to stop the overboard discharge of treated bilge water before the ship entered the 12nm boundary.
  083_2017-EL       9/11/17        Carnival Elation                                                                                                                                            Voyage Planning
                                                        The operation was stopped after five minutes and the Chief Engineer was informed. The volume of discharge was determined
                                                        using the flow meter. The discharge was in violation of company procedures but not MARPOL.
                                                        While alongside in Montreal, Canada, seven empty carbon dioxide (CO2) cylinders were dropped into the water by stevedores
  064_2017-QU       9/12/17        Seabourn Quest       while the cylinders were being offloaded. The cylinders sank immediately. The ship’s agent and the Harbour Master were advised.
                                                        Divers recovered all cylinders the following day.




                                                                                             Page 23 of 94
                                        Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 119 of
CONFIDENTIAL                                             Appendix E: ECP Year One 205
                                                                                  Incidents Tracked by the CAM                                                                                                   June 21, 2018

  Reference No.      Date of Event     Brand/Vessel                                                                 Event Description                                                               CAM Incident Category
                                                            Preliminary results of the sampling conducted on the Membrane Bio-Reactor's (MBR) indicated that the ship exceeded the daily
                                                            Biochemical Oxygen Demand (BOD) limit of 60 mg/I and was anticipated to exceed the monthly average limit of 30 mg/I. The
 075_2017-TP; NOV                                           ship was instructed to inspect, clean and replace diffusers in the MBRs if necessary. The ship was not restricted in it abilities to
                        9/12/17       PCL Star Princess
#2017-R856-40-0001                                          discharge in accordance with IMO and Company standards and there was no impact on operations. The preventive maintenance
                                                            program was reviewed by the shore side technical team. The Alaska Department of Environmental Conservation and U.S. Coast
                                                            Guard were notified.
                                                            While alongside in Juneau, Alaska, a public complaint was made via the Alaskan Department for Environmental Conservation
                                                            (ADEC) regarding the opacity of the ship’s smoke emissions. At the time of the complaint, the ship was running on a single Diesel
   073_2017-NO          9/13/17        HAL Noordam          Generator (DG) with its attached EGCS online. The EGCS and DG were operating within all required parameters. The issue was
                                                            discussed with shore side management, and a decision was made to switch over to a DG running Marine Gasoil (MGO). All
                                                            relevant data logs were submitted to the ADEC who declared satisfaction with the situation with no additional follow-up.

                                                            The COWS was selected to discharge overboard, but its OCM read 20 ppm and both oil content alarms activated. The COWS still
                                                            indicated overboard discharge and the BCDB flow meter showed 1.65 cubic meters of water were discharged before the operation
                                                            was stopped. The OCM reading in the automation system for the COWS was erratic throughout the discharge and, when the        OCM
   CAM-00118            9/13/17         P&O Ventura
                                                            operation was stopped, was significantly different from the local reading on the OCM (17 to 23 ppm versus 42 to 46 ppm). The OWS/Whitebox
                                                            BCDB maintained readings of 7 to 10 ppm throughout the discharge. It was subsequently confirmed that no violation had
                                                            occurred. An inspection found the COWS OCM control unit was badly corroded and full of water.
                                                            During the transfer of oily sludge to a truck while alongside in Saint Lucia, approximately 18 liters of sludge spilled onto the pier
                                                            and approximately five liters entered the water. All checklists had been completed and agreed with all relevant parties. An initial
                                                            investigation found that the receiving truck operator had stopped the transfer operation and attempted to adjust the hose while it
   063_2017-FS          9/14/17      Carnival Fascination   was still pressurized. The ship responded to the incident. All spilled sludge on the pier and in the water was contained and
                                                            collected. All cleaning materials were disposed shore side as oily waste. The incident was reported to the Port Authority via the
                                                            port agent. The Port Authority visited the ship and advised that no further actions were required. The OLCM and shore side
                                                            management were notified and a ‘G’ entry was made in the ORB.
                                                            While alongside in Freeport, Bahamas, a normally empty emergency ballast double bottom tank was found to contain 59 cubic
                                                            meters of grey water. There was no indication of oil contamination. Shore side management were contacted to obtain permission to
   072_2017-GL          9/14/17        Carnival Glory       transfer the flood water to a grey water tank. The water was transferred using a portable pump under the supervision of the Staff
                                                            Captain. A subsequent inspection of the emergency ballast tank identified a failed grey water suction pipe that had caused the tank
                                                            to flood.
                                                            During an inspection of an air conditioning condenser, it was noted that a safety valve had opened due to a failed spring
   CAM-00119            9/14/17        Costa Atlantica      component. A total of 1,485 kilograms of Non-ozone Depleting Substance (ODS) Freon R410A refrigerant gas had leaked. The              Refrigerants
                                                            failed valve was replaced and the system was refilled and put back in service.
                                                            While alongside in Juneau, Alaska, a public complaint was made via the Alaskan Department for Environmental Conservation
                                                            (ADEC) regarding the opacity of the ship’s smoke emissions. At the time of the complaint the ship was running on a single Diesel
   074_2017-ZA          9/14/17        HAL Zaandam
                                                            Generator (DG) with its attached EGCS online. The EGCS and DG were operating within all required parameters. All relevant
                                                            data logs were submitted to the ADEC who declared satisfaction with the situation with no additional follow-up.
                                                            While underway in heavy weather, two light units on the forward mooring deck came loose. The light units remained attached but
   CAM-00121            9/14/17         P&O Adonia
                                                            the two fluorescent tubes and the transparent covers fell into the sea. The fluorescent tubes contained mercury.




                                                                                                  Page 24 of 94
                                   Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 120 of
CONFIDENTIAL                                        Appendix E: ECP Year One 205
                                                                             Incidents Tracked by the CAM                                                                                                      June 21, 2018

 Reference No.   Date of Event    Brand/Vessel                                                               Event Description                                                                 CAM Incident Category
                                                      While underway heading towards Seattle, Washington, the ship discharged nine cubic meters of permeate within four miles of
                                                      land, in violation of Company policies and the Washington State Memorandum of Understanding. An investigation found that the
  066_2017-EU       9/16/17        HAL Eurodam        Bridge team had not checked the discharge matrix prior to discharging the permeate and were therefore unaware of the restriction.      Voyage Planning
                                                      Prior to undertaking a subsequent discharge operation, the Bridge team checked the matrix, realized the prior error, and self-
                                                      reported. The U.S. Coast Guard and Washington State Department of Ecology were notified.
                                                      The control unit on an OWS developed a fault where it froze during operation of the OWS. The unit was replaced immediately,
  CAM-00122         9/16/17       HAL Prinsendam      restoring full OWS functionality. A replacement spare was ordered. Holland America Group has an ongoing OCM / OWS upgrade              OWS/Whitebox
                                                      program, and the Prinsendam is scheduled to be upgraded in May 2018.
                                                      While opening a tender platform when alongside in Skagway, Alaska, a few drops of hydraulic oil spilled into the water, resulting
                                                      in a sheen approximately two meters long. Movement of the platform was immediately stopped. The small oil droplets dissipated
                                                      quickly and no cleanup was possible. An inspection found a hydraulic coupling was loose. The coupling was tightened and the
  076_2017-VO       9/16/17       HAL Volendam                                                                                                                                               Lifeboat/Tender
                                                      platform was tested with no further leaks found. The shore side technical team followed up with the ship. The remaining tender
                                                      platforms were subsequently checked for similar defects. The Alaska Department of Environmental Conservation and National
                                                      Response Corporation were notified and an entry was made in the ORB.
                                                      The COWS was taken out of service due to a vibration issue. The static OWS remained in service to process bilge water. The
  CAM-00125         9/16/17        P&O Arcadia                                                                                                                                               OWS/Whitebox
                                                      COWS was overhauled, rebuilt, and tested before it was put back in service.
                                                      While underway, the ship discharged 35 cubic meters of pool water in EPA regulated waters. The water was not de-chlorinated as
                                                      required by EPA and Vessel General Permit (VGP) limits, resulting in a violation of EPA and VGP Section 5.1.1.2. The Bridge
                                                      and the Engine Control Room team did not correctly read the discharge matrix and thought that it was a permissible discharge.
                                                      They had inadvertently read the general requirements and country-specific requirements, missing the VGP requirements. The
  085_2017-ZU       9/16/17       HAL Zuiderdam                                                                                                                                              Voyage Planning
                                                      discharge was discovered while reviewing the ship’s eLog the next day. The incident was reported to EPA via email, and they
                                                      acknowledged receipt of the notification with no further inquiries raised. The incident was recorded in the ship's VGP logbook and
                                                      will be included as a non-compliant event in the vessel's annual VGP report. A Corrective Action Assessment will be prepared and
                                                      sent to EPA as required by the VGP.
                                                      While reviewing ORB entries for fuel oil changeovers, the EO noted that the time and position for entering and exiting restricted
                                                      Californian waters did not correspond with those recorded in the navigational records. The matter was discussed with the Captain       Oil Record Book
                                                      and all corresponding records were reviewed. It was found that the ship used compliant fuel while navigating through these waters,     Recordkeeping
  CAM-00141         9/17/17       Carnival Miracle
                                                      but the recording requirements were not met. Deck and Engine Officers were not familiar with the recording requirements and the        Voyage Planning
                                                      previous ORB checks were not effective. The system times were not synchronized and personnel turnover with inexperienced               Training
                                                      engineers contributed to the incident. The Bridge and Engine officers were advised and have started to record the entries correctly.
                                                      While conducting a routine check on September 24, 2017, the EO discovered the IOPP weekly entry in the ORB was not recorded
                                                                                                                                                                                     Oil Record Book
                                                      on September 17, 2017. It was concluded this omission was due to procedural oversight. All appropriate personnel were informed
  CAM-00142         9/17/17        Carnival Spirit                                                                                                                                   Recordkeeping
                                                      of the missing entry and a late entry was subsequently made in the ORB. A standard guide sheet was developed to serve as a
                                                                                                                                                                                     Training
                                                      reminder of what items to check when reviewing the ORB.
                                                      While underway, the ultraviolet (UV) sensor on the Ballast Water Treatment System (BWTS) gave an incorrect signal. The ship
                                                      did not have a spare UV sensor. The UV sensors are an ECP critical spare. The original UV sensor became faulty during an
                                                      Atlantic crossing. A spare UV sensor was fitted but didn't fully function and was found to have an expired calibration certificate.
  CAM-00128         9/18/17      PCL Regal Princess
                                                      An urgent purchase order was approved and the manufacturer was requested to attend the ship as soon as possible. With the
                                                      BWTS inoperable, the ship is not able to de-ballast within U.S. waters. The issue is not currently impacting ship operations as
                                                      there is limited ballast water on board and the itinerary provides opportunity for deep sea exchanges as needed.



                                                                                            Page 25 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 121 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                   June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                              Event Description                                                               CAM Incident Category
                                                       An unknown quantity of non-ODS R410A refrigerant gas leaked from an air conditioning system due to a failed safety valve. The
  CAM-00129         9/20/17        Carnival Miracle    system was isolated pending delivery of a replacement valve. The quantity of refrigerant lost was expected to be determined once Refrigerants
                                                       the new valve is fitted and the system was refilled.
                                                       During a bilge water discharge, an internal cooler fault was suspected to have the potential to dilute the OCM sample. The BCBD,
  CAM-00130         9/21/17      Cunard Queen Mary 2   which is included on the IOPP certificate, ensured no discharge above 15 ppm took place. The failed cooler was isolated and      OWS/Whitebox
                                                       removed pending replacement. The cooler was expected to be landed on October 13, 2017 for further investigation.
                                                       During a routine service of the BCBD digital recording device (DRD), the manufacturer's technician inadvertently left one
                                                       connection loose. During overboard bilge discharges the following day, the flow counter was not incrementing. The issue was
                                                       reported and, following initial remote troubleshooting, technicians visited the ship twice before identifying and correcting the fault
  CAM-00176         9/21/17        Carnival Ecstasy                                                                                                                                           OWS/Whitebox
                                                       on October 6, 2017. During the intervening period, the ship was in violation of Company procedures requiring sounding data to be
                                                       compared other to volumetric measurements. The initial retest was inadequate because there was no method of conducting a test
                                                       until the next discharge was required, which was the following day.
                                                       While alongside in Halifax, Canada, a shaft seal leak on the starboard podded propulsion unit was identified and reported to
                                                       authorities. The ship remained alongside overnight while ship staff completed the manufacturer’s recommended actions to stop the
  CAM-00131         9/22/17         P&O Arcadia
                                                       leak. The ship’s Classification Society granted a Condition of Class which was accepted by the Flag Administration and Transport
                                                       Canada allowing the ship’s itinerary to continue.
                                                       During routine checks of an air conditioning system, a leak of non-ODS R410 refrigerant gas was found coming from a faulty
  CAM-00135         9/22/17       Carnival Paradise    service valve and pipe. The valve was changed, the pipe was welded, and 313 kilograms of refrigerant gas was added to the              Refrigerants
                                                       system.
                                                       During routine rounds, it was noted that a seal installed on the emergency bilge suction was missing. The seal could not be found
                                                       in the immediate area. A new seal was immediately installed and the corresponding log was updated. The quantity of bilge retained
  CAM-00132         9/24/17        Costa Atlantica                                                                                                                                       Seals or Locks
                                                       onboard was checked and all expected quantities confirmed as being onboard. An initial investigation was unable to identify why
                                                       the seal was missing. It is presumed to have been broken during maintenance and subsequent cleaning.
                                                       During lifeboat maintenance while alongside in Sydney, Canada, a few drops of non-biodegradable hydraulic oil leaked from a
  CAM-00133         9/24/17        HAL Zuiderdam       davit into the water. At the time of the incident, there was a strong current that prevented a sheen from forming. The current also Lifeboat/Tender
                                                       prevented any cleanup operation. The leak was repaired and the port authorities were informed.
                                                       While the ship was underway inside the North American Emission Control Area (ECA) with five Diesel Generators (DG) online,
                                                       the ship commenced fuel changeover from Marine Gasoil (MGO) to Heavy Fuel Oil (HFO). An engineer officer of the watch
                                                       accidently shut down the ECGS on one DG, resulting in the ship burning HFO fuel for approximately three hours in violation of
                                                       MARPOL Annex VI. The EGCS alarm sounded only on the EGCS panel and was not noticed. Once the engineer on watch
  CAM-00136         9/24/17         Carnival Pride                                                                                                                                         EGCS
                                                       realized that the EGCS was not running, he immediately informed the Chief Engineer and the EGCS engineer and started the
                                                       EGCS. The system will be modified to also show an alarm on the main automation system The incident was reported to the U.S.
                                                       Coast Guard and port authorities in Baltimore, and a record was made of the incident. A review is being conducted into the crew's
                                                       understanding of the EGCS system.
                                                       During a routine inspection of critical valves, it was noticed that three ECP seals were missing and could not be found. It was
                                                       concluded that the seals may have been unintentionally damaged by a crew member. New seals were installed. The missing seals
  CAM-00137         9/25/17       Carnival Freedom     were from the propulsion motor room, forward tunnel suction, and the jet system in the provision compressor room. It was            Seals or Locks
                                                       confirmed that no unauthorized access was made in the areas. The incident is in violation of ECP and corporate HESS procedures.
                                                       The missing seals was recorded in the seals log.




                                                                                            Page 26 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 122 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                          June 21, 2018

 Reference No.   Date of Event       Brand/Vessel                                                                 Event Description                                                                  CAM Incident Category
                                                          During a routine test of an oily water treatment system, an electrical component of the filter was found to be burned out due to
                                                          water ingress from a nearby system. The filters are listed on the IOPP certificate; however, they are part of an extra filtration unit
  CAM-00201         9/25/17         Carnival Liberty                                                                                                                                               OWS/Whitebox
                                                          on the pre-treatment delivery lines. The system remains fully functional with the additional filtration unit bypassed. The treatment
                                                          system was expected to soon be replaced with a new OWS and BCDB.
                                                          A significant discrepancy between the overboard discharge entries in the ORB and the BCDB flowmeter counter reading was
                                                                                                                                                                                                   OWS/Whitebox
                                                          identified. An investigation confirmed that tank soundings matched the ORB entries, indicating either a BCDB counter
  CAM-00143         9/26/17      Cunard Queen Elizabeth                                                                                                                                            Recordkeeping
                                                          malfunction or an internal leak in the COWS. The COWS was put out of service for overhaul and further investigation. The static
                                                                                                                                                                                                   Oil Record Book
                                                          OWS remained operational.
                                                          Approximately four liters of pre-treated oily bilge water from the clean bilge tank was discharged within 12 nautical miles of land
                                                          due to a miscommunication between the second and third engineer on watch. The operation was immediately stopped and the
  084_2017-IM       9/27/17       Carnival Imagination                                                                                                                                             Voyage Planning
                                                          Chief Engineer was informed. An entry was made in the ORB. The volume of discharge was determined using the flow meter. The
                                                          discharge was in violation of company procedures but not MARPOL. An investigation was initiated.
                                                          While alongside in Vancouver, Canada, a few drops of hydraulic oil spilled into the water from the side doors of a tender platform
                                                          creating a sheen and resulting in a violation of MARPOL Annex I. The oil leaked from a seal on the shaft of a cylinder which
                                                          opens the shell door. The small oil droplets dissipated quickly in the water. The cylinder was wrapped in absorbent material and a
                                                          bucket was placed under the door during the recovery of the tender platform. The Harbor Master was informed and an entry was
  CAM-00138         9/27/17         HAL Volendam                                                                                                                                             Lifeboat/Tender
                                                          made in the ORB. The cylinder was replaced in the next port on September 29, 2017. Following the incident, the shore side
                                                          technical team conducted a review of the issue with the ship and found that the cylinder was not included in the planned
                                                          maintenance of the tender doors. The planned maintenance job was updated accordingly and the ship planned to check all other
                                                          tender platforms. All cylinders were expected to be replaced or overhauled.
                                                          During routine checks, an OWS was taken out of service due to a bearing pressure ring failure. Replacement parts were ordered
  CAM-00139         9/27/17           P&O Oriana                                                                                                                                          OWS/Whitebox
                                                          and the ship continued to operate with one OWS. The part was added to the ship's critical spares list.
                                                          While conducting a routine check of ORBs, it was found that six ORBs were missing from the Chief Engineer's office. A
                                                          subsequent search was unsuccessful and it is believed that the ORBs may have been removed during a past audit/inspection but
                                                                                                                                                                                          Oil Record Book
  CAM-00144         9/28/17         Carnival Breeze       not returned. A form has been created to control the movement of ORBs kept in the Chief Engineer's office. The missing ORBs
                                                                                                                                                                                          Recordkeeping
                                                          were also documented in the Chief Engineer and EO's handover notes. A best practice plan for handling and storing of older ORBs
                                                          was expected to be finalized and circulated fleet-wide.
                                                          The ship reported that two GRBs were missing, in violation of MARPOL Annex V and Company procedure. A search was
                                                          unsuccessful. It was concluded that the GRBs may have been filed with other Bridge documents that had subsequently been
  CAM-00145         9/29/17         Carnival Miracle      disposed at the end of the retention period. All officers were advised by the Captain to be more careful with document control and Recordkeeping
                                                          retention. A Compliance Management Notice is being sent to the fleet to confirm ships have full accountability of GRBs. This was
                                                          expected to standardize control and storage of older GRBs in a similar fashion to the procedure for older ORB retention.
                                                          The incinerator is working but could not be used because the coupling of the hydraulic power pack was worn and needed to be
                                                          replaced. Two coupling sets were onboard the ship but were found to be the incorrect type. The correct part was ordered with a
  CAM-00146         10/1/17         HAL Volendam
                                                          lead time of 14 days, plus approximately five days shipping to Asia. At the time of the report, the incinerator had been out of
                                                          service for ten days.




                                                                                                Page 27 of 94
                                   Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 123 of
CONFIDENTIAL                                        Appendix E: ECP Year One 205
                                                                             Incidents Tracked by the CAM                                                                                                   June 21, 2018

 Reference No.   Date of Event    Brand/Vessel                                                             Event Description                                                                CAM Incident Category
                                                     While underway, the smell of fuel was reported in the main laundry area and in passenger areas. An investigation identified a fuel
                                                     leak from the top of a HFO settling/service tank which had spilled fuel behind bulkhead panels in the laundry. Laundry operations
                                                     were shut down and ventilation of the spaces was adjusted to stop the smell of fuel from spreading. Bulkhead panels were
  CAM-00147         10/2/17        P&O Ventura       dismantled to allow oil soaked lagging to be removed and fuel to be cleaned. All spilled oil was offloaded ashore. During the
                                                     repairs, some internal scuppers were identified as contaminated. This included one scupper leading to a laundry drain tank. It was
                                                     isolated and the associated pumps and valves locked shut. At the time of the report, repairs were ongoing, including cleaning and
                                                     repairing the damaged HFO tank. A Classification Society surveyor was scheduled to attend the ship on October 15, 2017.

                                                     While underway in the Olympic Coast National Marine Sanctuary, the ship operated an EGCS system in violation of Company
                                                     requirements. Marine sanctuary regulations prohibit discharging EGCS wash-water irrespective of the type of fuel being used. An EGCS
  CAM-00148         10/2/17      PCL Ruby Princess   investigation identified that the ship correctly changed over to MGO, but the engineer officer of the watch did not request that the Voyage Planning
                                                     EGCS be stopped. At the time of the report, a preliminary notification had been made to the Olympic Coast National Marine            Training
                                                     Sanctuary. Retraining was given to the watch keepers to remind them of the requirements in this region.
                                                     An OWS was taken out of service for approximately three hours to fit a spare OCM. The ship had sufficient spare OCMs onboard
  CAM-00149         10/2/17      Seabourn Sojourn                                                                                                                                 OCM
                                                     to complete the repair and a replacement OCM was ordered to replenish the onboard inventory.
                                                     Following fleet-wide direction to check MARPOL samples and associated records, the ship found that fuel samples for October
                                                     2016 had been disposed, in violation of MARPOL Annex VI and Company procedures. An engineer misunderstood the
                                                     procedures and disposed of the records. All older fuel sample records were checked to ensure records were available. The issue
                                                                                                                                                                                        Recordkeeping
  CAM-00155         10/4/17       Carnival Dream     was reported to the Chief Engineer who explained the correct procedures to the engineer. In the future, the Chief Engineer will be
                                                                                                                                                                                        Training
                                                     the only person who will have the key to access the fuel oil sample records and will be contacted when record access is required.
                                                     All engineering crew were reminded of MARPOL and Company procedures and training was planned with all engine officers. A
                                                     fleet-wide procedure was expected to be implemented to control access to sample location and associated records.
                                                     During an inspection, it was noticed that a seal installed on the OWS flow switch cage was missing. The missing seal could not be
                                                     found. An investigation concluded that the seal could have been damaged unintentionally while cleaning the area. It was
  CAM-00150         10/5/17       Carnival Magic                                                                                                                                       Seals or Locks
                                                     confirmed by the Chief Engineer that no unauthorized access was made and there was no sign of tampering. A new seal was
                                                     installed and an entry was made in the seal log.
                                                     While alongside in Tampa, Florida, the ship's only online Diesel Generator (DG) shut down. Another DG started automatically,
                                                     but failed to synchronize in time and a full blackout occurred. A third DG was brought online which restored normal power nine
                                                     minutes after the blackout occurred. The third DG burned HFO without its associated EGCS running for approximately 40
  CAM-00151         10/5/17      Carnival Paradise   minutes, resulting in violations of the North American ECA requirements and MARPOL Annex VI. An investigation determined             EGCS
                                                     that a cooling system valve malfunctioned and caused high cooling water temperature, triggering the initial DG shutdown. At the
                                                     time of the report, a review of valve history and overhaul frequency was in progress to determine if a maintenance change or a
                                                     more predictive method was possible. The ship recorded the incident as a full blackout and non-refrigerant air emission.
                                                     During a routine check, eight seals were discovered missing from tank hatches in engine room spaces. The seals were broken
                                                     during maintenance, chipping, and painting of the engine room spaces. There was no evidence of tampering or illegal transfers.
  CAM-00152         10/5/17      Carnival Triumph    The seals were replaced, a corresponding entry was made in the seal log, and all appropriate parties were informed about the         Seals or Locks
                                                     incident. There is now a program to replace vulnerable seals with padlocks where possible. Additionally, ship personnel will
                                                     monitor future maintenance in these areas to ensure install control devices are quickly replaced if disturbed.




                                                                                          Page 28 of 94
                                   Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 124 of
CONFIDENTIAL                                        Appendix E: ECP Year One 205
                                                                             Incidents Tracked by the CAM                                                                                                     June 21, 2018

 Reference No.   Date of Event    Brand/Vessel                                                              Event Description                                                                  CAM Incident Category
                                                     A total of 311 kilograms of non-ODS refrigerant gas leaked from an air conditioning system due to a faulty shaft seal, cracked
                                                     filter pipe, loose connections, and a faulty service valve. The air conditioning compressor was shut down and put out of service
                                                     while the shaft seal was replaced. The system was tested, oil filters were replaced, and the system put back in service. While
  CAM-00157         10/6/17      Carnival Fantasy    topping up the system, the dry filter pipe cracked and the main shut off valve started leaking due to loose connections. The system    Refrigerants
                                                     was shut down, the cracked pipe was welded, the connections were tightened, and the system was put back in service. The next
                                                     day, the system started leaking again due to a faulty service valve on the evaporator. The air conditioning compressor was shut
                                                     down, the service valve was replaced, and the system was put back in service.
                                                     300 kilograms of non-ODS R134 refrigerant gas were added to an air conditioning system. The system had been out of service to
  CAM-00154         10/7/17       HAL Zaandam        re-tube the condenser bundle. After starting the chiller, it was found that the suction pressure was too low and required the system   Refrigerants
                                                     to be refilled.
                                                     A review of historical ORB entries revealed that a technical issue during an oil transfer had not been noted correctly. A faulty
                                                     valve had resulted in approximately three cubic meters of oil being transferred into a sludge tank. No ORB entries had been made       Oil Record Book
  CAM-00243         10/7/17       Carnival Elation
                                                     for the quantity retained or the quantity incorrectly transferred. The mistakes were brought to the attention of the Chief Engineer    Recordkeeping
                                                     and engineer officers of the watch. An appropriate correction entry was made in the ORB.
                                                     The port side grey water overboard valve had reduced flow and the starboard valve was out of service. The ship was able to
                                                     discharge via the port side valve at reduced flow. An underwater inspection was arranged to inspect and repair both valves.
  CAM-00158         10/8/17      HAL Amsterdam       Following the inspection, the port side valve was repaired and put back in service. The starboard valve could not be repaired due
                                                     to a corroded valve and a seized shaft. At the time of the report, a purchase order had been issued and the part was being sourced,
                                                     but estimated time of receipt and repair was unknown.
                                                     While reviewing ORB entries for fuel oil changeovers, the EO noticed entries were missing signatures from the previous EO on
                                                     October 6, 2017. The entries were reviewed and corrected. The missing signatures were due to the previous EO being disembarked Oil Record Book
  CAM-00159         10/9/17      Carnival Freedom
                                                     due to a medical emergency. Due to the medical disembarkation, there was no physical handover. However, the EO disembarked Recordkeeping
                                                     on the same morning when handover of duty would have taken place. As a result, there was no EO gap.
                                                     Following fleet-wide direction to check MARPOL samples and associated records, the ship found 26 fuel oil samples were
                                                     missing, in violation of MARPOL Annex VI and Company procedures. After further investigation, it is believed that either the
                                                     samples were not taken or the records were accidently discarded. All older fuel sample records were checked to ensure records
                                                                                                                                                                                            Recordkeeping
  CAM-00160         10/9/17      Carnival Miracle    were available. In the future, the Chief Engineer will check all fuel oil samples and records before they are stored. As further
                                                                                                                                                                                            Training
                                                     preventative actions, all engineering crew were reminded of MARPOL and Company procedures and training was held with all
                                                     engine officers. A fleet-wide procedure was expected to be implemented to control access to sample location and associated
                                                     records.
                                                     Following fleet-wide direction to check MARPOL samples and associated records, the ship found two fuel oil samples dated
                                                     October 16 and October 23, 2017 were missing, in violation of MARPOL Annex VI and Company procedures. Further
                                                     investigations also identified records that were missing details of broken seals and missing labels. It was concluded that the
                                                     omission of the missing seals and labels was due to changing record storage locations. All older fuel sample records were checked      Recordkeeping
  CAM-00161        10/10/17       Carnival Breeze
                                                     to ensure records were available. In the future, the Chief Engineer will check all fuel oil samples and records before they are        Training
                                                     stored. As further preventative actions, all engineering crew were reminded of MARPOL and Company procedures and training
                                                     was held with all engine officers. A fleet-wide procedure was expected to be implemented to control access to sample location and
                                                     associated records.
                                                     310 kilograms of non-ODS refrigerant gas leaked from a refrigeration system due to a faulty section valve. The valve was replaced
  CAM-00162        10/10/17      Carnival Conquest                                                                                                                                          Refrigerants
                                                     and the system was put back in service.




                                                                                          Page 29 of 94
                                           Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 125 of
CONFIDENTIAL                                                Appendix E: ECP Year One 205
                                                                                     Incidents Tracked by the CAM                                                                                                       June 21, 2018

  Reference No.        Date of Event      Brand/Vessel                                                                Event Description                                                                 CAM Incident Category
                                                               While underway to Princess Cays, Bahamas, the EGCS shut down while in an ECA area. The ship burned HFO for three hours
                                                               and 24 minutes without the EGCS, resulting in a violation of the North American ECA requirements and MARPOL Annex VI.
                                                                                                                                                                                                      EGCS
                                                               Four alarms related to the EGCS were activated but were not acknowledged due to a lack of situational awareness to call for
    CAM-00163            10/10/17         Carnival Ecstasy                                                                                                                                            Voyage Planning
                                                               assistance. The engineer officer of the watch stated there were too many alarms sounding at the same time, and he misjudged the
                                                                                                                                                                                                      Training
                                                               importance of the EGCS alarm. The incident occurred and was rectified in a single watch duty. The EGCS record book was
                                                               updated.
                                                               During a routine check, four seals were discovered missing from the sludge leakage tank and jet system. The seals were broken
    CAM-00164            10/10/17       Carnival Sensation     during contractor maintenance. The missing seals could not be found, so they were replaced with padlock seals. All seals were          Seals or Locks
                                                               checked and secured. The missing seals were logged in the seals log. The ship planned to implement a seal maintenance process.
                                                               272 kilograms of non-ODS refrigerant gas was added to a compressor system after two leaks were found on the refrigerant pipe
    CAM-00165            10/10/17        Carnival Splendor     system. One of the leaks was due to a broken pipe line and the other was the result of a loose expansion valve nut connection. The Refrigerants
                                                               leaks were repaired and the system was put back in service.
                                                               A report was submitted anonymously through the hotline on October 10, 2017 reporting gas fumes in the vent of a cabin. The
  CVL-17-10-0037                                               reporter also indicated that reports were made onboard with either no action taken or the reporter being advised to “keep quiet” or
Env Open Report #02-     10/10/17        Carnival Triumph      they would “be in trouble.” It was determined that there was fuel contamination of at least five ballast tanks. The tanks were
       2017                                                    secured. It was believed that the ballast pipes running through the fuel tanks were weakened, permitting fuel to leak into the pipe
                                                               and thus contaminate the tanks. Class was notified.
                                                               The ship did not inform the OLCM that an operational test was conducted, as required by the ECP. ENV-1201 requires every
                                                               operational test of the OWS and OCMs to be reported to the OLCM. A shore side manager preparing a tracking report for the
   CAM-00194             10/11/17         Carnival Valor
                                                               OLCM noticed there was no notification from the ship on this specific occasion and followed up with the Chief Engineer to
                                                               validate and correct the mistake. A scanned copy of the ORB and the Chief Engineer's confirmation was provided.
                                                               In accordance with the ECP Section VIII.C.4, a Major Non-Conformity was noted onboard the Pacific Princess during a TPA
                                                               audit from October 7 through 11, 2017. While conducting the engineering space review of pollution prevention equipment, it was
                                                               noted that the port side Membrane Bioreactor (MBR) for the treatment of sewage was not operational. The port side MBR system
                                                               had been out of commission for over a year. The space apparently flooded on October 14, 2016 because of hull damage that
   CAM-00282             10/11/17       PCL Pacific Princess
                                                               occurred when the vessel ran aground in Nice, France. The starboard MBR was fully operational with 125% of the capacity
                                                               required for vessel operations. All required spare parts were verified on board for the MBR in case of failure of the starboard side
                                                               MBR. In addition, there are three holding tanks for the blackwater. The port side MBR is expected to be replaced during the next
                                                               dry dock.
                                                               While the ship was alongside in Rhodes, Greece, the ship was conducting routine testing of reverse power trips on all Diesel
                                                               Generators (DG). The EGCS was online prior to arrival into the port. The port authorities advised the ship that an unquantifiable
                                                               amount of visible soot deposits were spotted in the water. The ship stopped the EGCS and changed over to MGO to reduce the
   CAM-00167             10/12/17      Cunard Queen Victoria   discharge in the water. The cause of the soot discharge was due to the stopping and starting of the DGs during testing. The EGCS       EGCS
                                                               computer confirmed that the ship was within limits. The local environmental agency requested a fast rescue boat be launched to
                                                               check any remaining soot particles. The ship liased with port authorities, the Harbor Master, and the local environmental agency.
                                                               At the time of the report, a review was being conducted into EGCS in port operations during engine testing.




                                                                                                     Page 30 of 94
                                          Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 126 of
CONFIDENTIAL                                               Appendix E: ECP Year One 205
                                                                                    Incidents Tracked by the CAM                                                                                                     June 21, 2018

  Reference No.        Date of Event     Brand/Vessel                                                                Event Description                                                                  CAM Incident Category
                                                             The flow switch on the OCM for an OWS stopped operating. The flow switch could not be repaired and the cause was determined
                                                             to be corroded internal elements. There was no spare on board because the part was not listed as an ECP critical spare part in
    CAM-00166            10/12/17         HAL Zaandam        AMOS. This has now been amended in AMOS. The vessel has two 50 ppm facets for internal cascading processing, so oily water              OCM
                                                             processing was unaffected by one facet being out of service. The flow switch was ordered. The ship estimated the part would
                                                             arrive by October 27, 2017.
                                                             During a Port State Control inspection while alongside in Venice, Italy, the Italian Coast Guard requested the ship produce bunker
                                                             samples as required by MARPOL. Samples from bunkering operations in Copenhagen, Denmark, on 16 September 2017 could not
                                                             be found. The Coast Guard issued a 5000 euro fine. An investigation found the ship had received three samples but not an official
     11-2017-2           10/12/17        HAL Prinsendam                                                                                                                                              Recordkeeping
                                                             MARPOL sample due improper documentation processing of one of the samples by the ship's bunkering team and the delivery
                                                             barge. The recent Environmental Compliance Notice addresses this issue and should preclude future occurrences. (Appears to be a
                                                             duplicate entry).
                                                             311 kilograms of non-ODS refrigerant gas leaked from a refrigeration system due to a faulty valve. The valve was replaced and the
    CAM-00168            10/13/17       Carnival Conquest                                                                                                                                            Refrigerants
                                                             system put back in service.
                                                             311 kilograms of non-ODS refrigerant gas leaked from a provision system due to a loose connection near the expansion valve
    CAM-00169            10/14/17        Carnival Dream      caused by ship vibrations. The connection was tightened and tested, the system was refilled, and the system was put back into           Refrigerants
                                                             service.
                                                             A report was submitted anonymously through the hotline on October 14, 2017 reporting the observation of oil on the surface of
  CVL-17-10-0048                                             the water near the ship in New Orleans, Louisiana. The reporter also indicated that reports had been made onboard with either no
Env Open Report #03-     10/14/17       Carnival Triumph     action taken or the reporter being advised to “keep quiet” or the they would “be in trouble.” It was determined that there was fuel
       2017                                                  contamination of at least five ballast tanks. The tanks were secured. It was believed that the ballast pipes running through the fuel
                                                             tanks were weakened, permitting fuel to leak into the pipe and thus contaminate the tanks. Class was notified.

                                                             While alongside in Fort Lauderdale, Florida, the Staff Chief Engineer reported that water from a pool deck was leaking into a
                                                             lower cabin. The risk was identified of flooding in other cabins if the pool water was not drained. The Captain was informed and
                                                             received written notification from shore side to proceed with a minimum release of pool water. It was estimated that four cubic
    CAM-00171            10/14/17       Carnival Conquest    meters of pool water were discharged. The U.S. Coast Guard and the National Response Center were notified and requested
                                                             further information of the discharge. The chlorine level was checked and determined to be at 2.8 ppm; the U.S. Coast Guard
                                                             confirmed the level was below the reportable threshold. The cause of the pool water leak was a hole in an outflow channel due to
                                                             ship vibrations and fatigue. The hole in the pool outflow channel was drained and repaired with no further leaks.
                                                             During the OWS and OCM maintenance tests, it was noted that the BCDB was not allowing overboard discharges due to the three-
                                                             way valve being in the recirculation position. The cause was believed to be a faulty flow switch; therefore, the switch was replaced
                                                             with a new spare on board. However, overboard discharges were still impeded by the three-way valve returning to the recirculation OWS/Whitebox
    CAM-00172            10/14/17        Carnival Fantasy
                                                             position. The OLCM was notified via email. The ship has another BCDB, thus the ability to discharge treated bilge water              OCM
                                                             overboard was not affected. A technician was scheduled to board the ship on October 16, 2017, but was delayed therefore the
                                                             BCDB was still out of service as the time of the report.
                                                             An internal leak was found in the sample cooler of the aft BCDB. No water was being processed overboard at the time the internal
                                                             leak was identified. The Bridge took control of the BCDB and access was only be allowed following authorisation from the Chief
    CAM-00173            10/16/17      Cunard Queen Mary 2   Engineer. The bilge overboard discharges were locked and the key will be held by the EO. The cooler was replaced with new
                                                             spares on board and the BCDB was put back in service. The cooler was sent to the supplier for analysis to determine the cause of
                                                             the fault.




                                                                                                   Page 31 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 127 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                   June 21, 2018

 Reference No.   Date of Event       Brand/Vessel                                                                Event Description                                                               CAM Incident Category
                                                          While the ship was within the Greek Exclusive Economic Zone ("EEZ"), a Diesel Generator (DG) was run with the EGCS online
                                                          for approximately 11 hours. A water rack on the system was isolated so the required data recording did not occur, in violation of
                                                          MARPOL Annex VI. Upon discovery, the water rack was immediately de-isolated. The SO2/CO2 ratios showed that the ship was
  CAM-00174        10/16/17      Cunard Queen Victoria    compliant with air emissions. The EGCS log has been updated to include flow rate columns for the water racks. The ship            EGCS
                                                          concluded an investigation and contingency plans have been implemented. Part of the contingency plan includes a Chief Engineer
                                                          standing order to double-check water racks are online when the EGCS is in operation. In addition, alarms will be fitted on
                                                          isolation valves to indicate when they are closed.
                                                          While the ship was underway and experiencing 65-knot winds, a plastic painting raft that was secured to the forward open deck
  110_2017-ZU      10/16/17         HAL Zuiderdam         fell into the sea, in violation of MARPOL Annex V. The heavy weather was anticipated and all checks were completed. The paint
                                                          raft was not recovered. The flag state was notified and an entry was made in the GRB.
                                                                                                                                                                                            Oil Record Book
                                                          During a corporate investigation, it was identified that the OCM on an OWS was recorded in the ORB as having been cleaned
                                                                                                                                                                                            Recordkeeping
  CAM-00178        10/16/17          Carnival Valor       when the engineering team had not cleaned it. The OWS had not been used since the previous cleaning operation. A warning was
                                                                                                                                                                                            OCM
                                                          issued to the relevant engineer to ensure all OCM cleaning operations are correctly recorded in the ORB.
                                                                                                                                                                                            Falsification
                                                          While underway in Greek waters approximately nine nautical miles from land, the ship's food waste system valves were opened
                                                          and approximately 0.4 cubic meters of food waste were discharged, in violation of MARPOL Annex V. At the time of the incident,
  CAM-00179        10/16/17      Cunard Queen Elizabeth   other compliant operations were being undertaken, while the ECR status board was erroneously reading "Not inside 12 [nautical Voyage Planning
                                                          miles]." An investigation identified a combination of communication issues, a lack of experience by the acting EO, and other
                                                          operational distractions.
                                                          During a lifeboat exercise in Aomori, Japan, a crew member accidentally dropped a portable ultra high frequency (UHF) radio
  111_2017-DI      10/19/17      PCL Diamond Princess     from a tender into the sea, in violation of MARPOL Annex V. The radio could not be recovered. An entry was made in the GRB
                                                          and ship log book.
                                                          While underway towards Port Everglades, Florida, the ship discharged permeate waste outside 12 nautical miles at a speed below
                                                          six knots, in violation of Company procedures. The ship's speed dropped to 2.7 knots for approximately 20 minutes following a
  CAM-00180        10/19/17          HAL Veendam
                                                          loss of propulsion. The discharge was not stopped before the ship's speed dropped below six knots. The incident was not a
                                                          violation of MARPOL or U.S. VGP, so no notifications to external agencies were required.
  CAM-00170        10/20/17         CCL Shore Side        Hotline complaint against Rabih Aboudargham alleging harassment and bullying of team members.
                                                          311 kilograms of non-ODS R407c refrigerant gas were discovered to have leaked from a provision system due to a corroded
  CAM-00181        10/20/17         Carnival Dream        evaporator. The system was stopped, isolated, and the evaporator was replaced. After pressurizing and testing for further leaks, the Refrigerants
                                                          system was put back in service.
                                                          While alongside in New York, New York, a spill occurred while discharging sludge oil to a truck. Oil spilled onto the pier, the
                                                          ship's hull, and into the water, in violation of MARPOL Annex I. The ship followed standard operating procedures and emergency
  CAM-00182        10/20/17      Cunard Queen Mary 2      stations were called to implement a containment response, including deployment of a spill kit. The U.S. Coast Guard (USCG) was
                                                          notified and permission was granted for the ship to depart approximately four hours late following completion of the clean-up. The
                                                          cause of the spill was a failure on the receiving truck. This was acknowledged by the USCG.




                                                                                               Page 32 of 94
                                   Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 128 of
CONFIDENTIAL                                        Appendix E: ECP Year One 205
                                                                             Incidents Tracked by the CAM                                                                                                     June 21, 2018

 Reference No.   Date of Event    Brand/Vessel                                                               Event Description                                                                CAM Incident Category
                                                      While underway, the ship unintentionally discharged 50 cubic meters of treated sewage and five cubic meters of comminuted food
                                                      waste within 12 nautical miles of the Bahamas Archipelagic Baseline, in violation of MARPOL Annex IV, MARPOL Annex V,
                                                      and Company requirements. The non-compliant discharge was identified by the incoming officer of the watch during watch
                                                      handover. The discharges were immediately stopped, and the Captain and the EO were informed. The initial investigation
                                                      identified watch officer confusion with the electronic chart lines and associated annotation. In addition, the Captain's standing     Voyage Planning
  CAM-00183        10/21/17      Carnival Conquest
                                                      orders were not followed, a "four-hour ahead" discussion was not conducted after taking over the watch, and the Environmental         Training
                                                      Schedule was not followed. Flag Administration and Bahamian authorities were notified. Several specific training steps were
                                                      reviewed with the officers involved, as well as fleet-wide training steps associated with lessons learned from this event. In
                                                      addition, the updated corporate baseline matrix in a revision to ENV-1001 was expected to address not only Bahamas, but other
                                                      coastal states with unique baseline concerns as well.
                                                      While loading stores in New York, New York, a shore side forklift driver caused some boxes of food to fall into the water, in
                                                      violation of MARPOL Annex V. Shore side staff assisted in recovering the boxes, however five boxes with an approximate total
  121_2017-GP      10/21/17      PCL Regal Princess   volume of 1.5 cubic meters were lost. Local authorities were informed and an entry was made in the GRB. Per port operations, the
                                                      precautions taken were adequate. Port operations also liaised with the stevedore company to reinforce the need to maintain safe
                                                      operations.
                                                      An OWS was found not working due to a damaged transmission belt and O-ring. The EO, Captain, and Ship Manager were
                                                      informed. U.S. Coast Guard officers who were on board conducting the annual Port State Control Inspection were also advised.
                                                      The failed OWS had been routinely tested the previous day with satisfactory results. The OWS was placed out of service for
  CAM-00184        10/22/17      Carnival Conquest                                                                                                                                          OWS/Whitebox
                                                      approximately five hours while repairs were completed. It was re-tested in the presence of a U.S. Coast Guard officer and a
                                                      Classification Society inspector. Drive belts and O-rings were not part of the ECP critical spare parts list, but the ship did have
                                                      spares on board. Both items were added to the critical spare parts list.
                                                      During a review of the key log, no evidence was found for the unlock / lock operation of a number of valves. An investigation
                                                                                                                                                                                            Seals or Locks
  CAM-00185        10/22/17       Carnival Liberty    found a lack of monitoring and control by engineers. All affected valves were included in the ENV-1204-A1 Lock Log, and the
                                                                                                                                                                                            Recordkeeping
                                                      ship planned to control the keys.
                                                      During a review of fuel samples and bunker delivery notes (BDN), it was identified that 14 fuel samples were missing, in violation
                                                      of MARPOL requirements. An investigation found that the cabinet used to hold the fuel samples was not controlled. The ship's
  CAM-00186        10/22/17       Carnival Liberty                                                                                                                                       Recordkeeping
                                                      Flag Administration was notified. All fuel oil samples were secured and will be controlled. A log will be used to track all
                                                      MARPOL fuel oil samples. The process of controlling the fuel oil samples was also being rolled out fleet-wide.
                                                      During a review of waste landing sludge receipts, it was noticed that receipts from October 2015 to December 2015 and from
                                                      November 2016 to December 2016 were not available, in violation of MARPOL requirements. An investigation found the receipts
  CAM-00187        10/22/17       Carnival Liberty                                                                                                                                      Recordkeeping
                                                      were archived in the engine locker and could be accessed by multiple personnel. The vendor was contacted to obtain copies of lost
                                                      receipts. In response, the ship planned to keep receipts under the Chief Engineer’s control.
                                                      310 kilograms of non-ODS R407c refrigerant gas leaked from a walk-in refrigerator system due to a cracked pipe connection. The
  CAM-00188        10/23/17      Carnival Conquest                                                                                                                                      Refrigerants
                                                      connection was replaced and the system was put back in service.
                                                      During drydock, a number of ECP critical seals were broken due to contractors working in various locations of the engine room.
                                                      Most of the seals were recovered and replaced, but four seals could not be traced. The areas where the seals were missing were
  CAM-00189        10/23/17       Carnival Ecstasy                                                                                                                                      Seals or Locks
                                                      thoroughly searched, but the seals were not found. Upon completion of the drydock, all broken and missing seals were replaced
                                                      and the Critical Valves, Fittings, Tank Hatches List, Lock and Seal Log was updated.




                                                                                           Page 33 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 129 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                           June 21, 2018

 Reference No.   Date of Event      Brand/Vessel                                                                  Event Description                                                                    CAM Incident Category
                                                          During routine checks while anchored in Catalina, Catalina, the starboard stern tube header tank was found to have lost
                                                          approximately 20 liters of non-biodegradable oil. No evidence of an internal leak could be found and it was initially assumed that
  CAM-00190        10/24/17       Carnival Inspiration    this volume was lost overboard due to a blocked drain line. Two dive inspections were unable to confirm an external leak, but a
                                                          manufacturer service found a valve set in the wrong position and cleared the blocked air drain lines. A corresponding ORB entry
                                                          was made and the National Response Corporation and U.S. Coast Guard were been notified.
                                                          The sewage treatment system was taken out of service. The Vice President of Environmental approved an Exception Request to
                                                          discharge stored untreated sewage, as permitted by MARPOL regulations. The issue was caused by an electronic failure in the
  CAM-00191        10/24/17         HAL Oosterdam
                                                          controller. It required multiple technical visits to determine the failure and the correct part to replace. The system was repaired and
                                                          put back online.
                                                          A newly-installed OWS system controller developed an internal water leak. There were no further spare units on board because a
                                                          similar OMD-21 unit was fitted to the BCDB two weeks previously. The ship was unable to process bilge water until it received a
  117_2017-VO      10/25/17         HAL Volendam                                                                                                                                                    OWS/Whitebox
                                                          new spare three days later. The manufacturer also repaired and calibrated another unit to provide an additional spare. The ship was
                                                          scheduled to replace all similar OMD-21 units in drydock at the end of November 2017.
                                                          While alongside in Quebec, Canada, a metal rat guard placed on a forward mooring line fell into the water due to the ship's tidal
                                                          movement, in violation of MARPOL Annex V. The ship's crew were unable to recover the guard. The local agent and authorities
  120_2017-KP      10/25/17       PCL Crown Princess
                                                          were informed and an entry was made in the GRB. The bosun reminded his crew to make sure all rat guards were secured
                                                          properly. All other rat guards were checked and re-secured.
                                                          While underway and in the process of responding to a list caused by strong winds, the ship discharged approximately eight cubic
                                                          meters of grey water inside four nautical miles of Taiwan. An investigation found that, prior to the discharge, the junior officers of
                                                          the watch (JOOW) discussed a rock identified on the charts and reviewed the associated Electronic Chart Display and Information
                                                          System notes. They concluded that the rock was a tidal object only exposed at low tide and proceeded within four nautical miles.          Voyage Planning
  CAM-00195        10/25/17      PCL Sapphire Princess
                                                          Approximately 20 minutes later, the senior officer of the watch questioned the two JOOWs about the rock and it was subsequently           Training
                                                          determined to be a very small piece of land. All overboard discharges were immediately closed and the incident was reported to
                                                          the EO. The discharge was not a MARPOL violation, but did violate Company Standard ENV-1001-F1. An investigation was
                                                          initiated.
                                                          331 kilograms of ODS R22 refrigerant gas leaked from an air conditioning system due to leaks on an oil pump and a non-return
  CAM-00192        10/26/17        Carnival Sensation     valve in the liquid line. The system was repaired and put back in service. All units on the ship are scheduled to change to non-          Refrigerants
                                                          ODS by the end of 2018.
                                                          260 kilograms of non-ODS R407c refrigerant gas leaked from a main galley refrigerator system due to corroded evaporator pipes.
  CAM-00193        10/27/17          Carnival Valor                                                                                                                                                 Refrigerants
                                                          The pipes were repaired and the system was put back in service.
                                                          While docking in Port Limon, Costa Rica, a plastic safety helmet fell into the water from the aft mooring station, in violation of
  119_2017-CB      10/27/17      PCL Caribbean Princess   MARPOL Annex V. The helmet sank immediately and was not recovered. The incident was reported to the Port Authority and an
                                                          entry made in the GRB.
                                                          Two EGCS systems were taken out of service pending temporary repair due to the bellows on the demister drain lines leaking
                                                          badly and causing seawater to enter the boiler rooms. New bellows were ordered with expedited delivery. At the time of the report,
  CAM-00196        10/28/17          HAL Veendam          one EGCS had been temporarily repaired and placed back into service. The other EGCS was being temporarily repaired by the          EGCS
                                                          manufacturer and was expected to be back in service on November 8, 2017. To prevent recurrence, the technical team was
                                                          considering substitute parts within the EGCS with a different metal composition to prevent future galvanic corrosion issues.




                                                                                                Page 34 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 130 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                    June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                              Event Description                                                               CAM Incident Category
                                                       Approximately one cubic meter of HFO sludge leaked from a section of pipe common to both starboard and port bunker stations.
                                                       Sludge transfer ashore was terminated and the crew commenced clean-up and repair. The oil spill was contained within a
  CAM-00197        10/30/17      Cunard Queen Mary 2
                                                       provisions compressor save-all in a low fire risk machinery space. The cause of the incident was age-related deterioration of the
                                                       piping. The pipe was repaired and the system put back in service.
                                                       During tender operations while at anchor in Port Arthur, Australia, a member of the ship's security department accidentally
  130_2017-NP      10/30/17      PCL Golden Princess   dropped a radio into the water, in violation of MARPOL Annex V. The radio sank immediately and could not be recovered. The
                                                       local agent was informed and an entry was made in the GRB.
                                                       In a letter dated January 4, 2018, the TPA notified the CAM and other Interested Parties of a Major Non-Conformity finding under
                                                       ECP Section VIII.D on the Queen Mary 2 during an audit from October 27 through 30, 2017: “While conducting an operational
                                                       test of the OWS, the aft Bilge Control Discharge Box (BCDB) or also known as the “Whitebox,” a part of the pollution prevention
  CAM-00336        10/30/17      Cunard Queen Mary 2                                                                                                                                    OWS/Whitebox
                                                       equipment, was not functioning as intended. There are currently two BCDB installed on the Queen Mary 2; the forward whitebox
                                                       and the aft whitebox. The operational test of the two OWS was discharged only through the forward BCDB as the aft whitebox
                                                       was not in operation. The company should repair the aft whitebox system as soon as practical."

                                                       Prior to bunkering operations in New York, New York, the Declaration of Inspection (DOI) was signed by onboard personnel but
                                                       the bunker supplier did not handover a copy to be retained onboard. On November 5, 2017, during a subsequent routine check of
  CAM-00202         11/1/17           AIDAmar          documents by the EO, it was identified that the DOI was missing. The bunker supplier was contacted and a duplicate copy of the Recordkeeping
                                                       DOI was provided. The Chief Engineer was reminded to keep a copy of this document after every future bunker operation. As a
                                                       preventative action, all ships calling into the U.S. will be reminded of this requirement.
                                                       An internal leak was discovered on a fuel tank of a tender boat. The leak was significant enough to saturate adjacent buoyancy
                                                       foam which now needs to be replaced. A similar issue occurred previously on another tender boat on board, prompting the creation
                                                       of a plan to replace all tender boat fuel tanks. The ship's Flag Administration has been informed, and the ship requested a short-
  CAM-00199         11/2/17        HAL Westerdam                                                                                                                                            Lifeboat/Tender
                                                       term reduction in lifesaving capacity. Work on the affected tender boat is expected to be completed on November 11, 2017. A
                                                       tender fuel tank inspection job was created in the planned maintenance system to address potential issues on similar tenders across
                                                       the fleet. A tender replacement program was also underway.
                                                       While at anchor in Cap Cana, Dominican Republic, a heavy swell caused a ship's fender to fall from its securing point and into the
                                                       sea, in violation of MARPOL Annex V. The 70 kilogram galvanized metal and rubber fender immediately sank and could not be
                                                       immediately recovered. The local ship's agent was informed and an entry was made in the GRB, prior to the fender being
  CAM-00205         11/2/17       Seabourn Odyssey     subsequently recovered by divers. The fender had been secured for sea as per the ship's design. The pin securing the fender worked
                                                       itself loose in the seaway and failed. The holding pins for the fenders do not contain securing devices to prevent them from
                                                       working their way loose. The ship was expected to install cotter pins to prevent further incidents and other ships in the fleet were
                                                       instructed to do the same.
                                                       The ship did not inform the OLCM that the operational tests of the OWS and OCMs for September and October were completed,
  CAM-00206         11/3/17        Carnival Dream      as required by the ECP. ENV-1201 requires every operational test of these items to be reported to the OLCM. After identifying the
                                                       situation, scanned copies of the relevant records were provided.




                                                                                            Page 35 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 131 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                 June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                              Event Description                                                              CAM Incident Category
                                                       While alongside in Hamburg, Germany, a Diesel Generator (DG) was started on MGO. The EGCS for this DG started
                                                       automatically and EGCS wash-water was discharged for approximately nine minutes, in violation of Company requirements. Local
                                                       authorities were not notified. The EO found that the option to automatically start the EGCS had not been de-selected in the EGCS
                                                                                                                                                                                         EGCS
  CAM-00207         11/3/17      Cunard Queen Mary 2   control system. The Tier 3 pre-arrival and departure checklists were found to not include the removal of the EGCS auto-start. A
                                                                                                                                                                                         Voyage Planning
                                                       proposed amendment to ensure that the automatic start option is only selected for those ports/areas where EGCS operation is
                                                       permitted was expected to be drafted. At the time of the report, the ship was confirming if both watch standers reviewed the
                                                       procedure.
                                                       While the ship was discharging overboard from a bilge settling tank, the EO attempted to download an archived data-set from the
                                                       system data recorder as allowed by the manufacturer. The data recorder software froze and would not respond. The discharge was
                                                       stopped while the data recorder was reset and restarted. The data recorder was subsequently found to be functioning correctly but
  CAM-00208         11/4/17         P&O Britannia      with six minutes of data missing. A corresponding entry was made in the ORB. A corrupt memory stick is believed to have caused
                                                       the anomaly. The data recorder will be monitored by the EO and, it any further issues become evident, the manufacturer will be
                                                       contacted for assistance. In addition, the procedure was expected to be amended to ensure data downloads are not actioned during
                                                       discharge operations.
                                                       In accordance with ECP Section VIII.C.4, a Major Non-Conformity was noted onboard the Sun Princess during a TPA audit from
                                                       November 5 through 9, 2017. In review of the GRB, it was noted in Attachment “A” that “Operational Waste” was being
                                                       discharged while the vessel was moored in port. This operational waste entry as presented by the EO were deck cleaning
                                                       chemicals. The deck cleaning chemicals, Deck Clean NP and Metal Brite HD, were being used on board to clean decks and were
                                                       being discharged directly overboard through deck scuppers while in port and underway. The manufacturer, Wilhelmsen
                                                       Chemicals, states in Attachment “B” the cleaning agents meet the criteria for being harmful to the environment. However, in
  CAM-00200         11/5/17       PCL Sun Princess
                                                       reviewing the Material Safety Data Sheets in Attachment “C” it states the material is corrosive and must be disposed of as
                                                       “Hazardous Waste,” and the product should not to be discharged into drains or the environment, and that disposal should be in
                                                       accordance with local, state or national legislation. No documentation was provided from government authorities stating these
                                                       deck chemicals are safe for discharge into the environment while in port or underway. The company should cease using the deck
                                                       cleaning chemicals until proper documentation is provided stating these chemical are accepted for use by a government authority
                                                       in the port of which the chemical are being discharge are safe for the environment.
                                                       While alongside in Port Everglades, Florida, the ship experienced a drive belt failure of an OWS. At the time of the failure, the
                                                       affected OWS was the only operational separator because a second OWS was in the process of being commissioned. The second
  CAM-00209         11/5/17       Carnival Conquest    OWS was fully operational later the same day. At the time of the report, the failed OWS remained out of service pending           OWS/Whitebox
                                                       manufacturer assistance confirmed for November 16, 2017. The failed belt was expected to be replaced during the service and was
                                                       added to the list of critical spares.
                                                       A fuel leak of approximately 40 liters occurred within the hot box of a Diesel Generator (DG). The DASPOS hydrocarbon
  CAM-00210         11/6/17      Cunard Queen Mary 2   detection system did not alarm. The DG was immediately stopped and a gas turbine was put online. The fuel leak was caused by a
                                                       failed accumulator which was subsequently replaced. The DG was put back in service.
                                                       While underway from Sembawang Shipyard, Singapore to the Marina Bay Cruise Centre, Singapore, the ship experienced a full
                                                       loss of propulsion due to the activation of a distribution transformer protection trip. The propulsion motors (PEMs) were put back
                                                       in service after one hour and 40 minutes following a thorough inspection of the involved transformer. For the duration of the
  CAM-00211         11/6/17       PCL Sea Princess     incident, the ship had four thrusters available and in use with two tugs standing by, so it was able to maintain a safe position
                                                       without dropping anchor. A manufacturer’s representative was onboard at the time of the incident and confirmed the cause of trip
                                                       was the loss of port engine room distribution transformer with consequent loss of the propulsion auxiliaries and excitation
                                                       supplies. At the time of the incident, the exciters of the port and starboard PEMs were fed from the port engine room switchboard.



                                                                                            Page 36 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 132 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                      June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                                Event Description                                                                 CAM Incident Category
                                                        During a weekly review of the Critical Valve and Tank Hatch Lock Log, it was noted that seven entries relating to the bunker
                                                        station sludge delivery line were missing between September 24 and November 4, 2017, in violation of Company requirements. It
  CAM-00214         11/8/17        Carnival Dream       was confirmed by the Chief Engineer that no sign of tampering was found. The engineers of the watch were reminded of the              Recordkeeping
                                                        importance to record in the Critical Valve and Tank Hatch Lock Log any time a key is used. The ship also evaluated options to
                                                        introduce a shorter period of review.
                                                        While alongside in St. Croix, U.S. Virgin Islands, and pumping grey/black water to the local sewer, the shore-supplied hose failed,
                                                        causing approximately 500 liters of mixed grey water and treated black water to spill onto the dock and into the sea, in violation of
                                                        MARPOL Annex IV. The hose failure was caused by the detachment of a new hose connection which had been run over by a
  CAM-00215         11/8/17      Carnival Fascination
                                                        garbage truck just prior to the incident. The discharge was stopped, hoses were repositioned to minimize further vehicle risk, and
                                                        the damaged hose was replaced. The spill was cleaned by ship personnel and the incident was reported to the port authorities and
                                                        the U.S. Coast Guard. No further action was requested.
                                                        During a weekly review of the Critical Valve and Tank Hatch Lock Log, it was noted that seven entries relating to the bunker
                                                        station sludge delivery line were missing from 24 to 30 September 2017 in violation of Company requirements. An investigation
  CAM-00216         11/8/17        Carnival Magic       found that the keys were not recorded because the person in charge forgot to update the Log. It was confirmed by the Chief             Recordkeeping
                                                        Engineer that no sign of tampering was found. The EOOW's were reminded of the importance to record in the Critical Valve and
                                                        Tank Hatch Lock Log any time a key is used. Options to introduce a shorter periodicity of review are being evaluated.
                                                        During a routine check, it was found that four adhesive seals were missing. The seals could not be found in the surrounding area
                                                        and it was concluded that all four missing seals were unintentionally removed during maintenance work. Two new seals of the
  CAM-00217         11/9/17           AIDAvita                                                                                                                                                 Seals or Locks
                                                        same type were immediately installed and the corresponding log was updated. Two non-mandatory seals were not replaced. No
                                                        signs of tampering and no anomalies on the tanks quantities were noted.
                                                        During a routine check, the EO discovered two seals were missing from the food waste vacuum system. It is suspected that the
  CAM-00218         11/9/17       Carnival Splendor     seals were broken during maintenance/cleaning of the garbage room. New plastic seals of the same type were installed and the log       Seals or Locks
                                                        was updated. The importance of ECP seals was emphasized to crew members.
                                                        During a routine check, it was noted that the seal on the overboard food line in the garbage room was missing. It is suspected that
                                                        the seal was accidentally broken and mixed with the garbage. A Classification Society surveyor who was on board to check seal
  CAM-00219         11/9/17       Carnival Sunshine                                                                                                                                            Seals or Locks
                                                        effectiveness reported that the seal was broken involuntarily. No violations of the flange were noted and, as a preventative action,
                                                        the flange was welded with bars.
                                                        A failure on the COWS BCDB monitor required discharges to be suspended until a faulty control signal isolator was replaced. No
                                                                                                                                                                                               OWS/Whitebox
  CAM-00220         11/9/17         P&O Ventura         discharges over 15 ppm occurred. The COWS was placed in a re-circulation mode and a replacement isolator is being transferred
                                                                                                                                                                                               OCM
                                                        from another ship in the fleet.
                                                        On November 9, 2017, the ship offloaded hazardous waste to a third-party contractor. Both the number of containers and the
                                                        quantity of waste were recorded incorrectly by both ship and vendor personnel. Upon discovering the error, both the manifests
                                                        held by the ship and the contractor were corrected. However, a manifest was sent to the California Department of Toxic
                                                        Substances Control (DTSC) before the error was corrected. The corrected manifest with an updated quantity for “oily/bilge
  CAM-00761         11/9/17      Carnival Imagination                                                                                                                                          Recordkeeping
                                                        sediments” drums (four instead of one) was sent to DTSC for their records. The final signed manifest was received in time
                                                        confirming the correct quantity disposed. The root cause was human error as the crewmember failed to cross-check the actual
                                                        quantities of drums of oily/bilge rust sediments offloaded against the quantities listed on the manifest. Unfortunately, the vendor
                                                        did not detect this either.




                                                                                             Page 37 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 133 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                       June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                                Event Description                                                                 CAM Incident Category
                                                       During a routine check, the Ballast Water Record Book archive between December 2015 and July 2016 and the GRB archive from
                                                       January 2013 to March 2013 were noted as missing, in violation of Company requirements. The OLCM, Ship Manager, and
                                                       Environmental Manager were informed of the missing archives. The check was part of a fleet-wide review of archived
  CAM-00221        11/10/17       Carnival Sensation                                                                                                                                 Recordkeeping
                                                       environmental-related record books to ensure all records were being maintained as required. Missing old books would be logged
                                                       and noted. A new fleet-wide procedure was being implemented that would require secure storage of all archived record books, a
                                                       single person to be accountable for control of the key to storage, and a signing procedure if older books must be reviewed.
                                                       During overboard discharge operations while underway, it was noted that the OCM of the BCDB was showing an error alarm
                                                       indicating the oil content reading was incorrect. After cleaning and flushing the cell, the OCM was still indicating an incorrect oil
  CAM-00222        11/10/17        Costa Atlantica                                                                                                                                             OCM
                                                       content reading. The cell was replaced with a spare and calibrated. An entry in the ORB was created. The failed cell was sent back
                                                       to the supplier and a new unit was expected to be received onboard.
                                                       While alongside in Lautoka, Fiji, a white discoloration was observed in the water near the forward gangway. A few drops of oil-
                                                       based paint and a few paint flakes had been spilled into the water in violation of MARPOL Annex I as deck ratings painted the
  CAM-00223        11/10/17      PCL Golden Princess   starboard side anchor. The job was immediately stopped and the Port Authority was notified by the local agent. No further action
                                                       was requested. The paint was not cleaned up as it quickly dissipated with the wind. The crew were counselled by the Captain and
                                                       retrained in the use of drop cloths and other preventative measures to prevent recurrence.
                                                       The COWS failed. The ship was still able to process bilge water via the static OWS. The ship had multiple sets of all spares and
  CAM-00224        11/10/17          P&O Azura         the failed OWS was repaired and returned to service the following day. The cause of the failure was a build up of dirt in the           OWS/Whitebox
                                                       purifier bowl which prevented the bowl from closing correctly and subsequently activating an alarm.
                                                       While alongside in Naples, Italy, during the recovery of a fuel transfer hose from the ship by the chemical shore side vendor,
                                                       approximately 10 milliliters of oil dripped into the water, in violation of MARPOL Annex I. The oil formed a small sheen, but
                                                       dissipated very quickly with the current and was unrecoverable. Prior to recovery, the hose had been vacuumed and emptied;
  CAM-00225        11/11/17        HAL Veendam         however, no end cap was provided by the vendor. Local port authorities were advised by the ship's agent and an accidental
                                                       discharge entry was made in the ship's Log Book and ORB. The EO planned to work with the Chief Engineer to ensure the fueling
                                                       team did not accept hoses without end caps to prevent a spill from residual fuel in the hose either before or after the scheduled
                                                       transfer.
                                                       During a review of the ORB, it was noted that an EO did not sign an entry, although the completed page was countersigned by the         Oil Record Book
  CAM-00261        11/11/17        Costa Atlantica
                                                       Chief Engineer, the EO, and the Captain. Preventative training was immediately planned.                                                 Recordkeeping
                                                       While alongside in Benoa, Indonesia, a shell door was opened to check the operation of the tender chemical platform. A small
                                                       amount (less than five milliliters) of biodegradable hydraulic oil dripped into the water, in violation of MARPOL Annex I. A very
                                                       small sheen was observed but dissipated quickly and was unrecoverable. It was assessed that during maintenance on the hydraulic
  CAM-00226        11/12/17       HAL Amsterdam        hoses some oil spilled into the gutter of the recess and, due to the restrictive location and design of the arrangements, the oil was
                                                       not seen and thus not cleaned up at the time. The other shell doors were not checked as the cylinder exchange was only performed
                                                       on the affected door. The ship planned to cover recesses and surrounding areas to ensure that if any oil spilled during future
                                                       maintenance actions, it would be captured and easily cleaned up, preventing any spills into the water.




                                                                                             Page 38 of 94
                                   Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 134 of
CONFIDENTIAL                                        Appendix E: ECP Year One 205
                                                                             Incidents Tracked by the CAM                                                                                                    June 21, 2018

 Reference No.   Date of Event    Brand/Vessel                                                               Event Description                                                                CAM Incident Category
                                                      After cleaning the starboard aft sea chest filter, the lockout / tagout procedures were not properly followed to bring the system
                                                      back online and one drain valve was accidently left open. A total of 110 tons of water accumulated in the bilge over a 12 hour
                                                      period through the poor execution of watch standing procedures, as well as not properly investigating a high level bilge alarm. The
                                                      bilge water was transferred to a double bottom bilge water tank and processed through the ship's OWS prior to being discharged
  CAM-00227        11/12/17      PCL Ruby Princess    overboard. An entry was made in the ORB detailing the origin of the bilge water. The flood water affected the ship's stability due
                                                      to the free-surface effect although the ship continued to surpass all intact stability requirements, including the weather criterion.
                                                      The engineer officer in charge of overseeing the cleaning was responsible for ensuring the valves were in the correct position. The
                                                      water ingress was caused by only one open valve. Cleaning of the sea chest filter is a weekly task performed by the technical team.
                                                      The ship planned to develop a checklist to cover the procedure.
                                                      During a routine check, two ECS adhesive seals were discovered to be detached from the sensor connections of the EGCS wash-
                                                      water overboard pipeline. The seals were found on the floor below their respective vulnerable points. The vulnerable points
                                                      remained covered by other seals. An initial investigation presumed that the seals detached due to the high temperature or humidity
  CAM-00228        11/13/17          AIDAdiva         present on site. At the time of the report, the ship was still assessing how to replace adhesive seals with plastic ones on this      Seals or Locks
                                                      particularly challenging vulnerable point where no welding is possible. A shore side working group tasked with aligning and
                                                      simplifying the Vulnerability Assessment and ECS planned to consider this issue and assess whether this is a point that needs to be
                                                      controlled at all.
                                                      252 kilograms of non-ODS R407A refrigerant gas leaked from the thread of the shut-off valve on the liquid line of a provision
  CAM-00229        11/13/17      Carnival Freedom                                                                                                                                          Refrigerants
                                                      system. The leak was due to corrosion and vibration. The valve was replaced and the system was put back in service.

                                                      While the ship was in Guadeloupe, France, a discharge pump for the crew pool was placed in manual mode to remove between
                                                      five and ten liters of rainwater which had accumulated and had not drained. The crew member involved did not inform the ECR or
                                                      the Bridge of their intention to use the pump. All relevant parties were notified. The pump in question was a permanently installed
                                                      automatic pump controlled by the Bridge which was taken into manual control locally in order to remove the rainwater from the
  CAM-00232        11/13/17         P&O Azura         pool in preparation for cleaning/painting. It was identified that there was no ship-specific written control procedure for the local Voyage Planning
                                                      operation of the pump and it was not padlocked. The ship planned to implement a new control procedure with the pump padlocked
                                                      in the automatic position, not compromising emergency Bridge control. The ship planned to incorporated the switch into the
                                                      onboard environmental vulnerability list and controlled via padlock. This padlock would require authorization to operate
                                                      manually. Training was planned pump operation control procedures and new padlock arrangements.
                                                      While en route to Princess Cays, Bahamas, the ship passed within 12 nautical miles of Turks and Caicos. As a result of the engine
                                                      room watch stander not reviewing the Environmental Schedule, as well as a miscommunication between the Bridge and engine
                                                      room watch standers, 8.2 cubic meters of grey water and treated sewage were discharged over a 12-minute period. The mistake
                                                      was recognized by the oncoming engineering watch stander. The resulting discharge was in violation of local regulation and
                                                      Company policy. The voyage plan had been reviewed and briefed and an Environmental Schedule prepared by the EO in
                                                                                                                                                                                        Voyage Planning
  CAM-00233        11/13/17      PCL Royal Princess   conjunction with the First Officer. The Environmental Schedule indicated that all overboard discharges were to be closed from
                                                                                                                                                                                        Training
                                                      12:30LT on the day of the incident. The ship was ahead of schedule but the Bridge adapted to this and gave the ECR proper
                                                      notification. The engineering officer misunderstood the directions from the Bridge and opened the overboard discharges
                                                      inappropriately. The engineering officer in question completed the Environmental Assessment at Almere and completed the
                                                      required onboard environmental training before the incident. He had not sailed in the area before and did not understand the
                                                      restrictions around the Turks and Caicos Islands.




                                                                                           Page 39 of 94
                                  Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 135 of
CONFIDENTIAL                                       Appendix E: ECP Year One 205
                                                                            Incidents Tracked by the CAM                                                                                                  June 21, 2018

 Reference No.   Date of Event    Brand/Vessel                                                              Event Description                                                              CAM Incident Category
                                                     While alongside, a fuel oil feeder pump seized and caused a gasket to fail producing a fuel spray. Crew in the area activated the
                                                     high pressure water mist system locally, closed the fire screen door, and alerted the ECR. DASPOS detectors alarmed.
  CAM-00234        11/14/17      Carnival Breeze     Approximately 80 liters of fuel was expelled before the pump was shut down. A standby pump was manually started, which
                                                     avoided a Diesel Generator (DG) shut down and subsequent blackout. The failed pump was installed in July 2017. It was opened
                                                     and found destroyed. Pumps of the same type were inspected for similar issues. The manufacturer assisted with an investigation.
                                                     While alongside in Piraeus, Greece, a plastic sliding entrance door fell from a lifeboat into the seam in violation of MARPOL
  CAM-00235        11/14/17      Costa Luminosa      Annex V after the sliding guide stopper broke. The door could not be recovered and the Port Authority was notified. The door was Lifeboat/Tender
                                                     replaced prior to departure and the lifeboat was available for use.
                                                     A new OWS was installed while the ship was in drydock. Due to the timing in ordering spares, they were not initially available
                                                     when the installation was completed. Critical spares are being expedited to the ship. A spare OCM was delivered on November 19, OWS/Whitebox
  CAM-00236        11/14/17      HAL Rotterdam
                                                     2017 and the ship now has two spares. This spares issue was rectified and all future new installations will have the needed spares OCM
                                                     immediately. There was no impact to the ship processing bilge water.
                                                     During a routine inspection, the Environmental Technician (ET) noted cooking oil in the main galley pulper. The following day,
                                                     the pulper system tank was inspected by the ET and EO and cooking oil residues were found. An investigation concluded that
                                                     approximately a quarter of a gallon of water contaminated with cooking oil had been collected following cleaning of the galley
  CAM-00245        11/14/17      Carnival Liberty    grills and poured into the pulper by a new crew member. The oil-contaminated food waste had subsequently been discharged, in        Training
                                                     violation of MARPOL Annex I and MARPOL Annex V. The ship's Flag Administration was notified. The crew member had
                                                     received training covering proper handling, segregation and disposal of all galley-related waste streams. In addition, the galley
                                                     supervisor had reviewed these requirements with him. All relevant crew members were given refresher training as a result.
                                                     While the ship was at anchor in Penneshaw, Australia, a number of passengers had their headwear blown into the sea due to the
  CAM-00237        11/15/17       HAL Maasdam        strong winds. In addition, a crew member's plastic helmet without a fitted chinstrap was also blown into the water and not
                                                     recovered, in violation of MARPOL Annex V. An entry was made in the GRB and the local agent was informed.
                                                     During an inspection of record books, the Ballast Water Record Books could not be located. Company policy requires records to
                                                     be maintained on board the ship for a minimum period of two years after the last entry has been made. The inspection was part of a
  CAM-00239        11/17/17      Carnival Freedom                                                                                                                                       Recordkeeping
                                                     fleet-wide review. All relevant historical records are now required to be stored in a secure location with accountable control and
                                                     access.
                                                     While alongside in Cozumel, Mexico, approximately 500 liters of grey water were unintentionally discharged from a multi-use
                                                     grey/ballast tank air vent. An investigation found that both the sounding method and the sensor reading were inaccurate. The
                                                     sensor was last calibrated in 2012 and the sounding pipe was last used two days earlier. The overboard discharge was in violation
  CAM-00240        11/18/17      Carnival Paradise   of local regulations and Company policy. Reports were made to the local authorities. The manual sounding pipe was found            Voyage Planning
                                                     blocked and it was suspected that the level sensors were out of calibration. The tank was placed out of service until further
                                                     calibration checks could be done. The sounding pipe was unblocked. At the time of the report, further investigation was in
                                                     progress to determine if any other procedural issues existed and appropriate crew follow-up.
                                                     While underway, with three Diesel Generators (DG) online, a significant cooling water leak was detected on a heat exchanger in
                                                     the port cooling system. The heat exchanger was isolated and the affected DG was temporarily cooled via an evaporator in order
  CAM-00248        11/18/17        P&O Oceana        to maintain required speed. The affected DG was subsequently taken offline and the full port cooling system was isolated. Two
                                                     plate gaskets in the heat exchanger were found damaged and were replaced, restoring full propulsion. The ship's itinerary was not
                                                     impacted.




                                                                                          Page 40 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 136 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                           June 21, 2018

 Reference No.   Date of Event      Brand/Vessel                                                                  Event Description                                                                    CAM Incident Category
                                                         While at anchor off Catalina Island, California, a crewmember accidentally lost a handheld very high frequency (VHF) radio
                                                         overboard, in violation of MARPOL Annex V, while stationed on the tender platform. The radio slipped out of the crewmembers
                                                         hand while he was taking it off his belt. An entry was made in the GRB and the local agent was advised. The radio was not fitted
  CAM-00249        11/18/17      PCL Emerald Princess
                                                         with a retaining strap. To prevent recurrence, the Marine Department would be looking into alternative means to secure the radio
                                                         while facilitating safe operations, instead of just having the radio clipped to the belt and possibly losing the radio when taking it
                                                         off to use it. Possible alternatives include using a microphone on a lanyard along with a securing holster for the radio on the belt.
                                                         468 kilograms of non-ODS R407C refrigerant gas leaked from an air conditioning system. The leak was the result of a broken
  CAM-00241        11/19/17        Carnival Victory                                                                                                                                                 Refrigerants
                                                         solenoid valve. The solenoid valve was replaced and the system was put back in service.
                                                         During a lifeboat launching exercise while in Cartagena, Spain, oil was observed coming from the engine of the starboard rescue
                                                         boat. An oil sheen was observed on the surface of the water, in violation of MARPOL Annex I. The quantity of spilled oil was
                                                         estimated to be less than 0.5 liters and the rescue boat was recovered to prevent further discharge. The ship's emergency oil spill
                                                         response was activated and an oil boom was deployed to retain the sheen prior to a full clean-up. The ship's agent was made aware
  CAM-00250        11/19/17          P&O Ventura         and instructed to advise the appropriate local authorities. Poor combustion when starting the engine, together with some residual          Lifeboat/Tender
                                                         oil in the bilge well, was believed to have contributed to the incident. The second rescue boat was inspected but not found to have
                                                         similar issues. To prevent recurrence, the ship planned to ensure that the bilge is dry before launching the rescue boats and
                                                         continue regularly inspecting the engines. The ship planned to have oil booms available for immediate deployment during the next
                                                         testing of the starboard rescue boat.
                                                         While checking the critical valves and seals, it was noted that an ECS seal was missing from a flange. After an investigation and
                                                         questioning all concerned engine team members, the seal was not found. It was concluded that no unauthorized transfer was
  CAM-00300        11/19/17         Carnival Valor                                                                                                                                                  Seals or Locks
                                                         conducted as a second seal still remained intact on the flange. A new seal of the same type was installed and the Seal Log was
                                                         updated.
                                                         During a routine abandon ship drill while alongside in Cartagena, Columbia, part of the training life raft container shell fell into
                                                         the water, in violation of MARPOL Annex V. The shell had been secured as required but the metal fastener holding the line to the
  CAM-00252        11/21/17         HAL Zuiderdam                                                                                                                                                   Lifeboat/Tender
                                                         shell parted/failed during inflation, allowing the shell to fall into the water. The crew attempted to recover the shell but were
                                                         unable to reach it before it sank. The local agent was informed and an entry was made in the GRB.
                                                         While approaching Nawiliwili, Hawaii, a drain blockage resulted in the accidental spill of recreational water from a hot tub onto
                                                         the deck and into the scuppers. Approximately one cubic meter of water with a bromine content of 5.4 ppm was discharged
                                                         overboard inside three nautical miles of land, in violation of EPA and VGP requirements. The hot tub was taken out of service and
  CAM-00262        11/21/17        PCL Star Princess     the remaining water content was discharged when the ship was outside 12 nautical miles from land. The blockage was found to
                                                         have been caused by paint flakes from the tub lining breaking free and flowing into the drain and accumulating. The incident was
                                                         reported to the EPA and the Hawaii Department of Health. A corrective action report was sent to the authorities and the ship
                                                         planned to include the event in its annual VGP report.
                                                         Following completion of waste offload operations, palleted waste containers were being loaded onto a truck. A 200 liter drum
                                                         containing galley grease trap waste fell off a pallet and onto the pier where it split open. Approximately five liters of grease spilled
                                                         onto the pier with some waste entering the water. Booms were deployed onto the pier by the vendor to prevent any further liquid
                                                         from running into the water. Absorbent material was used to soak up the waste liquid from the water. The drum had been secured
  CAM-00263        11/22/17      Cunard Queen Victoria
                                                         to the pallet as per standard procedure with cling film and there were no issues with the pallet or previous pallets being offloaded,
                                                         as all the precautionary measures had been exercised. The ship's agent was on the pier at the time and the vendors took full
                                                         responsibility for causing the incident. The incident was a violation of MARPOL Annex V and the port agent was instructed to
                                                         inform the relevant authorities.




                                                                                               Page 41 of 94
                                  Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 137 of
CONFIDENTIAL                                       Appendix E: ECP Year One 205
                                                                            Incidents Tracked by the CAM                                                                                                        June 21, 2018

 Reference No.   Date of Event   Brand/Vessel                                                               Event Description                                                                    CAM Incident Category
                                                    While en route to Singapore, the ship lost 12 pieces of plywood deck covering which had been stored on the bow area in
                                                    preparation for container loading the next morning during the upcoming drydock. During the evening, the ship experienced a
                                                    passing squall with a wind speed of 40 knots, causing the 24-square foot plywood panels to be blown overboard, in violation of
                                                    MARPOL Annex V. At the time of the incident the ship was approximately 39 nautical miles from the Malaysian coast. An entry
  CAM-00253        11/23/17      HAL Volendam                                                                                                                                                 Voyage Planning
                                                    was made in the GRB and the ship's Flag Administration was notified. Due to human error, the panels were laid down too soon
                                                    without being properly secured. The Marine Department planned to work with the Technical department to ensure proper
                                                    coordination occurs while preparing for a drydock and that materials like this are either secured on deck to prevent going
                                                    overboard or are not laid out until needed.
                                                    285 kilograms of non-ODS R134A refrigerant gas leaked from an air conditioning compressor due to a failed O-ring. The O-ring
  CAM-00254        11/24/17      Carnival Dream                                                                                                                                               Refrigerants
                                                    was replaced and the system was put back in service.
                                                    359 kilograms of non-ODS R407c refrigerant gas leaked from a provision system due to loose pipe fittings. The system was
  CAM-00255        11/24/17      Carnival Magic                                                                                                                                               Refrigerants
                                                    repaired and put back in service.
                                                    While underway, a single-walled fuel inlet hose failed and leaked between 200 and 300 liters of fuel into the bilges. The engineer
                                                    of the watch acted immediately by activating the high pressure water mist system, closing the quick closing valves, and requesting
  CAM-00256        11/24/17      Carnival Spirit    the Bridge to reduce speed. The hose was replaced with a spare. The failure appeared to be in the material of the conventional
                                                    hose. The ship planned to install double-walled hoses in early 2018 and to re-pipe sections of the fuel system to have straight
                                                    length hoses to avoid any further similar failures on these engines. It was recorded as a partial loss of propulsion.

                                                    While alongside in Corinto, Nicaragua, an environmental near-miss occurred when between 300 and 500 liters of MGO spilled in
                                                    the aft purifier room. At the time of the incident, ship's power was being supplied by a single Diesel Generator (DG) located in the
                                                    aft engine room. The forward engine room had no DGs running as the fixed high pressure water mist system was isolated due to
                                                    ongoing hot work in the area. Later in the day, low pressure alarms were activated in the aft fuel system. Simultaneously, the high
                                                    pressure water mist and the hydrocarbon detector system activated in the aft purifier room indicating that a fuel leak had occurred.
  CAM-00264        11/25/17      HAL Oosterdam
                                                    A DG in the forward engine room was put online so that the running DG could be shut down and relieve the pressure on the aft
                                                    fuel system. The fixed high pressure water mist system automatically started at the start of the incident and then stopped. It was
                                                    later activated again to lower the temperature of the room. It was determined that the outlet valve on a fuel filter located in the aft
                                                    separator room was left open during routine maintenance, due to incorrect/improper lockout / tagout of the equipment. At the time
                                                    of the report, investigations were ongoing and actions were being taken to prevent recurrence. It was recorded as a fuel leak.
                                                    A fuel leak was detected on a Diesel Generator (DG) via the clean and dirty fuel leakage alarms. A crew member identified the
                                                    source of the leak as a small drip on a fuel pump high pressure pipe. The fixed suppression system was not activated due to the
  CAM-00265        11/25/17        P&O Azura
                                                    small drips presenting a minimum of risk. The DG was shut down and the fuel supply was isolated. Approximately 0.5 liters of
                                                    fuel leaked into the hotbox. The affected fuel pipe was repaired.
                                                    While discharging grey water after departing from Nassau, Bahamas, the engineer of the watch noticed that the quantity of treated
                                                    sewage in another tank was also falling. Approximately 15 to 20 cubic meters of treated sewage was discharged inside the
                                                    Bahamas Archipelagic Baselines, in violation of MARPOL Annex IV and Company requirements. The Port Authority of Nassau
  CAM-00258        11/26/17      Carnival Victory   and the ship's Flag Administration were notified. An investigation identified a failed valve in the double bottom which the
                                                    automation system indicated was closed but was actually partially open. When the ship started pumping grey water, the partially
                                                    open black water valve allowed both grey and black water to be discharged. The ship planned to develop a comprehensive
                                                    corrective plan. The location of the valve does not allow easy or effective manual verification for each operation.




                                                                                          Page 42 of 94
                                   Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 138 of
CONFIDENTIAL                                        Appendix E: ECP Year One 205
                                                                             Incidents Tracked by the CAM                                                                                                       June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                              Event Description                                                                CAM Incident Category
                                                      While alongside in Puerto Quetzal, Guatemala, an oily sheen was observed in the water underneath the gangway. An investigation
                                                      identified that a small amount (less than 20 milligrams) of biodegradable hydraulic oil had dripped into the water, in violation of
                                                      MARPOL Annex I, from the scupper located on the starboard side tender platform. The spill of oil was due to an internal leak
  CAM-00259        11/26/17       HAL Oosterdam                                                                                                                                             Lifeboat/Tender
                                                      which was stopped and isolated. The oil was unrecoverable and dissipated. The local port facilities authorities were notified by the
                                                      ship’s agent. The other tender platforms were checked and no leaks were noted. All fittings on the affected platform were replaced
                                                      and tightened to prevent recurrence.
                                                      The GRB in use on the Bridge was found to be missing the Captain's signature on a single page. The shore side environmental
  CAM-00267        11/27/17       Carnival Freedom    department was notified. The cause of the incident was an oversight by crew. To prevent recurrence, the ship planned to check         Recordkeeping
                                                      signatures on a voyage basis.
                                                      While alongside in Mahogany Bay, Isla Roatan, a utility barge was rented to facilitate painting of the ship's hull. During the
                                                      painting operation some drops of paint spilled into the water. Tarpaulins were not being used and the wind conditions made it
                                                      difficult to keep the barge in position. A Mahogany Bay Cruise Centre Supervisor identified the spill and informed the ship. The
  CAM-00268        11/27/17       Carnival Paradise
                                                      incident was in violation of MARPOL Annex I. A meeting was conducted with deck personnel to prevent recurrence. The ship had
                                                      not followed established fleet protocols for painting operations. It was stressed to report any future paint spills. Port Authorities
                                                      were notified and an entry was made in the ORB. A shore side investigation was initiated.
                                                      While underway, the officer of the watch ("OOW") informed the ECR to close the black water overboard valves but failed to
                                                      request the grey water overboard valves also be closed as per local restrictions. This was despite the local environmental
                                                      restrictions being reviewed and discussed during the voyage overview meeting. The environmental schedule was available in the
                                                      voyage plan portfolio, however the OOW did not consult the environmental schedule and the engineer of the watch failed to cross-
                                                      check the instruction with the environmental schedule. The ship discharged 8.8 cubic meters of grey water within 12 nautical miles
  CAM-00269        11/27/17      Carnival Sensation                                                                                                                                         Voyage Planning
                                                      of Turks and Caicos, in violation of local and Company requirements. An investigation was undertaken. The incident root causes
                                                      were reviewed and the corrective actions to be taken with immediate effect were discussed. A conference call was scheduled with
                                                      all EOs to discuss lessons learned. Additionally, a new environmental schedule format detailing relevant information was sent fleet-
                                                      wide and shore side environmental managers planned to increase engagement with assigned ship's environmental schedule on a
                                                      voyage basis.
                                                      The ship used MARPOL-approved chemicals to wash the open decks and balconies within 12 nautical miles of the Bahamas, in
                                                      violation of Company requirements. At the time of the event, the ship was sailing through the old Bahamas channel, outside four
  CAM-00270        11/27/17        Carnival Vista                                                                                                                                             Voyage Planning
                                                      nautical miles from nearest land, but inside 12 nautical miles. The incident occurred due to a misinterpretation of territorial waters.
                                                      Approximately five liters of chemicals entered the water. Entries were made in the GRB.
                                                      The ship had a suspected external non-biodegradable oil leak from a stern thruster, in violation of MARPOL Annex I. An internal
                                                      leak started several months ago and, until the end of October 2017, the quantities of oil used to top up the thruster system matched
                                                      the amounts removed from the bilge. The amount was estimated using general purpose cups to scoop the oil out of the bilge.
                                                      Between November 2 and November 27, 2017, the system was refilled with 30 liters of oil while the volume removed from the
  CAM-00273        11/27/17       HAL Prinsendam      bilge was approximately six liters. The external leak was estimated to be one liter a day. The leak was not initially considered
                                                      reportable and was overlooked. Reporting requirements were reinforced. The stern thruster could not be inspected while in the
                                                      Amazon due to the river visibility/turbidity. An underwater inspection was scheduled to be performed when diving conditions
                                                      allowed on December 15, 2017. Local authorities were informed by the EO. The ship planned to not use the stern thruster unless
                                                      required in an emergency and tugs would be obtained as needed.
                                                      The ship could not monitor the exhaust smoke density on one Diesel Generator (DG). The cause was a part failure, as well as a
  CAM-00274        11/27/17      PCL Grand Princess   subsequent missing spare part. The part was ordered and was scheduled to be delivered onboard on December 8, 2017. The
                                                      monitor was properly maintained and the filters regularly replaced.



                                                                                           Page 43 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 139 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                    June 21, 2018

 Reference No.   Date of Event      Brand/Vessel                                                                Event Description                                                              CAM Incident Category
                                                          During a lifeboat drill while in Costa Maya, Mexico, an oily sheen was noticed on the surface of the water. The oil was found to be
                                                          coming from a lifeboat. The ship's crew initiated a response by lowering the rescue boat and cleaning up the sheen. The incident
  CAM-00275        11/29/17         Carnival Fantasy      was a violation of MARPOL Annex I, an entry was made in the ORB, and the ship's agent confirmed that the port authorities were Lifeboat/Tender
                                                          notified. At the time of the report, the incident was still under investigation and a full investigation report was anticipated by the
                                                          end of the week.
                                                          During a review of the Vulnerability Assessment, an environmental near-miss was identified when a pipe that was part of the clean
                                                          bilge system was found without orange markings on the welds. There is no ECP requirement for this line to be painted orange but
                                                          painting of the welds is good practice to assist in correct identification. The Chief Engineer and Staff Chief Engineer were not
  CAM-00276        11/29/17        Carnival Splendor      aware that the pipe had been replaced. At the time of the report, investigations were in progress to identify where the breakdown in
                                                          records took place. The ship planned to interview all previous engineering staff to check if they are aware of anything related to
                                                          the pipe replacement. Initial perceptions indicated that the previous Engineer Officer did not verify that the welds were in place
                                                          during weekly checks. The ship planned to discuss lessons learned.
                                                          While the ship was alongside in Fort-de-France, Martinique, the ECR received an instruction to fill a ballast tank with 150 cubic
                                                          meters of sea water. The engineer of the watch (EOOW) ballasted the tank with approximately 300 cubic meters of water and then
                                                                                                                                                                                             Voyage Planning
  CAM-00277        11/29/17      Cunard Queen Victoria    began de-ballasting to correct the error. The officer of the watch observed the de-ballasting operation and instructed the EOOW to
                                                                                                                                                                                             Training
                                                          stop because de-ballasting was prohibited by the port authority. Approximately 40 cubic meters of water was discharged in the
                                                          port, in violation of local requirements only. At the time of the report, an investigation was in progress.
                                                          While alongside in Fort Lauderdale, Florida, 77 cubic meters of ballast water were inadvertently discharged overboard in violation
                                                          of the U.S. Coast Guard (USCG) regulations on ballast water management because it had been treated with a UV intensity below
  CAM-00284        11/30/17      PCL Caribbean Princess   the 70% minimum threshold. The incident was reported to the USCG and the EPA. The manufacturer assisted with the installation
                                                          of audible alarms to ensure operators are aware if certain parameters are out of compliance. The respective crew members were
                                                          retrained on the use of the ballast water treatment system.
                                                          While checking the critical valves, it was noted that two ECS seals were missing. After an investigation and questioning all
                                                          concerned engine team members, the seals were not found and it was concluded that they could have been unintentionally
  CAM-00279         12/1/17        Carnival Freedom                                                                                                                                          Seals or Locks
                                                          damaged by a team member on duty while working and cleaning the bilge spaces. A new seal of the same type was installed. A
                                                          more robust seal was ordered.
                                                          During an inspection of environmental records the following entries were found missing: in the ORB, 17 MGO bunkering
                                                          operations not made since July 9, 2017; several pages not signed by the Chief Engineer (CE); monthly operational test footnote
                                                          not signed by CE or EO (EO); and no entry made for using a portable pump during a sludge transfer. In the GRB, several entries
                                                          not made; signatures missing; several ECS seals missing and not reported. It is believed that personnel were not aware of the Flag
                                                          Administration requirement to record bunkering of MGO. Involved personnel were not fully aware of the requirement to record
                                                          the monthly operational test. The missing sludge transfer entry was due to an oversight of the recording requirements.
                                                                                                                                                                                             Seals or Locks
                                                          Requirements were not followed or enforced and entries were not properly reviewed. The CE was not informed that seals were
  CAM-00280         12/2/17          Carnival Pride                                                                                                                                          Oil Record Book
                                                          missing and engine personnel were not aware of corporate reporting requirements. Compliance Management System (CMS)
                                                                                                                                                                                             Recordkeeping
                                                          notices were sent earlier to check relevant records; closed by the ship confirming compliance; however, it is evident that the
                                                          checks were not performed diligently and the EO failed to exercise meticulous checks. As a part of the investigation, the CE,
                                                          Captain and EO were interviewed as to what checks were done before the compliance notices were closed. A formal investigation
                                                          by shore side environmental operations was initiated to identify the root cause. To prevent recurrence, the actions taken include
                                                          increasing Environmental Manager ship visits, travelling EO ship visits, sharing lessons learned during monthly EO conference
                                                          calls and reviewing current ORB and GRB training materials to evaluate their effectiveness.



                                                                                               Page 44 of 94
                                   Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 140 of
CONFIDENTIAL                                        Appendix E: ECP Year One 205
                                                                             Incidents Tracked by the CAM                                                                                                        June 21, 2018

 Reference No.   Date of Event    Brand/Vessel                                                                Event Description                                                                    CAM Incident Category
                                                      The overboard bilge discharge status monitor in the ECR is not functioning, in violation of Company requirements. The Chief
                                                      Engineer and EO could review the data through their computers; however, the ship was holding all bilge water on board and did
  CAM-00281         12/2/17      Carnival Sensation
                                                      not conduct any overboard discharge until the system is repaired. A technician attended the ship on December 4, 2017 and the
                                                      system was put back in service.
                                                      326 kilograms of non-ODS R407c refrigerant gas leaked from a provision system from a number of locations. All leaks were
  CAM-00426         12/2/17      Carnival Splendor                                                                                                                                              Refrigerants
                                                      repaired and the system was put back in service.
                                                      While reviewing the Seal Log, a number of discrepancies were noted. Further investigation identified a total of five seals were
                                                      missing from fittings and a number of fittings controlled by seals that were not recorded in the Log. It is believed that the issue was   Seals or Locks
  CAM-00285         12/3/17      Carnival Paradise    caused by a lack of awareness by crew members together with a lack of oversight. All missing seals were replaced with seals of the        Recordkeeping
                                                      same type and training with all concerned technical team was conducted. Environmental manager ship visits were used to reinforce          Training
                                                      the importance of ECS compliance. All involved EOs were expected to be counseled.
                                                      During a routine check, a seal was noted missing on the emergency bilge suction. The suspected cause is that it was accidentally
                                                      broken during painting operations by engine personnel not aware of Company requirements. The missing seal was replaced with a
  CAM-00286         12/3/17        Carnival Pride     seal of the same type and the incident report included in the log to account for the missing seal. The incident appeared to be a          Seals or Locks
                                                      breakdown in effective communication. The ship planned to retrain all crew will by the Chief Engineer (CE) and Staff CE
                                                      regarding the correct actions following discovery of a broken seal.
                                                      While the ship was underway, an intoxicated crew member threw four lifejackets and a lifebuoy over the side of the ship, before
                                                      making an attempt to jump overboard. The crewmember was brought to the onboard medical center where he was held under
                                                      medical and security supervision until the ship's arrival in Miami on December 5th. A report regarding the discarded lifebuoy and
  CAM-00287         12/3/17      Seabourn Odyssey
                                                      life jackets was made to the U.S. Coast Guard in Miami and the Bahamian Coast Guard, as well as to the ship's Flag
                                                      Administration. The items discarded overboard and not recovered constitute a MARPOL Annex V violation and a corresponding
                                                      entry was made in the GRB.
                                                      [02/16/2018 letter from ABS to company] In accordance with the Environmental Compliance Plan (ECP), Section VIII.C.4, Major
                                                      Non-Conformities were noted onboard the Sea Princess during an audit from December 3-8, 2018. These findings are listed as
                                                      follows:
                                                      1. As the auditor walked around the vessel during the first day of the audit, on deck 7 starboard side (lifeboat deck) the crew was
                                                      performing a fresh water wash down of the deck. The auditor noticed a sheen on top of the pooling water on deck. Auditor
                                                      questioned the crewmember about the sheen and the reply was that the sheen was most likely from grease or oil from the life boats
                                                      but continued to wash the deck allowing the water to flow into the deck drains and into the water while in port. The staff captain
  CAM-00551         12/3/17      PCL Sea Princess
                                                      was notified of the incident.
                                                      2. During the audit, in the garbage handling room on deck 4, the auditor found 4 paper cups of used motor oil in a plastic trash can
                                                      for paper and plastic waste. The paper cups filled with oil was from the result of weekly oil samples being taken from the engines
                                                      on main generators. The Third Engineer improperly disposed of the oil after taking the samples.
                                                      3. It was also noted in the garbage handling room that the food waste containers had other items such as plastic straws, corn on the
                                                      cob plastic holders, wooden stir stick, and other miscellaneous items mixed in the food waste ready to be discharged down the
                                                      chute and then overboard while at sea.




                                                                                            Page 45 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 141 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                  June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                              Event Description                                                                 CAM Incident Category
                                                       While alongside in Fukuoka, Japan, the reference number on an ECS seal fitted to a vulnerable point valve was found to not match
                                                       the corresponding entry in the Seal Log. There was no record in the Seal Log indicating why the original seal was replaced or who
                                                       replaced it. The original seal was also not found during the check of the used seals kept in the Chief Engineer's office. It is   Seals or Locks
  CAM-00288         12/4/17        Costa Atlantica
                                                       assumed the original seal was broken and replaced without being reported correctly. The area around the affected valve was        Recordkeeping
                                                       inspected. No oily residues were visible, there were no signs of tampering, and no anomalies on the related tank quantities were
                                                       noted. The last inventory was completed in September and,, at the time of the report, an investigation was ongoing.
                                                       While outside the North American ECA and burning HFO with the EGCS systems off, a loss of power to the aft switchboard
                                                       caused a partial blackout, shutting down the EGCS compliance computer. The computer was restarted when the loss of power to
  CAM-00292         12/6/17      Cunard Queen Mary 2   the computer was highlighted by the EGCS Engineer. The incident resulted in no compliance data being recorded for over three          EGCS
                                                       hours and constituted an environmental near-miss. To prevent recurrence, a dedicated uninterruptible power supply for the EGCS
                                                       compliance computer was ordered and tracked in the business risk register.
                                                       Fuel was found leaking within three rocker boxes of a Diesel Generator (DG), resulting in the contamination of lubricating oil. An
  CAM-00293         12/6/17      Cunard Queen Mary 2   investigation found three leaking injector seals which were subsequently changed. The manufacturer pressure tested the system
                                                       and renewed the lubricating oil. The affected DG was returned to service with no further issues.
                                                       While underway, the sludge pump on an OWS failed. Processing of bilge water was not impacted due to the availability of an
  CAM-00295         12/7/17          P&O Azura         alternate OWS. The failed pump internals were found to be in a dirty condition, causing intermittent operation of the pump. The       OWS/Whitebox
                                                       pump was disassembled, cleaned, and put back in service with no subsequent issues and was fully operational.
                                                       Following a major repair in February 2017, a Diesel Generator (DG) oil sump was leaking into the bilge due to the sump tray not
                                                       being completely sealed with the engine frame. The temporary repairs carried out by the manufacturer and shipboard team were
  CAM-00296         12/8/17         Carnival Pride
                                                       ineffective. The manufacturer was scheduled to visit the ship before the end of the month to clean and fully repair the mating
                                                       surfaces of the affected seam. The DG was held in standby but was fully operational for emergency use.
                                                       Following completion of an overboard treated bilge discharge operation, the engineer of the watch failed to notice that the
                                                       overboard discharge valve was not closed by the Third Engineer. The error was identified during the change of watch. A review of
                                                       the BCDB data recorder confirmed that the BCDB valve remained closed. The ship was confirmed as being outside 12 nautical
                                                                                                                                                                                             OWS/Whitebox
  CAM-00301         12/8/17        Carnival Fantasy    miles during the entire time the overboard discharge valve was open. The EO was notified and the environmental near-miss was
                                                                                                                                                                                             OCM
                                                       reported to the Captain and shore side management. The Chief Engineer reiterated the importance of ensuring that the overboard
                                                       discharge valve is closed after completion of all overboard discharge operations. A new overboard valve alarm was scheduled for
                                                       January 2018.
                                                       While the ship was departing Key West, Florida, a crewmember lost a plastic safety helmet into the water from the starboard
  CAM-00297         12/9/17         HAL Eurodam        forward mooring deck platform. The helmet, which was not fitted with a chin strap, was not recovered. The incident, which was a
                                                       violation of MARPOL Annex V, was reported to the Port Agent and an entry was made in the GRB.
                                                       While the ship was at anchor in Lahaina, Hawaii, a passenger accidentally lost his walking stick overboard. The stick fell between
  CAM-00298         12/9/17        HAL Oosterdam       the tender and the tender platform when the passenger was disembarking from the tender to the ship. The violation of MARPOL
                                                       Annex V was recorded in the GRB and the local agent was advised.
                                                       While underway, a leak in a ballast line caused approximately 0.4 cubic meters of grey water to enter the bilge. In a separate
                                                       incident, approximately 0.2 cubic meters of processed food waste spilled onto the deck plates in the incinerator room due to a food
  CAM-00299         12/9/17         HAL Veendam
                                                       water tank pipe rupture. Both spills were contained and cleaned up and the leaks in the pipes were repaired. The grey water and
                                                       food waste were stored in steel drums for subsequent offload ashore. Corresponding entries were made in the GRB.




                                                                                            Page 46 of 94
                                  Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 142 of
CONFIDENTIAL                                       Appendix E: ECP Year One 205
                                                                            Incidents Tracked by the CAM                                                                                                  June 21, 2018

 Reference No.   Date of Event   Brand/Vessel                                                             Event Description                                                               CAM Incident Category
                                                    Two pressure transmitters on the ship's ballast water treatment system (BWTS) are currently not operational. The need to have the
                                                    pressure differential within a certain range is a U.S. Coast Guard requirement within U.S. waters. The IMO ballast water treatment
  CAM-00304         12/9/17      PCL Sea Princess   performance standard does not include a requirement for continuous monitoring of the pressure differential. The ship was outside
                                                    U.S. waters and was not scheduled to return until April 2018. The necessary spare parts were ordered. UV dosing was not affected
                                                    and the BWTS still treated processed ballast water.
                                                    An attempt to tamper with the BCDB needle valve through the cage was identified by the Chief Engineer and EO. The incident
                                                    was communicated to various shore side stakeholders including the OLCM, CCM, CAM, and DOJ. The event was investigated by
                                                                                                                                                                                 OCM
  CAM-00283        12/10/17         AIDAvita        onboard personnel and a responsible person identified through CCTV footage. An external legal consultant acting on behalf of
                                                                                                                                                                                 OWS/Whitebox
                                                    Carnival Corporation and representatives of the CAM and TPA joined the ship to conduct interviews with all involved. No
                                                    evidence that an overboard discharge occurred was found. At the time of the report, the matter was under investigation.
                                                    While underway, a flexible hydraulic oil hose supplying the port controllable pitch propeller ruptured, spilling 1300 liters of oil
                                                    into the bilges. The spilled oil was transferred to the sludge tanks. The port propulsion shaft was taken out of service for three
  CAM-00305        12/10/17        P&O Oriana       hours while repairs were completed. The ship's speed was reduced during this time. The hose was replaced by the ship's crew and
                                                    the port shaft was put back in service restoring the ship's required speed. There was no impact on the ship's itinerary. It was
                                                    recorded as a partial loss of propulsion.
                                                    While alongside in Nassau, Bahamas, deck personnel were noted using rags sprayed with "Metal Brite" chemical to clean the
                                                    ship's hull, in violation of Company requirements. The deck personnel incorrectly believed their actions were permitted as the
                                                    chemical was sprayed onto the rags and not directly onto the hull. No deck washing was undertaken and it was not believed any
  CAM-00306        12/11/17       Carnival Glory    chemical entered the water. The ship received written approval for fresh water cleaning from the Nassau Port Authority. As the
                                                    cleaning activity was in violation of the written approval, local authorities were notified of the incident via the Port Agent. The
                                                    chemical used has internal applications and, at the time of the report, the ship was awaiting results of a full review before making
                                                    changes to the inventory of solvents and cleaners.
                                                    Five cubic meters of pool water was discharged inside 12 nautical miles of the Bahamas Archipelagic Baseline in violation of
                                                    brand-specific requirements to limit all discharges outside 12 nautical miles from baselines. The pool was filled with sea water at
                                                    the time. As per the environmental schedule of the ship, the plan was to discharge the water outside 12 nautical miles from the
  CAM-00315        12/12/17      Carnival Ecstasy
                                                    nearest land. The discharge was caused by a broken spindle on an automatic butterfly valve. There had been no indication of the
                                                    spindle failure prior to the incident. The manual overboard valve was closed to prevent further release. As the incident did not
                                                    violate any external regulations, authorities were not notified. The automatic butterfly valve was replaced.
                                                    Two ECS seals were broken in order to action the authorized use of two portable pumps during routine drills. However, the broken
  CAM-00308        12/13/17      Carnival Fantasy   seals were misplaced and not found during a subsequent search for them. The portable pump log and list was updated                   Seals or Locks
                                                    appropriately.
                                                    After being advised that two ECS seals on a sludge tank needed to be removed, the EO noted that the serial numbers were different
                                                    from the last recorded numbers in the Seal Log. The EO was then informed that the sludge tank had been opened on December 9
                                                    and December 11, 2017. The engine officer who removed the seals advised that he surrendered the seals to the engineer officer of
                                                    the watch to allow the Seal Log to be updated. The two missing seals removed on December 11, 2017 were subsequently found
                                                                                                                                                                                         Seals or Locks
  CAM-00309        12/13/17       Costa Atlantica   with a corresponding note. The seals removed on December 9, 2017 were not found. The area around the sludge tank was
                                                                                                                                                                                         Recordkeeping
                                                    inspected. No evidence of tampering was found and there were no anomalies regarding bilge and sludge quantities. The affected
                                                    tank was secured and fitted with a new seal. A meeting was held with the Captain, EO, and all engine officers to reinforce the seal
                                                    management and control procedure. An investigation by the Environmental Department to identify the dynamics behind the
                                                    incorrect ECS seal management was ongoing at the time of the report.




                                                                                         Page 47 of 94
                                  Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 143 of
CONFIDENTIAL                                       Appendix E: ECP Year One 205
                                                                            Incidents Tracked by the CAM                                                                                                  June 21, 2018

 Reference No.   Date of Event    Brand/Vessel                                                            Event Description                                                               CAM Incident Category
                                                    During the loading of luggage while alongside in New Orleans, Louisiana, four passenger bags fell into the Mississippi River. Two
                                                    of the bags were recovered. An inquiry with the embarkation staff revealed that during the loading process, the uncontrolled
  CAM-00310        12/14/17      Carnival Triumph
                                                    actions of the stevedore forklift operator caused the bags to fall. The local Coast Guard, National Response Corporation, and local
                                                    port authority were informed of the violation of MARPOL Annex V.
                                                    375 kilograms of non-ODS R134a refrigerant gas leaked from an air conditioning system due to a loose filter connection. The
  CAM-00001        12/14/17       Carnival Vista                                                                                                                                        Refrigerants
                                                    system was repaired and put back in service.
                                                    Due to a suspected discrepancy, the EO conducted a review of disposal records for used cooking oil. It was found that between
                                                    September 20 and December 2, 2017, approximately 500 liters of cooking oil were unaccounted for when compared to the historic
                                                    daily average of waste cooking oil produced. The issue was brought to the attention of shore side management and an investigation
                                                    was initiated. The Provisions Room grease trap was opened for inspection and found to have captured over 100 liters of cooking
                                                    oil. A galley drain tank was inspected and a thick film of cooking oil was noted on the surface of the liquid in the tank. An
                                                    investigation identified clerical errors in the log books that also contributed to the error in the estimated volume of oil disposed.
                                                                                                                                                                                          Training
  CAM-00316        12/14/17      HAL Zuiderdam      The contaminated tanks were taken out of service for cleaning. Galley staff were retrained on the correct procedures for disposal of
                                                                                                                                                                                          Recordkeeping
                                                    used cooking oil and informed of the importance of correct record keeping. The ship's Classification Society and Flag
                                                    Administration were notified of the potential discharge of up to 500 liters of cooking oil in violation of MARPOL Annex V. An
                                                    entry was made in the GRB. The incident was caused by complacency and a lack of supervision resulting from failures at several
                                                    levels. The new EO implemented a tool to elevate visibility on oil disposal to encourage proper reporting. Additionally, extensive
                                                    training was conducted on board. The implementation of this new tool was recommended fleet-wide. Details of the incident and
                                                    the need to be attentive and follow correct procedures was sent to the Hotel Teams on all ships in the fleet.
                                                    During post-drydock sea trials, approximately 104 cubic meters of mixed black water (treated sewage) and grey water were
                                                    discharged over a 30-minute period within 12 nautical miles of the U.K., in violation of Company requirements. During the recent
                                                    refit, a blank between a grey water tank and a black water tank was removed to facilitate inspection. On completion of the refit, the
                                                    blank was not replaced, allowing the contents of the two tanks to mix. It was not recognized that the tanks remained connected and
  CAM-00317        12/14/17        P&O Oceana       contained mixed waste streams because there was nothing entered in the ECR log regarding the change of tank use. This                 Recordkeeping
                                                    information appears to have been lost during the handover of successive watches in a busy period of post-refit sea trials. The ship
                                                    intended to replace the blank and return the two tanks to dedicated separate black and grey water use. At the time of the report,
                                                    root cause determination and corrective action plans were being developed and expected to be communicated to the Chief
                                                    Maritime Officer by January 3, 2018.
                                                    During tendering operations while at anchor in Akaroa, New Zealand, the officer on watch spotted a black oily sheen in the water
                                                    coming from the starboard engine of a tender. The tender was taken out of service and recovered on board. The Port Authorities
                                                    were informed of the violation of MARPOL Annex I via the agent and it was confirmed that no further action was required as
  CAM-00318        12/14/17      PCL Sun Princess   long as the tender remained out of service. An external contractor attended to inspect the starboard engine of the affected tender Lifeboat/Tender
                                                    and found that worn piston rings had allowed lubrication oil to pass into the cylinder, causing increased smoke and soot in the
                                                    combustion process. The ship’s staff overhauled the pistons and piston rings and the engine was scheduled to be tested on
                                                    December 29, 2018. The tender remained available and no further reporting to external authorities was required.
                                                    While approximately 60 nautical miles from the Australian Coast, ship security was notified that several pieces of furniture had
                                                    been thrown overboard from the open decks, in violation of MARPOL Annex V. Three plastic tables, five metal tables and 13
  CAM-00319        12/15/17      Carnival Legend    cushions/pillows were found to be missing. All remaining items were secured and an extra guard was placed on watch. The ship's
                                                    agent was advised to notify the Sydney Port Authority. The ship's Flag Administration was also notified of the incident. An
                                                    investigation was unable to identify the passenger that threw the furniture overboard.



                                                                                         Page 48 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 144 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                        June 21, 2018

 Reference No.   Date of Event       Brand/Vessel                                                                Event Description                                                                CAM Incident Category
                                                          A significant hydraulic oil leak was identified on the davit of a tender. An inspection found a section of the hydraulic line had been
                                                          cross threaded and could no longer be fully tightened. This resulted in a significant leak whenever the davit was moved. A
  CAM-00320        12/15/17      Cunard Queen Elizabeth                                                                                                                                          Lifeboat/Tender
                                                          temporary repair was made and the ship's Flag Administration granted permission to sail. No hydraulic oil was lost overboard and
                                                          the tender remained available as a Life-Saving Applicable (LSA).
                                                          While cleaning the bilges in an engine room, a rating noted a leak from a main lubricating oil pipe in the bilge. The leak was
                                                          reported to the ECR and identified to be associated with a Diesel Generator (DG) which was running at the time. A standby DG
                                                          was started and the affected DG was stopped. The spilled oil was removed and an investigation found a cracked pipe weld which
  CAM-00321        12/15/17          P&O Ventura
                                                          was subsequently repaired. Measurements of the sump showed around 200 liters of oil had leaked into the bilge. The DASPOS
                                                          hydrocarbon detection system did not activate as the leak was initially contained within insulation which channeled the oil directly
                                                          into the bilge. It was reported as a fuel leak.
                                                          While the ship was at anchor in Kaikoura, New Zealand, a plastic bucket and sponge were accidentally dropped overboard from a
                                                          suite by the steward. The Bridge was advised of the incident but it was not possible to recover the items. The Port Authorities were
  CAM-00322        12/15/17         Seabourn Encore       notified of the MARPOL Annex V violation by the port agent and it was confirmed that no further action was required. An entry
                                                          was made in the GRB. The Housekeeping Department held a meeting to prevent recurrence where all stewards were advised not to
                                                          place buckets on the railings while they are washing the balconies.
                                                          Following completion of sludge transfer ashore, it was noted that the engine automation IMACS system indicated over 17 cubic
                                                          meters of sludge remained in a sludge tank. A manual sounding confirmed that the actual quantity of sludge in the tank was
                                                          significantly less. The pressure sensor used to indicate the volume of sludge in the affected tank was removed, purged, and
  CAM-00337        12/16/17            AIDAluna
                                                          reinstalled. The IAMCS volume reading dropped to 0.4 cubic meters, matching the manual sounding value. An entry was made in
                                                          to the ORB to justify the previous difference of the soundings. Prior to the incident, the affected sensor was last serviced in April
                                                          2017.
                                                          372 kilograms of non-ODS R134a refrigerant gas leaked from an air conditioning system. Failed components were replaced and
  CAM-00338        12/16/17            AIDAluna                                                                                                                                                  Refrigerants
                                                          the system was put back in service.
                                                          Upon conducting the weekly back-up of CCTV footage covering the exhaust stack, BCDB and OWS equipment, the EO identified
                                                          that there were no recordings between December 16 and December 22, 2017. The cause of the missing footage is under
                                                          investigation. The CCTV manufacturer was contacted to provide remote support to prevent recurrence. The environmental data
  CAM-00339        12/16/17          HAL Maasdam
                                                          recorders were reviewed and no indication of improper discharge during the period that the CCTV recording function
                                                          malfunctioned was identified. At the time of the report, the investigation was ongoing to determine whether the issue relates to the
                                                          downloading or the recording of the data.
                                                          While underway, the starboard podded propulsion motor (PEM) tripped, resulting in the ship's speed being reduced. A ruptured
                                                          high pressure hydraulic oil pipe was discovered in the pod room. Approximately 400 liters of oil had spilled to bilge. The ruptured
                                                          pipe caused the starboard steering system's hydraulic oil pressure to drop, followed by a loss of steering control on the starboard
  CAM-00312        12/17/17         Carnival Elation
                                                          side, which in turn caused the starboard podded PEM to trip. The pipe was repaired onboard and was reinstalled approximately 3
                                                          hours and 20 minutes after the initial incident occurred. The starboard podded PEM was then put back in service. The ship's
                                                          itinerary was not impacted. It was recorded as a partial loss of propulsion.




                                                                                               Page 49 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 145 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                            June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                              Event Description                                                            CAM Incident Category
                                                       While the ship was alongside in the Port of Miami, a small volume (few drops) of oil-based paint spilled into the water, in
                                                       violation of MARPOL Annex I. The paint dissipated and could not be recovered. A bucket being used on a cherry-picker platform
                                                       had not been properly secured and was overturned. The canvas tarpaulin placed under the cherry picker platform was not sufficient
                                                       to contain all the paint, allowing some to fall into the water. Port Authorities, U.S. Coast Guard, and the National Response
                                                       Corporation were notified. The Staff Captain and EO reviewed painting procedures and best management practices with concerned
                                                       deck team members. While there are procedures for painting and side shell maintenance and all deck department ratings undergo
  CAM-00323        12/17/17         Carnival Vista                                                                                                                                         Training
                                                       on the job training covering all their tasks, the procedures were not followed by the crew. The current procedures also do not
                                                       mandate that an officer verifies compliance. The ship planned to share lessons learned from this incident across the fleet,
                                                       reinforcing the Staff Captain’s duty to ensure that procedures and oversight are maintained during such maintenance. The
                                                       associated procedures were expected to be revised January 5, 2018 to ensure that the proper focus on training for these precautions
                                                       was in place and to mandate that an officer designated by the Staff Captain review the precautions/preparations before
                                                       commencing work.
                                                       While underway and 630 nautical miles from land, approximately four cubic meters of untreated sewage were discharged
                                                       overboard, in violation of Company wastewater management requirements. The discharge was identified following a review of the
                                                       Sewage and Greywater Log by the EO. The black water EVAC tank had backed up due to a loss of air supply to the sewage screen
                                                       press. The failed screen press and the Membrane Bioreactor (MBR) system were bypassed in order to fix the issue. With no tank
  CAM-00340        12/18/17      Cunard Queen Mary 2   available to divert flow to/from the EVAC tank in case of malfunction, the overboard discharge occurred. The MBR system was         Training
                                                       not on the planned maintenance system and was waiting processing by the AMOS team. The engineer officer of the watch
                                                       (EOOW) actioned the bypass without raising an Exception Request (ER) in order to investigate/repair the issue. There was no
                                                       alarm in the ECR. Further clarification on untreated sewage discharge requirements and the need to raise ERs for this type of
                                                       situation was conducted with all EOOWs.
                                                       While garbage was being processed, a hydraulic hose on the garbage compactor ruptured. The compactor was stopped and the
  CAM-00325        12/19/17        Carnival Fantasy    drains in the garbage room were covered to prevent any oil entering the drain. An initial investigation indicated the hose ruptured
                                                       due to high pressure caused by excess oil in the system. The compactor was repaired and put back in service.
                                                       A newly commissioned OWS, installed during drydock in October 2017, had an issue with a faulty valve. Once the valve was
                                                       replaced, the OWS was put back in operation. The OWS has the capacity to address the bilge water processing needs. The spares
  CAM-00326        12/19/17        HAL Rotterdam       for both new OWS systems were on order and the order was expedited with the manufacturer. The parts were expected in several OWS/Whitebox
                                                       batches, between mid-January 2018 to March 2018. The manufacturer was aware of the issue with the valve, but was not required
                                                       as a Company Project Engineer attended the ship and was able to resolve the issue.
                                                       While discharging grey water at sea, it was noted that the grey water pump ejector was blocked, resulting in a loss of vacuum in
                                                       the grey water line. The discharge was stopped, the blockage on the pump ejector was cleared and the grey water pump was put
  CAM-00342        12/20/17        Costa Luminosa
                                                       back in service. At the time of the report, the cause of the blockage was being confirmed. A new grey water pump was scheduled
                                                       to be installed in a new grey water line, providing two grey water pumps and therefore redundancy on the system.




                                                                                            Page 50 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 146 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                       June 21, 2018

 Reference No.   Date of Event       Brand/Vessel                                                                 Event Description                                                                   CAM Incident Category
                                                          The Bridge gave 30 minutes notice to the ECR for closing all discharges and turning off the incinerator. The ECR confirmed to the
                                                          Bridge that all discharges were closed and the incinerator was off, ready for entering inside 12 nautical miles off the Portuguese
                                                          coast. The time, position, and permitted discharges (in this case none) were confirmed by email from the Bridge to the ECR. 28
                                                          minutes later the ECR called the Bridge to check whether the ship had crossed the 12 nautical mile line as, contrary to the earlier
  CAM-00343        12/20/17      Cunard Queen Elizabeth                                                                                                                                         Voyage Planning
                                                          report, the incinerator was still running. The ECR then confirmed to the Bridge that the incinerator was off and the ship crossed
                                                          the 12 nautical mile line 13 minutes later. The incident occurred due to a communication break down between the ECR and the
                                                          incinerator operator. While the statutory requirement is for incinerators to be stopped one hour prior to arrival in Lisbon, the ship
                                                          had taken the decision to stop all discharges and the incinerator prior to entering within 12 nautical miles from the coast.
                                                          During the ship's arrival into Falmouth, Jamaica, a crewmember dropped his plastic safety helmet into the water from the port
                                                          forward mooring deck platform and it was not able to be recovered resulting, in a violation of MARPOL Annex V. The helmet
  CAM-00344        12/20/17          HAL Eurodam          was not fitted with a chin strap and was lost as a result of a strong wind gust. The incident was reported to the Port Agent and an       Training
                                                          entry was made in the garbage record book. The ship planned to replace helmets as they became unserviceable with models fitted
                                                          with integrated chin straps.
                                                          While at anchor in Cabo San Lucas, Mexico an apparent violation of the ECP occurred concerning the handling of oily water,
                                                          however, the ship believed there was not an improper discharge. A wiper was observed by the staff chief engineer using a bucket
                                                          to empty the contents of a 55 gallon drum into a sink that typically drains into a drain tank and ultimately into a grey water tank for
  CAM-00314        12/22/17         HAL Amsterdam         overboard discharge. The crew member was stopped from continuing, but approximately three buckets of this oily water was
                                                          poured down the drain. The drum contained oil contaminated water that had been used to clean parts during an engine overhaul. It
                                                          seemed that the wiper was acting on his own initiative and believed his conduct was appropriate. The relevant tanks were isolated
                                                          and were not discharging at the time of the event. No discharge of this oily water occurred.

                                                          While the ship was at anchor in Cabo San Lucas, Mexico, a crew member poured approximately 30 liters of water contaminated
                                                          with soot, hydrocarbons, and rust into a hand wash sink connected with the grey water system. The related grey water tank was
  CAM-00327        12/22/17         HAL Amsterdam         isolated and the contents discharged ashore. No discharge of the contaminated water occurred. The affected tanks were
                                                          subsequently decontaminated. The crew member involved in the incident was relieved of his duties, but remains on board. Internal
                                                          and external counsel were notified. An investigation was initiated into the environmental near-miss.
                                                          During tender operations while at anchor in Cabo San Lucas, Mexico, a hydraulic hose coupling came loose on a tender platform.
                                                          A few drops of biodegradable hydraulic oil spilled into the water in violation of MARPOL Annex I and were not recovered. The
  CAM-00345        12/22/17         HAL Amsterdam         coupling was tightened and the dripping stopped. Port Authorities were informed and an entry was made in the ORB. An oil       Lifeboat/Tender
                                                          absorbent pad was placed under the coupling as an additional safeguard. All other tender platforms were checked and no leaks
                                                          were found.
                                                          During the annual COWS operational test, the alarm activated when the oil content exceeded 15 ppm, however the OCM indicated
                                                          zero ppm throughout test. No processed bilge has been discharged overboard via the COWS since July 2017. It has been used
                                                                                                                                                                                         OCM
  CAM-00346        12/23/17      Cunard Queen Elizabeth   routinely for recirculating the bilge retention tanks prior to discharge overboard using the static OWS. The OWS systems are
                                                                                                                                                                                         OWS/Whitebox
                                                          tested monthly with no deficiencies were reported on the COWS after the previous test on November 8, 2017. All critical spares
                                                          were onboard. The OCM on the COWS was replaced and tested and the OWS was returned to service on December 26, 2017.




                                                                                                Page 51 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 147 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                       June 21, 2018

 Reference No.   Date of Event      Brand/Vessel                                                               Event Description                                                                 CAM Incident Category
                                                        During a crew drill while alongside in Fort Lauderdale, Florida, a black strap from a life raft shell fell overboard. The strap broke
                                                        free from the shell when its connector failed during the inflation of the life raft. An entry was made in the GRB and the Deck Log
  CAM-00347        12/23/17      PCL Pacific Princess   Book. Port Authorities were informed of the MARPOL Annex V violation via the Port Agent and it was confirmed that no further Lifeboat/Tender
                                                        action was required. Other life rafts on the ship do not have similar connectors as the affected life raft was a training device and the
                                                        connector was to facilitate collection, deflation, and return of the device to the manufacturer.
                                                        During provision loading while alongside in Baltimore, Maryland, a number of boxes of cream were accidentally punctured by a
                                                        shore side forklift operator resulting in approximately 12 liters of cream spilling into the sea. The cream could not be recovered.
  CAM-00328        12/24/17         Carnival Pride      The forklift operator had mistakenly pushed the forks into the pallet instead of underneath. The Port Authority and National
                                                        Response Corporation were informed. While no food containers entered the water, the ship planned to confirm with the stevedore
                                                        supervisor that filed a report of the incident with the correct authorities.
                                                        Following completion of a bilge discharge operation, the engineer officer of the watch noted that the three-way valve was showing
                                                        as open in the ECR data recorder while physically closed in the BCDB. The EO was informed and the manual bilge overboard
                                                        discharge valves were closed. The BCDB was opened by the Chief Engineer and EO and the three-way valve indicator switch was
  CAM-00348        12/24/17         Carnival Valor                                                                                                                                             OWS/Whitebox
                                                        found corroded. The switch was cleaned and lubricated before being reinstalled and tested. The switch was then found to operate
                                                        normally and with the valve position correctly indicated in the ECR. The BCDB was locked by Chief Engineer and EO and a
                                                        corresponding entry was made in the ORB.
                                                        An inspection identified that the automatic delivery valve on the emergency fire/bilge pump discharge side had continuously
                                                        leaked while in a closed position, allowing a total volume of 46 cubic meters of sea water to enter the oily bilge tank. The valve
                                                        was disassembled and the sealing rubber ring was found broken allowing the valve to leak in the closed position. The valve was
                                                        repaired and appears to have been an isolated issue. Prior to identifying the issue, the bilge water was treated and processed
                                                        overboard via the OWS. After the issue was identified, all bilge water was offloaded ashore. The line in question has a non-return
  CAM-00349        12/24/17         Carnival Valor      valve, as well as the automatic valve. It also has a constant sea water head pressure between the sea and the oily bilge water tank.   Training
                                                        There was no other valve that should have been closed as that would compromise the damage control function of the line. The
                                                        combination of the non-return valve, head pressure and the automatic valve was sufficient to prevent oily water from releasing into
                                                        the sea. At the time of the report, the investigation was expected to conclude that the EO and the watch standers should have
                                                        detected the anomaly in the normal tank level pattern. A meeting was held with the Engine crew to reinforce the importance of
                                                        attention to detail.
                                                        While maneuvering at Amalia Glacier, Chile, a passenger dropped an umbrella into the water from the promenade deck, which
  CAM-00351        12/24/17      PCL Emerald Princess   could not be recovered. An entry was made in the Garbage Record Book. The port authority was notified of the MARPOL Annex
                                                        V violation via the ship's agent.
                                                        While the ship was at anchor in Punta Arenas, Chile, a waterproof canvas lifeboat-hook cover was blown overboard by strong
                                                        wind and could not be retrieved.. An entry was made in the Garbage Record Book and the local agent was informed of the                 Lifeboat/Tender
  CAM-00352        12/25/17      PCL Emerald Princess
                                                        violation of MARPOL Annex V. All similar covers were checked for secure fitment and the need to properly secure covers and             Training
                                                        other items on deck was reiterated to the deck hands.
                                                        A double bottom fuel tank was noted to have leaked approximately three liters of diesel into the bilge due to corroded material.
  CAM-00329        12/26/17         Carnival Pride      The leak was temporarily sealed with cement. A Classification Society surveyor was scheduled to inspect the tank on January 7,
                                                        2018, and plans are being made for a permanent repair.
                                                        While the ship was alongside in Grand Turk, Turk and Caicos Islands, a passenger's hat was blown into the water and could not be
  CAM-00331        12/26/17         HAL Eurodam
                                                        recovered. The local agent was notified of the MARPOL Annex V violation and an entry was made in the garbage record book.




                                                                                             Page 52 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 148 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                    June 21, 2018

 Reference No.   Date of Event      Brand/Vessel                                                              Event Description                                                                CAM Incident Category
                                                        Approximately three cubic meters of recreational water from the water park tank was discharged inside 12 nautical miles from
                                                        nearest land in violation of brand-specific requirements. The discharge is believed to have been caused by a failure of the software
  CAM-00353        12/26/17         Carnival Dream
                                                        that automatically controls the discharge valve. The manual overboard valve was closed to prevent further release. No external
                                                        authorities were notified.
                                                        Both of the ship's OWSs were taken out of service on the same day. The OCM on one OWS was showing an error message and the
                                                        glass of the cell was cracked. The second OWS had no flow through the flow switch causing the system to alarm. A manufacturer's
                                                                                                                                                                                             OWS/Whitebox
  CAM-00332        12/27/17        Carnival Victory     technician completed repairs on December 28, 2017, and both OWS systems were returned to service. The ship had a requisition
                                                                                                                                                                                             OCM
                                                        in place for spares pending delivery and there were no spares on board at the time. Shore side management is following up to
                                                        expedite delivery of spare OCMs.
                                                        During maneuvering in the entrance to the Mississippi River, the ship listed to approximately 3.5 degrees and caused five cubic
                                                        meters of recreational water to overflow from a pool and drain overboard. The pool water had a residual chlorine level of 2.6 ppm
  CAM-00355        12/27/17        Carnival Triumph
                                                        and the spill was therefore a violation of Vessel General Permit requirements. The incident was reported to the local Coast Guard
                                                        office and the National Response Coordination Center. The company is evaluating whether to lower the pool water levels.
                                                        While the ship was alongside in Picton, New Zealand, the sight glass of a tender winch broke, causing a hydraulic oil spill of
                                                        approximately 50 liters on deck and an estimated five liters into the harbor in violation of MARPOL Annex I. No visible sheen
  CAM-00356        12/27/17      PCL Diamond Princess                                                                                                                                        Lifeboat/Tender
                                                        was sighted on the water so no attempt at cleanup was made. Authorities were notified via the local agent and an entry was made
                                                        in the Oil Record Book. The incident was under investigation.
                                                        While alongside in Bridgetown, Barbados, a metal garbage bin cover was blown into the water by strong winds experienced in the
  CAM-00357        12/27/17        Seabourn Odyssey     port. The EO notified the local port agent and port authorities of the MARPOL Annex V violation and an entry was made in the
                                                        Garbage Record Book.
                                                        Two ECP seals installed on a fuel oil overflow tank hatch were noted missing that could have been accidently broken. A
                                                        replacement seal of the same type was installed and the Seal Log was updated. The ship was replacing all hatch seals with iron
  CAM-00333        12/28/17         Carnival Glory      bars and locks. Additionally, when alongside in Baltimore, MD, a number of boxes of cream were accidentally punctured by a           Seals or Locks
                                                        shore side forklift operator resulting in approximately 12 liters of cream spilling into the sea. The Port Authority and National
                                                        Response Corporation were informed.
                                                        While the ship was underway approximately 19 nautical miles from the Australian coast, two passengers threw a balcony chair and
                                                        coffee table overboard. The Australian Maritime National Co-ordination Centre and the ship's Flag Administration were informed
  CAM-00358        12/28/17        Carnival Legend
                                                        of the violation of MARPOL Annex V. The event was determined to not meet the requirements to include a corresponding entry in
                                                        the Garbage Record Book.
                                                        While the ship was underway, the EO was informed that the static OWS was not functioning properly and was out of service for
                                                        maintenance due to inability to operate the three way valve. The static OWS was put back in operation after a modification was
  CAM-00359        12/28/17        PCL Star Princess                                                                                                                                         OWS/Whitebox
                                                        made. The ship's vessel’s centrifugal OWS was used to process the bilge during the period the static OWS was not in operation.
                                                        There were sufficient critical spare parts on board. An entry was made in the ORB.
                                                        While alongside in Bridgetown, Barbados, a offloading hose split and approximately half a litre of unprocessed bilge water spilled
  CAM-00334        12/29/17      Cunard Queen Mary 2    into the bunker station. The operation was stopped and the hose disconnected. All water was contained and none spilled               Training
                                                        overboard. The local vendor was requested to hold valid hose certificates in the future.
                                                        Following the ship's last discharge of bilge water ashore in Lisbon, Portugal on December 26, 2017, the pre-separation tank was
                                                        emptied, cleaned and refilled with clean bilge water. But there was no discharge to the BCDB when the bilge separator was set to
                                                                                                                                                                                             OWS/Whitebox
  CAM-00335        12/29/17          P&O Oceana         overboard, so the ship had no functioning bilge treatment system to discharge overboard. The issue was resolved and the ship was
                                                                                                                                                                                             OCM
                                                        able to discharge overboard at three cubic meters per hour. Shore side management expedited the commissioning of the aft
                                                        separator, which caused the problem, with the manufacturer.



                                                                                             Page 53 of 94
                                   Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 149 of
CONFIDENTIAL                                        Appendix E: ECP Year One 205
                                                                             Incidents Tracked by the CAM                                                                                                   June 21, 2018

 Reference No.   Date of Event    Brand/Vessel                                                             Event Description                                                                 CAM Incident Category
                                                     During a weekly check, three ECS seals were noted to be missing in the forward purifier room. Training was given to engine
                                                                                                                                                                                          Seals or Locks
  CAM-00360        12/29/17      Carnival Breeze     personnel to remind them that all broken seals must be submitted to the Chief Engineer. The Seal log was updated and the ship
                                                                                                                                                                                          Training
                                                     requested delivery of a more robust type of seal.
                                                     During a round in the machinery space, nine ECS seals were noted missing. The Seal Log was log updated and the Chief Engineer Seals or Locks
  CAM-00361        12/29/17      Carnival Liberty
                                                     reviewed ECS requirements with all engine team members. The ship requested delivery of a more robust type of seal.            Training
                                                     310 kg of non-ODS R407c refrigerant gas leaked from a refrigeration system due to loose fittings and a failed solenoid valve seal.
  CAM-00362        12/29/17       Carnival Magic                                                                                                                                          Refrigerants
                                                     All fittings were tightened and the valve seal was replaced before putting the system back in service.
                                                     During a watch handover, the incoming EO on watch noticed that the main rule bilge direct overboard remote controlled valve's
                                                     environmental seal was broken. The ship side manual valve was closed and no discharge overboard could have taken place. The
  CAM-00363        12/29/17        P&O Oceana                                                                                                                                             Seals or Locks
                                                     control card believed to cause the problem has been replaced. The manufacturer assisted in the investigation regarding the valve
                                                     opening without manual intervention.
                                                     While underway in international waters, a small aluminum and wood table was thrown overboard by a passenger, a 10 year old
  CAM-00366        12/30/17      PCL Star Princess   boy with learning difficulties, and not recovered. The MARPOL Annex V violation was recorded in the deck log book and in the
                                                     garbage logbook.
                                                     270 kg of non-ODS R404a refrigerant gas leaked from a provision system due to a cracked pressure relief valve. The valve was
  CAM-00367        12/31/17         AIDAvita                                                                                                                                              Refrigerants
                                                     replaced and the system put back in service.
                                                     During a review of ORB entries, it was noted that records for the November operational tests of all oily water separators and oil
                                                     content monitors were missing, the PMS record showed the tests were acknowledged as completed by the 2nd Engine Officer. The         Training
  CAM-00391        12/31/17         AIDAluna         ORB was updated to correctly record the operational tests for the month of December. Preventative training was provided to all       Oil Record Book
                                                     involved crew members by the current Chief Engineer and EO. Including the PMS an alert for the monthly operational tests was         Recordkeeping
                                                     discussed with the system provider.
                                                     Approximately 225 cubic meters of grey water were discharged over a six day period between four and 12 nautical miles of land in
  CAM-00369         1/1/18        Carnival Pride     violation of brand requirements. A meeting was conducted by the Captain on the Bridge with the entire deck team to review all      Voyage Planning
                                                     environmental restrictions, and calls with the entire fleet were conducted to review this incident and reinforce the requirements.
                                                     The oil content monitor (OCM) cell for the clean bilge overboard pump lost communication with the OCM computer. The
  CAM-00370         1/1/18        HAL Volendam       function of the clean bilge overboard pump was not required as all bilge water could be processed via an intermediate bilge tank. OCM
                                                     A replacement was scheduled for delivery on January 16, 2018.
                                                     During the ship's arrival into Grand Turk, Turks and Caicos Islands, a crewmember accidentally dropped his identification card
  CAM-00392         1/3/18        HAL Eurodam        into the water from the forward mooring deck. The port agent was informed of the MARPOL Annex V violation and an entry was
                                                     made in the Garbage Record Book.
                                                     In a letter dated March 1, 2018, ABSG notified the CAM and Interested Parties of a Major Non-Conformity finding on the Star
                                                     Princess during an audit from January 3-8, 2018: The OWS was modified to perform the one hour operational test as required by
                                                     the ECP, but the static OWS would not fully process oily water due to the operating parameters being out of sync. The Chief
  CAM-00762         1/3/18       PCL Star Princess
                                                     Engineer noted the back pressure was higher than the required manufacturer maximum pressure. The Chief Engineer and company
                                                     representative received approval from the OLCM to install a pressure regulator valve which corrected the problem. The company
                                                     recommended the manufacture and their respective classification society approve the modification.




                                                                                          Page 54 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 150 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                      June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                              Event Description                                                                   CAM Incident Category
                                                      Food waste and plastic were found inside a main galley drain pipe, which collects waste from the main galley, lido galley, room
                                                      service, bars and restaurants. The blockage occurred at the grey water screen installed to stop debris from entering the waste water
  CAM-00376         1/4/18         Carnival Magic                                                                                                                                             Training
                                                      tanks. A meeting was held with all Department Heads to reinforce the requirement to properly segregate plastics from food waste
                                                      and waste waters.
                                                      Following a lifeboat drill while alongside in Port of Roatan, Honduras, a lifeboat davit hydraulic pipe spilled a few drops into the
                                                      water in violation of MARPOL Annex I, creating a visible sheen which was dissipated by the current. Operation of the affected
  CAM-00377         1/4/18        Carnival Sunshine                                                                                                                                           Lifeboat/Tender
                                                      davit was immediately stopped and the failed hydraulic hose was replaced. Shore side Environmental Operations and the local Port
                                                      Authority were notified by the EO and an entry was made in the ORB.
                                                      During the ship's arrival into Mahogany Bay, Honduras, a crewmember dropped his plastic safety helmet into the water in
  CAM-00379         1/4/18         HAL Rotterdam      violation of MARPOL Annex V. The incident was reported to the Port Agent and an entry was made in the Garbage Record Book.
                                                      The company decided to replace the helmets with ones fitted with chin straps.
                                                      While underway towards Puerto Limon, Costa Rica, a signal light fell from the radar mast onto the deck below and shattered. An
  CAM-00380         1/4/18        HAL Zuiderdam       estimated one kg of plastic was lost overboard in violation of MARPOL Annex V. An entry was made in the Garbage Record
                                                      Book. No authorities were informed as the incident occurred outside 12 nautical miles.
                                                      While alongside in Kralendijk, Bonaire, the EO noted the manual bilge overboard valve was open and unlocked. No discharge of
  CAM-00382         1/4/18       PCL Crown Princess                                                                                                                                           Training
                                                      bilge water occurred inside 12nm from land.
                                                      In an audit report dated January 12, 2018, ABSG notified the CAM and Interested Parties of several Major Non-Conformities on
                                                      the Amsterdam during an audit from January 4-9, 2018: The black water vacuum manifold piping, in way of treatment tank #3,
                                                      was modified, including a secondary containment box around the vent pipe to treatment tank #3. The vacuum piping was also
  CAM-00763         1/4/18        HAL Amsterdam
                                                      modified by adding a branch line into the containment box to assist in removal any blackwater accumulating in the containment
                                                      box and returning it back to the blackwater tank. Flexible hoses and hose clamps were used in the modification leaving the system
                                                      vulnerable to unauthorized disposal of oily waste.
                                                      258 kg of non-ODS R407c refrigeration gas leaked from a provision system due to a cracked expansion valve. A new expansion
  CAM-00383         1/5/18         Carnival Magic                                                                                                                                             Refrigerants
                                                      valve was installed and the system was put back in service.
                                                      During bunkering while alongside in Freeport, Bahamas, approximately 200 liters of HFO was found to have leaked from the HFO
  CAM-00384         1/5/18         Carnival Pride
                                                      transfer line onto the tank top. No fuel drained into the bilge well . The cause of the leak was found to be the failure of a gasket.

                                                      While the ship was underway, approximately two cubic meters of grey water overflowed into the bilges and was pumped from the
  CAM-00385         1/5/18       PCL Royal Princess   bilges into the dirty bilge tank. The relatively small amount of grey water was within the processing capacity of the oily water Training
                                                      separation system. The engineer involved was reminded to investigate alarms to ensure proper corrective actions are undertaken.
                                                      The actuator on a black water valve has failed due to a faulty solenoid, and there was no spare on board. In normal operations, the
  CAM-00386         1/6/18        Carnival Liberty    valve was open as it is a damage control isolation valve on the bulkhead in case of emergency. There were therefore no immediate
                                                      operational limitations.
                                                      Following repairs to a tender gearbox cooler while the ship was in George Town, Grand Cayman, the repaired tender was being
                                                      tested. Approximately two minutes after the test run was started, an oil sheen was sighted from the Bridge. The tender was
                                                      immediately returned to the blocks and hoisted back on board. The sheen rapidly dissipated due to high winds and no cleanup
  CAM-00387         1/6/18        HAL Amsterdam       actions were possible. An inspection determined that approximately three liters of biodegradable oil was lost overboard. The        Lifeboat/Tender
                                                      internal seals in the new gearbox cooler had failed and the oil was discharged into the sea along with the cooling water of the
                                                      engine. Local authorities and the port agent were informed of the MARPOL Annex I violation and entries were made in the Oil
                                                      Record Book and the Deck Log.




                                                                                            Page 55 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 151 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                         June 21, 2018

 Reference No.   Date of Event      Brand/Vessel                                                                 Event Description                                                                  CAM Incident Category
                                                         While the crew was conducting an operational check for repairs done on tender #9, it released approximately 3 liters of il into the
  CAM-00390         1/6/18         HAL Amsterdam         waters of Georgetown, Grand Cayman. The Amsterdam was anchored in the harbor. Tender was taken out of service. The ship                  Lifeboat/Tender
                                                         made proper notification to authorities. The light sheen rapidly dissipated and no clean up actions were necessary.
                                                         While underway, a passenger reported that he had seen a chair falling into the sea in violation of MARPOL Annex V. Preventative
  CAM-00395         1/6/18            AIDAluna
                                                         actions were taken, including lashing the furniture on these cabin balconies when poor environmental conditions are expected.
                                                         The glass fiber cover of the hatch access to the GPS dome was noted missing, believed to be lost on January 6, 2018. A temporary
  CAM-00396         1/6/18            P&O Azura          hatch was fitted by a carpenter and the ship ordered a replacement hatch. Authorities in Grenada were notified of the violation of
                                                         MARPOL Annex V and an entry was made in the Garbage Record Book.
                                                         During offloading of sludge to a truck while alongside in Barbados, the hose transferring the sludge to the truck split and some
                                                         sludge spilled onto the quayside. An estimated volume of less than one liter of oily water spilled into the water in violation of
  CAM-00397         1/6/18          P&O Britannia
                                                         MARPOL Annex I. The port staff and the ship's clean up operation removed all traces of sheen. The port authorities were notified
                                                         by the port agent and an entry was made in the ORB.
                                                         While alongside in Penang, Malaysia, the ship experienced a blackout which resulted approximately 12 cubic meters of fresh
                                                         water from Jacuzzis being discharged overboard. The discharge violated corporate requirements. The local agent has been
  CAM-00398         1/6/18       PCL Sapphire Princess
                                                         informed and an entry was made in the ship's log. The configuration of the Jacuzzi dumping valves has now been changed from a
                                                         'fail open' to a 'fail closed' arrangement. Also recorded as a Full Blackout.
                                                         During the arrival mooring operation in Castries, St Lucia, the forward section of an extendable boat hook fell over the side in
  CAM-00388         1/7/18         HAL Koningsdam        violation of MARPOL Annex V. The ship's agent and local authorities were informed and an entry was made in the Garbage
                                                         Record Book.
                                                         During daily rounds in the engine room, it was noted that a single ECS seal installed on a cross connection valve was broken. An
                                                         investigation identified that the seal was broken while conducting a weekly inspection and test of the bilge pump. No signs of
                                                                                                                                                                                          Seals or Locks
  CAM-00399         1/7/18            AIDAluna           tampering and no anomalies on the tank quantities were noted. Preventative training has been arranged by the Chief Engineer and
                                                                                                                                                                                          Training
                                                         EO with all personnel involved. While investigating the incident, it was also noted that the valve had been opened for testing
                                                         reasons and a second seal was broken. Two new seals were immediately installed and the corresponding log was updated.
                                                         During ballast water discharge operations while alongside in Baltimore, MD, approximately three cubic meters of sea water
                                                         contaminated with grey water were discharged overboard in violation of local regulations. The National Response Coordination
                                                                                                                                                                                                  Voyage Planning
  CAM-00400         1/7/18          Carnival Pride       Center and U.S. Coast Guard were notified of the violation of VGP and Company requirements. The EOOW was re-trained by the
                                                                                                                                                                                                  Training
                                                         Chief Engineer and a notice was issued to instruct ships to flush all ballast water lines related to black/grey discharge lines before
                                                         entering restricted areas.
                                                         The recently installed ballast water treatment system was out of order due to a computer system failure. The manufacturer assisted
  CAM-00401         1/7/18          Costa Deliziosa      with replacement of the defective part and the system returned to service. Before repair, the ship avoided discharging ballast water
                                                         in US waters and reported no issues with observing this constraint.
                                                         During a daily round in the engine room, three ECS seals were noted to be missing from the sewage vacuum line of two collecting
                                                                                                                                                                                                  Seals or Locks
  CAM-00402         1/7/18          Costa Luminosa       units. New seals were installed and the corresponding log updated accordingly. A preventive discussion on the best practices was
                                                                                                                                                                                                  Training
                                                         arranged with all the personnel involved.
                                                         During a routine inspection, it was noted that one ECS seal was missing from a main sea water cooler drain valve. A new seal of
  CAM-00403         1/8/18          Carnival Breeze                                                                                                                                               Seals or Locks
                                                         the same type was installed and the Seal Log was updated.
                                                         After the system monitor showed a communication, a failed OCM cell was found in the aft BCDB. This resulted in a brief
  CAM-00404         1/8/18       Cunard Queen Mary 2     reduction in treated oily bilge discharge capacity while the affected BCDB was out of service. The faulty cell was returned to the       OCM
                                                         manufacturer for repair and an entry was made in the ORB.



                                                                                               Page 56 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 152 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                  June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                               Event Description                                                             CAM Incident Category
                                                       Approximately two cubic meters of water had entered the bilge through the emergency direct bilge suction valve for the ballast
  CAM-00405         1/8/18          P&O Ventura        system. The ballast system was isolated and the ingress of water stopped. The suction valve was found to be heavily corroded. The
                                                       valve was overhauled and rebuilt with parts held on board.
                                                       After starting an additional diesel generator ("DG") ready for arrival into Madeira, Portugal, a fuel leak occurred for about five
                                                       minutes from a double-wall fuel return hose gasket. The engine was stopped and isolated. Approximately 500 liters of HFO
  CAM-00406         1/8/18          P&O Ventura
                                                       entered the bilge. All spilled fuel was manually cleaned by the engine crew and transferred to sludge tanks, and a fuel leak was
                                                       recorded. An investigation found the gasket on the fuel hose had failed.
                                                       While checking the integrity of all ECS seals, it was noticed that one of the two seals on a food waste vacuum system were
  CAM-00407         1/9/18        Carnival Freedom                                                                                                                                        Seals or Locks
                                                       missing. The flanges of two food waste vacuum systems were welded to remove the need to use ECS seals.
                                                       During an engine round, it was noticed that a seal was missing from a low temperature cooling water line. The missing seal was     Seals or Locks
  CAM-00408         1/9/18          Carnival Pride
                                                       replaced and the Seal Log was updated.                                                                                             Training
                                                       While alongside in Basseterre, Guadeloupe, a sack containing 0.5 cubic meters of crushed glass was dropped into the water during
                                                       garbage offload operations. The port agent and local authorities were informed of the MARPOL Annex V violation and an entry
  CAM-00411         1/9/18        Seabourn Odyssey
                                                       was made in the Garbage Record Book. The ship determined to put less glass in the bags until cargo nets that are capable of
                                                       handling the weight of full bags are received.
                                                       During a routine check of critical valves and seals, it was noted that one ECS seal was missing from a flange on the crossover
  CAM-00412         1/10/18        Carnival Dream                                                                                                                                        Seals or Locks
                                                       valve of a grey water tank. The missing seal was replaced with a new seal of the same type and the Seal Log was updated.
                                                       While offloading bilge water alongside Southampton, UK, the bilge transfer pumps were unable to gain suction from the clean oily
                                                       bilge tank. This resulted in a reduction in the amount of bilge water which could be offloaded to the reception facility until the
  CAM-00413         1/10/18      Cunard Queen Mary 2
                                                       Captain authorized transfer from clean oily bilge tank to the dirty oil bilge tank using salvage pumps. The Seal Log and ORB were
                                                       updated.
                                                       At the start of a treated bilge water discharge operation through the BCDB, the OCM was noted to be reading a high PPM value
                                                       with cloudy water coming from cell despite the sample valves being closed due to problems with the sample cooler. After a new         OWS/Whitebox
  CAM-00414         1/10/18         P&O Ventura
                                                       cooler was installed, the treated bilge discharge operation was completed without further incident. An entry was made in the ORB. OCM
                                                       The Company considered a planned maintenance amendment to replace the coolers every 12-18 months.
                                                       While en route to Long Beach, CA, a low level lubricating oil alarm activated on the seal tank of a podded propulsion motor
                                                       (PEM) propeller. The manufacturer advised that approximately 15 liters of biodegradable oil likely leaked to sea due to a faulty
                                                       seal. The violation of MARPOL Annex I was reported to the National Response Coordination Center and the U.S. Coast Guard,
  CAM-00428         1/11/18        Carnival Miracle
                                                       and an entry was made in the ORB. The header tank valve to the seal was kept closed while the ship was in port. The company
                                                       decided to have divers inspect the seal for signs of defects, leaks or foreign objects. The replacement of the seal will occur during
                                                       the next dry dock in 2020.
                                                       While the ship was underway in international waters, a crew member's lanyard and identification card were blown overboard. The
  CAM-00435         1/11/18       Carnival Conquest
                                                       MARPOL Annex V violation was not reported to any authorities.
                                                       To mitigate flooding in the bow thruster room and maintain the stability of the ship, ten cubic meters of water from the bilge
                                                       spaces of the bow thruster room was transferred into the nearest black water tank. The leak that caused the flood was stopped and
  CAM-00417         1/12/18        Carnival Fantasy
                                                       repairs were completed the following day while alongside in Mobile, AL. The Pump Log and NAPA log were updated and
                                                       relevant entries were made in the ORB. The black water content was transferred on January 23, 2018.
                                                       While the ship was underway, the BCDB displayed a continuous error message and would not measure any sample water due to a
  CAM-00418         1/12/18       HAL Koningsdam                                                                                                                                  OCM
                                                       malfunctioning measuring cell. The cell was replaced, tested and confirmed to be accurate. An entry was made in the ORB.




                                                                                            Page 57 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 153 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                     June 21, 2018

 Reference No.   Date of Event      Brand/Vessel                                                              Event Description                                                                CAM Incident Category
                                                        During the rigging of the portside tender platform while at anchor in Cabo San Lucas, Mexico, two metal stanchions accidentally
  CAM-00419         1/12/18        HAL Oosterdam        fell into the water and sank. The local ship's agent was advised of the MARPOL Annex V violation and an entry was made in the
                                                        Garbage Record Book.
  CAM-00436         1/12/18        Carnival Ecstasy     Four new and unused ECS seals were found missing and reported.                                                                       Seals or Locks
                                                        While the ship was at the port of Jacksonville, FL, it was determined a discharge had occurred of approximately 20 cubic meters of
                                                        pool water with a residual chlorine level of 3.67 ppm. The violation of VGP and Company requirements was reported to the U.S. Voyage Planning
  CAM-00420         1/13/18        Carnival Elation
                                                        Coast Guard, National Response Coordination Center and the port authority. The automatic overboard valve was removed and              Training
                                                        replaced.
                                                        While en route to Amalia Glacier, Chile, in heavy weather, a glass panel on an open deck shattered, resulting in pieces of glass
                                                        falling into the water. The glass panel was replaced on arrival into Puerto Montt, Chile on January 15, 2018. At the time of the
  CAM-00422         1/13/18      PCL Emerald Princess
                                                        incident the ship was approximately five nautical miles from the nearest land. The local agent was informed of the MARPOL
                                                        Annex V violation and an entry was made in the Garbage Record Book.
                                                        An ECP seal on the open delivery line valve from a grease tank was found missing. A replacement seal of the same type was
  CAM-00429         1/13/18      Carnival Fascination                                                                                                                                         Seals or Locks
                                                        installed and the Seal Log was updated.
                                                        During routine painting operations while the ship was alongside in Napier, New Zealand, a crewmember accidentally dropped
  CAM-00437         1/13/18         HAL Noordam
                                                        drops of oil‐based paint into the water. The estimated quantity lost overboard and recovered was two milliliters.
                                                        While the ship was alongside in Port Canaveral, FL, a hot water pipe in the starboard stabilizer room failed and approximately ten
  CAM-00423         1/14/18        Carnival Liberty     cubic meters of fresh water leaked into the engine room bilges. All leaked fresh water in the bilge was transferred to the oily bilge
                                                        tank and treated as bilge water.
                                                        While the ship was at anchor in San Juan Del Sur, Nicaragua, a passenger's cotton hat was blown into the sea. The violation of
  CAM-00438         1/14/18      PCL Pacific Princess
                                                        MARPOL Annex V was reported to port authorities via the local agent, and an entry was made in the Garbage Record Book.
                                                        While the ship was in dry dock in Shanghai, China, six plastic ECS seals were found loose in the engine room. The seals have not
                                                        yet been replaced. Appropriate logs were updated accordingly. The importance of the ECS seals was discussed in a meeting with        Seals or Locks
  CAM-00430         1/15/18         Costa Atlantica
                                                        crew and contractors, and specific instruction on the protocol to follow in case of seals being broken or found broken was           Training
                                                        provided.
                                                        While the ship was underway in waters off the Canary Islands, Portugal, two sunbeds were blown overboard due to the strong
  CAM-00431         1/16/18           AIDAvita          wind in violation of MARPOL Annex V. Instruction was given to the involved crew to undertake all necessary precautions to
                                                        avoid recurrence. Authorities were not notified and no entry was made in the Garbage Record Book.
                                                        While the ship was en route to Puerto Quetzal, Guatemala, the bottom part of a cabana was blown overboard in violation of
  CAM-00432         1/17/18        Carnival Miracle     MARPOL Annex V. At the time of the incident, the ship was in international waters. The ship's Flag Administration were notified
                                                        but an entry was not required in the Garbage Record Book.
                                                        During an ECS seal inventory, it was noted that a used seal was missing. The Seal Log was updated and preventive training was        Seals or Locks
  CAM-00433         1/18/18           AIDAvita
                                                        arranged with all personnel involved.                                                                                                Training
                                                        While the ship was alongside in Puerto Quetzal, Guatemala, a crew member reported that he had accidentally dropped his
  CAM-00439         1/18/18        Carnival Miracle
                                                        identification card into the sea. The MARPOL Annex V violation was reported to the port authority via the local agent.
                                                        During an audit, the ORB was reviewed and it was noted that incorrect codes had been used to indicate missed operational entries     Training
  CAM-00441         1/19/18        Carnival Ecstasy     for operations related to bilge and sludge operations. The engineers were advised about the correct codes to use for future missed   Oil Record Book
                                                        operational entries.                                                                                                                 Recordkeeping




                                                                                             Page 58 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 154 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                       June 21, 2018

 Reference No.   Date of Event       Brand/Vessel                                                                Event Description                                                                  CAM Incident Category
                                                          Following the completion of a grey water overboard discharge operation, the EOOW failed to ensure that the grey water overboard
  CAM-00442         1/19/18         Carnival Liberty                                                                                                                                      Training
                                                          discharge valve was closed. No non-compliant discharges had occurred. The EOOW was disciplined and a near miss was reported.
                                                          Grey water pipe leaked from a pipe into the bilges in the main engine pump room, and the ship was unable to process this
                                                          contaminated bilge water with the onboard OWS. The ship could not process 59 cubic meters of contaminated bilge water from
  CAM-00443         1/19/18           P&O Oceana          previous leaks. The ship offloaded contaminated bilge water in January and February, and planned to restore full bilge system
                                                          functionality on February 11, 2018. A single tank was used for non-contaminated bilge water and there was no impact on the
                                                          ship's ability to process this bilge water.
                                                          While the ship was underway, sea water was found inside a void space which is normally empty. Approximately seven cubic
  CAM-00444         1/20/18         Carnival Liberty      meters of water were transferred from the void space to the forward engine room bilges leading to an increase in the daily bilge
                                                          load. The cause, a damaged pressure level transmitter, was replaced and an entry for the transfer was recorded in the ORB.
                                                          While underway, the OOW discovered a total of 39 cubic meters of grey water inside ballast tanks which are normally empty. The
  CAM-00445         1/20/18         Carnival Liberty      water was offloaded to a port reception facility the following day. Entries corresponding to the transfer and offload operations
                                                          were made in the Oil Record Book. Permanent repairs were planned.
                                                          During routine rounds, the EO (EO) found the vent lock on the suction strainer lid of a black water collecting tank unlocked and
                                                          the ECS padlock next to the lid. No evidence of unauthorized use was discovered. All technical ratings were briefed on the             Seals or Locks
  CAM-00446         1/20/18      Cunard Queen Elizabeth
                                                          importance of securing all vulnerabilities upon completion of work and the implications of not doing so. The ship required ratings     Training
                                                          to check all padlocks before returning the key.
                                                          The sample flow solenoid valve installed on the forward OWS was found to be leaking, leading to instability in ppm readings. A
  CAM-00447         1/20/18      Cunard Queen Mary 2      new solenoid valve was taken from the second OWS as there were no spares on board and the solenoid had not been identified as a        OWS/Whitebox
                                                          critical spare.
                                                          While the ship was alongside in Oranjestad, Aruba, a passenger's hat fell into the sea due to a gust of wind. The violation of
  CAM-00448         1/20/18         HAL Zuiderdam
                                                          MARPOL Annex V was reported to port authorities via the local agent.
                                                          The oil content monitor (OCM) on a new centrifugal OWS was providing a reading error, due to failure of the sample cooler. The
                                                                                                                                                                                                 OCM
  CAM-00451         1/20/18          P&O Arcadia          OCM measuring cell was replaced for a spare calibrated cell. The manufacturer agreed to supply a replacement cooler to the ship
                                                                                                                                                                                                 OWS/Whitebox
                                                          under guarantee.
                                                          Sealing faces of the closed suction valve on the second bilge double-bottom tank were found to leak, causing the OWS to transfer
  CAM-00452         1/20/18           P&O Aurora          bilge water to the first tank while it was discharging in violation of Company procedure. All recirculation and discharge operations   OWS/Whitebox
                                                          were stopped. The faulty suction valve was repaired immediately and the system returned to service.
                                                          While the ship was en route to Lautoka, Fiji, approximately 25 cubic meters of treated permeate was unintentionally discharged
                                                          overboard when suction was taken from the wrong tank during routine maintenance. At the time of the incident the vessel was
  CAM-00479         1/20/18      PCL Diamond Princess
                                                          outside of four nautical miles of the Fiji coast and therefore not a violation of MARPOL Annex IV. An internal investigation
                                                          determined that it had been intended to discharge grey water.
                                                          A Major Non-Conformity was noted onboard the Ruby Princess during a TPA audit from January 20-24, 2018. It was witnessed
  CAM-00552         1/20/18        PCL Ruby Princess      that other items such as plastic straws, corn on the cob plastic holders, wooden stir stick, steak identifiers, paper and other
                                                          miscellaneous items are mixed in the food waste for discharge down the chute and then overboard while at sea.
                                                          468 kg of non-ODS R407c refrigerant gas leaked from a provision system due to pipe corrosion. The affected pipe was replaced
  CAM-00453         1/21/18         Carnival Ecstasy                                                                                                                                             Refrigerants
                                                          and the system put back into service.
                                                          While alongside in Long Beach, CA, an OWS was placed out of order due to an internal leak of cooling water inside the oil
                                                                                                                                                                                                 OWS/Whitebox
  CAM-00454         1/21/18       Carnival Imagination    content monitor cell cooler. There was no spare cooler on board. The OWS was placed out of service and bilge water was
                                                                                                                                                                                                 OCM
                                                          offloaded to a reception facility in Ensenada, Mexico.



                                                                                               Page 59 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 155 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                    June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                              Event Description                                                                 CAM Incident Category
                                                      The ship had no functional OWS while a new OWS was installed. The ship decided to offload bilge to a shore side reception
  CAM-00455         1/21/18       Carnival Triumph    facility in New Orleans, LA. An entry was made in the ORB. The U.S. Coast Guard, ship's Classification Society and ship's Flag OWS/Whitebox
                                                      Administration were informed. The new OWS was commissioned on January 25, 2018.
                                                      While the ship was in drydock, 780 kg of non-ODS R407c refrigerant gas leaked from the freezer compressor system. No cause for
  CAM-00456         1/21/18       Carnival Victory                                                                                                                                   Refrigerants
                                                      the leak could be identified.
  CAM-00457         1/21/18       Carnival Victory    During dry dock, a total of 17 ECS seals went missing. New seals were installed and the Seal Log updated accordingly.                  Seals or Locks
                                                      While the ship was underway, failures to a gasket and a bellows piece on an air conditioning (AC) heater steam line resulted in
                                                      approximately 24 cubic meters of water leaking into the bilge over a period of approximately eight hours. The excess bilge water
  CAM-00480         1/21/18      PCL Crown Princess
                                                      was treated through an oily water separator and discharged overboard as permitted by regulation via the BCDB. Entries were made
                                                      in the ORB.
                                                      While the ship was alongside in Praia da Vitoria, Azores, the duty Fire Patrol accidentally dropped his portable UHF radio
  CAM-00460         1/22/18          AIDAvita         overboard in violation of MARPOL Annex V. Local authorities were notified. Preventive actions included instructing the involved        Training
                                                      crew member in taking greater care.
                                                      While the ship was alongside in Suva, Fiji, a crew member dropped her identification card as she was crossing the gangway to
  CAM-00461         1/22/18        Carnival Spirit
                                                      board the ship. The MARPOL Annex V violation was reported to the port authority via the local agent.
                                                      A leak occurred on the grey water main pipe in the aft engine room. Approximately ten cubic meters of grey water entered the tank
  CAM-00462         1/22/18         P&O Arcadia       top area and bilge wells resulting in the potential contamination of bilge water and an inability to process. Temporary repairs were
                                                      made to the failed pipework and permanent repairs to the pipework were planned.
                                                      During daily checks of critical valves, fittings and hatches, the ECS seal on a grease trap deck penetration cover was found broken.   Seals or Locks
  CAM-00463         1/22/18         P&O Oriana
                                                      Technical teams will be re-briefed on the need to take care when working in the vicinity of these seals.                               Training
                                                      While alongside in Bridgetown, Barbados, an increase of grey water was detected by the EOOW due to a malfunction of an
  CAM-00481         1/22/18        Costa Luminosa     overboard valve. No grey water was released into the port. The defective overboard valve was replaced and put back in service,
                                                      and the non-return flap type at issue was subjected to more regular inspections.
                                                      The sample water cooler of the centrifugal OWS was found to be leaking. Repairs were completed the following day and the
  CAM-00482         1/22/18      PCL Royal Princess   system was tested successfully. Bilge water was not discharged overboard at any time while the OWS was out of service. An entry        OWS/Whitebox
                                                      was made in the ORB.
                                                      While the ship was underway, two male passengers threw a restaurant chair overboard. The MARPOL Annex V violation occurred
  CAM-00464         1/23/18       Carnival Elation
                                                      while the ship was outside 12 nautical miles from the nearest land.
                                                      During offload of grey water to a shore facility in Montevideo, Uruguay, leaks were discovered on the greywater line in two
                                                      compartments causing approximately 28 cubic meters of bilge water to transfer to a bilge holding tank from where it was
  CAM-00466         1/23/18         P&O Aurora
                                                      subsequently processed via the recently commissioned oily water separator and discharged normally. Operation of the bilge system
                                                      was not compromised.
                                                      While maneuvering on the Mississippi river, the ship listed to two degrees, causing approximately nine cubic meters of pool water
  CAM-00467         1/24/18       Carnival Triumph    to spill overboard. The residual chlorine level of the pool water was 3.2ppm. The incident was reported to the U.S. Coast Guard
                                                      and the National Response Coordination Center.
                                                      While the ship was alongside in Puerto Limon, Costa Rica, a four foot long wooden dowel from a lifeboat canvas fell into the
  CAM-00469         1/24/18       HAL Zuiderdam       water during lifeboat maintenance. The port authority was notified of the MARPOL Annex V violation via the local agent and an
                                                      entry was made in the Garbage Record Book.
                                                      While the ship was alongside in Mahogany Bay, Isla Roatan, a passenger accidentally dropped her purse into the sea from the pier.
  CAM-00470         1/25/18        Carnival Breeze
                                                      The MARPOL Annex V violation was reported to the port authority.




                                                                                           Page 60 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 156 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                    June 21, 2018

 Reference No.   Date of Event      Brand/Vessel                                                              Event Description                                                               CAM Incident Category
                                                        While the ship was alongside in St. Croix, U.S. Virgin Islands, a bucket fell into the sea while a crew member was taking a sea
  CAM-00471         1/25/18      Carnival Fascination
                                                        water sample for to test for water density. The MARPOL Annex V violation was reported to the port authorities via the port agent.
                                                        After a fitter was observed taking transformer coolant from a drum to use to refill the hood washing stations in the galleys, the ship
  CAM-00472         1/25/18        Carnival Legend      found that approximately 100 liters of the incorrect MIDEL 7131 fluid had been used over a period of one month. The fluid is           Training
                                                        biodegradable, non-toxic and not harmful to aquatic life.
                                                        During a de-ballasting operation the bilge/ballast pump was unable to gain suction on the ballast tank being discharged as it was
  CAM-00473         1/25/18      Cunard Queen Mary 2    drawing in air. After closing the bilge/ballast crossover valve, the bilge/ballast pump was able to take suction and the de-ballasting
                                                        operation was completed.
                                                        During tender operations while the ship was at anchor in Stanley, Falkland Islands, a handheld UHF radio was accidentally
  CAM-00483         1/25/18      PCL Emerald Princess   dropped into the water. The local agent was informed of the MARPOL Annex V violation and an entry was made into the Garbage
                                                        Record Book.
                                                        During a routine operation of the centrifugal oily water separator, it was noted that the sample water flow to the oil content
  CAM-00476         1/26/18         P&O Britannia       monitor was very low due to the pipework becoming restricted by contaminants. New ECS seals were fitted and accounted for in OWS/Whitebox
                                                        the Seal Log before returning the OWS to service. Entries were made in the ORB.
                                                        350 kg of non-ODS R407c refrigerant gas leaked from an air conditioning system due to pipe corrosion. The pipe was repaired
  CAM-00484         1/26/18        Carnival Victory                                                                                                                                            Refrigerants
                                                        and the system put back in service.
                                                        Two adhesive ECS seals were found missing from a food waste tank and a grey water filter. The Seal Log was updated. The ship
  CAM-00485         1/27/18           AIDAdiva                                                                                                                                              Seals or Locks
                                                        determined to reassess all vulnerable points in February with adhesive seals to be replaced with a more robust seal design.
                                                        While alongside in Tampa, FL, divers identified an oil leak coming from a bolt hole in a rope guard cover plate of approximately 1-
                                                        2 drops every 3-4 seconds. The divers installed a plug in the bolt hole and subsequently confirmed no further oil was leaking. The
  CAM-00486         1/27/18        Carnival Miracle
                                                        violation of MARPOL Annex I was reported to the National Response Coordination Center and the U.S. Coast Guard. An entry
                                                        was made in the ORB.
                                                        During a routine check of the critical valves and tanks hatches, the EO noted that one ECS seal was missing from the EGCS line.
  CAM-00487         1/27/18         Carnival Pride      A new seal of the same type was fitted and the Seal Log was updated. The incident report was filed with the used seals to account Seals or Locks
                                                        for the missing item.
                                                        While the ship was alongside in Long Beach, CA, ballast water was discharged in violation of California 'Marine Invasive Species
                                                        Program' regulations. The required ballast water reporting forms were also not sent on time to the National Ballast Information
  CAM-00488         1/27/18       Carnival Splendor     Clearinghouse and the California State Lands Commission due to an administrative oversight. The initial investigation found there Voyage Planning
                                                        was inadequate voyage planning for the relocation cruise, including that the Ballast Water Management Plan was not updated to
                                                        reflect the relocation voyage or subsequent voyages.
                                                        During painting operations while alongside in Nawiliwili, Hawaii, a bucket containing oil-based paint was kicked over and 50
                                                        milliliters of paint fell into the water. All visible paint was recovered. The incident was a violation of MARPOL Annex I and
  CAM-00489         1/27/18        HAL Oosterdam
                                                        Environmental Protection Agency (EPA) VGP requirements. The EPA, National Response Coordination Center and U.S. Coast
                                                        Guard were notified . An entry was made in the ORB and a report was sent to the EPA.
                                                        While the ship was underway, a mechanical failure in the sewage purification system caused a bellows piece to burst, resulting in
                                                        three cubic meters of raw sewage to enter the bilges. The sewage system was repaired and an entry was made in the Sewage
  CAM-00490         1/27/18        HAL Zuiderdam
                                                        Record Book. The spilled sewage was collected in the sludge tank and subsequently offloaded to a shore side reception facility on
                                                        February 4, 2018. No wastewater was lost overboard.




                                                                                             Page 61 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 157 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                    June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                               Event Description                                                                CAM Incident Category
                                                       While the ship was underway, a water leak occurred in a pool machinery room due to a filter failure resulting in approximately
  CAM-00491         1/27/18      PCL Golden Princess   four cubic meters of water leaking into the bilge. The bilge water was treated and discharged overboard as permitted by regulation.
                                                       An entry was made in the Oil Record Book.
                                                       During tender operations while the ship was at anchor in Bay of Islands, New Zealand, a tender's Plexiglas window pane became
  CAM-00492         1/27/18       PCL Sun Princess     loose and fell in the water. An inspection of all tender windows was added to the routine maintenance checklist. The local agent
                                                       and port authorities were notified of the MARPOL Annex V violation. An entry was made in the Garbage Record Book.
                                                       While underway, approximately seven cubic meters of grey water leaked into the bilge due to the failure of a grey water pipe. The
  CAM-00494         1/28/18       Carnival Conquest    leak was temporarily repaired using clamps and replaced on January 31, 2018. The water was processed through an oily water
                                                       separator and discharged overboard via the BCDB. The incident was recorded in the ORB.
                                                       While the ship was alongside in Port Canaveral, FL, approximately seven cubic meters of sea water was found inside a coffedam
  CAM-00495         1/28/18        Carnival Liberty    due to a faulty sounding sensor. The water was processed through an oily water separator and discharged overboard via the BCDB.
                                                       The faulty sensor was replaced and the ORB was updated.
                                                       During a routine check, four ECS seals were noted missing from two vacuum units. The corresponding logs updated. The vessel           Seals or Locks
  CAM-00496         1/28/18        Costa Deliziosa
                                                       Chief Engineer and EO arranged preventive training for all Engine Department personnel.                                               Training
                                                       The newly commissioned ballast water treatment system (BWTS) was taken out of service for approximately 18 hours. The faults
  CAM-00498         1/28/18         P&O Arcadia
                                                       were cleared and the system was returned to service.
                                                       During a drill while the ship was alongside in Progreso, Mexico, a ship telephone fell from a crew member's pocket into the water
  CAM-00499         1/29/18        Carnival Fantasy
                                                       and was not recovered. The Port Authority was notified of the Marplot Annex V violation.
                                                       During departure from Half Moon Cay, Bahamas, a plastic hard hat was lost overboard. The violation of MARPOL Annex V was
  CAM-00501         1/29/18        HAL Eurodam
                                                       reported to the island Manager. An entry was made in the Garbage Record Book.
                                                       While the ship was underway, the inlet pipe of the sea water general service cooler failed due to corrosion, resulting in a sea water
                                                       leak into the bilge of the aft general service room. No overboard discharge occurred. Approximately three cubic meters of sea
  CAM-00502         1/29/18      PCL Golden Princess
                                                       water were transferred into a bilge settling tank. The water was subsequently processed and discharged overboard. The corroded
                                                       pipe was repaired on February 2, 2018. Entries were made in the ORB.
                                                       The fire watch noted a slow fuel leak from a double walled fuel hose on the return side of a main engine. Approximately two liters
  CAM-00503         1/30/18         Carnival Pride
                                                       of oil leaked into the bilge. A pulsation damper failure had caused a sudden pressure increase in the hose.
                                                       Approximately 22 cubic meters of seawater was found to have entered the bilge tank via a closed cross-connection valve which is
                                                       suspected to have lifted under pressure during operation of the ballast water treatment system. Between January 31, 2018 and
  CAM-00504         1/30/18         P&O Arcadia
                                                       February 6, 2018, 69 cubic meters of bilge have been processed through the oily water separators and discharged overboard via the
                                                       BCDB.
                                                       A galley pot wash heater was found to overflow into bilge water tank. The excess bilge was offloaded to a shore side reception
  CAM-00505         1/30/18          P&O Oriana        facility on February 6, 2018. Watch keepers were provided with a file to track additional bilge source production in an effort to
                                                       reduce the volume of bilge water.
                                                       Improper sorting and loading of garbage was determined to cause a fire in the incinerator room, triggering the automatic high
  CAM-00506         1/31/18        Carnival Legend     pressure water mist suppression system and manual activation of the steam system. Workplace operations and fire safety training
                                                       was completed with all the relevant staff.
                                                       Approximately 16 cubic meters of grey water leaked into the bilge due to the failure of a rubber coupling on a suction line. It was
  CAM-00507         1/31/18         P&O Aurora
                                                       subsequently discharged to a reception facility, and the pipe coupling was repaired.
                                                       While the ship was departing Georgetown, Grand Cayman, a crew member accidentally dropped a metal rod used for tightening
  CAM-00513         1/31/18        HAL Eurodam         turnbuckles on the deck. The violation of MARPOL Annex V was noted in the Garbage Record Book and the local agent was
                                                       informed.



                                                                                            Page 62 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 158 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                      June 21, 2018

 Reference No.   Date of Event       Brand/Vessel                                                               Event Description                                                                 CAM Incident Category
                                                          While the ship was en route to Nha Trang, Vietnam, 2.5 cubic meters of galley grey water overflowed into the bilges from a
                                                          collecting tank due to a delivery filter blockage resulting from accumulated deposits on the bottom of the tank. At the time of the
                                                          incident, several galley washing operations were in progress and there was insufficient time to react to the high-level alarm before
  CAM-00514         1/31/18      PCL Sapphire Princess
                                                          the spill occurred. The bilge water was transferred to a sludge tank and will be offloaded to a shore side reception facility. No
                                                          overboard discharge occurred. The grey water tank has been cleaned to avoid further occurrence and will be inspected monthly.
                                                          An entry was made in the Oil Record Book.
                                                          A starboard rescue boat was taken out of service due to a leak in the davit accumulator. A lifeboat tender has been temporarily
  CAM-00508         2/1/18        PCL Island Princess                                                                                                                                          Lifeboat/Tender
                                                          designated as a rescue boat until repairs were completed in the next port on February 5, 2018.
                                                          While preparing for tender operations in Waitangi, Bay of Islands, a 40 kg steel and rubber pontoon fender was dislodged by the
  CAM-00515         2/1/18           HAL Maasdam          swell and fell into the water. The violation of MARPOL Annex V was recorded in the Garbage Record Book and the local
                                                          Harbormaster was informed.
                                                          While the ship was underway towards Port Chalmers, New Zealand, approximately one cubic meter of sewage overflowed from
  CAM-00809         2/1/18       PCL Diamond Princess     the sewage evacuation system into the bilges. The ship determined to transfer the sewage to a sludge tank and offload it ashore. An
                                                          entry was made in the Oil Record Book. All sewage evacuation systems were scheduled to be upgraded in March 2018.

                                                          The ship experienced an internal leakage on both sea water lubricated propulsion shafts of approximately one cubic meter per day,
  CAM-00516         2/1/18       PCL Sapphire Princess    causing an internal leak of seawater and no external discharge. Replacement of the internal and external seals was scheduled for
                                                          dry dock in March 2018. The water was processed through an oily water separator and discharged via the BCDB.
                                                          The EO noted an emergency portable damage control pump was not fitted with a plastic ECS seal as listed in the Seal Log. A new
                                                                                                                                                                                                Seals or Locks
  CAM-00509         2/2/18          Carnival Liberty      seal was installed and a preventative review of relevant procedures was carried out with all personnel with access to the pump
                                                                                                                                                                                                Training
                                                          cabinet.
                                                          The discharge of treated water in a clean bilge tank could not be started due to a high ppm reading on an oil content monitor,
  CAM-00510         2/2/18           Carnival Magic       recirculating the water into the oily bilge tank. The ship stopped operation of the discharge and determined to check and clean the
                                                          associated tanks and piping system at the next opportunity.
                                                          While the ship was en route to Melbourne, Australia, the primary burner fuel pump of the ship's incinerator seized, severely
  CAM-00517         2/2/18           HAL Noordam          damaging the pump shaft and rendering the incinerator inoperable. Spare parts were on board and the incinerator was returned to
                                                          service the following day.
                                                          While the ship was en route towards Punta Arenas, Chile, the plastic top cover of the stern light was lost overboard. The ship was
  CAM-00518         2/2/18          HAL Prinsendam        outside 12 nautical miles from land. The violation of MARPOL Annex V was recorded in the Garbage Record Book. The cover
                                                          was replaced with a spare.
                                                          While the ship was alongside in Miami, FL, a deck hand dropped a cleaning brush into the water. The Port Authority was notified
  CAM-00511         2/3/18           Carnival Glory
                                                          of the violation of MARPOL Annex V via the port agent. All deck hands were advised to be more cautious.
                                                          During hull maintenance while alongside Long Beach, CA, approximately 200 milliliters of paint spilled from a bucket that was
                                                          tied to a floating platform. The MARPOL Annex I violation was reported to the U.S. Coast Guard, National Response
  CAM-00512         2/3/18         Carnival Splendor                                                                                                                                            Training
                                                          Coordination Center and the Port Authority. The crew members involved were advised to exercise caution when completing
                                                          similar operations and the lessons learned were incorporated into a revision of painting procedures.
                                                          The EO identified that the flushing of the BCDB OCM was not being recorded on the ECR display, Bridge recorder or BCDB data
  CAM-00519         2/3/18       Cunard Queen Elizabeth   recorder. As a precautionary measure, flushing of the OCM Meter on the BCDB was conducted by the Chief Engineer and                   OCM
                                                          witnessed by the EO. The manufacturer attended the ship on February 10, 2018 and resolved the issue.
                                                          The OCM in the forward BCDB was unable to be zeroed and the ship was unable to discharge treated bilge water through the
  CAM-00520         2/3/18       Cunard Queen Mary 2                                                                                                                                            OCM
                                                          forward BCDB. The faulty OCM was replaced and the BCDB put back in service. The ORB was updated.



                                                                                               Page 63 of 94
                                      Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 159 of
CONFIDENTIAL                                           Appendix E: ECP Year One 205
                                                                                Incidents Tracked by the CAM                                                                                                         June 21, 2018

 Reference No.    Date of Event      Brand/Vessel                                                                  Event Description                                                                CAM Incident Category
                                                           During a routine check, one of the two ECS seals attached to the dry dock sea water connection in the starboard bunker station was
  CAM-00521          2/3/18            P&O Oceana                                                                                                                                             Seals or Locks
                                                           found broken. A new seal of the same type was fitted and the Seal Log was updated.
                                                           While the ship was en route to Wellington, New Zealand, a malfunction of the discharge pump of a grey water collecting tank
                                                           caused four cubic meters of galley grey water to overflow into the bilge well. No overboard discharge occurred. The broken
  CAM-00810          2/3/18        PCL Golden Princess
                                                           mechanical seal on the discharge pump was replaced. The grey water from the bilge was transferred into a sludge tank and
                                                           offloaded to a shore side reception facility on February 6, 2018. Relevant entries were made in the Oil Record book.

                                                           While underway within three nautical miles of the U.S. coast, approximately 27 cubic meters of pool water with a 3.6 ppm
                                                           chlorine level was discharged due to the malfunction of a pool control system in violation of VGP requirements. The National
  CAM-00523          2/4/18           Carnival Pride
                                                           Response Coordination Center and local U.S. Coast Guard were advised. The company reviewed the possibility of diverting
                                                           recreational water facility discharge to the grey or ballast water systems while vessels are inside environmentally restricted areas.
                                                           860kg of non-ODS refrigerant gas R134a leaked from an air conditioning (AC) compressor due to a corroded condenser. The AC
  CAM-00524          2/4/18         Carnival Triumph                                                                                                                                               Refrigerants
                                                           system remains out of service pending repair in second quarter 2018.
                                                           While the ship was en route towards St. John's, Antigua, crew were setting up a party in a stairwell when a passenger opened a
  CAM-00526          2/4/18        PCL Crown Princess      door and eight unsecured balloons were blown overboard. The ship was outside of 12 nautical miles at the time of incident and
                                                           authorities were not notified. The violation of MARPOL Annex V was recorded in the Garbage Record Book.
                                                           While the ship was at anchor in Saline Bay, Saint Vincent and the Grenadines, a trainee cabin steward dropped a plastic window
  CAM-00527          2/4/18         Seabourn Odyssey       wiper as she was cleaning glass on a balcony. The MARPOL Annex V violation was recorded in the Garbage Record Book and
                                                           the local agent informed the port authorities.
                                                           During life raft party preparation training while the ship was en route to Port Everglades, FL, a manual hydraulic system isolation
                                                           valve failed, causing a leak of approximately 0.2 liters of biodegradable hydraulic fluid that spilled into the sea. At the time of the
  CAM-00528          2/5/18       PCL Caribbean Princess                                                                                                                                           Lifeboat/Tender
                                                           incident, the ship was outside 12 nautical miles from the nearest land. The failed valve was replaced and the area was cleaned. The
                                                           MARPOL Annex I violation was recorded in the ORB.


                                                           On February 6, 2018 in the morning, a caller reported to the hotline observing leakage of gray water from the ship’s drainage
                                                           system that was sent overboard. The caller believed this gray water came from the bar upstairs. The caller also believed this
                                                           polluting was done intentionally and wants the company to be aware of this incident. On the same day at approximately 1645, the
                                                           Caribbean Princess’ 2nd Ventilation Officer informed the ship’s EO that there was an improper catchment set-up under a grey
                                                           water pipe that was improperly being diverted to an Air Conditioning condensate drain inside Air Conditioning space 14.5. The
 CVL-2018-2-108      2/6/18       PCL Caribbean Princess   notification by the 2nd Ventilation Officer was made as the ECP TPA audit was beginning and the CAM was onboard.

                                                           The next day, February 7, 2018, the Staff Engineer and the 2nd Ventilation Officer inspected AC space 14.5 and found a
                                                           temporary repair made to a grey water drain, under which was a catchment with a connected hose that was reported to run to the
                                                           AC condensate drain. The catchment was dry with dust and dirt inside and the temporary pipe patch showed no evidence of
                                                           leakage. They removed the catchment. They and the Chief Engineer and Captain notified the OLCM, TPA, and CAM. There was
                                                           no evidence MARPOL, Vessel General Permit, or other regulatory discharge violations occurred. Around Thursday, 8 February, a
                                                           Hotline Report was received concerning this same catchment. The Final Investigation report was made on April 6, 2018.




                                                                                                 Page 64 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 160 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                     June 21, 2018

 Reference No.   Date of Event       Brand/Vessel                                                                 Event Description                                                                CAM Incident Category
                                                          While departing Progreso, Mexico, a change of course combined with a 32-knot wind caused the ship to list approximately one
                                                          degree to port. Approximately eight cubic meters of water with a 1.2 ppm chlorine level overflowed from the main pool and
  CAM-00530         2/6/18          Carnival Triumph      discharged overboard through the scupper drains in violation of Company requirements. At the time of the incident, the pool was
                                                          filled to beach / harbor level. The Port Authority was notified via the local agent. A procedural revision under review was
                                                          expected to lower the level of all pools where overflow and / or discharge inside areas subject to discharge restrictions is foreseen.
                                                          During a routine inspection, 16 ECS seals were noted to be missing from 11 vulnerable points. The missing seals were from sea
                                                          chests (6), a vacuum collecting unit (2), sludge tank (1), sea water cooling pump (1), and a bilge suction valve (1). It is presumed
                                                          that the seals were removed / broken due to work performed during the recent drydock. The nearby area was observed as being
                                                          clean with no visible oily residues. No signs of tampering or anomalies on the tanks quantities were noted. New seals were           Seals or Locks
  CAM-00531         2/6/18           Costa Atlantica
                                                          immediately installed and the corresponding Seal Log updated accordingly. A meeting with all engine officers, the Captain, and       Training
                                                          EO was held to re-discuss the importance of ECS seals. A reassessment of all vulnerable points was scheduled to be completed in
                                                          February 2018. The ship expected that this reassessment would define sealing methods to remove as many adhesive seals as
                                                          possible.
                                                          A domestic hot water pipe failed, filling a void space with approximately 21 cubic meters of fresh water. The water was transferred
  CAM-00532         2/6/18       Cunard Queen Elizabeth   to the bilge system and subsequently processed through an OWS and discharged overboard via the BCDB. The failed pipe was
                                                          isolated and repaired. The ship planned to monitor the void space for any further leaks.
                                                          During planned maintenance on the ship's Membrane Bioreactor (MBR) system, the MBR was isolated from the sewage collection
                                                          system to allow cleaning of the mixing tanks. A fault in the discharge arrangements caused approximately two cubic meters of raw
  CAM-00533         2/6/18       Cunard Queen Mary 2      sewage to overflow into the bilges. The sewage in the bilge was transferred directly into bulk liquid containers for offload at the
                                                          next port. An investigation found the discharge pipework was blocked. This was cleared and the MBR maintenance was
                                                          completed.
                                                          While the ship was en route to Fort Lauderdale, Florida, one of the ship's sewage treatment systems was running an automated
                                                          cleaning cycle when the compartment's bilge alarm activated. Sewage was found to have overflowed from the cleaning tank and
                                                          into the bilge. An initial review identified that the manual suction valve was open, causing low suction to the feed pump and
  CAM-00811         2/6/18          HAL Zuiderdam
                                                          resulting in the line backing up and subsequently overflowing the cleaning tank. The suction valve was closed and all valves were
                                                          labeled to prevent recurrence. Two cubic meters of sewage were transferred from the bilge into drums for offload on February 18,
                                                          2018. An entry was made in the ORB regarding the event.
                                                          The ship produced 27 cubic meters of bilge water over a 24-hour period due to a combination of a leaking exhaust gas boiler
  CAM-00535         2/6/18           P&O Britannia        safety valve and contractors washing the bilges in two compartments in preparation for painting. The faulty safety valve was
                                                          replaced. The bilge water was processed through an OWS and discharged via the BCDB.
                                                          While the ship was approaching Freeport, Bahamas, a crew member dropped his identification card into the water due to
  CAM-00536         2/7/18          Carnival Breeze       negligence. The crew member was advised to be more careful. The violation of MARPOL Annex V was reported to the Port                 Training
                                                          Authority via the local agent.
                                                          While the ship was en route towards Flordland National Park, New Zealand, gale-force winds and heavy seas were encountered.
                                                          The next morning, it was noted that the waterproof canvas cover was missing from the Long Range Acoustic Device (LRAD)
                                                          plinth. The cover could not be found on the ship and was presumed to have been lost overboard, in violation of MARPOL Annex
  CAM-00538         2/7/18          HAL Amsterdam
                                                          V. The incident occurred inside 12 nautical miles of land in a New Zealand no-discharge area. Authorities were notified via the
                                                          local agent and an entry was made in the GRB. To prevent recurrence, additional lashings were fitted to the replacement LRAD
                                                          cover.




                                                                                                Page 65 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 161 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                     June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                               Event Description                                                                  CAM Incident Category
                                                       While the ship was en route to Cartagena, Colombia, maintenance was being conducted on a blocked oily-sludge tank vent line.
                                                       The engineer in charge washed sections of sludge-coated pipeline in the garbage room bin washing station, which drains into the
                                                       grey water tank servicing the passenger galleys. This grey water tank was being discharged at the time, resulting in sludge residue
                                                       being discharged overboard, in violation of MARPOL Annex I. As soon as the situation was recognized, the discharge pumps
  CAM-00539         2/7/18         HAL Westerdam       were stopped, the grey water tank pumps were isolated, and the galley drains were rerouted to a different grey water tank. One         Training
                                                       kilogram of sludge residue was collected from the contaminated tank, with an estimated 0.5 kg being lost overboard. The incident
                                                       occurred outside 12 nautical miles. The shipped planned to discharge the contents of the contaminated tank ashore and the empty
                                                       tank was decontaminated and cleaned. The ship’s engineers were counselled on the matter. A corresponding entry was made in the
                                                       ORB.
                                                       While the ship was departing Tauranga, New Zealand, a passenger reported seeing unattended 'Wet Paint' signs being blown
                                                       overboard. The paper signs had been secured with adhesive tape. Five signs were lost overboard due to the wind in violation of
  CAM-00540         2/7/18       PCL Golden Princess   MARPOL Annex V. The ship was inside four nautical miles of land at the time of the incident and the Port Authority was notified
                                                       via the local agent. The Bosun was briefed regarding the incident and the ship started using laminated signs secured with rope to
                                                       prevent recurrence.
                                                       330 kilograms of non-ODS R134a refrigerant gas leaked from an air conditioning system due to a cracked discharge pipe. The
  CAM-00554         2/7/18         HAL Rotterdam                                                                                                                                              Refrigerants
                                                       pipe was repaired and the system was put back in service.
                                                       While fitting a new titanium sample cooler to the aft BCDB, pipes and fittings were found corroded and the non-return valve
  CAM-00541         2/8/18       Cunard Queen Mary 2   threaded pipe connection was found sheared. The BCDB was repaired, tested, and put back in service. At the time of the report, a       OWS/Whitebox
                                                       manufacturer annual service and technical upgrade inspection was being expedited.
                                                       The three-way valve on the forward BCDB was not changing over to the overboard discharge position when all prerequisite
  CAM-00542         2/8/18       Cunard Queen Mary 2   conditions were met. An inspection of the valve identified a faulty pneumatic solenoid actuating coil. The coil was replaced, the      OWS/Whitebox
                                                       valve as tested, and the BCDB was returned to service. An ORB entry was made to record the failure.
                                                       A water leak was found coming from a flange on the pump discharge line to a main pool. The pool was taken out of service.
  CAM-00543         2/8/18           P&O Oriana        Approximately five cubic meters of water leaked to the bilge. The flange has been repaired and the pool put back in service. The
                                                       bilge water was offloaded to a shore side reception facility.
                                                       While the ship was en route to Ponta Delgada, Portugal, bilge alarms activated in a compressor room. Approximately five cubic
  CAM-00544         2/8/18          P&O Ventura        meters of pool water leaked from a main pool machinery space into the bilges due to a failed valve on a pump discharge. The pool
                                                       was closed. The accumulated water was processed through an OWS and subsequently discharged via the BCDB.
                                                       While a crew member was conducting maintenance in the forward mooring station, a gust of wind blew his identification card and
  CAM-00545         2/9/18        Carnival Conquest    cabin key into the water. The items were not retrieved. The ship was outside 12 nautical miles from the nearest land and, therefore,   Training
                                                       the violation of MARPOL Annex V was not reported to any authorities.
                                                       While the ship was alongside in Nassau, Bahamas, a crew member working on a catwalk dropped a window wiper blade into the
  CAM-00546         2/9/18         Carnival Liberty    water. The item was not recovered. The Port Authority was notified of the MARPOL Annex V violation via the local agent. The
                                                       crew member was briefed to secure all loose items before starting work over the side of the ship.
                                                       During a man overboard drill pre-inspection while alongside in Key West, Florida, the training officer dropped a UHF radio into
  CAM-00547         2/9/18        Carnival Sensation   the water. The radio could not be recovered. All other radios were properly secured. The violation of MARPOL Annex V was               Training
                                                       reported to the Port Authority via the local agent.
                                                       Two ECS seals fitted to a valve in the forward sewage room were found missing. They were replaced with two new seals. The
                                                                                                                                                                                              Seals or Locks
  CAM-00548         2/9/18        Carnival Triumph     original seals were not found in the surrounding area. No signs of tampering were found. The seals were believed to have been
                                                                                                                                                                                              Training
                                                       damaged during maintenance work. Crew members were retrained regarding the procedure for broken seals.




                                                                                            Page 66 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 162 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                        June 21, 2018

 Reference No.   Date of Event      Brand/Vessel                                                                Event Description                                                                CAM Incident Category
                                                        During tender operations while the ship was at anchor in Punta Arenas, Chile, a wooden flagpole and flag were detached from a
                                                        tender by the wind and fell into the water. The incident was not initially noticed by the tender's crew. Once identified, recovery of
  CAM-00549         2/9/18       PCL Emerald Princess   the flag and pole was not possible. Securing was not sufficient in the weather conditions and flags were removed from all other
                                                        tenders for the remainder of the tender operations. The securing issue was addressed and standardized across the fleet. The local
                                                        agent was advised of the MARPOL Annex V violation and an entry was made in the GRB.
                                                        In accordance with the ECP Section VIII.C.4 and guidance from U.S. Coast Guard / Department of Justice, a Major Non-
                                                        Conformity finding was noted onboard the Carnival Freedom during an audit from February 10 to 14, 2018. The number 1
  CAM-00553         2/10/18        Carnival Freedom     incinerator, a pollution prevention equipment, was found not in service due to a defective frequency converter since January 3,
                                                        2018. A new part for the incinerator was ordered and delivered on January 25, 2018; however, the new part was not compatible
                                                        with the system. A new converter was ordered, but the incinerator remained out of service.
                                                        While the ship was en route to New Orleans, Louisiana, two passengers who were minors threw a golf ball and two golf clubs
                                                        overboard. Both were identified by Security and were advised of environmental law and Company policies in the presence of their
  CAM-00555         2/10/18        Carnival Triumph
                                                        parents. At the time of incident, the ship was 15 nautical miles from the Mexican coast and, therefore, the MARPOL Annex V
                                                        violation was not reported to authorities.
                                                        While the ship was underway, an automation reading fault resulted in a sludge tank in the fuel oil purifier room overflowing into
  CAM-00556         2/11/18        Carnival Victory     the bilge. It is estimated 23 cubic meters of sludge overflowed into the bilge. The contents of the bilge were pumped into the
                                                        overflow tank and the bilge was cleaned. The faulty level transmitter was cleaned and calibrated.
                                                        During the closure of a forward tender platform while the ship was alongside in Willemstad, Curacao, a hydraulic coupling failed
                                                        and approximately two fluid ounces of biodegradable oil spilled into the water. The sheen dissipated quickly and no cleanup was
  CAM-00558         2/11/18        HAL Zuiderdam                                                                                                                                                Lifeboat/Tender
                                                        possible. The damaged coupling was replaced and all other couplings were checked. The violation of MARPOL Annex I was
                                                        reported to the Port Authority via the local agent and an entry was made in the ORB.
                                                        During a routine check while alongside in Southampton, U.K., an ECS seal was found broken but still in position. No evidence of
                                                        tampering was identified. It was suspected that the seal broke due to it being fitted too tightly when initially attached. The seal was
  CAM-00559         2/11/18          P&O Oceana                                                                                                                                                 Seals or Locks
                                                        replaced with one of the same type and the Seal Log was updated. The ship planned to monitor the new seal during future
                                                        inspections.
                                                        During tests in preparation for a Passenger Ship Safety Certificate renewal inspection, it was noted that the engine automation
                                                        system had not stored any data since February 3, 2018. The omission meant that bilge alarm notifications to comply with ECP
    14-2018         2/12/18           AIDAdiva          recordkeeping requirements were not available. An investigation determined that a server was replaced by the manufacturer on            Recordkeeping
                                                        February 3, 2018 but was defective. In response, the manufacturer was scheduled to complete an upgrade and synchronization of
                                                        data.
                                                        After responding to a high bilge level alarm in the aft sewage room, the engineer officer of the watch discovered that the failure of
                                                        a black water overboard spool piece had resulted in a significant leak of sea water into the space. The damage control code was
  CAM-00860         2/12/18        Carnival Legend      activated. A temporary repair reduced the flow of water to approximately three liters of water per minute. Approximately 30 cubic
                                                        meters of sea water had flooded the space. The ship's stability was not affected and the bilge water was transferred into a sludge
                                                        tank and offloaded to a tank truck. The spool failure was due to corrosion and was replaced by divers on arrival at the next port.

                                                        During provision loading operations while the ship was alongside in New Orleans, Louisiana, some oil was noted in the water. It
                                                        was found that a stevedore had punctured a cooking oil container on the berth and proceeded with the loading. Approximately
  CAM-00561         2/12/18        Carnival Triumph     three liters of cooking oil was spilled into the Mississippi River and could not be recovered due to the current. The violation of
                                                        Annex V was reported to the National Response Coordination Center and the U.S. Coast Guard. The Port Authority was notified
                                                        via the local agent. The stevedore supervisor was requested to ensure his staff take additional care to prevent recurrence.



                                                                                              Page 67 of 94
                                   Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 163 of
CONFIDENTIAL                                        Appendix E: ECP Year One 205
                                                                             Incidents Tracked by the CAM                                                                                                    June 21, 2018

 Reference No.   Date of Event    Brand/Vessel                                                              Event Description                                                                  CAM Incident Category
                                                     While the ship was en route to lshigaki, Japan, an incinerator was unable to start. An investigation determined that during a recent
                                                     drydock, a complete renewal of the fire detection system was performed and a new release of software had been implemented. A
  CAM-00562         2/12/18       Costa Atlantica    false alarm signal in the fire detection system was found to be blocking the incinerator start sequence. The ship planned to address
                                                     the issue with the installation of an updated version of the software. A technicians service on board was scheduled on March 3,
                                                     2018.
                                                     While the ship was en route to Honolulu, Hawaii, a passenger dropped his cell phone overboard. The passenger reported the
  CAM-00564         2/12/18       HAL Maasdam        incident and was consequently interviewed by the Security Officer. At the time of the incident, the ship was outside 12 nautical
                                                     miles from land. The MARPOL Annex V violation was entered in the GRB.
                                                     While the ship was en route to Akaroa, New Zealand, the sewage treatment system was reported to be leaking. The system was
                                                     stopped and a vent was opened to drain the pressure in the system. Approximately one cubic meter of sewage leaked into a
                                                     secondary containment area. An investigation found that the overpressure in the system was caused by a vent line blockage
                                                     resulting from a number of partially seized drain valves. As a result, the system was not completely drained on a daily basis as
                                                     required. Overtime, this condition caused the overpressure in the system. All valves on the vent line drains were overhauled and
  CAM-01220         2/12/18       HAL Noordam
                                                     the system was put back in service. The technical team has been instructed to report any issues in a timely manner to prevent
                                                     recurrence. The ship made an entry in the ORB and the sewage has been pumped into drums for offloading to a shore side
                                                     reception facility. The daily draining PMS was not signed off as complete because there is no AMOS job in the system for this and
                                                     it is not covered in the daily watch routine. The ship's technical team planned to review and adjust AMOS / the daily watch
                                                     routine.
                                                     While the ship was alongside in Amber Cove, Dominican Republic, a crew member dropped his identification card and cabin key
  CAM-00565         2/13/18      Carnival Conquest   into the water. The cards could not be retrieved. The violation of MARPOL Annex V was reported to the Port Authority via the
                                                     local agent.
                                                     Excess water accumulation was noted in the bilge wells of both stabilizer rooms. An investigation found grey water had
                                                     overflowed from a ballast water tank. Approximately three cubic meters of accumulated grey water was transferred to a sludge tank
                                                     using a portable pump. The bilge water was transferred into a sludge tank and offloaded to a tank truck. An ORB entry was made.
  CAM-00566         2/13/18       Carnival Glory     The incident occurred during a maneuvering operation. At the time of the grey water high level alarm, a fixed water mist
                                                     suppression system level alarm also triggered. While one engineer responded to the water mist alarm, the rest of the operational
                                                     team continued to focus on the maneuver operation and the grey water alarm was missed. Once the water mist issue was cleared,
                                                     the engineer officer of the watch recognized and responded to the grey water alarm, limiting the volume of overflow.
                                                     While the ship was approximately 10 nautical miles from the coast of Belize, a passenger threw his partner's cell phone overboard .
  CAM-00567         2/13/18       Carnival Glory     The passenger was counseled by Security Officers. The MARPOL Annex V violation was reported to the Port Authority via the
                                                     local agent.
                                                     460 kilograms of non-ODS R410a refrigerant gas leaked from an air conditioning system due to a loose automatic check valve.
  CAM-00568         2/13/18       Carnival Glory                                                                                                                                            Refrigerants
                                                     The valve was tightened and the system was put back in service.
                                                     During a routine check, the EO noted one of two ECS seals fitted to a blind flange on a grey water shore connection was missing.
                                                     No evidence of intentional tampering was observed and the second seal was in place and intact. The flange is located at the            Seals or Locks
  CAM-00569         2/13/18       Carnival Glory
                                                     entrance of the aft bunker station and the ship believed that the missing seal may have been broken as crew entered / exited the       Training
                                                     compartment. Arrangements were made to weld the flanges.
                                                     602 kilograms of non-ODS R410a refrigerant gas leaked from an air conditioning system due to failed fitting bolts. The bolts were
  CAM-00570         2/13/18      Carnival Paradise                                                                                                                                          Refrigerants
                                                     replaced and the system was put back in service.




                                                                                          Page 68 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 164 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                 June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                               Event Description                                                                CAM Incident Category
                                                       During maintenance on a sewage discharge pump while the ship was en route to Nassau, Bahamas, an ECS seal installed on a
                                                       suction pump valve was determined to be missing. The seal could not be found in the area. Initial onboard investigations
                                                       confirmed that no unauthorized discharge took place. The area around the involved valve was observed as being clean with no oily Seals or Locks
  CAM-00571         2/13/18        Costa Deliziosa
                                                       residues visible. No signs of tampering and no anomalies on the tanks' quantities were noted. A new seal was installed and the   Training
                                                       corresponding logs updated accordingly. The ship arranged preventive training by the Chief Engineer and EO with all the engine
                                                       department personnel.
                                                       The bellows on a hot water circulation pump developed a leak resulting in an elevated daily bilge volume production. The
                                                       associated pump was stopped and isolated but the valves were found to be leaking. The valves were replaced and the leak was
  CAM-00861         2/13/18      Cunard Queen Mary 2   stopped. A bobbin piece was inserted pending replacement of the flexible coupling. Approximately 10 to 15 cubic meters of bilge
                                                       water was added to the bilge tank. At the time of the report, the ship was processing bilge water via an OWS and discharging via
                                                       the BCDB. The remainder was being offloaded ashore.
                                                       During maintenance on a grey water drain line while the ship was alongside in Singapore, the drain line split and three cubic
  CAM-01221         2/13/18        HAL Volendam        meters of grey water spilled into the bilge. The contaminated bilge water was pumped into drums and offloaded to a shore side
                                                       reception facility in Singapore. The offload receipt was attached to the ORB.

                                                       While the ship was alongside in San Juan, Mexico, a sun umbrella was blown overboard by a strong wind and could not be
  CAM-00573         2/14/18        Carnival Magic      recovered. There is a procedure in place for securing deck furniture in heavy weather forecasts; however the strong weather was
                                                       not expected therefore the umbrella was not secured. The Port Authority was notified of the MARPOL Annex V violation.
                                                       While the ship was en route to Kangaroo Island, Australia, 57-knot winds blew a metal and plastic deckchair overboard. At the
  CAM-00574         2/14/18        HAL Amsterdam       time of the incident, the ship was outside 12 nautical miles from land. The violation of MARPOL Annex V was reported to the
                                                       local agent. The ship investigated how to improve securing arrangements to prevent recurrence.
                                                       While the ship was alongside in Hobart, Australia, a total of 28 sun lounger cushions were blown overboard due to strong winds.
  CAM-00582         2/14/18         Carnival Spirit    The cushions could not be retrieved. It was not anticipated that large furniture would be blown overboard. The remaining furniture
                                                       was removed to prevent further incident. The Port Authority was informed of the MARPOL Annex V violation via the local agent.
                                                       While the ship was in Isla of Roatan, Honduras, a crew member accidentally dropped a UHF radio into the sea while deck
                                                       personnel were pulling a water hose onto the pier. The radio could not be recovered. The crew member was advised to be more
  CAM-00576         2/15/18        Carnival Breeze     careful. All concerned parties were notified of the MARPOL Annex V violation. The ship planned to incorporate a suitable
                                                       directive into the current project to eliminate items going overboard. A fleet-wide email reminding crew of their obligations to
                                                       prevent these incidents and to protect company property was expected to be circulated.
                                                       While the ship was underway from Nassau, Bahamas to Charleston, South Carolina, a passenger threw a plastic cup overboard. A
  CAM-00577         2/15/18        Carnival Ecstasy    sale of alcohol restriction was placed on the passenger's account. As the ship was outside territorial waters, no authorities were
                                                       notified. The EO was notified of the MARPOL Annex V violation.
                                                       During a crew drill while the ship was alongside in Progreso, Mexico, a lifejacket and a safety helmet were dropped overboard by
  CAM-00862         2/15/18       Carnival Triumph     a new crew member who was not being properly supervised. The items were dropped overboard while the crew member was                 Training
                                                       securing his safety harness. Both items were later recovered by lifeboat crew. The Port Authority was notified via the local agent.
                                                       350 kilograms of non-ODS R407c refrigerant gas leaked from an air conditioning system due to a cracked suction line. The pipe
  CAM-00578         2/15/18        Carnival Victory                                                                                                                                         Refrigerants
                                                       was repaired and the system was put back in service.




                                                                                            Page 69 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 165 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                    June 21, 2018

 Reference No.   Date of Event      Brand/Vessel                                                                Event Description                                                               CAM Incident Category
                                                          The COWS was taken out of service as it was directing water to the sludge tank. The ship had sufficient capacity in the bilge water
  CAM-00580         2/15/18           P&O Azura           holding tanks to manage the situation. An intermediate service was completed which resolved the issue of the system bowl not        OWS/Whitebox
                                                          closing correctly. The COWS was tested and returned to service later that day.
                                                          Whilst the ship was at anchor in Punta Arenas, Chile, a deck officer dropped his VHF radio overboard. The radio sank and was not
                                                          recovered. The radio was not fitted with a lanyard. The local authorities were notified of the MARPOL Annex V violation via the
  CAM-00584         2/15/18      Cunard Queen Victoria
                                                          Port Agent. The deck officer was reminded of his environmental responsibilities and instructed to take greater care when working
                                                          near the water.
                                                          While the ship was alongside in Freeport, Bahamas, a crew member dropped his identification card and cabin key as he conducted
                                                          a maintenance operation. The items, which had not been secured to his overalls, were not recovered. The MARPOL Annex V
  CAM-00586         2/16/18        Carnival Conquest
                                                          violation was reported to the Port Authority via the local agent. The Staff Captain organized a meeting with all Deck Department
                                                          personnel who were instructed to secure all similar objects inside the pockets of their clothing.
                                                          Following a drydock period, four ECS seals were found missing from a lubricating oil filter and a food waste overboard check
  CAM-00587         2/16/18       Carnival Fascination    valve. Contractors had been advised during vessel familiarization about the ECS seal requirements including the need to not         Seals or Locks
                                                          dispose of any seals. All missing seals were replaced with new seals of the same type and the Seal Log was updated.
                                                          While the ship was positioned off the Amalia Glacier, Chile, a crew member who was taking photographs with his cell phone,
  CAM-00588         2/16/18      Cunard Queen Victoria    accidentally dropped it over the side. The crew member was reminded of his environmental responsibilities. The authorities were
                                                          not notified of the MARPOL Annex V violation.
                                                          While discharging grey water en route to La Palma, Canary Islands, grey water suction was lost. An investigation found grey
                                                          water leaking into the bilge from the tank suction line. The discharge was stopped and a temporary repair was completed.
  CAM-00590         2/16/18           P&O Oriana
                                                          Approximately seven cubic meters of grey water which leaked into the bilge was offloaded to a shore side reception facility. The
                                                          source of the leak was a grey / ballast suction line. At the time of the report, a permanent repair was being scheduled.
                                                          While the ship was underway to Port Everglades, Florida, approximately three cubic meters of grey water overflowed from a
                                                          collecting tank into the bilges due to a fouled level switch. The contaminated bilges were transferred to a sludge tank and
  CAM-00591         2/16/18       PCL Crown Princess
                                                          subsequently offloaded to a shore side reception facility. An entry was made in the ORB. The level switch was repaired and put
                                                          back in service.
                                                          Shortly after the ship's arrival alongside in Tenerife, Canary Islands, the EO was informed by the Bridge of an oily sheen in the
                                                          water off the ship's bow. An investigation confirmed discoloration of the water where a bunker barge had waited for the ship to
                                                          complete its arrival maneuver. From the port bunker station, it was possible to see discoloration in the water between the bunker
                                                          barge and ship's hull as the barge came alongside. The EO confirmed with the ECR that no discharges were taking place. The local
  CAM-00593         2/17/18           P&O Oriana
                                                          agent was informed and requested to advise the Port Authorities. Deployment of absorbent materials was determined to not be
                                                          necessary as the discoloration dispersed rapidly. The crew of the barge was advised of the discoloration, but they did not take any
                                                          action. All control forms were signed off by the Captain of the barge and the bunkering operation was closely monitored. The
                                                          barge departed following completion of the operation and no further discoloration was identified.
                                                          While the ship was anchored in Princess Cays, Bahamas, an identification card was dropped overboard by a passenger. The card,
  CAM-00594         2/17/18      PCL Caribbean Princess   which was not on a lanyard, was not recovered. The MARPOL Annex V violation was reported to the port authority via the local
                                                          agent. An entry was made in the GRB.




                                                                                               Page 70 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 166 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                       June 21, 2018

 Reference No.   Date of Event      Brand/Vessel                                                                Event Description                                                                CAM Incident Category
                                                         During a routine check, an ECS seal was noted missing on a vent drain next to an EVAC overflow tank valve in the Membrane
                                                         Bioreactor (MBR) room. There was no sign of any tampering and, as a precaution, the portable pump logs were reviewed. None
                                                         had been used in the vicinity in the previous 48 hours. The Chief Engineer and EO reviewed the situation and interviewed all
  CAM-00595         2/17/18       PCL Royal Princess     technical personnel assigned to the EVAC Units and MBR Room. The plumber assigned to the unit confirmed that the seal had              Seals or Locks
                                                         been intact and present the day before. The valve is located on a main alleyway and maintenance was being conducted on a line
                                                         directly above the valve. The ship believed the seal was accidentally damaged and lost. A replacement seal was installed and
                                                         appropriate notations were made in the Seal Log and inventory.
                                                         While the ship was alongside in Buenos Aires, Argentina, a deck officer dropped his VHF radio into the water while a lifeboat was
                                                         being lowered for maintenance. The radio sank and could not be recovered. The radio was not fitted with a lanyard. The violation
  CAM-00597         2/18/18         HAL Zaandam          of MARPOL Annex V was reported to authorities via the local agent and an entry was made in the Garbage Record Book. To
                                                         prevent recurrence, all ships have been sent a reminder to use lanyards and cases when there is a risk of dropping radios
                                                         overboard.
                                                         Watch keepers opened a line drain from the dirty condensate system to ensure a representative sample was taken. The drain valve
                                                         was not closed after the sample was drawn allowing the sample line to drain into an intermediate bilge tank. The line drained
                                                         approximately 20 cubic meters of condensate over a period for eight hours before the error was noted. The mistake was not
                                                         initially identified as the line drains directly into the bilge tank and the increasing tank level was not noticed. The condensate was
  CAM-00599         2/19/18      Cunard Queen Victoria   added to the existing contents of the bilge / sludge tanks. Part of this content was offloaded to a shore side reception facility with
                                                         the remainder processed through an OWS and discharged via the BCDB. This condensate system is completely closed with no
                                                         visible sign of water flowing when the sample valve is closed. The line drains directly to a bilge tank and the increasing tank level
                                                         was initially viewed as an error. Additional signage has been produced and the ship investigated the option of locking the drain
                                                         valve with key access controlled by the ECR.
                                                         Passengers in two separate cabins were observed throwing used cigarette ends overboard while smoking on their balconies. The
                                                         passengers were informed of company and international regulations as well as the safety risks involved with throwing lit materials
  CAM-00600         2/19/18         HAL Noordam          overboard. Additional announcements were made by the Captain asking passengers to refrain from throwing anything overboard
                                                         and to reinforce the "no smoking on cabin balconies" policy. The MARPOL Annex V violations were recorded in the Garbage
                                                         Record Book.
                                                         While the ship was en route to Gisborne, New Zealand, the ram of the ship's only incinerator seized due to apparent deformation,
  CAM-00601         2/19/18         HAL Noordam          which rendered the incinerator inoperable. The ram was repaired on board and returned to service three days later. Critical spares
                                                         were on board the ship.
                                                         During a Man Overboard exercise while the ship was at anchor in Half Moon Cay, Bahamas, a support bracket fitted to a rescue
                                                         boat detached and fell overboard while the boat was being lowered. The five pound stainless steel and rubber bracket sank
  CAM-00602         2/19/18         HAL Zuiderdam                                                                                                                                               Lifeboat/Tender
                                                         immediately and could not be recovered. The Safety Officer briefed his teams to be more vigilant when deploying the rescue boats.
                                                         The MARPOL Annex V violations were recorded in the Garbage Record Book. The authorities were notified.
                                                         During routine painting maintenance while alongside in Tauranga, New Zealand, a crewmember spilled a few drops of oil-based
                                                         paint into the water. Upon noticing the paint drops in the water, the maintenance was immediately suspended. The paint could not
  CAM-00604         2/19/18        PCL Sea Princess
                                                         be recovered. A tarpaulin was in place to prevent paint entering the water but was not correctly positioned. The MARPOL Annex I
                                                         violations were recorded in the Garbage Record Book. The authorities were notified.
                                                         While the ship was alongside in Key West, FL, a passenger reported that he had dropped his identification card and driver's license
  CAM-00605         2/20/18         Carnival Breeze      into the sea. Ship security were unable to recover the items due to the strong current. The violation of MARPOL Annex V was
                                                         reported to local authorities.




                                                                                              Page 71 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 167 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                   June 21, 2018

 Reference No.   Date of Event      Brand/Vessel                                                              Event Description                                                               CAM Incident Category
                                                        During an internal transfer of grey water, a PVC pipe fitting in the air conditioning plant room failed, which caused a leak of
  CAM-01222         2/20/18      Carnival Imagination   approximately nine cubic meters of grey water into the bilges. The grey water pump was stopped to minimize the leak volume. A
                                                        corresponding entry was made in the ORB.
                                                        While the ship was en route to Yucatan, Mexico, a passenger threw three china plates, napkins, and cutlery overboard. The
  CAM-00606         2/20/18        Carnival Triumph     passenger was advised about environmental regulations. Relevant authorities were notified of the MARPOL Annex V violation via
                                                        the Cozumel agent.
                                                        While the ship was en route to Oranjestad, Aruba, the static OWS was taken out of service due to high system backpressure. It was
                                                        determined that the filters were blocked. Changing the filters did not resolve the pressure issue. The OWS was tested in
                                                        recirculation mode without the filters in place and no overpressure alarms were noted. The OWS may not be operated fully without
  CAM-00607         2/20/18        HAL Zuiderdam                                                                                                                                               OWS/Whitebox
                                                        the filters fitted. Bilge water was being processed via the ship's centrifugal OWS, which had sufficient capacity to process the bilge
                                                        content. The manufacturer assisted with faultfinding and ordered a new set of spare filters. The static OWS was resolved by
                                                        cleaning the filters for a longer duration as per the manufacturer recommendations.
                                                        During a routine check of critical valves, fittings and hatches, the EO identified a sewage reclaim tank was overflowing into the
                                                        bilge. Approximately one cubic meter of sewage had entered the bilge. The submersible pump in the tank was found disconnected,
  CAM-00608         2/20/18          P&O Oriana                                                                                                                                           Training
                                                        the return valve from the reclaim tank had been closed, and the pumps were in manual. The situation was resolved and the power
                                                        to the submersible pump was reconnected. The sewage was offloaded to a shore side reception facility.
                                                        At 0500, while the ship was underway, the Bridge instructed the ECR to close all overboard valves in preparation for entering
                                                        within 12 nautical miles. The ECR confirmed the grey and black water overboard discharge valves were closed and a
                                                        corresponding entry was made in the discharge log. At 0936, during pre-watch checks, the second EO identified that the control
  CAM-00609         2/20/18          P&O Oriana         system was indicating that the forward and aft black water overboard discharge valves were still in the open position. The valves Voyage Planning
                                                        were closed immediately and the Chief Engineer and EO were advised. The control system does not monitor the operation of
                                                        pumps and there is no indication to confirm whether any overboard discharge took place. Local port authorities were informed of
                                                        the possible discharge.
                                                        While the ship was en route to Port Chalmers, New Zealand, approximately three cubic meters of biomass overflowed from the
                                                        sewage treatment system into the bilges. An investigation found the overflow occurred due to the malfunction of a level sensor.
  CAM-01223         2/20/18      PCL Diamond Princess
                                                        The biomass was transferred to a sludge tank for subsequent offload to a shore side reception facility. The faulty sensor was
                                                        replaced and an entry was made in the ORB.
                                                        While the ship was alongside in Fort Lauderdale, FL, a crewmember dropped his VHF radio into the water. The radio sank and
                                                        could not be recovered. The crewmember had a lanyard but the radio fell into the water when the lanyard slipped off the
  CAM-00610         2/21/18         HAL Veendam
                                                        crewmember's hand. The violation of MARPOL Annex V was reported to authorities via the local agent and an entry was made in
                                                        the Garbage Record Book.
                                                        While the ship was en route to Catalina Island, Dominican Republic, a sun lounger, a chair and a footrest were reported missing
                                                        from passenger balconies. The items could not be found on board and it was concluded that they had been blown overboard by
  CAM-00612         2/22/18           AIDAluna
                                                        strong winds. All other items in the weather-affected areas were secured or removed. At the time of the incident, the ship was
                                                        outside 12 nautical miles and no authorities were informed of the MARPOL Annex V violation.
                                                        During connection of a fresh water hose to a shore connection while the ship was alongside in San Juan, Puerto Rico, a small
                                                        wooden ship platform/bench was accidentally knocked off the pier and into the water. The bench could not be recovered as it
  CAM-00613         2/22/18        Carnival Conquest
                                                        moved under the ship and was not visible. The violation of MARPOL Annex V was reported to the port authority via the local
                                                        agent. All other wooden benches were properly secured to avoid recurrence.




                                                                                             Page 72 of 94
                                   Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 168 of
CONFIDENTIAL                                        Appendix E: ECP Year One 205
                                                                             Incidents Tracked by the CAM                                                                                                     June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                               Event Description                                                                  CAM Incident Category
                                                       While the ship was alongside in Kingstown, St. Vincent, a grey water leak in an engine room caused approximately three cubic
                                                       meters of grey water to spill into the bilge. Hot and cold water supplies were isolated to galleys on two decks while a temporary
  CAM-00614         2/22/18         P&O Azura
                                                       repair was actioned. The grey water was discharged to a shore side reception facility. The water leak was from the galley grey
                                                       water main return line.
                                                       A centrifugal OWS tripped due to low pressure and bowl leakage alarms, resulting in an inability to process bilge water. Bilge
                                                       offload had already been arranged while in New Orleans, LA, due to the ship's scheduled duration inside 12 nautical miles. The
  CAM-00615         2/22/18         P&O Ventura                                                                                                                                          OWS/Whitebox
                                                       OWS was stripped down and a piston gasket was found damaged. The gasket was replaced and the OWS was tested and put back
                                                       in service.
                                                       During the ship's arrival into Puerto Madryn, Argentina, a gust of wind blew a crewmember’s plastic safety helmet overboard and
                                                       into the water from the forward mooring station. The helmet sank immediately and was not recovered. The helmet was fitted with a
  CAM-00616         2/22/18      PCL Island Princess   chinstrap, which was not being used. The crewmember was in the habit of not using the chinstrap and should have used it given
                                                       the conditions. The crewmember was counseled on his oversight/lack of understanding. The violation of MARPOL Annex V was
                                                       reported to the local agent and an entry was made in the Garbage Record Book.
                                                       While the ship was en route to Cape Horn, Chile, 22 cubic meters of pool-water overflowed into the bilge from a collection tank.
                                                       An investigation found a recirculation pipe in a pool machinery room was damaged. Heavy weather affected the level in a
                                                       compensation tank, resulting in the continuous start and stop of a recirculating pump and the subsequent failure of the pipe at a
  CAM-01224         2/22/18      PCL Island Princess
                                                       weak joint. The bilge water was transferred to two bilge-settling tanks and subsequently offloaded to a shore side reception facility
                                                       in Ushuaia, Chile. The damaged pipe has been replaced and an additional bracket installed to support the pipeline and prevent
                                                       recurrence. Relevant entries were made in the ORB. No overboard discharge occurred during the incident.
                                                       While processing bilge water for discharge, the static OWS failed due to a low sample flow alarm. While subsequently cleaning
                                                                                                                                                                                               OWS/Whitebox
  CAM-00618         2/22/18         P&O Azura          the affected orifice to improve the sample flow, the seal for the Oil Content Monitor (OCM) inlet was damaged. The OCM was
                                                                                                                                                                                               OCM
                                                       replaced before returning the OWS to service.
                                                       As the U.S. Coast Guard (USCG) were disembarking the ship in New Orleans, LA, they observed an oily sheen on the quay
                                                       underneath the hose stowage area of a sludge receiving truck. The source of the oil was noted as a drainage hole on the truck
                                                       stowage area, which had been flushed with rainwater. No oil entered the sea. The USCG confirmed their satisfaction with the
  CAM-01225         2/23/18         P&O Ventura        ship's precautions and response. The USCG identified the contractor was not in possession of the appropriate emergency
                                                       procedures as required by U.S. regulation and ordered the ongoing sludge discharge operation to be stopped. The ship had used a
                                                       company-approved vendor and had presumed all required documentation would be in order. The USCG attended the ship the
                                                       following day to check all corresponding paperwork, check sheets and bunker stations. All were found satisfactory.
                                                       Following departure from Miami, FL, the Bridge informed the ECR through talk-back communication that the ship was outside
                                                       three nautical miles. The EOOW misheard and replied back stating that the ship was outside 12 nautical miles. The Bridge did not
                                                       identify the error and replied "Yes.” Approximately ten minutes later, the EOOW informed the Bridge that black and grey water
                                                       discharges were about to commence. The Bridge instructed the EOOW to stop immediately. The EOOW followed the Bridge's             Voyage Planning
  CAM-00619         2/24/18        Carnival Glory
                                                       instructions and cancelled the operation. At this point, the overboard discharge valve was open but no other valves were open and Training
                                                       no discharge pumps had been started. No overboard discharge of black or grey water took place. The Captain, Chief Engineer and
                                                       EO reviewed the VDR records and subsequently reported the near miss event. The cause of the near miss incident was
                                                       miscommunications between the Bridge and the ECR which also resulted in the EOOW not correctly following procedures.




                                                                                             Page 73 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 169 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                       June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                               Event Description                                                                  CAM Incident Category
                                                       While opening a sludge tank in preparation for a manual transfer of sludge operation, it was noted that a plastic ECS seal on the
                                                       tank-accessing hatch was missing. The second seal on the same hatch was present and intact. The missing seal could not be found
                                                       in the nearby area, which was observed as being clean with no visible oily residues. No signs of tampering or anomalies on the
  CAM-00620         2/24/18        Costa Atlantica                                                                                                                                             Training
                                                       tank quantity were noted. It is presumed that the missing seal was accidentally broken during routine cleaning operations. On
                                                       completion of the manual sludge transfer, two new plastic seals of the same type were fitted to the hatch and the corresponding log
                                                       was updated accordingly.
                                                       While bilge water was being processed, the Oil Content Monitor (OCM) on an OWS was noted to be reading an abnormally high
                                                       ppm content, closing the three-way valve and continuously recirculating the bilge. The OWS was isolated and the OCM was
  CAM-00621         2/24/18        Costa Deliziosa                                                                                                                                             OCM
                                                       replaced. The OWS was tested and put back in service. The OCM failure was recorded in the ORB and the faulty OCM unit has
                                                       been returned to the manufacturer for repair.
                                                       While the ship was alongside in Sydney, Australia, the lubricating oil sludge tanks were noted to contain an additional 13.5 cubic
                                                       meters of sludge. It is believed that the increase in sludge volume was due to the bowl of the centrifugal OWS not sealing
  CAM-00622         2/24/18      Cunard Queen Mary 2                                                                                                                                           OWS/Whitebox
                                                       properly, allowing oil to pass down the sludge discharge chute from the OWS to the sludge tank. The OWS was taken out of
                                                       service.
                                                       As the ship was departing from Barbados, a grey water leak was reported in the aft auxiliary room. An investigation identified a
                                                       failure in the grey water line before the overboard valve. A watch keeper error had resulted in a tank filling valve being closed and
  CAM-00624         2/24/18          P&O Azura         the main line becoming pressurized. Approximately 10 cubic meters of grey water spilled into the bilge before the pipe was              Training
                                                       isolated. A temporary repair was applied prior to completing a permanent repair, which was witnessed by a Classification Society
                                                       surveyor. The grey water in the bilge was offloaded to a shore side reception facility on 26 February.
                                                       During Passenger Ship Safety Certificate tests while alongside in Barbados, the hydraulic return line for a lifeboat davit failed. No
                                                       oil entered the water. A replacement pipe was manufactured onboard and installed. Five crewmembers were inside the lifeboat for
  CAM-00625         2/24/18          P&O Azura                                                                                                                                               Lifeboat/Tender
                                                       approximately five hours. The Bridge was in continuous communication with the lifeboat and the crew were transferred back
                                                       onboard safely. The ship's departure was not delayed and the lifeboat was put back in service prior to departure.
                                                       During preparations for cleaning strainers while the ship was alongside in Barbados, an ECS seal was noted missing from a sea
                                                       chest drain line. A search of the bilge area did not locate the missing seal. The blanking plug and securing bolt were still in place   Seals or Locks
  CAM-00626         2/24/18          P&O Azura
                                                       and an examination of the portable pump log indicated no unauthorized use. The strainer was cleaned and the seal was replaced           Training
                                                       with one of the same type. All technical staff were briefed on the importance of reporting.
                                                       While offloading garbage in Castries, St Lucia, a towel was blown from a bale of garbage into the water. The towel could not be
                                                       retrieved. The incident was witnessed by the EO. A net was in place during the offloading but the wind blew the towel beyond the
  CAM-00623         2/24/18         P&O Oceana                                                                                                                                                 Training
                                                       net limits. The MARPOL Annex V violation was reported to the port authority via the local agent. An entry was not made in the
                                                       Garbage Record Book. The garbage team was reminded to ensure there are no loose items during offloads.
                                                       During the ship's arrival into Zeebrugge, Belgium, a deck officer's plastic safety helmet was blown into the water. The helmet
                                                       could not be recovered due to the weather conditions and the fact that the ship was under pilotage. The port authority was notified
  CAM-00627         2/24/18          P&O Oriana                                                                                                                                                Training
                                                       of the MARPOL Annex V violation via the port agent and an entry was made in the Garbage Record Book. The deck team were
                                                       reminded to ensure safety helmets are worn as securely as possible. Helmet chinstraps have been ordered.
                                                       While the ship was approaching New Orleans, LA, and inside three nautical miles from land, the ship listed by approximately one
                                                       degree, causing four cubic meters of water to overflow from the main pool and spill overboard through the scuppers. At the time of
  CAM-00628         2/25/18       Carnival Triumph                                                                                                                                             Voyage Planning
                                                       the violation of company requirements, the pool had been in 'Beach Mode' with a chlorine content of 3.47 ppm. The U.S. Coast
                                                       Guard and National Response Coordination Center were notified.




                                                                                             Page 74 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 170 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                              Event Description                                                             CAM Incident Category
                                                       While the ship was underway, 1.2 cubic meters of sewage overflowed into the incinerator room bilge from a sewage treatment
                                                       system tank. The spill was caused by foaming in the treatment tank. The spilled waste was transferred into drums for landing
  CAM-01226         2/25/18      Cunard Queen Mary 2
                                                       ashore and the space was washed and sanitized. The automation and control of the sewage treatment discharge pump, tank level
                                                       transmitter, and de-foaming system will be addressed.
                                                       57kg of ODS R22 refrigeration gas leaked from an air conditioning compressor due to a failed shaft seal in violation of MARPOL
  CAM-00629         2/25/18        Carnival Fantasy    Annex VI. The seal was replaced and the system was put back in service. A corresponding entry was made in the Refrigeration        Refrigerants
                                                       Record Book and Oil Record Book.
                                                       During a Refrigeration Engineer handover review of the Refrigeration Record Book (RRB), the following discrepancies were
                                                       identified: 24 cylinders of R410a 45kg (versus 26 cylinders on board), one cylinder of R134a 13.6 kg (zero on board), four
  CAM-00630         2/25/18         Carnival Pride     cylinders of R404a 10.9 kg (zero on board), and three cylinders of R404a 45 kg (two on board). Improper recording of               Recordkeeping
                                                       offload/onload cylinder quantities is believed to be the cause of the discrepancies. The RRB was updated with the correct cylinder
                                                       quantities and notes were placed on the relevant pages to reflect the updates.
                                                       During a weekly lifeboat drill while the ship was alongside in Cozumel, Mexico, a boat hook was used to move a fall block
                                                       towards the lifeboat. The boat hook slipped out of the hands of a crewmember and fell into the water. The hook was made of
  CAM-00693         2/25/18         HAL Veendam
                                                       aluminum and rubber and could not be recovered. The loss is a violation of MARPOL Annex V. The port agent was informed and
                                                       an entry was made in the Garbage Record Book.
                                                       While the ship was en route to Singapore, approximately half a cubic meter of grey water overflowed to the ship's bilge from a
                                                       grey water collecting tank. The automatic discharge pumps for the tank were found off resulting in the overflow. When switched
                                                       back to automatic, the overflow stopped and the tank level lowered. On reviewing the ECR alarm list, it was found that the high-
  CAM-00631         2/25/18        HAL Volendam
                                                       level alarm on the grey water tank had not been activated. The high-level sensor has since been tested and found in good working
                                                       order. The grey water from the bilges was collected into drums for off-loading in Singapore. The affected bilge section was
                                                       cleaned. No overboard discharge occurred during this event. An entry was made in the Oil Record Book.
                                                       During maintenance of the lifeboat davits while the ship was at anchor in Punta Arenas, Chile, the Senior First Officer was
  CAM-00692         2/25/18      PCL Island Princess   descending the maintenance ladder when his UHF radio accidentally fell into the water and sank. The loss is a violation of
                                                       MARPOL Annex V. The port agent was informed and an entry was made in the Garbage Record Book.
                                                       260 kg of non-ODS R407c refrigerant gas leaked from an air conditioning system due to a damaged valve gasket. The gasket was
  CAM-00632         2/26/18        Carnival Elation                                                                                                                                     Refrigerants
                                                       replaced and the system put back in service.
                                                       While the ship was en route to Dunedin, New Zealand, a passenger dropped a ball overboard from a cabin balcony. Security
  CAM-00633         2/26/18        Carnival Legend     advised the passenger not to repeat the activity leading to the MARPOL Annex V violation. The ship was outside 12 nautical
                                                       miles of land so no authorities were notified.
                                                       During a ballast exchange operation, a leak of approximately 60 cubic meters of ballast water was identified in the bow thruster
                                                       compartment. The source was believed to have been a leaking gasket on a ballast tank lid. The ballast exchange operation was
  CAM-01227         2/26/18      Cunard Queen Mary 2   halted and the water ingress stopped. The water was transferred using portable pumps into the machinery space bilges for
                                                       subsequent processing and discharge via the bilge treatment system. The bow thruster space was checked and no evidence of leaks
                                                       from any source above the tank top was identified, including the bow thruster door mechanisms.
                                                       During a routine review of CCTV footage, the security team noted the canvas shroud for the starboard bridge wing console had
  CAM-00634         2/26/18          P&O Oriana        become detached and subsequently been blown overboard. The ship was in international waters at the time of the incident and so
                                                       the MARPOL Annex V violation was not reported to authorities. An entry was made in the Garbage Record Book.




                                                                                            Page 75 of 94
                                   Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 171 of
CONFIDENTIAL                                        Appendix E: ECP Year One 205
                                                                             Incidents Tracked by the CAM                                                                                                      June 21, 2018

 Reference No.   Date of Event    Brand/Vessel                                                               Event Description                                                                 CAM Incident Category
                                                      While the ship was entering the channel towards the port of Melbourne, Australia, a crewmember dropped his identification card
  CAM-00635         2/26/18        HAL Noordam        into the water. The accident occurred while the crewmember was working on the mooring deck with winds gusting up to 39 knots.
                                                      The loss is a violation of MARPOL Annex V.
                                                      During a routine check, the EO noted three ECS seals missing from a sludge tank manhole cover plate and a grey water drain
                                                      valve. The areas around the two involved vulnerable points were observed as being clean with no traces of oil and no evidence of
                                                                                                                                                                                             Seals or Locks
  CAM-00637         2/27/18       Carnival Dream      intentional tampering was identified. The second sets of seals on both vulnerable points were in place and intact. It was concluded
                                                                                                                                                                                             Training
                                                      that the missing seals were unintentionally broken and lost during cleaning and maintenance works performed in the area. A new
                                                      set of seals of the same type was installed and the corresponding logs updated accordingly.
                                                      During painting operations while the ship was alongside in Mahogany Bay, Roatan, a Security Officer reported paint chips in the
                                                      water. A tarp was in place to contain any spilled liquid paint. Knowledge of the correct painting procedures was confirmed and
  CAM-00638         2/27/18       Carnival Miracle                                                                                                                                           Training
                                                      initial preparations followed company policy. The tarp size was inadequate and could not have prevented the dry paint from falling
                                                      into the water. Local authorities were notified.
                                                      A flexible hydraulic oil hose on a lifeboat davit arm failed and approximately 1.5 liters of hydraulic oil spilled onto the deck. No
  CAM-00639         2/27/18      Carnival Sunshine    oil reached the scuppers. The spill was contained and cleaned. The hose was replaced and subsequently found to have failed due to      Lifeboat/Tender
                                                      corrosion.
                                                      While opening a sludge tank in preparation for a manual transfer of sludge operation, it was noted that one plastic ECS seal on the
                                                      tank-accessing hatch was missing. The second seal on the same hatch was present and intact. The missing seal could not be found
                                                      in the nearby area, which was observed as being clean with no visible oily residues. No signs of tampering or anomalies on the
  CAM-00640         2/27/18       Costa Atlantica                                                                                                                                            Seals or Locks
                                                      tank quantity were noted. It was presumed that the missing seal was accidentally broken during routine cleaning operations. On
                                                      completion of the manual sludge transfer, two new plastic seals of the same type were fitted to the hatch and the corresponding log
                                                      was updated accordingly.
                                                      During gangway recovery operations in St. John's, Antigua, a UHF radio was dropped into the water. The radio sank immediately
  CAM-00641         2/27/18         P&O Aurora        and was not recovered. The MARPOL Annex V violation was reported to the port authority and an entry was made in the Garbage
                                                      Record Book.
                                                      The Chief Engineer was notified that an erasable pen was being used to make entries in the Oil Record Book (ORB). The Chief
                                                      Engineer verified that the pen being used was erasable and immediately informed the Captain. The involved EOOW was                     Oil Record Book
  CAM-00642         2/27/18       Carnival Miracle
                                                      interviewed. No evidence of records falsification was identified. The EOOW was instructed to stop ordering and using erasable          Recordkeeping
                                                      pens with immediate effect.
                                                      During tender operations while the ship was at anchor in San Juan Del Sur, Nicaragua, it was necessary to make unplanned repairs
                                                      to a tender's starboard engine. While the rocker arm cover was open, the engine was accidentally started and some oil was sprayed Lifeboat/Tender
  CAM-00643         2/27/18      PCL Coral Princess
                                                      into the engine bay. A small non-quantifiable amount went overboard in violation of MARPOL Annex I. The oil created a sheen Training
                                                      on the water, which quickly dissipated. An entry was made in the ORB and the ship's agent was informed over the phone.
                                                      While cleaning the anchor during preparations for departure from Belize, a crewmember dropped a small plastic brush into the
  CAM-00645         2/28/18        Carnival Glory     water. The brush was not recovered. The brush did not have a lanyard. The MARPOL Annex V violation was reported to the port
                                                      authority via the local agent.
                                                      After responding to a high level bilge alarm in the aft engine room, the EOOW found a main sea water pipe in-board of the
                                                      overboard valve had failed, resulting in a 6.4 cubic meters leak of sea water into the space. The pipe was isolated to allow
  CAM-01228         2/28/18       Carnival Legend
                                                      personnel to perform a temporary repair prior to fitting a concrete box. The water was contained on board in a bilge tank. There
                                                      was no operational or stability impact. A temporary repair was made using rubber and metal clamps.




                                                                                           Page 76 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 172 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                        June 21, 2018

 Reference No.   Date of Event      Brand/Vessel                                                                 Event Description                                                                  CAM Incident Category
                                                         During a Man Overboard drill while the ship was alongside in Mazatlan, Mexico, a crewmember on the boat deck accidentally lost
                                                         his UHF radio overboard. The radio had been attached to the crewmember's clothing with a velcro strap, which opened under the
  CAM-00648         2/28/18         HAL Oosterdam
                                                         weight of the radio when the crewmember looked over the rails. The radio sank immediately and could not be recovered. The loss
                                                         was a violation of MARPOL Annex V. The port agent was informed and an entry was made in the Garbage Record Book.
                                                         During a routine check, the EO noted an ECS seal was missing from a food waste back flush valve. The area around the vulnerable
                                                         point was observed as being clean with no traces of oil and no evidence of intentional tampering was identified. It was concluded Seals or Locks
  CAM-00650         3/1/18          Carnival Dream
                                                         that the missing seals were unintentionally broken and lost during cleaning and maintenance works performed in the area. The seal Training
                                                         will be replaced with a padlock and the corresponding logs updated accordingly.
                                                         While the ship was alongside in Castries, St. Lucia, a crewmember dropped her plastic identification card and it was subsequently
  CAM-00651         3/1/18        Carnival Fascination   blown overboard. It was not possible to recover the card. The MAR POL Annex V violation was reported to the port authority via
                                                         the local agent.
                                                         A routine check of the records revealed that since 1 October 2015, during arrivals and departures from Sydney, Australia, the ship
                                                         did not always complete fuel changeovers within the timeframe required by regional/local regulations. This occurred over almost 3
  CAM-00764         3/1/18          Carnival Spirit      years and even in the aggregate was a little over 3 hours total at departure and a little over an hour on arrival as this did not happen Training
                                                         every call. The correct guidance is shown in company policy, however, the terms “arrival” and “departure” were misinterpreted to
                                                         have meant “Finished with Engines” and “Standby Engines” instead of “first securely moored” and “untied from mooring.”
                                                         While a service technician was performing a routine check of lifeboat winches, he noted a minor oil leak. The Safety Officer
                                                         assisted with an inspection and a failed seal was identified. The oil below the affected winch was immediately cleaned after
  CAM-00655         3/2/18         Carnival Fantasy                                                                                                                                              Lifeboat/Tender
                                                         liaising with the EO to confirm that no overboard spill had occurred. The incident was recorded as a Potentially Significant LSA
                                                         Failure.
                                                         Low output flow was noted when discharging overboard via the aft centrifugal OWS. The OWS was shut down and the suction
  CAM-00656         3/2/18       Cunard Queen Mary 2     strainer was cleaned. The flow rate did not improve and the OWS was stopped again for the feed pump to be overhauled. The               OWS/Whitebox
                                                         OWS is back in service with no further issues.
                                                         During a sludge offload operation while alongside in Wellington, New Zealand, a minor leak occurred from the contractor's truck
                                                         on the quayside. Approximately one liter of oil spilled onto the berth and a very small volume of oil sprayed onto the ship's hull.
  CAM-01229         3/2/18       Cunard Queen Mary 2     There was no indication that any oil entered the water. Ship staff attempted to clean the ship's hull with dry cloths but were
                                                         unsuccessful. The Port Authority granted permission for the use of deck cleaning chemicals to complete the cleanup operation.
                                                         The port authority later inspected the area and confirmed satisfaction with the ship's actions.
                                                         While flushing the Oil Content Monitor (OCM) of the static OWS, the OCM failed to indicate 0 ppm +/- 2ppm as per
  CAM-00657         3/2/18       Cunard Queen Victoria                                                                                                                                           OCM
                                                         manufacturer instructions. The OCM was replaced and the OWS was tested and returned to service.
                                                         During an inspection of stub pipes, the Chief Engineer noted that one of the two ECS seals on the BCDB overboard flange was
                                                         missing. The seal was found in the bilge below the BCDB. The seal is believed to have been knocked off when locking/unlocking
  CAM-01230         3/2/18           P&O Aurora
                                                         the overboard valve, which was very close to the affected flange. The seal was replaced with one of the same type and the duty to
                                                         report any missing or disturbed ECS seals was reinforced with the engine room team.
                                                         During an inspection of stub pipes, the Chief Engineer noted that one of the two ECS seals on the BCDB overboard flange was
                                                         missing. The seal was found in the bilge below the BCDB. The seal is believed to have been knocked off when locking/unlocking
  CAM-00658         3/2/18            P&O Azura                                                                                                                                                  Seals or Locks
                                                         the overboard valve which is very close to the affected flange. The seal was replaced with one of the same type and the duty to
                                                         report any missing or disturbed ECS seals was reinforced with the engine room team.




                                                                                               Page 77 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 173 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                   June 21, 2018

 Reference No.   Date of Event       Brand/Vessel                                                                Event Description                                                              CAM Incident Category
                                                          While the ship was en route to Key West, FL, the ship unintentionally discharged fully exchanged ballast water in violation of
                                                          Federal regulations. It was determined that the intended discharge was from a permeate tank. Closed loop communications
                                                          between the Bridge and ECR were correctly conducted to discuss the intended discharge but through human error and inattention
                                                          to detail, the Senior Watch Engineer opened the incorrect valve. The OOW observed that a ballast tank was being discharged in  Voyage Planning
  CAM-00661         3/3/18       HAL Nieuw Amsterdam
                                                          error and informed the ECR. The process was in operation for 22 minutes, during which 96 cubic meters of ballast water were    Training
                                                          discharged. The U.S. Coast Guard was informed and an amended Ballast Water Management Report was sent to the National
                                                          Ballast Information Clearinghouse. It was confirmed with the Environmental Protection Agency (EPA) that the discharge was not
                                                          a violation of Vessel General Permit requirements since the discharge occurred at seven nautical miles from land.
                                                          During a game on an open deck, a quoit made of rope and plastic was lost overboard. The ship was underway and so the quoit
  CAM-00663         3/3/18            P&O Aurora          could not be recovered. The incident occurred outside 12 nautical miles and so no authorities were advised of the MARPOL
                                                          Annex V violation. An entry was not made in the Garbage Record Book.
                                                          While the ship was transiting the Great Barrier Reef Marine Park, oil was noted on the promenade deck adjacent to a lifeboat.
                                                          Approximately half a liter of hydraulic oil was noted to have leaked from a stainless steel cabinet containing a pressure gauge and
                                                          charging point. A small amount of oil had reached a nearby scupper. The oil was quickly removed from the scupper grating and
  CAM-00664         3/4/18       Cunard Queen Elizabeth   deck. When the cabinet was opened, it was determined that the leak was from the gauge fitting. The gauge valve was isolated and
                                                          absorbent sheeting was placed under the fitting and recharging point. The grating on the affected scupper was lifted and
                                                          approximately 20 milliliters of oil were found inside indicating that a MARPOL Annex I violation had occurred. The scupper was
                                                          cleaned using oil absorbent sheeting. The defective gauge and all corresponding seals were replaced.


                                                          While flushing the Oil Content Monitor (OCM) of the static OWS, the OCM failed to indicate 0 ppm +/- 2 ppm as per
  CAM-01231         3/4/18       Cunard Queen Victoria
                                                          manufacturer instructions. The OCM was replaced and the OWS was tested and returned to service.

                                                          With the ship alongside in New Orleans, LA, a crewmember reported that his plastic nametag had fallen into the sea while he was
                                                          working on the ship's catwalk. It was not recovered. The nametag had been worn correctly, but became detached due to contact
  CAM-00666         3/4/18          Carnival Dream
                                                          with the crewmember's protective safety harness. The crewmember was advised to place his nametag in a secure pocket when
                                                          performing future operations. The port authority was notified of the MARPOL Annex V violation.
                                                          While checking ECS seals in the engine room, the EO noted one seal missing from a bilge/fire pump. The seal could not be found.
                                                          After questioning all concerned team members under the supervision of the Chief Engineer (CE), it was concluded that the seal
  CAM-00667         3/4/18         Carnival Freedom                                                                                                                                          Seals or Locks
                                                          might have been unintentionally broken while transferring materials in the engine spaces. It was confirmed by the CE that no
                                                          unauthorized access had been made. A new seal was applied and the Seal Log was updated.
                                                          506kg of non-ODS R407c refrigeration gas leaked from a refrigeration system due to the failure of a fitting on a suction line. The
  CAM-00668         3/4/18           Carnival Magic                                                                                                                                          Refrigerants
                                                          system was repaired and put back in service.
                                                          The discharge isolating valve for a grey water tank corroded through and leaked. Approximately 200 liters of grey water leaked
  CAM-01232         3/4/18           P&O Ventura          into the bilge. The grey water was processed through onboard equipment and discharged. There was no spare valve on board the
                                                          ship. Temporary repairs were undertaken to stop the grey water leak. An urgent order was raised for a replacement valve.
                                                          One of the ship's incinerators has been out of service due since Jan 2017 due to a damaged silo screw. Incinerator waste is being
  CAM-00670         3/5/18          Carnival Elation      processed via the ship's second incinerator or landed ashore as needed. No repair was made because the incinerator was being
                                                          considered for decommission.




                                                                                               Page 78 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 174 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                  June 21, 2018

 Reference No.   Date of Event      Brand/Vessel                                                               Event Description                                                                 CAM Incident Category
                                                        While the ship was en route to Southampton, UK, the motorman reported a lubricating oil leak from pipework forward of a Diesel
                                                        Generator (DG). The affected DG was stopped and isolated. Approximately 500 liters of lubricating oil leaked into the bilge. The
  CAM-01233         3/5/18           P&O Ventura
                                                        ship's speed was reduced to match the available power. The spilled oil was removed and transferred into the sludge system. The
                                                        lubricating oil leak was repaired and the DG was put back in service. Also recorded as a Fuel Leak and a Partial loss of propulsion.
                                                        While the ship was alongside in Darwin, Australia, a cabin steward reported that she had dropped her window cleaning blade
                                                        overboard. The blade had come loose from its handle while being used. The blade sank immediately and could not be recovered.
  CAM-00671         3/5/18         Seabourn Encore                                                                                                                                             Training
                                                        The port agent and port authority were advised of the violation of MARPOL Annex V and an entry was made in the Garbage
                                                        Record Book.
                                                        While underway with four Diesel Generators (DG) on line, two DGs were being operated through exhaust gas cleaning systems
                                                        (EGCS), while the other two were being changed from HFO to MGO before entering the U.S. Caribbean ECA. During the
                                                        changeover, a fuel leak was discovered on one of the DGs at a connection piece on a low pressure inlet pipe. The involved DG was
                                                        immediately shut down and the ship's speed was reduced. Approximately one hour later, another fuel leak was discovered on the
                                                        other DG undergoing fuel changeover, with the leak occurring in the same location as the previous DG. Additionally, on the same
                                                        DG, a leak occurred on a high pressure fuel pipe creating fuel spray. The involved DG was shut down and ship's speed was further
  CAM-00672         3/6/18            AIDAluna
                                                        reduced. It was determined that activation of the fixed high pressure water mist system was not required. Failed 0-rings were found
                                                        to have caused each of the leaks and are believed to have failed prematurely due to the differences in temperatures experienced
                                                        during multiple fuel changeovers. Approximately 10 to 15 liters of fuel leaked from each of the affected DGs during this incident.
                                                        The fuel was collected by the fuel drainage system. The involved 0-rings were replaced allowing all DGs to be put back online.
                                                        Plans were made to change additional 0-rings on the other DGs while in the next port of call. The ship's speed was fully restored
                                                        approximately six hours after the initial event occurred. Also recorded as a Partial loss of propulsion.

                                                        An ECS seal was noted as missing from the second stage of an OWS. There was no suspicion of tampering with the equipment or
  CAM-00674         3/6/18          Carnival Pride      of any illegal discharge. The subject OWS was being decommissioned by a team of technicians and the seal was likely to have Seals or Locks
                                                        been accidentally broken and lost during this operation. The equipment was subsequently decommissioned.
                                                        While investigating a faulty pool buffer tank level indication sensor in preparation for maintenance while the ship was in the Bay
                                                        Of Islands, New Zealand, loose connections were noted on an alarm and control transducer terminal connection box. Tightening
                                                        these connections triggered the automation system to discharge approximately 500 liters of pool water via the buffer tank overflow
  CAM-00675         3/6/18       Cunard Queen Mary 2    in violation of company requirements. The discharge was immediately identified as the overflow was close to the pontoon where
                                                        tendering operations were underway. The 'stop and close' function for the affected pool was activated, which stopped discharge.
                                                        The pool was closed and netted. Pool circulation was reinstated and the pool was re-opened once the ship had departed and was
                                                        beyond four nautical miles. Local authorities were advised via the port agent.
                                                        While dismantling a tender platform, following completion of tender operations in Fuerte Amador, Panama, the locking pin of a
                                                        fender was removed and accidentally dropped into the water. The steel pin sank immediately and could not be recovered. The Port
  CAM-00696         3/6/18          HAL Maasdam                                                                                                                                            Lifeboat/Tender
                                                        Authority was informed of the MARPOL Annex V violation via the ship's local agent. An entry was made in the Garbage Record
                                                        Book.
                                                        While the ship was at anchor in Port Arthur, Australia, a crewmember dropped his identification card into the sea. The
                                                        crewmember was sitting on a tender upper deck and, as he tried to retrieve his card from his pocket, it slipped from his hands and
  CAM-00694         3/6/18       PCL Diamond Princess
                                                        was blown overboard. The local agent was notified of the MAR POL Annex V violation and an entry was made in the Garbage
                                                        Record Book.




                                                                                             Page 79 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 175 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                   June 21, 2018

 Reference No.   Date of Event      Brand/Vessel                                                              Event Description                                                              CAM Incident Category
                                                        While the ship was at anchor in Stanley, Falkland Islands, one of the "Keep 50 meters Clear" plastic tarpaulin banners was blown
                                                        into the water where it sank immediately. The security team had previously removed the banner, folded it, and placed it on a
  CAM-00695         3/6/18       PCL Emerald Princess
                                                        storage box near the rails. The wind lifted the banner off the storage box and into the water. The Port Agent was informed of the
                                                        MARPOL Annex V violation and an entry was made in the Garbage Record Book.
                                                        While the ship was en route to Mazatlan, Mexico, approximately 22 cubic meters of sewage overflowed into the bilges. The ship
                                                        was discharging treated sewage but a Membrane Bioreactor {MBR) de-sludge tank inlet valve was left open, causing it to
                                                        overflow with a mixture of treated and untreated sewage. The high-level alarm activated and the discharge operation was stopped.
  CAM-00698         3/6/18        PCL Ruby Princess
                                                        The sewage was transferred from the bilges to the sludge tank and subsequently offloaded to a shore side reception facility. No
                                                        overboard discharge of the mixed treated/untreated sewage occurred during the incident. An entry was made in the Oil Record
                                                        Book.
                                                        During a routine check of critical valves and tanks hatches, the EO noted two ECS seals missing from the manhole cover plate on
                                                        a grey water tank. The areas around the involved vulnerable point were observed as being clean with no traces of oil and no         Seals or Locks
  CAM-00676         3/7/18          Carnival Dream
                                                        evidence of intentional tampering. The missing seals could not be found. New seals of the same type were immediately installed      Training
                                                        and the corresponding logs updated accordingly.
                                                        While connecting water hoses in Ocho Rios, Jamaica, a crewmember dropped his ship telephone into the water. The telephone,
  CAM-00677         3/7/18         Carnival Freedom     which was not fitted with a lanyard, was not recovered. The port authority was notified of the MARPOL Annex V violation via the
                                                        local agent and no further action was requested.
                                                        During routine rounds in the aft pool machinery pump room, an electric submersible pump was discovered by the floor's drain
                                                        well. The submersible pump can only be switched locally by plugging or unplugging the relevant socket. The pump's delivery was
                                                        cross-connected with the pool drain manifold to the grey water holding tanks and consequently with the same pool drain. No
  CAM-00678         3/7/18        Carnival Sunshine
                                                        additional information could be found regarding the cause of this installation. The pump was dismantled and removed including
                                                        the related delivery line. The connection to the grey water manifold was also subsequently blind flanged, welded, and listed in the
                                                        Critical Valves/Fittings List.
                                                        Shortly after departure from Manila, Philippines, passengers reported seeing items being thrown from a cabin balcony by a male
  CAM-00679         3/7/18           P&O Arcadia        passenger. The items were described as possibly being fruit and paper. The passenger witnesses and cabin stewards were
                                                        interviewed and CCTV footage was reviewed.
                                                        While the ship was en route to Kingstown, Jamaica, the centrifugal OWS tripped due to a sludge tank high level alarm, which
                                                        resulted in reduced capacity to process bilge water. It was believed that the increase in sludge volume was due to the bowl of the
  CAM-00680         3/7/18           P&O Azura          centrifugal OWS not sealing properly, which allowed oil to pass down the sludge discharge chute from the OWS to the sludge          OWS/Whitebox
                                                        tank. The OWS was taken out of service and opened for overhaul. A damaged seal was identified and replaced with an onboard
                                                        spare before testing and putting the OWS back in service.
                                                        While the ship was en route to San Martin, Peru, the BCDB was taken out of service for approximately 10 hours. The three-way
  CAM-00699         3/7/18        PCL Island Princess   valve was stuck in the recirculation position and was identified prior to a planned discharge. The failure was due to a corroded coil OWS/Whitebox
                                                        in a solenoid that was subsequently replaced before putting the BCDB back in service. An entry was made in the Oil Record Book.




                                                                                            Page 80 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 176 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                     June 21, 2018

 Reference No.   Date of Event       Brand/Vessel                                                               Event Description                                                               CAM Incident Category
                                                          A plumber signed out all keys required to complete maintenance on a toilet evacuation system. After completing the maintenance,
                                                          all locks were refitted and secured correctly. The ship then carried out a full crew drill where the plumber took up his emergency
                                                          response role. On completion of the drill, the plumber changed and took his boiler suit to the ship's laundry. The following day, a
  CAM-00681         3/8/18       Cunard Queen Elizabeth   different plumber went to sign out the same keys and found that they were missing from the key locker. The plumber from the         Training
                                                          previous day was called who realized the keys were in his boiler suit pocket in the ship's laundry. The keys were recovered and
                                                          returned to the key locker. The portable pump log was checked and the use of all pumps during the time the keys were not under
                                                          control was accounted for. The key log was annotated to reflect the control system violation.
                                                          While the ship was alongside in St. George's, Grenada, an aluminum rat guard attached to a mooring line was dropped into the
                                                          water. The rat guard had become stuck between a mooring rope and the side of the ship. A crewmember attempted to free the
  CAM-00700         3/8/18         Seabourn Odyssey
                                                          guard but was unable to maintain his grip. The port agent and local authority were notified of the MARPOL Annex V violation
                                                          and it was confirmed that no further action was required.
                                                          During a routine check of damage control equipment, the ECS seal on an emergency portable pump was noted as missing. The
                                                          area was thoroughly checked but the missing seal was not recovered. It was concluded that the seal was likely to have been broken
  CAM-00682         3/9/18        Carnival Fascination                                                                                                                                        Seals or Locks
                                                          while the fire patrol team was cleaning the locker and conducting the monthly inventory. The missing seal was replaced and the
                                                          Portable Pump Log and Seal Log were updated.
                                                          While the ship was en route to Naha, Japan, the strong wind detached a stainless steel panel that had been mounted under the
  CAM-00683         3/9/18           Costa Atlantica      starboard bridge wing. The panel was installed during recent dry-dock works and was secured with rivets. The panel fell into the
                                                          sea and could not be recovered. No authorities were informed of the MARPOL Annex V violation.
                                                          The ship was temporarily detained by the Australian Maritime Safety Authority (AMSA) during her call in Cairns, Australia. The
                                                          AMSA Port State Control inspector found a number of deficiencies involving the ship's previous voyage plan and execution,
                                                          ECDIS symbology knowledge, and a tender operations risk assessment. The ship, in consultation with a Classification Society         Voyage Planning
  CAM-00684         3/9/18          Costa Luminosa
                                                          surveyor and shore side management, submitted proof to resolve all deficiencies to the satisfaction of the Port State Control. The Lifeboat/Tender
                                                          ship was released by AMSA and the onward itinerary was not expected to have been substantially affected by the three-hour delay
                                                          in departure.
                                                          During routine propeller polishing dive maintenance in Port Everglades, FL, divers noted an oil leak from the starboard podded
                                                          propeller. The leak was confirmed as coming from the propeller seal and not the slewing arrangement. The leak was described as
                                                          one droplet every 20 seconds with an occasional flurry of additional oil droplets being dispersed. No visible sheen was seen on the
                                                          water surface. The Harbor Master and the U.S. Coast Guard (USCG) were advised of the MARPOL Annex I violation. The Harbor
  CAM-00685         3/9/18       Cunard Queen Victoria
                                                          Master confirmed he was satisfied for the ship to depart as scheduled. The oil within the propeller bearing and seal system is
                                                          certified as an environmentally acceptable lubricant by the Environment Protection Agency. The USCG attended the ship and were
                                                          advised that the manufacturer's guidance was that an oil consumption of 0.6 liters per day was within normal operational
                                                          parameters.
                                                          While food supplies were being loaded in Barbados, a forklift driver accidentally hit the platform and 13 boxes of frozen meat
                                                          dropped into the water. The boxes sank and were not recovered. Witnesses stated that the MARPOL Annex V violation occurred
                                                          when the forklift driver failed to account for the ship's vertical movement during the loading. The forklift driver and the person
  CAM-00686         3/9/18            P&O Azura           overseeing the operation were advised to take additional care to avoid recurrence. The port authority was notified via the port
                                                          agent. There was no long-term environmental impact as all packaging was recovered and the meat was not wrapped in plastic. Ship
                                                          supervision of the loading operation was in place at the time of the incident but staff were unable to anticipate or prevent the
                                                          momentary judgement error by the stevedore crew. This was also acknowledged by the stevedore supervisor.




                                                                                               Page 81 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 177 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                 June 21, 2018

 Reference No.   Date of Event      Brand/Vessel                                                               Event Description                                                               CAM Incident Category
                                                        On February 20, 2018, the EO (EO) onboard the Adonia was admitted to the onboard hospital with appendicitis. He was
                                                        subsequently disembarked for surgery on February 21, 2018. His EO duties were split between the Chief Engineer and Deputy
                                                        Captain until a replacement EO was sent to the ship within 7 days. Due to operational needs elsewhere in the fleet, the replacement
                                                        EO left the ship on the March 9, 2018. That EO was replaced by an experienced EO who missed his scheduled CSMART EO
    15-2018         3/9/18           P&O Adonia         course in 2017 due to a long-term medical leave of absence. Per Section IV.A.4.b of the ECP, the EO should have participated in
                                                        5 contiguous days of in person training (i.e., CSMART EO course). Due to EO availability and scheduling constraints, the
                                                        decision was made to provide the ship with experienced, albeit not ECP-qualified, EO coverage for the period of March 9-14,
                                                        2018 rather than sail with no EO onboard. During this period, the ship was traveling from Barbados to Freeport to transfer the ship
                                                        to Azamara Club Cruises.
                                                        During provision loading while the ship was alongside in Jacksonville, FL, a pallet broke as the shore side stevedore was placing it
  CAM-00687         3/10/18        Carnival Elation     on the loading platform. A plastic container containing 30 lbs. of egg yolks fell overboard and could not be recovered. The port
                                                        authority was notified of the MARPOL Annex V violation via the local agent.
                                                        The aft centrifugal OWS was taken out of service due to no discharge pressure, which resulted in a reduced capacity to treat bilge
  CAM-00688         3/10/18      Cunard Queen Mary 2                                                                                                                                         OWS/Whitebox
                                                        water. The OWS separator bowl was overhauled and the system was tested and returned to service.
                                                        A wooden pallet loaded with 12 steel kegs of beer collapsed while it was being offloaded from a stores platform in Brisbane,
                                                        Australia. One keg fell clear of the platform, entered the water, and could not be recovered. The EO witnessed the event and
  CAM-00689         3/11/18      Cunard Queen Mary 2                                                                                                                                         Training
                                                        coordinated the clean-up including recovery of the kegs that were caught in the cargo net. The port authority was notified of the
                                                        MARPOL Annex V violation via the local agent. No entry was made in the Garbage Record Book.
                                                        A leak was found coming from the centrifugal OWS sample cooler. The OWS was taken out of service, which resulted in a
  CAM-00690         3/11/18           P&O Azura         reduction in the ability to process bilge water. There was no spare cooler onboard and an urgent request was submitted for a         OWS/Whitebox
                                                        replacement unit. Bilge water was offloaded to shore side reception facilities.
                                                        As the ship's forward gangway was being assembled in preparations for arrival into St. George's, Grenada, a one-meter long piece
  CAM-00691         3/11/18         P&O Britannia       of handrail fell into the water when a securing pin failed. The handrail was not recovered as the ship was moving and completing
                                                        the arrival procedure. The port authority was notified of the MARPOL Annex V violation via the local agent.
                                                        During preparations for overboard discharge while the ship was en route to Georgetown, Grand Cayman, it was noted that the flow
                                                        switch installed on the BCDB was flashing when there was no flow through the device. The flow switch was checked, replaced
  CAM-00701         3/11/18           AIDAmar                                                                                                                                           OWS/Whitebox
                                                        with a spare, and the BCDB was put back in service. The failure of the flow switch was recorded in the Oil Record Book. A
                                                        replacement flow switch was ordered. No unplanned discharge was caused at any time during the malfunction.
                                                        360 kg of non-ODS R407c refrigerant gas leaked from a refrigeration system due to a cracked line. The failed line was repaired
  CAM-00702         3/11/18         Carnival Magic                                                                                                                                         Refrigerants
                                                        and the system was put back in service.
                                                        While the ship was underway and outside 12 nautical miles from land, a crewmember reported that she had dropped her
                                                        identification cards into the sea. The cards had been clipped to her trouser pocket but had become detached while on the open deck
  CAM-00704         3/12/18         Carnival Breeze
                                                        and subsequently been blown overboard in violation of MARPOL Annex V. The crewmember was advised to be more careful in
                                                        the future.
                                                        The measuring cell three-way valve in the Oil Content Monitor (OCM) of the ship’s centrifugal OWS failed. The three-way valve OWS/Whitebox
  CAM-00705         3/12/18           P&O Azura
                                                        was replaced and the OWS was put back in service.                                                                                  OCM
                                                        While the ship was en route to Auckland, New Zealand, a piece of plastic was found in a galley dishwasher pulper during the EO's
                                                        rounds. The machine was off and the food waste discharges were closed. An additional inspection was conducted in the food waste
  CAM-00706         3/12/18      PCL Diamond Princess                                                                                                                                        Training
                                                        tank to check for the presence of plastic debris. No plastic was found. The previous discharge of the food waste tank took place the
                                                        day before of the incident and a previous inspection of the pulper had been completed earlier in the day with no findings.



                                                                                             Page 82 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 178 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                    June 21, 2018

 Reference No.   Date of Event      Brand/Vessel                                                              Event Description                                                               CAM Incident Category
                                                        While the ship was alongside in San Francisco, CA, a passenger was observed throwing his cigarette overboard. The violation of
  CAM-00707         3/12/18       PCL Ruby Princess     MARPOL Annex V was entered into the Garbage Record Book and the Port Authority was informed. A meeting was held with the
                                                        passenger to reinforce company policy.
                                                        During a routine check round it was noted that two plastic ECS seals were missing from the suction lines of an oily water separator
                                                        and a clean bilge water pump. The missing seals could not be found in the nearby area, which was observed as being clean with no
  CAM-00725         3/12/18         Costa Atlantica     visible oily residues. No signs of tampering or anomalies on the tanks quantities were noted. It was presumed that the missing seals Seals or Locks
                                                        were accidentally broken during routine cleaning operations. Two new plastic seals were put in place on the flanges and the
                                                        corresponding log updated accordingly.
                                                        A security officer noted a passenger throwing a plastic drinking cup overboard in violation of MARPOL Annex V during a party
  CAM-00708         3/13/18        Carnival Ecstasy
                                                        on the open deck. The passenger was briefed on regulations related to environmental laws.
                                                        While the ship was docked in Cozumel, Mexico, the EO was advised that a lifeboat was missing an access hatch. It was confirmed
                                                        that the hatch had been in place following departure from Progreso, Mexico, the day prior. It is believed that the orange fiberglass
                                                        hatch detached from the lifeboat during the transit due to strong winds and was lost in violation of MARPOL Annex V. The hatch-
  CAM-00709         3/13/18        Carnival Fantasy     closing handle may have been left open during lifeboat checks and operations. All relevant crew were advised to confirm correct Lifeboat/Tender
                                                        closing of all hatch handles upon completion of lifeboat operations/maintenance and to report any malfunction or damage in a
                                                        timely manner. All other lifeboats were inspected and 19 issues with similar handles were identified for subsequent replacement or
                                                        repair. The issue was forwarded to the shore side LSA asset team for review.
                                                        While the ship was alongside in Andalsnes, Norway, a piece of paper was blown overboard. The port agent was informed of the
  CAM-00711         3/13/18          P&O Aurora
                                                        MARPOL Annex V violation and an entry was made in the Garbage Record Book.
                                                        While the ship was outside 12 nautical miles from land and en route to St. George's, Grenada, a food tray and plate were thrown
                                                        from an upper balcony onto an open deck. The incident was reported to a security officer who questioned the occupant of the
  CAM-00712         3/13/18      PCL Emerald Princess   passenger cabin from which the items were believed to have been thrown. The passenger denied any involvement. A review of
                                                        CCTV footage subsequently showed an unidentified object also going overboard at the same time that the tray and plate were
                                                        found. The Port Agent was informed of the MARPOL Annex V violation and an entry was made in the Garbage Record Book.

                                                        While the ship was outside 12 nautical miles from land and en route to St. George's, Grenada, a food tray and plate were thrown
                                                        from an upper balcony onto an open deck. The incident was reported to a security officer who questioned the occupant of the
  CAM-00765         3/13/18       PCL Royal Princess    passenger cabin from which the items were believed to have been thrown. The passenger denied any involvement. A review of
                                                        CCTV footage subsequently showed an unidentified object also going overboard at the same time that the tray and plate were
                                                        found. The Port Agent was informed of the MARPOL Annex V violation and an entry was made in the Garbage Record Book.
                                                        While the ship was en route to Cozumel, Mexico, a small plastic ball fell into sea in violation of MARPOL Annex V during a
                                                        game in the youth facility. No authorities were informed. Preventative actions were not feasible as the construction of the ship
  CAM-00727         3/13/18           AIDAluna
                                                        could not be changed and ball games in the youth facility would not have been suspended. There was netting in this area but the
                                                        ball was lost through an access opening.




                                                                                             Page 83 of 94
                                   Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 179 of
CONFIDENTIAL                                        Appendix E: ECP Year One 205
                                                                             Incidents Tracked by the CAM                                                                                                  June 21, 2018

 Reference No.   Date of Event    Brand/Vessel                                                              Event Description                                                               CAM Incident Category
                                                     From March 9 to March 14, 2018, the EO and traveling Environmental Superintendent aboard the Carnival Conquest conducted a
                                                     thorough inventory of all unused, used, and currently installed Environmental Control System (ECS) seals. It was discovered that
                                                     336 seals were missing. Initial inquires revealed that most this was likely due to a procedure interpretation issue that took place
                                                     from May 2017 to September 2017. The former Carnival Cruise Line Environmental Director provided guidance to the ship
                                                     regarding the April 2017 version of the associated procedure in which he failed to correctly recognize and advise that all seals
                                                     must be accounted for, including those from locations where two or more seals were linked together to secure a valve/fitting. The
    16-2018         3/14/18      Carnival Conquest                                                                                                                                       Seals or Locks
                                                     practice aboard was to keep and record only one seal number tab from each location where multiple seals are linked together to
                                                     secure a valve/fitting. All other used seal number tabs were cut off and disposed of. This practice was followed from May 2017
                                                     until September 18, 2017, when the requirement was clarified. On August 17, 2017, the ship’s EO reported the removal of seal
                                                     number tabs to the Environmental Manager as non-compliance, but the former Environmental Director failed to address the report
                                                     or allow for proper follow up. The ship completed a dry dock in October 2017, during which time it was likely that a number of
                                                     seals were misplaced by workers. A new seal inventory was conducted to identify all fitted seals.
                                                     While the ship was at anchor in Isle of Pines, New Caledonia, a passenger's hat was blown into the water as he stepped onto the
  CAM-00713         3/14/18       Carnival Spirit    pier from a tender. The hat could not be retrieved. The Port Authority was informed of the MARPOL Annex V violation via the
                                                     local agent and it was confirmed that no further actions were required.
                                                     While the ship was underway, a leak of 15 cubic meters of seawater into the port propulsion motor room bilges was reported. An
                                                     emergency unscheduled sludge truck was requested for subsequent offload. Some of the seawater was processed via the oily bilge
  CAM-00728         3/14/18      Carnival Liberty    system and discharged overboard. The incident did not affect the ship's operation. The seawater leak was traced back to a damaged
                                                     valve seat on the daily bilge suction valve in the same space combined with a failed valve on an evaporator room seawater
                                                     crossover valve. The valves were overhauled and tested before putting them back in service.
                                                     During a routine check, the EO noted that the ECS seals for a critical bilge line suction valve were missing. The surrounding area
                                                     was checked for the missing seals but they could not be located. The Chief Engineer and EO conducted an investigation and did        Seals or Locks
  CAM-00714         3/15/18      Carnival Triumph
                                                     not find any evidence of tampering. It was concluded that the missing seals were unintentionally broken and lost during cleaning     Training
                                                     performed in the area. New seals were installed on the valve and the Seal Log was updated.
                                                     As the ship was departing Sydney, Australia, a deck officer on the mooring deck noted a polythene catering glove falling into the
  CAM-00715         3/15/18       HAL Noordam        water. The glove was blown overboard by a gust of wind and could not be recovered. The MARPOL Annex V violation was
                                                     caused by carelessness of an unidentified crewmember. An entry was made in the GRB and the local authority was informed.
                                                     While the ship was en route to Santa Cruz de Tenerife, an OWS was noted to be showing a "water pocket breakage" failure alarm,
                                                     which indicated a potential O-ring failure. The OWS was subsequently fitted with a new bowl spare part kit before testing and
  CAM-00729         3/15/18       Costa Deliziosa                                                                                                                                        OWS/Whitebox
                                                     returning to service. No discharge to sea occurred during the system malfunction. The failure was recorded in the Oil Record
                                                     Book.
                                                     During a crew safety drill while the ship was alongside in Puntarenas, Costa Rica, a life raft hard shell cracked at its retaining
                                                     lanyard fixing point and one half of the plastic shell broke free and dropped into the water. A tender was immediately lowered into
  CAM-00716         3/16/18       HAL Maasdam                                                                                                                                            Lifeboat/Tender
                                                     the water but it was not possible to recover the shell. The local agent advised the Port Authority of the MARPOL Annex V
                                                     violation and an entry was made in the Garbage Record Book.
                                                     While the ship was en route to Penang, Malaysia, the OCM in the Bilge Control Discharge Box (BCDB) suffered a failure. The
                                                     OCM was constantly reading above 15ppm and the operation of the three-way valve correctly remained in the recirculation
  CAM-00718         3/16/18      Seabourn Sojourn                                                                                                                                        OCM
                                                     position. The unit was replaced with a spare and the system was put back in service. No discharges occurred during the period
                                                     when the BCDB was out of operation. An entry was made in the ORB.



                                                                                          Page 84 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 180 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                      June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                                Event Description                                                                 CAM Incident Category
                                                        The Chief Engineer signed off the ship at 06:30LT and the new Chief Engineer signed on at 10:30LT the same day. The final page
                                                        of the Oil Record Book was subsequently found to not have been signed off by the departing Chief Engineer. The page also       Oil Record Book
  CAM-00730         3/16/18      Carnival Inspiration
                                                        contained an operational entry completed at 06:35LT during a time gap when no Chief Engineer was onboard. Shore management Recordkeeping
                                                        did not properly address an emergent manning issue and left a ship without a Chief Engineer and no handover.

                                                        The ship's forward centrifugal OWS feed pump was noted as not achieving the expected discharge pressure, which resulted in a
  CAM-00731         3/16/18      Cunard Queen Mary 2                                                                                                                                          OWS/Whitebox
                                                        reduction in bilge water treatment capacity. The pump was replaced and the OWS was returned to service later the same day.
                                                        While the ship was underway, the Oil Content Monitor (OCM) on the centrifugal OWS would not read below 20 ppm following
                                                        completion of flushing and cleaning maintenance. The issue appeared to have resolved itself after a while, possibly indicating that
  CAM-00732         3/16/18          P&O Azura                                                                                                                                                OCM
                                                        some moisture present inside the unit had dried out. No overboard discharge occurred while the OCM was providing a high
                                                        reading. A spare OCM was fitted and the OWS is back in service.
                                                        While the ship was alongside in Kralendijk, Bonaire, a metal barrier fell into the water due to the strong wind that was blowing at
  CAM-00733         3/16/18      PCL Royal Princess     the time. An entry was made in the Garbage Record Book. The local agent subsequently confirmed that the barrier was recovered         Training
                                                        from the water the following day.
                                                        During tender operations while the ship was at anchor in Gatun Lake, Panama, a crewmember reported a small amount of oil
                                                        leaking from a tender davit. A clean up kit was deployed, covering the area with absorbent pads. It was confirmed that the leak
  CAM-00719         3/17/18        HAL Zuiderdam                                                                                                                                              Lifeboat/Tender
                                                        originated from the pressure gauge on the davit. No oil went into the scuppers or overboard. The pressure gauge was isolated and
                                                        repaired. All oil was removed.
                                                        During maintenance on the ship's only incinerator in dry dock, it was identified that steelwork in the incinerator chambers is in
  CAM-00734         3/17/18         P&O Ventura
                                                        poor condition and requires replacement. Repairs were scheduled.
                                                        While the ship was en route to Cozumel, Mexico, 52 nautical miles from land, a security officer noted that one life ring was
                                                        missing from an open deck. The plastic life ring could not be found. CCTV footage was reviewed but a suspect could not be
  CAM-00721         3/18/18       Carnival Triumph      identified as the subject life ring was distantly located behind a stack of chairs placed in the same area. It was assumed to have
                                                        been thrown overboard by an unidentified passenger. The local agent advised the Port Authority of the MARPOL Annex V
                                                        violation and an entry was made in the Garbage Record Book. The life ring was replaced with a spare.
                                                        While the ship was alongside in St John's, Antigua, an OWS was taken out of service. The OWS monitor indicated that the Oil
                                                        Content Monitor (OCM) sensor was defective and providing out of range readings. The OCM was replaced with a spare and the             OWS/Whitebox
  CAM-00723         3/18/18       Seabourn Odyssey
                                                        OWS was put back in service approximately one hour after the initial incident. No discharges occurred during this period.             OCM
                                                        Corresponding entries were made in the ORB.
                                                        During hull maintenance while the ship was alongside in Fort Lauderdale, FL, a crewmember dropped a few drops of oil-based
                                                        paint from his paint roller into the water. Upon discovering the paint drops in the water, the maintenance was immediately
                                                        suspended and oil absorbent pads were dispatched. All paint was successfully recovered from the water. The incident was reported
  CAM-00735         3/18/18       HAL Koningsdam
                                                        to the Environmental Protection Agency (EPA) who acknowledged receipt of the notification with no further inquiries raised. The
                                                        Incident was recorded in the Vessel General Permit (VGP) logbook. The National Response Coordination Center was informed
                                                        and an entry was made in the Oil Record Book.
                                                        Approximately 400 kg of non- ODS R410a refrigerant gas leaked from an air conditioning compressor due to the mechanical
  CAM-00766         3/18/18        Costa Atlantica                                                                                                                                            Refrigerants
                                                        failure of a seal. A new seal was requested.
                                                        During a review of corresponding records by the EO, a one-ppm discrepancy was noted between the readings of a BCDB Oil
  CAM-00737         3/19/18        Carnival Elation     Content Monitor (OCM) and the ECR digital data recorder. The BCDB OCM was replaced. The new BCDB OCM and data                         OCM
                                                        recorder readings were confirmed to be corresponding and the BCDB was put back in service. An ORB entry was completed.



                                                                                             Page 85 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 181 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                               Event Description                                                               CAM Incident Category
                                                        While the ship was alongside in Melbourne, Australia, the assistant housekeeping manager reported part of a window cleaning
  CAM-00738         3/19/18        Carnival Legend      blade had fallen into the sea. The handle of the blade had been secured with a rope but the lower part had become detached due to
                                                        wear and tear. The MARPOL Annex V violation was reported to the port authority via the local agent.
                                                        While the ship was alongside in Nassau, Bahamas, the assistant housekeeping manager reported part of a window cleaning blade
  CAM-00739         3/19/18        Carnival Liberty     had fallen into the sea. The handle of the blade had been secured with a safety strap but the lower part had become detached due to Training
                                                        a loose screw fitting. The MARPOL Annex V violation was reported to the port authority via the local agent.
                                                        During a visit on board, the Environmental Manager and the EO noted unusually low figures for the volumes of used cooking oil
  CAM-00740         3/19/18        Costa Atlantica      landed ashore during 2017. After having discussed the matter onboard with the ship's management team, an internal investigation
                                                        was initiated to determine whether a violation of MARPOL Annex V had occurred.
                                                        While the ship was underway, the Bridge advised the SEOOW that the ship was outside four nautical miles from shore and
                                                        greywater discharge was permissible. The SEOOW instructed the motorman to open the greywater overboard valve (SB/601VF).
                                                        The motorman opened the greywater valve SB/601VF as instructed but also opened greywater / permeate overboard valve
                                                        (SB/600VF). Both were manual lockable valves with the keys for the padlocks on the same key ring. The report back to the ECR Voyage Planning
  CAM-00741         3/19/18      PCL Regal Princess
                                                        did not indicate both valves had been opened. As the valves are manual and not on the automation system, the SEOOW in the     Training
                                                        engine control room could not see the status of valve SB/600VF. The motorman of the next watch noticed that valve (SB/600VF)
                                                        was opened by checking the valve locally in the engine room and noting that the valve was registered closed and locked in the
                                                        ECR. It was confirmed that no overboard discharges had taken place during the time frame involved.
                                                        While the ship was underway and outside 12 nautical miles from land, a passenger was noted throwing a non-plastic drinking glass
  CAM-00742         3/20/18        Carnival Fantasy     overboard into the sea in violation of MARPOL Annex V. A security officer approached the passenger and advised him of
                                                        environmental policy. The passenger apologized and admitted to throwing the empty glass overboard.
                                                        While the ship was alongside in Ensenada, Mexico, the Bridge was notified that there was water being discharged close to the
                                                        gangway. The Bridge called the ECR and the discharge was stopped. Approximately 100 liters of treated black water had been
                                                        discharged overboard. It was found that the high-level alarm for a black water tank had been acknowledged during the ECR
  CAM-00743         3/20/18      Carnival Imagination   departure briefing but no action had been taken to divert the effluent to another tank. This error alone could not have caused the
                                                        overflow. It was suspected that a tank level transmitter also malfunctioned. The port authority was notified of the MARPOL
                                                        Annex IV violation via the ship's local agent. The port authority granted permission for the ship to depart on schedule. The high-
                                                        level sensor transmitter was replaced and adjusted to provide earlier notification of a high tank level.
                                                        During bunkering of water while the ship was alongside in Port Vila, Vanuatu, a potable water tank overflowed overboard. A
                                                        review identified that the remote level indication device was behaving erratically and there was no reliable remote measurement of
  CAM-00744         3/20/18        HAL Noordam          the amount of potable water present in the tank. When the tank became full, there was no alarm on the automation system and
                                                        approximately five cubic meters overflowed. An Equipment Failure Report was issued by the ship to have the gauge repaired. The
                                                        incident was recorded as a Pollution Prevention Equipment Issue summary.
                                                        On March 21, 2018, Princess Cruise Lines, Ltd. and the State of Alaska entered into a Settlement Agreement to resolve concerns
                                                        about insufficient sampling that were pending from the 2016 operating season. The agreement was to have been signed last year,
    17-2018         3/21/18      PCL Island Princess
                                                        but the signature ready version was not provided to Princess until earlier this year. To resolve the alleged violations, Princess
                                                        agreed to pay $12,565.00 in civil penalties.
                                                        While the Noordam was en route to Lautoka, Fiji, a crewmember accidentally dropped a metal screwdriver overboard. The
                                                        crewmember stated that the screwdriver fell out of his breast pocket while he was leaning on the side railing. The violation of
  CAM-00745         3/21/18        HAL Noordam
                                                        MARPOL Annex V was entered into the Garbage Record Book. At the time of the incident, the ship was approximately 161
                                                        nautical miles from the nearest land.




                                                                                             Page 86 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 182 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                          June 21, 2018

 Reference No.   Date of Event      Brand/Vessel                                                                 Event Description                                                                  CAM Incident Category
                                                         While the ship was underway to Marseille, France, three sun beds were observed being lifted by the wind from an external deck
                                                         and blown overboard, in violation of MARPOL Annex V. The sun beds were not recoverable. Initial on board investigations
  CAM-00767         3/21/18         Costa Deliziosa      identified that the rope securing the sunbeds was broken by the severe gale wind (gusts up to 55 Knots). All equipment was lashed,
                                                         however the wind gusts were stronger than expected. Authorities in Barcelona were informed of the incident via radio, as the
                                                         vessel was inside the Spanish territorial waters. An entry in the Garbage Record Book was made.
                                                         An engine room potable water distribution line failed and released potable water under high pressure into the engine room bilges.
                                                         The engine team responded to the situation, stopping the leak and replacing the pipe. An estimated volume of 48 cubic meters of
  CAM-00749         3/22/18        Carnival Freedom
                                                         potable fresh water leaked into the bilges. The leak was found to have been caused by vibration-induced fatigue of the pipe
                                                         structure. All spilled water was processed via the ship's bilge system and discharged overboard.
                                                         Following departure from Southampton, UK, the Bridge issued an 'Exit of 12nm' notification email allowing food, bilge and
                                                         sewage discharges to commence. At 22:16LT the Bridge issued a 75-minute “Notice to Enter 12nm” notification. At 23:00LT the
                                                         Bridge issued a 'Vessel Closed for 12nm' notification. All discharges were closed. At approximately 00:00LT a garbage operator
                                                         requested permission from the ECR to begin discharging food waste. The EOOW on watch incorrectly referred to the 'Exit of
  CAM-00752         3/22/18          P&O Oriana                                                                                                                                             Voyage Planning
                                                         12nm' email and gave permission to begin discharging food waste. Approximately four cubic meters of comminuted food waste
                                                         was discharged within 12 nautical miles of the French coast and within the North Sea MARPOL Annex V Special Area. The error
                                                         was identified by the EOOW, the discharge was stopped immediately, and the MARPOL Annex V violation was entered in the
                                                         Garbage Record Book.
                                                         During the ship's call at Mindelo, Cape Verde, Portugal, while conducting a crew safety drill, half of a life raft hard shell made of
                                                         plastic and fiberglass resin broke from its retaining lanyard and dropped in the water. A tender was immediately lowered into the
  CAM-00769         3/22/18        HAL Prinsendam                                                                                                                                                  Lifeboat/Tender
                                                         water, but the attempt to recover the life raft shell was unsuccessful because it sunk shortly after. This accidental loss is a violation
                                                         of MARPOL Annex V. An entry was made in the Garbage Record Book. The port agent and port authority have been informed.
                                                         While underway to Oranjestad, Aruba, and 14NM from the nearest land, ship's crew were performing internal chipping and
                                                         painting of the engine casing. During this process, some paint chips were blown out of the engine casing and onto external decks.
  CAM-00770         3/22/18       PCL Coral Princess
                                                         There was no evidence that any of the paint flakes went overboard, but it was not a certainty. If some did go overboard, it would
                                                         have been a MARPOL Annex V violation. An entry was made in the Garbage record Book.
                                                         While the ship was alongside in Long Beach, CA, a crewmember reported that she had dropped her plastic cabin key into the
  CAM-00753         3/23/18       Carnival Inspiration   water as she was ascending some stairs on the pier. The key could not be recovered. The port authority was notified of the
                                                         MARPOL Annex V violation via the local agent.
                                                         During provisions loading while the ship was alongside in Southampton, UK, stevedores struck a pallet of beer against a mooring
                                                         bollard next to the loading platform. The contents spilled onto the stores platform and into the stores net, with two cases of beer
  CAM-00754         3/23/18      Cunard Queen Victoria
                                                         entering the water. The beer was not recovered. The port authority was notified of the violation of MARPOL Annex V and an
                                                         entry was made in the Garbage Record Book.
                                                         During garbage offload operations while the ship was alongside in San Francisco, CA, a pallet of dry mixed garbage was spilled
                                                         while it was being moved with a pallet truck on the pier. A cardboard box containing mixed linens, shoes, plastic bags and
  CAM-00756         3/23/18       PCL Grand Princess
                                                         cardboard boxes fell into the water. Some of the items were recovered but some remained in the water in violation of MARPOL
                                                         Annex V. The port authority was notified via the local agent and an entry was made in the Garbage Record Book.
                                                         While the ship was within the North American ECA with the EGCS in operation, the SO2/CO2 sensor alarm activated.
  CAM-00772         3/24/18        Carnival Freedom      Troubleshooting was started and fuel was changed over to MGO within 80 minutes. A communication fault between the gas               EGCS
                                                         analyzer and EGCS computer was subsequently identified.




                                                                                               Page 87 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 183 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                   June 21, 2018

 Reference No.   Date of Event      Brand/Vessel                                                                 Event Description                                                                CAM Incident Category
                                                          While the ship was alongside in Fort De France, Martinique, a crewmember accidentally dropped his plastic identification card
  CAM-00757         3/24/18      PCL Caribbean Princess   into the water as he was walking along the pier. The card sank and could not be recovered. The port authority was notified of the Training
                                                          MARPOL Annex V violation via the local agent. An entry was made in the Garbage Record Book.
                                                          While underway to Zeebrugge, Belgium, a member of the Bridge Team observed a beer can and a cigarette being thrown
                                                          overboard from a passenger cabin balcony, in violation of MARPOL Annex V. Ship's security identified the cabin but could not
  CAM-00773         3/24/18           P&O Oceana          speak with the occupants who had already left. When the Security Officer spoke to the passenger and advised throwing items
                                                          overboard was strictly prohibited, the passenger apologized. The incident occurred in international waters, so the authorities were
                                                          not informed. An entry was made in the Garbage Record Book.
                                                          While the ship was alongside in Oranjestad, Aruba, the Assistant Bosun dropped his UHF portable radio into the sea. The
  CAM-00758         3/25/18        HAL Koningsdam         crewmember was signaling to the shore side linesman that all lines were fastened, when he lost his grip on the radio and it fell into Training
                                                          the sea in violation of MARPOL Annex V. An entry was made in the Garbage Record Book and the local authority was informed.
                                                          During a full crew drill while the ship was alongside in Mindelo, Cape Verde Islands, a fabric hat was blown into the sea by a gust
                                                          of wind. The incident occurred while the crewmember was walking on an open deck to perform his stairway guide duties. It was
  CAM-00759         3/25/18         HAL Prinsendam
                                                          not possible to recover the hat. The ship's local agent was advised of the MARPOL Annex V violation and an entry was made in
                                                          the Garbage Record Book.
                                                          While the ship was en route to Hobart, Australia and outside 12 nautical miles from the nearest baseline, a full loss of propulsion
                                                          occurred. At the time of the incident, the ship was discharging grey water, permeate, and bilge water in accordance with company
                                                          policy. The ship's technical team were unable to secure all overboard valves before the ship's speed fell below six knots, resulting
  CAM-00760         3/25/18         PCL Sea Princess      in an unintended discharge of grey water, permeate, and bilge water in violation of company policies. All overboard discharges
                                                          were confirmed closed two minutes after the ship's speed dropped below six knots. Noncompliant discharge volumes were
                                                          estimated at 800 liters of grey water and 400 liters of permeate. The BCDB counter recorded that 120 liters of <15 ppm processed
                                                          bilge water was discharged. The incident did not result in any MARPOL violations. Also recorded as full loss of propulsion.

                                                          The sample shut off solenoid and the flushing solenoid on a new OWS were found leaking past when closed. The OWS was taken
  CAM-00775         3/25/18      Cunard Queen Mary 2      out of service, both solenoid valves and OWS were replaced with a spares and the system returned to service. An entry was made OWS/Whitebox
                                                          in the Oil Record Book. This was the second shut off solenoid valve to fail since installation of this new type of centrifugal OWS.
                                                          While the ship was alongside in Honolulu, Hawaii, during the routine washing of an economizer, dark steam was noted coming
                                                          from the funnel. The opacity percentage was not dropping below permissible limits, so the operations were stopped. It exceeded
  CAM-00776         3/25/18        PCL Star Princess
                                                          the hourly emission time limit by less than one minute. Local authorities were informed and an entry was made in the Engine
                                                          Record Book.
                                                          445 kg of non-ODS R134a refrigerant gas leaked from a refrigeration system due to a leaking shaft seal on an A/C compressor.
  CAM-00777         3/26/18        Carnival Sunshine                                                                                                                                     Refrigerants
                                                          The seal was replaced and the system was tested and put back in service.
                                                          While the ship was underway to Fort Lauderdale, Florida, the Engine Officer of the Watch reported a malfunction of the Oily
                                                          Water Separator #2 sludge pump. The pump was cleaned, tested, and found to be functioning correctly. It failed again the next
  CAM-00778         3/26/18        HAL Koningsdam         day. The pump was subsequently replaced with the new one and the OWS was put back in service. The Operating Line               OWS/Whitebox
                                                          Compliance Manager was notified of the failure of OWS/OCM system and subsequent repair, and two separate entries were made
                                                          in the Oil Record Book.




                                                                                                Page 88 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 184 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                          June 21, 2018

 Reference No.   Date of Event       Brand/Vessel                                                                 Event Description                                                                   CAM Incident Category
                                                          While en route to Alicante, Spain, the Bridge was notified by port authorities (UK) that pollution has been recorded in the wake of
                                                          the ship by helicopter. Port authorities did not give any specific details. Initial investigations show no discharges took place inside
                                                          12 nautical miles of land. Officials from the Harbor Master's Office in Barcelona boarded the ship to investigate the incident. At
  CAM-00779         3/26/18           P&O Azura           the time of the alleged incident, the ship was discharging grey water and treated sewage. Prior to being notified by port authorities,
                                                          the ship had discharged comminuted food in accordance with MARPOL and Global HESS. The ships logs were shown to the
                                                          investigating officer, who was then satisfied that no illegal discharges took place. The officer issued a standard PSC certificate
                                                          closing the investigation and showing that no deficiencies were found.
                                                          While alongside in Cozumel, Mexico, a bamboo hat flew off the head of a passenger on the gangway and fell into the water, in
  CAM-00780         3/27/18         Carnival Fantasy
                                                          violation of MARPOL Annex V. The hat could not be recovered. The incident was reported to port authorities by the ship's agent.
                                                          During a routine inspection, the EO found a broken ECS seal installed on the vertical hatch of the intermediate sludge tank.
                                                                                                                                                                                                    Seals or Locks
  CAM-00782         3/27/18      PCL Caribbean Princess   During previous rounds, the same seal has been observed intact. An inspection of hatch bolts showed no signs of tampering. It is
                                                                                                                                                                                                    Training
                                                          suspected that the seal was accidentally broken due to its proximity to a stepladder.
                                                          While the ship was alongside at Reunion Island, France, a monthly inspection of a ballast water tank identified a crack in a fuel oil
                                                          tank and evidence of fuel oil seepage therefrom. The previous inspection was undertaken on February 13, 2018, at which time the
                                                          tank was confirmed sound and clean. The leak from the crack was monitored and estimated at one drop every 10 minutes. The
                                                          ballast water tank was isolated. Between February 13 and March 27, 2018, the ballast tank had been discharged in international
  CAM-00813         3/27/18         HAL Amsterdam
                                                          waters on seven occasions. Entries were made in the ORB for every discharge and the ship's Classification Society and Flag
                                                          Administration were informed. A temporary Passenger Ship Safety Certificate and a Condition of Class were issued. Temporary
                                                          repairs were made with a structural brace and steel putty, which repairs were observed and approved by Class. The tank was
                                                          scheduled to have been repaired at the subsequent dry-dock. In the interim period, it was monitored for leakage.
                                                          While alongside in Mahogany Bay, Isla Roatan, a crewmember was painting the ship's hull from the pier. The pole of the paint
  CAM-00783         3/28/18        Carnival Freedom       roller accidentally hit the ID card that was clipped to the crewmember's coverall and the card fell into the water, in violation of
                                                          MARPOL Annex V. The card could not be retrieved. The harbormaster was informed via the ship's agent.
                                                          While the ship was alongside in Grand Turk, a passenger was reported to have dropped his driver's license into the sea due to
  CAM-00784         3/28/18          Carnival Pride       windy conditions. The driver's license was not recovered. Port authorities were informed of the MARPOL V incident by the port
                                                          agent.
                                                          While the ship was alongside in Cozumel, Mexico, a crewmember accidentally dropped his ID card into the sea, in violation of
  CAM-00785         3/28/18         Carnival Triumph      MARPOL Annex V. The card could not be recovered. This incident occurred due to negligence and strong winds. The incident
                                                          was reported to the harbormaster and documented in the ship's log.
                                                          During routine provisions loading operations, while alongside in Venice, Italy, cardboard that was located on a pallet was
                                                          observed falling into the sea between the pier and the shipside, in violation of MARPOL Annex V. The item could not be
  CAM-00786         3/28/18         Costa Deliziosa
                                                          recovered as it sank immediately. The local port agent was immediately informed and requested to notify local authorities. An
                                                          entry was made in the Garbage Record Book.
                                                          During discharge of oily sludge ashore, while alongside in Xiamen, China, a weld crack was observed on the locking device of the
                                                          sewage discharge to shore valve (welded flat steel bar) located in the starboard bunker station. The crack was suspected to have
  CAM-00788         3/28/18      Cunard Queen Elizabeth                                                                                                                                       Seals or Locks
                                                          been due to improper welding technique of two metals types. No unauthorized operation of the valve in question had taken place.
                                                          The item was re-welded and repainted the following morning while the ship was at sea.




                                                                                                Page 89 of 94
                                      Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 185 of
CONFIDENTIAL                                           Appendix E: ECP Year One 205
                                                                                Incidents Tracked by the CAM                                                                                                      June 21, 2018

 Reference No.    Date of Event      Brand/Vessel                                                                Event Description                                                                 CAM Incident Category
                                                           While in port in Southampton, U.K., the ship was preparing to offload bilge water to a barge, however the key to unlock the
                                                           discharge valve was missing. A thorough search for the key was conducted, which included a review of the key log and cabin
                                                           searches. Despite all efforts, the key could not be found but no suspicious circumstances were observed. To avoid further delays to
  CAM-00790          3/28/18          P&O Ventura          bilge offload the padlock to the bilge discharge valve was broken and the offloading operation was conducted. The broken padlock      Seals or Locks
                                                           was replaced by a new ECP numbered padlock. The broken lock is being held by the Chief Engineer together with other broken
                                                           seals. The ship could not establish why the key was missing, but was confident no unauthorized operation took place. The key
                                                           compartment was locked and under CCTV surveillance.
                                                           An individual who purported to have been a Carnival employee, made a telephonic report that he or she had observed certain other
 CVL-2018-3-254      3/29/18      PCL Caribbean Princess   Carnival employees dumping "oil water with seawater" off the ship. The caller said that management was not aware of the
                                                           incident. The caller identified it as a one-time environmental violation.
                                                           While checking a fault alarm in the EGCS monitoring system, it was discovered that the UTC clock built into the system had been       EGCS
  CAM-00792          3/29/18         Carnival Magic
                                                           inoperative for 55 days, beginning on February 3, 2018. The issue was corrected two days later by ship personnel.                     Training
                                                           Two ECP seals were found missing in the incinerator room. Upon inspection, one of the two missing seals was found broken and
                                                           the other could not be recovered. Both seals were replaced with new numbered seals. The matter was immediately reported to the
  CAM-00793          3/29/18         Carnival Magic                                                                                                                                              Seals or Locks
                                                           Captain, Chief Engineer, and Engine Team. The Chief Engineer confirmed that no unauthorized access was gained and the system
                                                           was not improperly used. No sign of tampering was noted. An entry was made in the ship's seal log.
                                                           Upon receiving an unexpected bilge alarm, it was discovered that a BCBD overboard valve located in the Evaporator Room
                                                           starboard had a hole of approximately 3mm in diameter. The hole allowed sea water to enter the Evaporator Room. The leak was
  CAM-00794          3/29/18        Carnival Splendor                                                                                                                                            OWS/Whitebox
                                                           temporarily stopped by using a cement box. There was approximately 500 liters of sea water intake. The water was transferred into
                                                           the bilge tank dirty side.
                                                           While the ship was underway, sailing 90NM from the nearest land, a plastic life ring was noted missing from an open deck
                                                           location. It is suspected that the life ring was thrown overboard by unidentified individuals, in violation of MARPOL Annex V.
  CAM-00795          3/29/18        Carnival Splendor
                                                           The missing ring was replaced with a spare. The incident was reported to the USCG (Long Beach sector) and was recorded in the
                                                           ship's log.
                                                           While transiting from Lahaina, Hawaii to Ensenada, Mexico, the crew received a complaint from passengers who observed the
                                                           discharge of "dark water" at approximately 10:00 local time. The passengers stated that they had taken photographs and a video
                                                           recording and indicated to an Assistant Maitre D' that they would report the Company to authorities. A review of the ship's
  CAM-00797          3/29/18        PCL Star Princess      operations showed that membrane bioreactor was being de-sludged between 08:34 and 10:22 local time. The initial assessment
                                                           shows that these operations were in compliance with MARPOL and company guidelines as the ship was travelling over six knots
                                                           (no less than 16.5 knots during the time in question) and well outside of 12 nautical miles from the nearest land (over 580 NM
                                                           during the time in question).
                                                           Following the manual sounding of a sludge tank, a discrepancy of approximately three cubic meters was noted between the
                                                           sounding and the quantity indicated in the automation system. The initial assessment could not identify a root cause. It was
  CAM-00816          3/29/18            AIDAluna
                                                           presumed that the automation pressure sensor indicating the volume of sludge was not working properly. The sensors were purged
                                                           but no different reading was obtained.
                                                           While the ship was alongside in Freeport, Bahamas, a crewmember loaded a trolley with two cushioned plastic chairs and one
                                                           plastic table. He left them unattended on the pier because he needed to return to the ship to retrieve additional items. The strong
  CAM-00798          3/30/18         Carnival Elation      wind caused the trolley and the items on it to fall into the water, in violation of MARPOL Annex V. Crewmembers were able to          Training
                                                           retrieve the table and two cushions from the water. The chairs and the trolley sank and could not be retrieved. The incident was
                                                           reported to local authorities.




                                                                                                Page 90 of 94
                                    Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 186 of
CONFIDENTIAL                                         Appendix E: ECP Year One 205
                                                                              Incidents Tracked by the CAM                                                                                                        June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                                Event Description                                                                  CAM Incident Category
                                                        While at anchor in Lifou Isle, New Caledonia, an Engineer reported dropping a metal spanner into the sea while performing
  CAM-00799         3/30/18        Carnival Legend      maintenance on a lifeboat, in violation of MAR POL Annex V. The Engineer stated that the tool accidentally slipped from his
                                                        hand. The incident was reported to local authorities.
                                                        While underway, a passenger reported to have dropped his cell phone overboard while leaning on the handrail of his cabin's
  CAM-00800         3/30/18        Carnival Liberty     balcony, in violation of MARPOL Annex V. At the time of the incident, the ship was sailing at more than 12 nautical miles from
                                                        shore, but inside Bahamas Baseline. The incident was reported to local authorities via the port agent.
                                                        While the ship was preparing for departure from Hobart, Tasmania, a crewmember accidentally dropped a plastic rat guard (40cm
  CAM-00801         3/30/18        HAL Noordam          diameter) from the pier into the water while removing the rat guard from a line, in violation of MARPOL Annex V. The rat guard
                                                        sank immediately and was not recovered. The local ship's agent was informed, and an entry was made in the garbage record book.
                                                        The OCM of a centrifugal OWS was found to be unable to read values below 12 ppm when flushed with fresh water. The ship
  CAM-00803         3/30/18         P&O Oceana          cannot process bilge water due to high ppm content. The OCM was replaced with a new OCM, but the ship was unable to test the            OCM
                                                        OCM until the COWS was run. The bilge tank was discharged to shore.
                                                        While the ship was alongside in Ancona, Italy conducting a crew drill, a life raft was inflated for training purposes and three
                                                        plastic securing straps fell overboard and into the water, in violation of MARPOL Annex V. A Fast Rescue Boat was already in
  CAM-00804         3/30/18      PCL Pacific Princess                                                                                                                                           Lifeboat/Tender
                                                        the water and was instructed to retrieve the straps, but they had already sunk. An entry has been made in the Garbage Record
                                                        Book. The ships agent was informed and advised the local authority.
                                                        During a system test while the ship was en route to Shenzhen, China, the OCM installed on an OWS was found in alarm and
                                                        reading 20 ppm when flushed with clean water. The affected OCM was replaced and the OWS was put back in service. The
                                                                                                                                                                                                OWS/Whitebox
  CAM-00819         3/30/18        Costa Atlantica      subsequent monthly operational tests were successfully completed. The failure of the OCM was recorded in the Oil Record Book
                                                                                                                                                                                                OCM
                                                        and the failed cell was to be sent ashore for cause analysis and repair. No bilge water was discharged to sea at any time as a result
                                                        of the incident.
                                                        During bunkering while the ship was alongside in Southampton, UK, a Process Application Controller (PAC) card went into
                                                        alarm. The PAC card controls a number of valves including heeling valves needed for the bunkering operation. A decision was
                                                        made to reset the PAC on completion of bunkering. When resetting the PAC, a number of valves closed, including the overboard
                                                        valves for the EGCS system of the Diesel Generator (DG) that was online. The online DG operated on HFO with the EGCS offline            EGCS
  CAM-00820         3/30/18        P&O Britannia
                                                        for 60 minutes before the EOOW noticed. The EGCS system was then restarted. At the time of the incident, an upgrade to the              Training
                                                        EGCS system had replaced the control unit and associated software. This new system was not yet linked to the automation and
                                                        there was no visible or audible alarm to alert the EOOW. The EGCS control panel was scheduled to have been connected with the
                                                        automation system on April 15. Port Authorities were not notified.
                                                        While alongside in Civitavecchia, Italy, winds in the morning had been in excess of 20 knots and a tug had been assisting the ship
                                                        to remain on the berth. Around midday, the weather conditions improved, as forecasted, and the tug was stood down.
                                                        Approximately four hours later watch keepers sighted a squall line approaching the ship and requested thrusters. The use of
                                                        thrusters kept the ship initially alongside. However, approximately three to four minutes later as the wind increased further, tugs
                                                        were requested as the wind strength started to exceed the thrusters’ and mooring lines’ capability. The ship started parting lines
                                                        and lifting off the berth. The PEMS were made available as the ship lifted off the berth. The forward mooring station was closed
  CAM-00821         3/31/18          P&O Azura
                                                        up and the anchors were used to reduce the ship's movement across the harbor. Tugs and pilots were quickly on the scene to assist.
                                                        Once conditions had improved, with tugs support and gangways recovered, the ship was berthed. Once alongside, passengers who
                                                        were ashore were able to rejoin the ship. Assessments following the incident found 16 metal rat guards were lost, a bent fluke on
                                                        the port anchor and a broken fluke on the starboard anchor. Mooring lines were recovered. The 16 metal rat guards and one fluke
                                                        of the starboard anchor fluke were not recovered. Local port authorities were advised. There were no reported injuries. Also
                                                        reported as other event of note.



                                                                                              Page 91 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 187 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                  June 21, 2018

 Reference No.   Date of Event      Brand/Vessel                                                              Event Description                                                              CAM Incident Category
                                                        A passenger reported that while the ship was underway to Sydney, Australia, and more than 200 nautical miles from the nearest
                                                        land, another passenger threw a cell phone and a small speaker overboard, in violation of MARPOL Annex V. The passenger who
  CAM-00806         4/1/18         Carnival Legend
                                                        threw the items overboard was reminded of the Company's environmental policy and was issued a GSAR letter (Guest Status
                                                        Advisory Report), which prohibits them from sailing with the operating line.
                                                        While the ship was underway, the OCM on the Alfa Laval bilge separator was found to be defective. It was noted that upon
                                                        flushing the OCM with fresh water, the reading did not fall below 13 ppm even after the cell was cleaned. The failure occurred
  CAM-00808         4/1/18       PCL Diamond Princess                                                                                                                                    OCM
                                                        while the Alfa Laval bilge separator was recirculating a pre-separation tank. During this event, bilge overboard discharges were
                                                        closed. A new OCM was installed and the separator was placed back in service.
                                                        During the closing of the starboard aft tender platform following completion of tender operations in Lahaina, HI, a hydraulic hose
                                                        burst and spilled approximately 50 milliliters of non-biodegradable hydraulic oil onto the deck. No hydraulic oil was spilled
  CAM-00822         4/1/18          HAL Maasdam                                                                                                                                            Lifeboat/Tender
                                                        overboard and the spill was cleaned up with absorbent pads. The faulty hydraulic hose was replaced and all other hoses were
                                                        checked and found in good condition. As a precaution, all the hydraulic hoses on the starboard forward platform were replaced.
                                                        Following completion of bunkering operations while the ship was alongside in Port Everglades, FL, an internal bunker transfer
                                                        was started from the ECR. Shortly after the transfer pump was started, oil was noted to have been pouring into the starboard
                                                        bunker break. The transfer of fuel was immediately stopped and it was found that a sample valve had been left open, allowing the
  CAM-00823         4/1/18         HAL Zuiderdam                                                                                                                                              Training
                                                        oil to leak. The main bunker valve was confirmed closed and the blind flange was secured. It was also verified that the scupper
                                                        drain was plugged and were no traces of oil to the bunker break door or any indications of any discharge to the sea. A spill
                                                        response team was sent to clean the area.
                                                        An intoxicated passenger threw a potted plant overboard. The incident was witnessed by another passenger who reported it to
  CAM-00825         4/1/18           P&O Oriana         housekeeping. The passenger was escorted to his cabin and the Bridge was notified. The MARPOL Annex V violation incident
                                                        was recorded in the Garbage Record Book.
                                                        On behalf of Princess Cruise Lines, Ltd. and Carnival Corporation & plc, I write to inform you of information that recently came
                                                        to our attention concerning a prohibition on de-ballasting in Port Everglades that is included as a term of a port tariff (Tariff No.
                                                        12, Item No. 1015). We were previously unaware of the tariff provision, and as a consequence a number of Covered Vessels have
                                                        de-ballasted in Port Everglades in contravention of the tariff provision. As part of our review of this issue, we learned that other
                                                        customers of the port were similarly unaware of the tariff provision. A meeting was held on April 2, 2018 with the Port Everglades
                                                        Deputy Port Director to discuss the discharge prohibition, as it is inconsistent with federal ballast water regulatory requirements.
                                                        Also in attendance at the meeting were representatives from Royal Caribbean Cruises, Ltd., Crowley Maritime, and Kirby
    18-2018         4/2/18          PCL Shore Side
                                                        Offshore, who were similarly situated. The port is open to reviewing this issue and has agreed to research the Vessel General
                                                        Permit and USCG Ballast Water Management program requirements in advance of considering a modification of the tariff to
                                                        reflect an approach that is more consistent with federal requirements. The Deputy Port Director also stated he was open to
                                                        reviewing case by case ballast water discharge waiver requests if needed for ship stability/safety reasons. We are currently
                                                        reviewing the facts and will provide additional information once we have completed our review. We have notified the Deputy Port
                                                        Director of the violations of which we are aware and will provide him with any information he requests. We will update you
                                                        accordingly.
                                                        During a routine check of ECS seals installed on critical fittings, the EO noted that one seal was missing from the manometer
                                                        delivery line of a sewage treatment plant. No signs of tampering were found around the location or on the sewage plant itself.
  CAM-00827         4/2/18          Carnival Dream      Maintenance and cleaning of the sewage plant had been completed two days prior to the seal being found missing. It is suspected Seals or Locks
                                                        that the seal was broken during the maintenance of the sewage plant as the manometer is located at shoulder height and adjacent to
                                                        the passageway. A new seal was fitted and the Seal Log was updated to reflect the change.




                                                                                            Page 92 of 94
                                     Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 188 of
CONFIDENTIAL                                          Appendix E: ECP Year One 205
                                                                               Incidents Tracked by the CAM                                                                                                         June 21, 2018

 Reference No.   Date of Event      Brand/Vessel                                                                Event Description                                                                 CAM Incident Category
                                                        During an abandon ship drill while the ship was alongside in Grand Turk, Turks and Caicos Islands, a life raft was inflated for
  CAM-00828         4/2/18       HAL Nieuw Amsterdam    training purposes. The life raft's upper shell fell overboard and into the water due to the failure of the container tie lines connection Lifeboat/Tender
                                                        to the shell. The shell was recovered using a ship's tender.
                                                        While the ship was approaching Puerto Quetzal, Guatemala, a leak of non-biodegradable oil was observed on the deck below a
  CAM-00829         4/2/18         HAL Westerdam        lifeboat. The leak originated from the hydraulic pressure control box for the davits. There was no spill of oil into the sea. Prior to Lifeboat/Tender
                                                        clean up of the spill, the scuppers were blocked off and absorbent pads were used to collect the oil.
                                                        The ship departed Tianjin, China, approximately three hours late due to delays in the immigration departure clearance. As the
                                                        authorities were not able to predict the delay, the ship burned HFO in violation of local regulations for one hour as the fuel change
                                                        over from MGO to HFO was completed for the scheduled departure time. The fuel was changed back to MGO to limit the
                                                        violation. The ECR was advised of the delay at the scheduled time of departure of the delay. The immigration clearance process
  CAM-00831         4/3/18          HAL Volendam                                                                                                                                                  Voyage Planning
                                                        was projected not to take a long time. After an hour of continued delays by immigration officials, the ship commenced to shift
                                                        back to MGO and completed it within 30 minutes. The ship was not fined and the local authority was informed. The ship's arrival
                                                        at the next port was not affected. The ship operated in an efficient manner to minimize the use of HFO in port while properly
                                                        managing their overall fuel consumption and mix.
                                                        While the ship was en route towards Kota Kinabalu, Malaysia, a passenger dropped his cell phone overboard. At the time of the
  CAM-00833         4/3/18       PCL Diamond Princess
                                                        incident, the ship was outside 12 nautical miles. The violation of MARPOL Annex V was entered in the Garbage Record Book.
                                                        A ship's plastic life ring was reported missing by the Safety Officer. It is unknown when the life ring was lost. No emergency was
  CAM-00834         4/4/18          Carnival Elation    associated with the loss. The area was searched and the life ring was assumed to have been lost overboard in violation of
                                                        MARPOL Annex V. The U.S. Coast Guard was informed of the loss.
                                                        While the ship was underway within the Bahamas Baseline, two minor passengers were observed throwing two yellow plastic
                                                        caution cones overboard. A Security Officer spoke with the parents of the minors, who apologized for their misconduct. The
  CAM-00835         4/4/18         Carnival Sunshine
                                                        Security Officer reminded the parents about company environmental policy and the consequences of violation. The Bahamas Port
                                                        Authority was notified of the MARPOL Annex V violation and it was confirmed that no further action was required.
                                                        During sludge offload to a barge while alongside in Cartagena, Colombia, the duty wiper reported that sludge was spraying from
                                                        sludge hose. He activated the emergency stop button. There was no indication of a discharge/spill into the sea. Most of the sludge
                                                        was collected in second containment barriers with the rest on the floor of the bunker station. The total amount spilled was
  CAM-00839         4/4/18        PCL Coral Princess
                                                        approximately 40 liters. The incident occurred because the pressure had blown the rubber end of the hose from its nozzle. The
                                                        hose had been pressure tested on February 27, 2018, and the pressure during the offload was monitored from the ship's side by the
                                                        motorman. The Harbor Master was informed of the near miss via the local agent.
                                                        While the ship was alongside in Fort-de-France, Martinique, a leaking black water pipe was identified in the aft engine room.
                                                        Approximately a third of a cubic meter of sewage had leaked into the bilge well. The sewage was transferred to a dirty lubrication
  CAM-00840         4/4/18         Seabourn Odyssey
                                                        oil tank and subsequently processed via the ship's sludge tank. An entry was made in the Oil Record Book. The leak was internal
                                                        with nothing discharged overboard. Corrosion created a pinhole in the pipe. A new pipe was fabricated and installed.
                                                        During tendering operations in Tabuaeran, Kiribati, two temporary buoys used to indicate the safe passage for tenders, started to
                                                        drift away due to the current. The Port Authority, who had approved the temporary buoys, were informed. One plastic buoy was
  CAM-00844         4/5/18         HAL Koningsdam       recovered by a local boat after three hours of searching but the second buoy was lost in violation of MARPOL Annex V. It had
                                                        been necessary to use temporary buoys to mark the safe channel as no official buoys were in place. An entry was made in the
                                                        Garbage Record Book.




                                                                                              Page 93 of 94
                                   Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 189 of
CONFIDENTIAL                                        Appendix E: ECP Year One 205
                                                                             Incidents Tracked by the CAM                                                                                                June 21, 2018

 Reference No.   Date of Event     Brand/Vessel                                                            Event Description                                                              CAM Incident Category
                                                      While the ship was alongside in Picton, New Zealand, a communication error between the BCDB data recorder and the ECR data
  CAM-00845         4/5/18         HAL Noordam        recorder was identified. An Oily Water Separator discharge operation was found not to have been recorded in the ECR system. OWS/Whitebox
                                                      The Oil Content Monitor and the three-way valve in the BCDB were checked and confirmed to be functioning correctly.
                                                      While the ship en route to Georgetown, Grand Cayman, a ship's sun umbrella was blown overboard. The MARPOL Annex V
  CAM-00846         4/5/18         HAL Veendam        violation was recorded in the Garbage Record Book. At the time of the Incident, the ship was more than 12 nautical miles from the
                                                      nearest land.
                                                      While the ship was en route to Funchal, Madeira, a fault was identified with the automatic ballast overboard valve. The valve,
                                                      which is also designated as an emergency bilge discharge, was taken out of service and an alternate valve was designated as a
                                                      temporary emergency bilge discharge. It is believed that the affected automatic ballast overboard valve may have been installed the
  CAM-00848         4/5/18       PCL Crown Princess
                                                      wrong way around during the recent dry-dock period. The fault was identified when the ship attempted to de-ballast. The ship's
                                                      Flag Administration has been informed. All other bilge/ ballast pumps and overboard valves have been checked and found in good
                                                      working order.
                                                      While the ship was en route to Miami, FL, and 32 nautical miles from land, a Security Officer witnessed a passenger throwing a
  CAM-00849         4/6/18         Carnival Vista     golf club overboard in violation of MARPOL Annex V. The passenger was spoken to regarding company environmental policy
                                                      and the consequences of violation.
                                                      During a routine check of the portable pumps, two ECS seals were noted missing from an air-driven portable pump in the damage
                                                      control equipment cage. An assessment determined that the pump had not been used to transfer any liquid and the seals were likely Seals or Locks
  CAM-00850         4/6/18         Costa Deliziosa
                                                      to have been broken during the preparation of luggage cages prior to the ship's turnaround. The portable pump was relocated to a Training
                                                      more protected position, a new seal was attached, and the Seal Log was updated.
                                                      While the ship was alongside in Wellington, New Zealand, a passenger's hat was blown into the water as he proceeded ashore. The
  CAM-00851         4/6/18         HAL Noordam        hat was not recovered. The MARPOL Annex V violation was recorded in the Garbage Record Book. The Port Authority was
                                                      notified via the ship's local agent.
                                                      During loading of provisions in Galveston, Texas, a shore side worker placed a pallet of watermelons on the ship's platform. Due
  CAM-00853         4/7/18        Carnival Freedom    to the pallet not being correctly positioned on the platform, the pallet tilted causing a number of watermelons to fall. All the
                                                      watermelons were recovered from the netting placed below the ship's loading platform.
                                                      During provision loading in Galveston, Texas, a shore side worker punctured a one gallon bucket of paint hardener. The ship's
  CAM-00854         4/7/18        Carnival Freedom    bosun immediately separated the punctured can and deployed absorbent materials from the bunker station. No spilled chemical
                                                      entered the water.
                                                      While alongside in Galveston, Texas, as a passenger was boarding the ship, he dropped his paper boarding pass, which was blown
  CAM-00855         4/7/18        Carnival Freedom    overboard and into the water in violation of MARPOL Annex V. The Harbor Master was informed by the ship's local agent. No
                                                      additional actions were requested.
                                                      During a routine check, the EO noted that an ECS seal was missing from a wet food waste tank vent in the garbage room. The
  CAM-00856         4/7/18         HAL Noordam        missing seal was not found. No signs of tampering could be identified. It was determined that the seal was most likely removed    Seals or Locks
                                                      during cleaning which had been conducted in the area in the previous week. The seal was replaced and recorded in the Seal Log.
                                                      The ship departed from San Francisco, CA, approximately one hour later than scheduled due to faulty flow meter readings on the
  CAM-00857         4/7/18       PCL Grand Princess   Ballast Water Treatment Systems, which resulted in slow de-ballasting operations. The ship's arrival into the next port was not
                                                      affected.




                                                                                          Page 94 of 94
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 190 of
                                     205
  CONFIDENTIAL                                               June 21, 2018


     ATTACHMENT 1: SUPERSEDING FIRST ANNUAL WORK PLAN AND BUDGET OF THE COURT
                                APPOINTED MONITOR



                                [See following pages]
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 191 of
  CONFIDENTIAL                       205
  NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS


       Superseding First Annual Work Plan and Budget of the Court Appointed Monitor
           United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897-PAS (S.D. Fla.)
                         For the Period April 19, 2017 – April 18, 2022
                                  Submitted October 20, 2018

         Pursuant to the status conference before the Hon. Patricia A. Seitz (U.S. District Court)
  on October 18, 2017, in the matter of United States v. Princess Cruise Lines, Ltd., 1:16-cr-
  20897-PAS (S.D. Fla.), the Court Appointed Monitor (“CAM” or “Monitor”) submits this
  Superseding Annual Work Plan and Budget, dated October 20, 2017 (“Superseding Work Plan”).
  This document supersedes the First Annual Work Plan and Budget, dated August 1, 2017, and
  the Addendum, dated August 30, 2017, and constitutes the Work Plan and Budget of the Court
  Appointed Monitor for the duration of the monitorship unless the parties agree to modifications.

           As to budget, the parties agreed that the CAM will conduct up to 15 vessel visits and up
  to 5 shoreside visits per year. The parties further agreed that for those vessel visits and shoreside
  visits the fees of the CAM Team, as defined below to include the CAM, CAM attorneys, and
  CAM advisors will not exceed $3,000,000 for the first year of the monitorship. In subsequent
  years, this cap on fees will be adjusted in accordance with Section 4.5 of the Monitor Agreement,
  entitled “Fee Increases.”1 Associated costs and expenses are not subject to this cap.2 As to the
  amount of fees to be charged for work other than vessel visits and shoreside visits, the parties
  anticipate that the annual fees for the CAM Team, as defined below, are anticipated to fall
  between $3,000,000 and $4,000,000 in the first year. In subsequent years, this amount shall be
  adjusted in accordance with Section 4.5 of the Monitor Agreement, entitled “Fee Increases.” The
  following categories of work, however, shall not be counted towards the anticipated fee amount:
  (1) fees associated with any Monitor Work Plan and Budget (such as work plan drafting, the
  preparation of explanatory letters or documents, the preparation of addenda, or work plan
  negotiation); (2) fees incurred in preparation for the October 18, 2017, court status conference;
  (3) fees associated with Carnival’s contest of CAM bills; and (4) major contingencies that may
  arise during the course of the monitorship. As noted above, costs and expenses are also not

  1
    Section 4.5 of the Monitor Agreement provides: “Fee Increases. From time to time, rates for members of
  the Monitor Team, other than the Monitor, may increase, for among other reasons, to keep pace with the
  market for such services. When Katten rates are raised, the rates for Katten attorneys will increase
  accordingly, but such increases shall be reasonable and shall not result in a rate that exceeds the lowest
  hourly rate charged to any Katten client with comparable annual billings. As part of the engagement of
  any advisor by the Monitor, as set forth in Section 4.2, the Monitor will instruct the advisor that any
  increase in the advisor’s rate shall likewise be reasonable and not result in a rate increase that exceeds the
  lowest hourly rate charged to any client of that advisor with comparable annual billings. Any rate
  increases for members of the Monitor Team will be communicated to the Company at least sixty days in
  advance of their implementation. Rate increases will not apply retroactively.”
  2
   In order to reduce travel expenses, for travel booked on or after September 27, 2017, the CAM Team
  agrees to use the Company’s travel service, except for unannounced visits.

                                                                                                              1
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 192 of
  CONFIDENTIAL                       205
  NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS


  included in this amount anticipated for fees. Carnival retains the right to contest any bill by
  asking the court to review the bill in question.

    I.   Introduction

          On May 15, 2017, the Company and Mr. Solow entered into a Monitor Agreement that
  provided that, effective March 21, 2017, Mr. Solow would serve as the Monitor as required by
  the Environmental Compliance Plan (“ECP”) prepared pursuant to the plea agreement in United
  States v. Princess Cruise Lines, Ltd., 1:16-cr-20897-PAS (S.D. Fla.). Retention of the CAM is a
  special condition of the defendant’s five-year period of probation. Mr. Solow was retained by the
  Company to perform the CAM role in accordance with both the ECP and the Monitor
  Agreement.
          The Company has over 120,000 employees operating on vessels and at locations around
  the globe and utilizes a complicated corporate structure. In addition to an overall “all brands”
  group, the Company is segmented into four groups: Carnival, Costa Group, Carnival UK, and
  Holland America Group. Each of these groups has its own executive structure and all but
  Carnival operate more than one cruise ship brand. Eight of the Company’s ten brands operate
  “Covered Vessels” as defined in the ECP. See ECP § I.D. Currently, there are 75 Covered
  Vessels, which are flagged in seven different countries. Policy-making and systems across
  groups are not uniformly integrated, resulting in varying policies and procedures across brands.
  Due to the complex organizational structure of the Company and the requirements under which
  they operate, the Company uses a variety of systems to implement some of the requirements of
  the ECP. For example, there appear to be ten different computer-based training systems utilized
  by the Company, in addition to training conducted at a Company-owned facility in Almere,
  Netherlands.

        The Court, at the sentencing and the October 18, 2017, status conference, made clear that
  the CAM’s mandate was broad and citied the Judgment and Commitment entered, as well as
  ECP Section VI.F.4. which provides:

         During years one (1) through four (4) of the probationary period, conduct a review of
         CARNIVAL internal environmental audits with respect to Covered Vessels and Covered
         Personnel, as well as the trends analysis overseen prior to the end of year three (3) by the
         CCM. The CAM’s review shall assess the ability of CARNIVAL’s internal audit process
         to accomplish the objectives of this ECP, including any inadequacies with respect to
         CARNIVAL’s performance, whether personnel-based or related to any of its Covered
         Vessels, systems, equipment, or components.

          Accordingly, the ECP requires the CAM to oversee that the Carnival entities fully
  comply with all “applicable marine environmental protection requirements established under
  applicable international, flag state, port state, coastal state law, and United States laws including,
  but not limited to, the International Convention for the Prevention of Pollution from Ships

                                                                                                       2
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 193 of
  CONFIDENTIAL                       205
  NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS


  (‘MARPOL’), and all applicable Federal and state statutes and regulations including, but not
  limited to the Ports and Waterways Safety Act (’PWSA’), the Act to Prevent Pollution from
  Ships (‘APPS’), the Clean Water Act (‘CWA’), and [the Oil Pollution Act of 1990 (‘]OPA
  90[’)], (MARPOL, APPS, CWA, and OPA 90, collectively, ‘Marine Environmental Protection
  Requirements’),” as well as the requirements and policies established by the ECP itself. See ECP
  § I.C. The Company has agreed to fully fund and implement these requirements for all “Covered
  Vessels” and “Covered Personnel,” as those terms are defined in the ECP. See ECP § I.D.

         The CAM’s rights, powers, and responsibilities arise out of the ECP (the “CAM
  mandate”). Pursuant to Section VI. of the ECP, the CAM’s mandate broadly comprises the
  following categories:

          1. Monitoring the Company’s compliance with the ECP. See ECP § VI.A. This includes:

                  a. Assessing whether the Company has adequate systems in place, particularly
                     human and fiscal resources, to ensure regulatory compliance, correct non-
                     compliance, and prevent future non-compliance. See ECP § VI.B.2.

                  b. Reviewing the Company’s internal audits and audit processes as they relate to
                     the objectives of the ECP and assessing “the ability of CARNIVAL’s internal
                     audit process to accomplish the objectives of this ECP, including any
                     inadequacies with respect to CARNIVAL’s performance, whether personnel-
                     based or related to any of its Covered Vessels, systems, equipment, or
                     components.” See ECP § VI.F.4.-5.

                  c. Identifying and analyzing violations of the ECP identified during the term of
                     probation. See ECP §§ III.A.11. III.D.6., III.E.3.-5., VI.A., VI.F.6.-7.

          2. Confirming that the Third Party Auditor (“TPA”), retained by the Company pursuant
             to ECP Section VII., acts with independence and performs adequate ECP-required
             audits. See ECP §§ VI.F.1.-3.

          3. Evaluating the effort and commitment of the Company in satisfying the requirements
             of the ECP and its Environmental Management System (“EMS,” as defined in ECP §
             I.D.), including assessing and making recommendations with respect to a culture of
             compliance.3 See ECP § VI.B.3.

  3
    During the sentencing hearing conducted on April 19, 2017, Judge Patricia A. Seitz stated “it concerns
  me that the culture really needs to be changed and [I’m] looking to Mr. Solo[w] to assist.” Transcript of
  Sentencing at 13, United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897-PAS (S.D. Fla.). Later in
  the hearing, Mona Ehrenreich, Senior Vice President and General Counsel of Holland America Group
  stated “we’re committed to working with the court-appointed monitor and the third-party auditor over the
  next five years to continue to enhance our compliance program even more, and our focus is a culture of
  compliance.” Id. at 36.

                                                                                                          3
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 194 of
  CONFIDENTIAL                       205
  NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS


         In addition, the ECP identifies a number of specific written submissions and reports
  required of the CAM, as follows:

            1. An annual report prepared for submission to the Company and Interested Parties4
               regarding: (a) the audits conducted by the TPA; (b) any other information pertaining
               to the Company’s capabilities to meet the objectives of the ECP; and (c) the
               Company’s internal audits and trends analyses. See ECP § VI.F.3-5.

            2. Reports to Interested Parties regarding: (a) any Environmental Open Report, which
               covers a credible allegation of a violation of any Marine Environmental Protection
               Requirement or ECP requirement, (b) information regarding a Major Non-
               Conformity, or (c) information regarding a failure of the Company to consider and act
               on, as appropriate, an Audit Finding or TPA recommendation. ECP §§ III.D, VI.F.6.

            3. Additional reports to the Company and Interested Parties, as requested by the Court
               or as appropriate, concerning any of the issues related to the Monitor’s duties outlined
               in the ECP. ECP § VI.F.7. This includes quarterly status updates requested by the
               Court during the October 18, 2017, status conference.

         As contemplated by Section 4.2 of the Monitor Agreement, Mr. Solow has engaged
  advisors, including the marine consulting firm of Martin, Ottaway, van Hemmen & Dolan, Inc.
  (“Martin & Ottaway”), to assist him in the implementation of the monitorship. In addition,
  Katten serves as counsel to Mr. Solow in his role as CAM, and Katten attorneys will assist Mr.
  Solow in the execution of his role. The CAM, his counsel, and his advisors shall be collectively
  described as the “CAM Team.”

          This Work Plan and Budget outlines the activities the Monitor plans to complete during
  the term of the monitorship. The work streams contemplated by this Work Plan have been
  discussed extensively with the Company. This precise nature of the work, however, will
  necessarily remain flexible to allow the Monitor to adjust planned activities in response to issues
  that may arise during the course of this work.

      II.   Background

          The CAM Team began the work of the monitorship by undertaking a series of phone
  interviews and discussions with key personnel from Carnival Corporation and plc, as well as
  from each of the four operating lines as follows:




  4
   The Government, the U.S. Probation Office for the Southern District of Florida, the Seventh Coast
  Guard District, and the U.S. Coast Guard Office of Investigations & Analysis. ECP § I.D.

                                                                                                       4
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 195 of
  CONFIDENTIAL                       205
  NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS


      •   from Carnival Corporation and plc, four (4) people were interviewed with responsibilities
          for Health Environmental Safety and Security (“HESS”) system policy implementation
          and training5;

      •   from Carnival UK, seven (7) people were interviewed with responsibilities for
          operations, compliance, resourcing, and deployment6;

      •   from Carnival Maritime Group, five (5) people were interviewed with responsibilities for
          governance, compliance, human resources, operations, and training7;

      •   from Holland America Group, eleven (11) people were interviewed, including the
          Operating Line Compliance Manager and others with responsibilities including
          environmental compliance, ethics and compliance, operations, technical services,
          workforce management, personnel, and engineering8;

      •   from Carnival Cruise Lines, eleven (11) people were interviewed with responsibilities for
          compliance, operations, human resources, marine planning/budgeting, and technical
          assets9.


  5
   Discussions were held May 15-16, 2017 with the following Carnival Corporation and plc
  representatives: (1) John Haeflinger, Vice President, Maritime Policy and Analysis; (2) Paul Morgan,
  Vice President Maritime Compliance, Maritime Quality Assurance; (3) John Allen, ECP, Corporate
  Training Manager; and (4) Maria Rodriguez, Manager, Training and Communication.
  6
   Discussions were held May 16, 2017 with the following Carnival UK representatives: (1) Adrian Box,
  Vice President Fleet Operations (2) Nigel Stewart, Fleet ISM Support Manager, Operating Line
  Compliance Manager (“OLCM”); (3) Martin Thomas, Senior Manager, Maritime Safety Training; (4)
  Adam Shelmerdine, Fleet Resourcing Manager; (5) Lynn Cossey, Senior Manager, Vetting &
  Compliance; (6) Stacey Marlow, Director, Deployment & Partnerships; and (7) Jacqueline Floyd, Shore
  Resourcing Manager.
  7
   Discussions were held May 17, 2017 with the following Carnival Maritime Group representatives: (1)
  Ernesto Gori, Vice President Fleet Governance; (2) Alessandro Bertorello, OLCM; (3) Tino Hensel, Vice
  President Marine Human Resources; (4) Andre Trommler, Head of Marine Human Resources, Fleet
  Operations; and (5) Bernd Migeod, Head of Marine Training.
  8
   Discussions were held May 17, 2017 with the following Holland America Group representatives: (1)
  Paul McClelland, Vice President Environmental, OLCM; (2) Angela Wagner, Director, Ethics and
  Compliance; (3) Ed Ramaekers, Vice President, Technical Operations, Princess Cruise Lines; (4) Rob
  Boksem, Senior Vice President, Technical Services; (5) Eric Visser, Director, Workforce Management;
  (6) Lance Camarena, Director, Fleet Training; (7) Tina Stotz, ECP Manager; (8) Jim Peschel, Senior
  Director, Environmental; (9) Federico Cozzani, Director, Shipboard Marine Personnel; (10) Peter Paisley,
  Fleet Director of Engineering; and (11) Konstantin Konstantinov, Manager, Environmental Operations.
  9
   Discussions were held May 18, 2017 with the following Carnival Cruise Lines representatives: (1)
  Domenico Rognoni, Vice President Compliance and Occupational Safety, OLCM; (2) Martin Landtman,
  Senior Vice President Marine Operations (3) Richard Miller, Vice President Marine, Nautical, & Safety
  Operations; (4) Rabih Aboudargham, Director of Environmental Compliance; (5) Jose Hernandez,
  Director of Compliance; (6) Scott Nelson, Vice President, Shipboard Human Resources; (7) Adrian

                                                                                                          5
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 196 of
  CONFIDENTIAL                       205
  NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS


           These interviews were conducted to gain information about the Company’s structure,
  operations, and processes that are implicated by the terms of the ECP. The CAM sought
  visibility into how the Company as a whole and each operating line individually, approaches key
  issues relevant to the monitorship including: recruiting, hiring, training, maintenance, budgeting,
  and HESS policy implementation.
          The CAM also participated in in-person meetings with the Operating Line Compliance
  Managers (“OLCMs”) of each operating line and the Corporate Compliance Manager (“CCM”)
  to discuss ECP implementation and the process of conducting audits aboard vessels.10

         In addition to these meetings and discussions specifically identified above, the CAM and
  his Team have regular calls with the CCM, with corporate personnel to discuss document and
  information management, and with the TPA to discuss implementation and feedback from the
  TPA audit activities, as well as numerous ad hoc conversations with Company representatives.

          On July 7-11, 2017, at the request of the Company, the CAM Team participated in an
  orientation visit to the Ruby Princess on a voyage from Seattle, Washington to Juneau, Alaska.
  The purpose of this visit was to discuss and walk through the audit process.

           These foundational and ongoing discussions, various meetings with the Company, and
  site visits have informed the scope and nature of this Work Plan.

   III.   Monitorship Methodology and Work Streams

           This Work Plan is tailored to meet the CAM’s mandate. It was developed after extensive
  consultation and negotiation with the Company. The CAM, with assistance and support by
  members of the CAM Team , will discharge the CAM mandate during the term of the
  monitorship through seven primary work streams: (1) management and contingencies;
  (2) document and data review; (3) interviews and site visits; (4) vessel visits; (5) shoreside
  facility visits; (6) compliance culture assessment; and (7) reporting.




  Greystroke, Vice President, Crew & Travel Operations; (8) Silvio Gentile, Marine Operations; (9) JP
  Kost, Compliance Data Manager; (10) Jessica Cespedes, Director, Marine Planning/Budgeting; and (11)
  Kevin Blake, Director, Technical Assets.
  10
    Meetings were held May 22-23, 2017 with the following Company representatives: (1) Chris Donald,
  CCM; (2) Aubrie Brake, Manager, Corporate Environmental Compliance; (3) David Morrison, Vice
  President Maritime Quality Assurance Fleet Chief Engineers; (4) Domenico Rognoni, Vice President
  Compliance and Occupational Safety, OLCM, Carnival Cruise Lines; (5) Ernesto Gori, Vice President
  Fleet Governance, Outgoing OLCM Costa; (6) Alessandro Bertorello, Incoming OLCM Costa; (7) Nigel
  Stewart, OLCM Carnival UK; (8) Paul McClelland, Vice President Environmental/OLCM.

                                                                                                        6
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 197 of
  CONFIDENTIAL                       205
  NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS


         1. Management and Contingencies

         Undergirding the successful execution of the CAM’s mandate to monitor the Company’s
  compliance with the ECP, see ECP §§ III.-V., VI.A., and report on findings to the court, the
  Company, and Interested Parties, see ECP § VI.F., will be the management and oversight of
  monitorship work streams. These functions will include: (1) planning, (2) budgeting,
  (3) coordination, (4) tasking, (5) supervision, (6) knowledge management, and (7) organization.
  This will also encompass the time spent by the CAM and CAM Team coordinating with the U.S.
  Probation Office, discussing the monitorship with the Department of Justice (“DOJ”) and other
  government agencies as needed, and preparing for and appearing in court.

           With respect to contingencies, this category is an effort to plan for issues that arise that
  implicate the CAM’s mandate. For example, violations of the ECP may require additional vessel
  visits, interviews, document review, or other unplanned work.

         2. Document and Data Review.

          An essential element in executing the role of the CAM in accordance with the CAM
  mandate is the review of records and information to determine, among other things, the extent
  and nature of the company’s training materials, the compliance baseline of the company, the
  logistics and methods of corporate operations, and ongoing compliance with the ECP and
  regulatory requirements by and through such corporate operations. This derives from the ECP’s
  requirements, inter alia, that the CAM: monitor the Company’s compliance with the ECP, see
  ECP § VI.A.; review all reports and notifications as established in the ECP, see ECP § VI.E.;
  review records necessary to perform his duties, see ECP § VI.F.2.; review TPA audit reports and
  related documents, see ECP § VI.F.3.; review the Company’s internal environmental audits and
  audit processes, see ECP § VI.F.4.; review “information regarding a Major Non-Conformity” or
  failure of the Company to “consider and act upon, as appropriate, an Audit Finding or
  recommendation of the TPA,” see ECP §§ III.A.6., VI.F.6.; review the TPA’s reports, see ECP §
  VIII.D.10.; and review the Company’s EMS, see ECP § X.A.II.

           The CAM Team has worked with the Company to implement a streamlined and cost-
  effective review of documents and data. Accordingly, the CAM Team and the Company have
  developed an agreed-upon protocol for the request of information, the response to information
  requests, and management of produced information in coordination with designated Discovery
  Liaisons at the Company. As part of this effort, the Company and CAM Team have agreed to
  utilize a Relativity-based platform through the Company’s preferred vendor, Strategic Legal
  Solutions, to process and house the records provided in response to CAM information requests.
  Access to the platform is being provided to the Company, the CAM Team, and the TPA.

         The CAM Team has developed and implemented two specific methods for the request
  and production of records and information pursuant to the Records Management and Production


                                                                                                      7
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 198 of
  CONFIDENTIAL                       205
  NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS


  Protocol. The first method involves the submission of formal document requests by the CAM to
  the Company. These requests are designed to facilitate CAM access to records and information
  relating to execution of all three categories of the CAM’s mandate. During the term of the Work
  Plan, formal document requests will cover, but are not limited to, the following types of
  information related to HESS programs, ethics issues, and general corporate compliance:

         •   corporate and brand-specific policies,
         •   corporate and brand-specific procedures,
         •   corporate and brand-specific training materials,
         •   job descriptions of Covered Personnel,
         •   personnel records of certain Covered Personnel,
         •   technical and other records related to Covered Vessels,
         •   internal audit reports and supporting documentation,
         •   corporate and brand-specific financial information, and
         •   corporate and brand-specific budget documents.

          In connection with the Company’s financial and budget information, the requests and
  review of the CAM will focus on the budgeting process for ongoing and capital expenditures
  connected to the Company’s HESS programs. This will include an assessment of the OLCM
  budgets required by the ECP, see ECP § III.A.9, and related company budget practices, including
  the process for development and revision of ECP-related and environmental budgets. As of the
  date of this Superseding Work Plan, the CAM is not seeking to engage advisors with forensic
  accounting expertise to assist with this aspect of document review and analysis, but may seek the
  Company’s consent, as required by the Monitor Agreement, to do so at a later date should it be
  necessary.

         As of the date of this Work Plan submission, records have been produced by the
  Company in response to six formal CAM document requests; this does not include information
  housed in various corporate databases, including Global HESS, that have been made available to
  the CAM Team.

           The second method for the request and production of records and information is designed
  to facilitate the execution of categories 1.c. and 3. of the CAM’s mandate. The Company has
  agreed to provide the CAM with the Company’s weekly report of incidents, which is maintained
  in the general course of business (“flash report”), as well as information regarding Major Non-
  Conformities, Non-Conformities, or other Observations reported by employees. See ECP
  § III.A.11. The CAM will review, assess, and track such information, and will report out to the
  Interested Parties as required by the ECP.

          Finally, pursuant to category 1.c. and 2 of the CAM’s mandate and ECP Sections IV.F.2.-
  5, the CAM Team will review and assess the TPA audits and the internal environmental vessel
  and shoreside audits conducted by the corporate Risk Advisory and Assurance Services


                                                                                                 8
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 199 of
  CONFIDENTIAL                       205
  NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS


  (“RAAS”) department. This review will dovetail with the data collected and assessed during the
  vessel and shoreside visits discussed further below.

         Interviews and Site Visits

           During the first year of the monitorship, the Company and the CAM agreed that the CAM
  should conduct interviews of corporate executives and key personnel from each of the operating
  groups, brands, and the CSMART training facility. Consistent with the ECP, see e.g., ECP §§
  III.-V., VI.A., VI.B.2., VI .F.6-7., the purpose of these interviews has been to facilitate the
  execution of categories 1.a., 1.c., and 3. of the CAM’s mandate by gathering and assessing
  information on the structure, management, culture and systems of each operating line; engaging
  with corporate executives or employees on their role in implementing the ECP and corporate
  compliance generally; exploring management views on compliance-related issues; and gathering
  additional information regarding identified concerns or incidents. The interviews also provided
  insights into the unique management and compliance challenges faced by each of the relevant
  operating lines. The CAM Team worked closely with Christopher Donald, the Corporate
  Compliance Manager (“CCM”), and Mr. Donald’s team to organize the logistics of these
  interviews.

         The CAM concluded the interviews planned for the first year of the monitorship on
  October 6, 2017. Should circumstances present a need to do so, the Monitor may elect to conduct
  additional interviews. The CAM may also seek to conduct additional interviews in the second
  through fifth years of the monitorship.

         3. Vessel Visits

          To facilitate execution of all three categories of the CAM’s mandate and consistent with
  the CAM’s obligation to ensure compliance with vessel-related requirements of the ECP,
  including to assess the work of the TPA, see, e.g., ECP §§ III.D., IV., VI.A.,F., IX., X., XI., the
  CAM (or CAM designee) and members of the CAM Team will conduct up to 15 vessel visits per
  year for the duration of the monitorship.11 For the first year of the monitorship, as of October 20,
  2017, the CAM Team has conducted 2 vessel visits. Based on consultation with the Company,
  four separate types of vessel visits will be conducted, as discussed further below: (a) TPA audit
  ride-alongs; (b) TPA follow-up vessel visits; (c) CAM-specific vessel visits; and (d) RAAS audit
  ride-alongs. Vessels may be visited more than once.

          These CAM Team vessel visits are not intended to be redundant or to duplicate audits
  conducted by the TPA or RAAS. The CAM Team visits are designed to, among other things: (1)
  assess the adequacy, quality, and value of TPA and RAAS audits; (2) assess whether the
  Company has adequately and promptly addressed Observations or Non-Conformities previously

  11
    This maximum number is based on the agreement of the parties with the understanding that should an
  extraordinary and unanticipated event occur, the CAM may seek to conduct additional vessel visits.

                                                                                                         9
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 200 of
  CONFIDENTIAL                       205
  NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS


  identified in TPA or RAAS audits, or by classification societies or others related to
  environmental pollution control obligations; and (3) assess the overall effectiveness of the
  Company’s efforts to provide the training, equipment, resources and support to the ships, so that
  those aboard are in a position to meet the obligations the Company agreed to in the ECP. To do
  so, we expect that these vessel visits will generally involve opportunities: to speak with
  shipboard personnel; to review vessel and shoreside actions taken in response to prior audit
  findings and vulnerability assessments; to review training and supervision efforts and their
  effectiveness; and to look at machinery spaces and pollution prevention equipment, including
  key documents related to pollution prevention and ECP compliance. These vessel visits will not,
  however, track the extensive checklist examinations conducted by TPA and RAAS auditors.

          The ECP requires the TPA to audit all Princess vessels and 20% of the Covered Vessels
  from the other operating lines. ECP § VIII.A. In accordance with the ECP, the TPA also
  developed a list of vessels to be audited during the term of the Work Plan. The Monitor engaged
  Dr. Scheuren to assist in the preparation of a vessel list for the types of CAM vessel visits,
  described below, using a cumulative results and risk-based approach. The CAM has developed
  plans to visit vessels consistent with the categories below.

                 a. TPA Audit Ride-alongs

         The CAM Team plans to accompany the TPA on some scheduled TPA audits. The
  purpose of these visits will be to inform the CAM’s assessment of the independence and rigor of
  the TPA audits and auditors. During these audit ride-alongs, CAM team members will observe
  the TPA’s audit activities.

                 b. TPA Follow-up Visits

          The CAM Team plans to perform follow-up visits to vessels previously audited by the
  TPA during the term of the Work Plan. The purpose of these visits will be two-fold. First, the
  CAM Team will assess whether the TPA’s prior audit on a particular vessel was independent,
  rigorous, and in accordance with the TPA’s planned audit process. Second, the CAM Team will
  assess the Company’s support for and efforts to comply with the ECP, including: (a) whether
  adequate systems and resources are in place designed to ensure regulatory compliance, correct
  non-compliance, and prevent future non-compliance; (b) an assessment of the effectiveness of
  prior RAAS audits; and (c) follow-up regarding identified violations of the ECP, including
  Maritime Environmental Protection Requirements, if applicable.

                 c. CAM-specific Vessel Visits

          The CAM Team plans to visit vessels that the TPA did not, or will not, audit during the
  term of the Work Plan. During these visits, the CAM Team will assess the Company’s support
  for and efforts to comply with the ECP, including (a) whether adequate systems and resources
  are in place that are designed to ensure regulatory compliance, correct non-compliance, and

                                                                                                    10
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 201 of
  CONFIDENTIAL                       205
  NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS


  prevent future non-compliance; (b) the effectiveness of prior RAAS audits; and (c) follow-up
  regarding identified violations of the ECP, including Maritime Environmental Protection
  Requirements, if applicable.

                 d. RAAS Audit Ride-alongs

           The CAM Team plans to accompany the RAAS auditors on scheduled RAAS vessel
  audits. The purpose of the CAM Team visits will be to fulfill the requirement that the CAM
  assess whether the RAAS audit process accomplishes the objectives of the ECP, including any
  areas for improvement with respect to the performance of RAAS audits. During these ride-along
  visits, CAM team members will observe the RAAS auditor’s activities.

          Because the activities outlined above will take place simultaneously in various areas of
  the ship, the Monitor anticipates that between three to four CAM Team members will attend each
  visit. Participants will include the CAM or a designee, a CAM attorney, and one or two advisors
  from Martin & Ottaway. There may be occasions where it may be necessary for additional CAM
  Team members to attend a vessel visit.

         4. Shoreside Facility Visits

          To facilitate execution of all three categories of the CAM’s mandate and consistent with
  the CAM’s obligation to ensure compliance with shoreside-related requirements of the ECP and
  to assess the work of the TPA, see, e.g., ECP §§ III.A., IV.A.5., V.A., B., VI.A, F.2., VIII.A.1.,
  B. D.1., the CAM (or CAM designee) and members of the CAM Team will conduct up to five
  shoreside visits per year during the term of the monitorship. During at least one of these five
  annual visits, the CAM Team will accompany the TPA on a scheduled TPA shoreside audit.
  Pursuant to the ECP, the purpose of this visit will be for the CAM to assess whether the TPA is
  conducting independent and rigorous audits in accordance with its planned audit process. During
  this shoreside visit, CAM Team members will observe the TPA’s audit activities.

          For shoreside visits not conducted with the TPA, the CAM Team’s visit will be
  conducted after the scheduled TPA audit at the relevant facility. The purpose of these shoreside
  visits will be two-fold. First, pursuant to the ECP, the CAM Team’s visit will assess whether the
  TPA’s prior shoreside audit was independent, rigorous, and in accordance with the TPA’s
  planned audit process. Second, the CAM Team’s visit will examine the Company’s compliance
  with the ECP, including (a) whether adequate systems are in place to ensure regulatory
  compliance, correct non-compliance, and prevent future non-compliance; (b) an assessment of
  the effectiveness and value of prior RAAS audits; and (c) follow-up regarding identified
  violations of the ECP, including Maritime Environmental Protection Requirements, if applicable.

         Each shoreside visit will address the resources designated to ensure regulatory
  compliance, correct non-compliance, and prevent future non-compliance. To supplement
  information obtained from the documents received and reviewed as part of the formal document

                                                                                                  11
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 202 of
  CONFIDENTIAL                       205
  NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS


  request process described above, the CAM Team will confer with relevant personnel and conduct
  additional information gathering, as necessary.

         To conduct the shoreside visits efficiently, the Monitor anticipates that between two to
  four CAM Team members will attend each shoreside visit. Participants will include the CAM or
  a designee, a CAM attorney, and one or two advisors from Martin & Ottaway, as necessary.
  There may be occasions where it may be necessary for additional CAM Team members to attend
  a shoreside visit.

         5. Compliance Culture Assessment

          As directed by the Court, and consistent with discussions held by the CAM with the DOJ
  and with the Company, the CAM will utilize a culture survey to aid the efforts of all parties in
  assessing both the strengths and the opportunities for improvement in the Company’s culture
  related to its compliance obligations. See n.3, supra. This is encompassed by the CAM’s duty
  under the ECP to monitor the Company’s compliance with the ECP, see ECP § VI.A., and to
  assess whether the Company has adequate systems in place to ensure regulatory compliance,
  correct non-compliance, and prevent future non-compliance, see ECP § VI.B.2. As agreed by the
  government and the Company, the Monitor will retain and oversee the work of a third-party to
  provide services needed for the implementation of this work. The retention of a consultant by the
  CAM, as opposed to by the Company, will require the Company’s cooperation with respect to
  drafting contracting documents and providing the CAM with the necessary permissions, releases,
  and authorities.

          The consultant retained by the CAM will be skilled in the delivery of corporate culture
  surveys and will provide the services needed to develop and deliver an appropriate survey
  instrument designed to measure compliance culture, including in the areas of technical
  engineering, human resources (including training), bridge and engine room management, shore-
  side ship supervision, shared services, and corporate management. An initial survey, conducted
  early in the monitorship, will provide a baseline for the assessment of corporate compliance
  culture. A second survey will be conducted before the completion of the five year probationary
  period for comparison purposes.

          While safety culture surveys are routinely conducted in the maritime and many other
  industries, the focus of this culture assessment will seek to encompass the interrelated obligations
  of safety, health, and environmental compliance. It will also be tailored to account for the issues
  and challenges particular to maritime operations. The Company and the CAM have agreed to
  work closely and collaboratively together to facilitate the administration of the survey across
  relevant company populations in a cost efficient manner. Following administration and receipt of
  the survey data, focus groups may also be used to clarify observed trends and responses. A final
  report on the survey will be provided to the Company by the CAM, subject to the non-disclosure
  and confidentiality agreement in this matter.

                                                                                                   12
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 203 of
  CONFIDENTIAL                       205
  NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS


         6. Reporting

          In accordance with ECP Section VI.F.3, the CAM will prepare an annual report for
  submission to the Company and Interested Parties regarding: (a) the audits conducted by the
  TPA; (b) any other information pertaining to the Company’s capabilities to meet the objectives
  of the ECP; and (c) the Company’s internal audits and trends analyses. See ECP § VI.3.-5. The
  report will also capture the work implemented during the Work Plan term to execute the CAM’s
  mandate, as set forth in the work streams described above. At the October 18, 2017, status
  conference, the Court also requested quarterly status updates. The CAM plans to submit its first
  annual report to the Court, which will cover the period of April 19, 2017 to April 18, 2018, on
  June 17, 2018.

          In accordance with categories 1.c. and 3. of the CAM’s mandate, as well as the CAM’s
  affirmative obligation pursuant to ECP Sections III.D. and VI.F.6., to report out to the Interested
  Parties (regarding Major Non-Conformities, certain Environmental Open Reports, and failure of
  the Company to act on, as appropriate, an Audit Finding or TPA recommendation), the CAM
  Team members will assess and track incidents reported in weekly flash reports and other self-
  reported incidents submitted by the Company.

         Additional reporting may also be required pursuant to ECP Section V.F.7., which
  provides for reports to the Company and Interested Parties, as requested by the Court or as
  appropriate, concerning any of the issues related to the Monitor’s duties outlined in the ECP.

   IV.   CAM Team

          The CAM Team includes attorneys and advisors with a range of relevant professional
  experiences. Team members will be deployed based on respective skill sets to manage cost and
  efficiency. At the direction of the CAM, Katten associates and paralegals will prepare for, and
  follow-up to, CAM visits and interviews, including document intake and review, witness
  interview preparation, coordination of logistics, and drafting of interview notes and overviews.
  At the direction of the CAM, Katten partners will manage and implement work streams (with the
  support and assistance of Katten associates), while retained advisors, such as Martin & Ottaway,
  will provide substantive expertise in a cost-effective manner.

         The primary CAM Team attorneys, listed alphabetically below, have experience in
  environmental and maritime law, internal investigations, corporate compliance programs, and
  corporate monitorships:

         •   Matthew Baker. Mr. Baker is a member of the Environmental and Workplace Safety
             practice who focuses his practice on environmental white collar law, internal
             investigations, and complex electronic discovery.




                                                                                                   13
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 204 of
  CONFIDENTIAL                       205
  NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS


        •   Anne Carpenter. Ms. Carpenter is a member of the Environmental and Workplace
            Safety practice who concentrates her practice on environmental and white collar law,
            with an emphasis on civil and criminal environmental and maritime enforcement.

        •   Lily Chinn. Ms. Chinn is a former trial attorney in the Environment and Natural
            Resources Division of the DOJ, the managing partner of the San Francisco Bay Area
            office, a member of the Environmental and Workplace Safety practice, and the co-
            chair of the Electronic Discovery and Information Governance practice; she focuses
            on civil and criminal defense.

        •   Nadira Clarke. Ms. Clarke is a former trial attorney in the DOJ Environment and
            Natural Resources Division, a former Assistant U.S. Attorney in the District of
            Maryland, a former Special Assistant U.S. Attorney in the Eastern District of
            Virginia, the head of Katten’s Litigation practice in Washington, D.C., and a member
            of its Environmental and Workplace Safety practice. She has long provided advice to
            corporations regarding their compliance programs and protocols, and is providing
            counsel to a monitor in another matter involving an international company subject to
            a court-ordered monitorship.

        •   Scott Elliott. Mr. Elliott is a member of the Environmental and Workplace Safety
            practice and counsels clients on conducting internal investigations and responding to
            government investigations, as well as on environmental, health, and safety culture.

        •   Mark Farley. Mr. Farley is co-head of Katten’s Environmental and Workplace Safety
            practice and was one of the lead partners supporting the work of the BP US
            Refineries Independent Safety Review Panel, which investigated the corporate safety
            culture and oversight at BP’s North American refineries on behalf of an independent
            panel of experts chaired by former U.S. Secretary of State James A. Baker III.

        •   William Pericak. Mr. Pericak is a member of the White Collar, Investigations and
            Compliance practice and the Environmental and Workplace Safety practice. Mr.
            Pericak is a former Assistant U.S. Attorney in the Northern District of New York and
            a prosecutor in the DOJ’s Criminal Division. Bill’s work at the DOJ included serving
            as the Director of the Deepwater Horizon Task Force, overseeing prosecution of
            criminal violations relating to the 2010 Deepwater Horizon explosion and oil spill in
            the Gulf of Mexico.

        •   Natalia Sorgente. Ms. Sorgente is a member of the Environmental and Workplace
            Safety and Litigation practices. She is a former senior DOJ official who served as
            Chief of Staff for the Environment and Natural Resources Division and later as an
            Associate Deputy Attorney General; her practice focuses on civil and criminal
            litigation, internal investigations, and corporate compliance.


                                                                                                 14
Case 1:16-cr-20897-PAS Document 105 Entered on FLSD Docket 04/10/2019 Page 205 of
  CONFIDENTIAL                       205
  NOT FOR DISCLOSURE BEYOND INTENDED RECIPIENTS


  The CAM Team attorneys also include seven Katten associates from the Environmental and
  Workplace Safety practice. Additional Katten attorneys may be added, as necessary. The CAM
  Team attorneys will be supported by Katten paralegals and project assistants, who have a variety
  of relevant professional skills and experience.

          The primary CAM Team advisor is Martin & Ottaway, a maritime consulting firm in
  operation for over 100 years with experience related to complex technical, operational, and
  financial problems. The firm has extensive experience in vessel-related regulatory compliance
  and has served as both a third-party auditor and a CAM in other matters. Martin & Ottaway was
  retained by the CAM to advise and assist in the execution of the monitorship. The primary
  Martin & Ottaway consultants are:

     •   Jim Dolan: Mr. Dolan is the President Emeritus of Martin & Ottaway, and has been a
         member of the firm for over 25 years. Mr. Dolan specializes in ship survey issues,
         casualty investigations, quality/safety/environmental issues, and vessel appraisals. He has
         provided expert testimony in maritime legal matters in both U.S. and international
         disputes.

     •   Pierce Power: Mr. Power is a Partner with Martin & Ottaway and has been a member of
         the firm for over 20 years. Mr. Power specializes in forensic engineering, mechanical
         systems, structural and mechanical system surveys, and overhaul and failure analyses.

     •   David Tantrum: Mr. Tantrum is the Managing Director of Martin & Ottaway and has
         been a member of the firm for over 20 years. Mr. Tantrum specializes in forensic
         engineering, ship vetting surveys, mechanical systems and ship sales analysis, structural
         and mechanical system surveys, ship valuations, and failure analyses.




                                                                                                 15
